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  21 of course   many ofCase:
                           them,14-1290      Document:
                                 the Glock pistol  with a 01019371762                  Date Filed: 01/16/2015           Page: 1
  22 17-round magazine or a 19-round magazine, 17s, 19s, and
  23 20s are typically used by law-abiding citizens for
  24 lawful purposes. The sales figures show that.
  25            There are not enough criminals in this
  0094
   1 country, enough mass murderers or any other kind of
   2 miscreants to supply the market for these arms. For
   3 rifles, up to 30 is standard. Not high capacity, not
   4 some accessory you buy afterwards, but the standard
   5 magazine that is made by the factory that you buy with
   6 the gun as part of the standard equipment.
   7           The AR 15 rifle for years has been the
   8 most popular best-selling rifle in the United States.
   9 There's at least 4 million of them right now in private
  10 hands, and then probably a lot more based on recent
  11 months. The AR 15 comes with a standard 30-round
  12 magazine.
  13            Law-abiding citizens choose an AR 15 with
  14 a 30-round magazine or a Smith and Wesson pistol with a
  15 17-round magazine for the same reasons those firearms
  16 are so popular with law enforcement, because they are
  17 good choices for lawful self-defense.
  18            And the Supreme Court says, You look at
  19 what people actually do. In a way, it's a kind of
  20 living constitution to say, Well, what does the Second
  21 Amendment mean today, look at how people actually
  22 exercise the right, and that's what the right is about,
  23 not some theoretical thing, but the practical exercise.
  24            And for the practical exercise of that
  25 right, rifle magazines up to 30, handgun magazines up
  0095
   1 to 20 are within the Supreme Court's common use test.
   2 Obviously this issue may be litigated eventually, but
   3 I'd prefer that it not be.
   4           And if this committee changed the limits
   5 to those I said, to 20 and 30, then I think as someone
   6 who has sketched out this possible case, it becomes a
   7 much, much harder case to win because can you say that
   8 the 50 -- are 50-round magazines rarely used in crime?
   9 Yeah, but they're rarely used by anybody partly because
  10 they're so unreliable. So it would be a lot -- it's a
  11 more difficult argument to put them in the Supreme
  12 Court's common use test.
  13            And as one -- one final point I'd suggest
  14 is as Senator Giron said upstairs in one of the
  15 hearings, that the proper decorum in the Colorado
  16 legislature is to not impugn the motives of other
  17 people, which is a good rule.
  18            And I would urge that as this debate goes
  19 forward and is discussed, that we not impugn the
  20 millions, literally, the tens of millions of people in
  21 this country who own magazines of more than 15 rounds.
  22 They didn't buy them because they want to be mass
                                                                                                     LEG HX 000239                   4155
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             Appellate Case: 14-1290 Document: 01019371762
  23 murderers.                                                                        Date Filed: 01/16/2015           Page: 2
  24            Maybe you think that they -- you know,
  25 they use them for target shooting competitions and you
  0096
   1 think that's not very important. Or maybe you think
   2 the fact that they want a 19-round magazine for
   3 protection is they're being excessively cautious, I
   4 don't agree with that, but at least one can say that in
   5 a polite way.
   6           But to say that these are only made and
   7 only sold to people who want to engage in mass murder
   8 is really an inappropriate slander of tens of millions
   9 of law-abiding people. Thank you.
  10            THE CHAIRWOMAN: Thank you very much.
  11 Very interesting, as usual, Mr. Kopel. You're
  12 always -- I can see why you're a good professor. And I
  13 enjoy watching you on Friday nights on Colorado Inside
  14 Out.
  15            Senator King.
  16            SENATOR KING: Thank you. Thank you,
  17 Madame Chair.
  18            Professor, can you speak to the interest
  19 of Mayor Bloomberg and his interest in Colorado and
  20 specifically, this legislation?
  21            THE CHAIRWOMAN: Mr. Kopel.
  22            MR. KOPEL: Well, it's no secret that
  23 Colorado -- ever since the book "Megatrends" was
  24 published back in the 1970s, Colorado is a trendsetting
  25 state nationally. And Mayor Bloomberg, who has this
  0097
   1 very strong antigun agenda, has said -- it's not a
   2 secret, he said publicly that Colorado is his
   3 organization's top priority because passing more
   4 oppressive antigun laws in New York or New Jersey,
   5 while an easy thing to do, doesn't really impress the
   6 national media or anyone else, and passing something in
   7 Colorado is seen as more of a trendsetting kind of
   8 thing.
   9           As an aside, I will mention one of my
  10 good friends, Richard Feldman, he used to work -- he
  11 was an NRA lobbyist and then he went to work for a
  12 firearms trade association, with which his relationship
  13 ended unhappily. And so he, looking for a job, ended
  14 up working for Mayors Against Illegal Guns.
  15            And he was of the point of view that of
  16 course we should crack down on the stores, the bad
  17 actors, and have stronger enforcement against them.
  18 And he ultimately wasn't able to continue working for
  19 Mayors Against Illegal Guns because he would go to some
  20 of these stores in Virginia and say, This store, this
  21 particular one is a model store. They're great,
  22 they're following all the rules. And not only
  23 following the letter of the law, but they have very
  24 well-trained employees who are constantly on the
                                                                                                     LEG HX 000240                   4156
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  0098
   1 things like that.
   2           And he said, You go back and tell that to
   3 Mayor Bloomberg, it's just like talking to a wall.
   4 This is not a guy who was a moderate gun control guy,
   5 this is a guy who just doesn't like guns, you know,
   6 very much of his Medford Massachusetts roots, in my
   7 friend Richard Feldman's view of the mayor, and he
   8 certainly knows the mayor much better than I do, which
   9 is to say not at all.
  10            SENATOR KING: Thank you.
  11            THE CHAIRWOMAN: Are there any other
  12 questions for Mr. Kopel? Seeing none, thank you very
  13 much for being here today.
  14            MR. KOPEL: Thank you very much, Madame
  15 Chair.
  16            THE CHAIRWOMAN: Let's see, I lost my
  17 list. Evan Todd. Evan Todd? There you are. Please
  18 have a seat. Have a seat there in either place, and
  19 welcome. Please introduce yourself and proceed with
  20 your testimony.
  21            MR. TODD: Thank you. My name is
  22 Evan Todd. I am a survivor of the Columbine massacre.
  23 On that day, I was in the library. I was the first
  24 student targeted in the library. One of the murderers
  25 fired three shots at me, wounding me in the left side
  0099
   1 of my back, my neck, my face.
   2           After they went around and stole many
   3 lives and injured many people, they made their way back
   4 to where I was at, pointed guns in my face, and I had
   5 to talk them out of murdering me. Thank you for
   6 hearing my testimony today.
   7           I believe House Bill 1224 is unfounded
   8 and I don't believe it will do anything to curb
   9 violence. However, it does seize freedoms from regular
  10 Coloradans like myself. This bill seems politically
  11 conceived and emotionally driven.
  12            It's just not based on facts or in
  13 reality. This bill seems to capitalize on horrific and
  14 tragic events. At Columbine, the two murderers used at
  15 least 17, I believe, 17 10-round magazines in one
  16 weapon.
  17            But the two weapons that caused the
  18 majority of the death and destruction in the library
  19 were a double-barrel shotgun and a pump-action shotgun
  20 that held three to four rounds. That sounds like load
  21 capacity to me, and still, they were able to murder
  22 12 students and one teacher.
  23            At Virginia Tech where 32 people were
  24 murdered, the murderer used two pistols, as the
  25 previous person said, with a 10- and 15-round capacity.
  0100
                                                                                                     LEG HX 000241                   4157
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                          doesn't14-1290
                                  seem like it Document:
                                               would have 01019371762                  Date Filed: 01/16/2015           Page: 4
   2 changed Columbine or Virginia Tech. And it also hasn't
   3 been proven that magazine capacity has any correlation
   4 with death toll. It seems like House Bill 1224 singles
   5 out law-abiding citizens who mean no harm, like myself,
   6 the citizens who follow the laws, not the criminals.
   7           This bill sets the stage for every
   8 American to be outgunned by criminals. On some models,
   9 like the ARs and the AKs, 30-round is the standard
  10 magazine capacity. This law would tell citizens of
  11 Colorado that they must use half capacity, 15 rounds.
  12 I don't see the logic in that.
  13           This bill will dictate to Coloradans that
  14 they must defend themselves in certain instances with
  15 one arm tied behind their back while criminals ignore
  16 the laws.
  17           As I look at some of the bills being
  18 talked about today, I see a pattern. There seems to be
  19 a common thread. They seem like they are stealing away
  20 freedoms from people who mean no harm or (inaudible),
  21 yet, empower criminals. The law-abiding will follow
  22 the laws and go with the 15-round magazine, and
  23 criminals will not.
  24           I just -- the one thing I have to ask is,
  25 who does this bill really benefit? And I ask that you
  0101
   1 vote no on this house bill, and that I am opposed to
   2 it. And I thank you for your time.
   3           THE CHAIRWOMAN: Thank you, Mr. Todd.
   4 Senator Lundberg.
   5           SENATOR LUNDBERG: Thank you, Madame
   6 Chair. Mr. Todd, I want to thank you for coming today
   7 and giving your perspective, which is certainly a
   8 clearer view than I. Unfortunately, you've got a much
   9 clearer view of the realties of this, and again, I
  10 thank you for coming.
  11           MR. TODD: Thank you, sir.
  12           THE CHAIRWOMAN: Anyone else? I also
  13 want to thank you for coming and for all of your
  14 ability to even come here and speak today, and hope
  15 that your journey back towards healing and wholeness
  16 since Columbine has been a good one and will continue
  17 to be a good one.
  18           And I appreciate what you've said today.
  19 It gives me some good insight. Thank you very much.
  20           MR. TODD: Thank you. Thank you, all.
  21           THE CHAIRWOMAN: Richard Fitzpatrick.
  22 Welcome, Mr. Fitzpatrick.
  23           MR. FITZPATRICK: Thank you.
  24           THE CHAIRWOMAN: Please introduce
  25 yourself and proceed with your testimony.
  0102
   1           MR. FITZPATRICK: Good afternoon. My
   2 name is Richard Fitzpatrick, and I'm president and
                                                                                                     LEG HX 000242                   4158
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   3 founderAppellate
              of MagpulCase:     14-1290
                            Industries        Document:
                                       Corp. I'm here     01019371762                  Date Filed: 01/16/2015           Page: 5
   4 representing the company and myself.
   5           In early House hearings, our chief
   6 operations officer, Doug Smith, explained the economic
   7 impact this bill would have on Colorado if Magpul was
   8 forced to leave. Others testifying today will cover
   9 the practical, the technical, and the Constitutional
  10 challenges to this bill.
  11            For my part, I think it would be good if
  12 I explained a little about the Magpul Colorado store.
  13 In 1994 I finished my enlistment in the U.S. Marine
  14 Corps. I made Colorado my home primarily because of
  15 the mountains and the state's frontier history.
  16            I settled into a new career as a software
  17 engineer and kept thinking about a product I
  18 contemplated while in the military. It was a simple
  19 rubber loop attached to the base of a rifle magazine
  20 that allowed control under stress during a reload. In
  21 1999, with a leap of faith, I used my entire savings to
  22 apply for a patent on the idea, and built an injection
  23 mold to manufacture it. I simply called the product by
  24 its function, a mag pull, and named the company after
  25 it.
  0103
   1           The company foundations were rooted in
   2 education, training, and individual responsibility that
   3 I learned in the Marine Corps. For a while, the
   4 company's growth was managed by me in my spare time.
   5 However, by late 2003, I could not physically ship and
   6 build the orders that were coming in while working my
   7 software job. So I committed to run Magpul as a
   8 full-time business with the help of Doug Smith and
   9 Mike Mayberry, a skilled designer and engineer from the
  10 mountain bike industry.
  11            Operations were moved out of my basement,
  12 and we rented a small section of a storage building
  13 next to our injection molder in Erie. Employees
  14 followed, including Jessica Johnson, who will be
  15 testifying today. Jessica is one of the first seven
  16 full-time employees of which all are still at Magpul
  17 almost a decade later, something I'm very proud of.
  18            With the added horsepower, Magpul grew
  19 rapidly, continuing to release products at a steady
  20 rate. At this point we're doubling size every 10 to
  21 12 months. We'd already moved into a new location,
  22 occupying the whole building, and followed that by
  23 leasing several other surrounding buildings.
  24            Not being satisfied with what was
  25 available in polymer technology, we began working with
  0104
   1 the developers in the industry to custom compound
   2 plastic to our own specifications. This led to the
   3 original Magpul PMAG being introduced to the
   4 marketplace in 2007. It immediately changed the
                                                                                                     LEG HX 000243                   4159
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             Appellate
   5 benchmark           Case:
                   of what       14-1290
                            a polymer         Document:
                                       magazine   could do.01019371762                 Date Filed: 01/16/2015           Page: 6
   6           In 2008, the first MREV, or military
   7 revision PMAG was released, and fast became the most
   8 used M16, M4 polymer magazine in U.S. combat history.
   9 It has now been fielded in the millions, and has a
  10 documented positive affect on soldiers' survivability.
  11            In 2008, with our commitment to education
  12 and training, we began releasing a series of
  13 comprehensive training DVDs. These videos educated
  14 hundreds of thousands on firearms as tools that require
  15 responsibility, with the emphasis on learning to be an
  16 asset to society, and not a liability.
  17            In 2010 Magpul was one of the first
  18 companies to buck consumer import trends and introduce
  19 a U.S. made iPhone case. The Magpul case was designed
  20 and tooled and manufactured completely here in
  21 Colorado, and was priced one-third less of the
  22 comparable cases brought in from China.
  23            With the majority of our tooling and
  24 production within 30 miles of our Erie headquarters, we
  25 have led the way in showing that U.S. manufacturers can
  0105
   1 become competitive with low-cost imports by using
   2 efficiency of local vendors.
   3           Today Magpul employs approximately 200
   4 people and many more indirectly through our
   5 subcontractors. We put tens of millions of dollars
   6 every year into the local Colorado economy. We are
   7 proud to help to revitalize American industry, but we
   8 are still governed by the principles that the company
   9 was founded on 13 years ago.
  10            Saying that we can stay in Colorado and
  11 sell magazines to civilians in neighboring states, but
  12 not to our fellow Coloradans is counter to these
  13 values.
  14            The legislation does nothing to improve
  15 public safety. A fact that has even been acknowledged
  16 by legislators who support the bill. There's still
  17 legal problems, including lack of definition regarding
  18 marketing and serialization, and what is a readily
  19 convertible or permanently modified magazine.
  20            This bill will cause significant damage
  21 to the Colorado economy and to the people of the state.
  22 We will move our operations out of the state if this
  23 bill is passed into law. For these reasons, along with
  24 the other facts and arguments against it, we urge you
  25 to oppose House Bill 1224. Thank you.
  0106
   1           THE CHAIRWOMAN: Thank you.
   2 Senator King.
   3           SENATOR KING: Thank you, Madame Chair.
   4           Thank you, Mr. Fitzpatrick, for jobs,
   5 jobs, jobs, it is appreciated. Is it my understanding
   6 that because of the ability to easily modify magazines,
                                                                                                     LEG HX 000244                   4160
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             Appellate
   7 that this           Case:
               legislation,      14-1290
                            in essence, wouldDocument:
                                              ban all    01019371762                   Date Filed: 01/16/2015           Page: 7
   8 magazines in Colorado?
   9           THE CHAIRWOMAN: Mr. Fitzpatrick.
  10            MR. FITZPATRICK: In effect, for the
  11 magazines we produce, that is correct. And if I can, I
  12 can demonstrate with some bodies that we have here, if
  13 that's acceptable.
  14            THE CHAIRWOMAN: Sure, Mr. Fitzpatrick,
  15 that would be fine.
  16            MR. FITZPATRICK: To give an example,
  17 this is a 20-round magazine that's produced here, and
  18 this is a 10-round magazine that's produced here.
  19 Under most cases, you would think the law would allow
  20 us to produce and sell the 10-round magazine to
  21 Coloradans.
  22            But, in fact, the magazine normally takes
  23 a floor plate, it goes on the bottom of the magazine
  24 such like this. By removing the floor plate, you can
  25 actually just get an adapter, which you can make the
  0107
   1 magazine from a 10 into a 30 that easily. You can also
   2 take it off and actually make it into a 40-round
   3 magazine if you wanted to, or even go so far as to just
   4 continue on.
   5           So this magazine, under the readily
   6 adaptable, could not be sold here in Colorado. And our
   7 problem is that also, the definition of "readily
   8 adaptable" would have to go to some rules committee and
   9 they would have to come up with a method to describe
  10 how to fix the magazine so that it could not accept
  11 more rounds. That would be a tremendous burden on us
  12 legalitywise and also, manufacturingwise.
  13            THE CHAIRWOMAN: Senator King.
  14            SENATOR KING: Thank you, Madame Chair.
  15            Mr. Fitzpatrick, are you and your company
  16 being courted by other states that would like your jobs
  17 and your company in their state?
  18            THE CHAIRWOMAN: Mr. Fitzpatrick.
  19            MR. FITZPATRICK: Right now we consider
  20 the fight here to be in Colorado. But if we have to
  21 move, at that point in time, we have had a number of
  22 states that have approached us with opportunities for
  23 relocation, yes.
  24            SENATOR KING: Thank you.
  25            THE CHAIRWOMAN: Any other questions?
  0108
   1 Seeing none. Thank you very much for being here.
   2           MR. FITZPATRICK: Thank you.
   3           SENATOR KING: Madame Chair, I have one
   4 last question.
   5           THE CHAIRWOMAN: Sorry, I missed you. Go
   6 ahead, Senator King.
   7           SENATOR KING: Mr. Fitzpatrick, my
   8 understanding is that the economic contribution of arms
                                                                                                     LEG HX 000245                   4161
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   9 and ammunition      Case:  14-1290
                            Colorado          Document:
                                      is 190,780,000;      01019371762
                                                      is that                          Date Filed: 01/16/2015           Page: 8
  10 correct?
  11            THE CHAIRWOMAN: Mr. Fitzpatrick.
  12            MR. FITZPATRICK: I'd like you to define
  13 that a little bit better. We know what our spend
  14 contribution into that is, which is approximately
  15 45 million for last year and a projected of 85 million
  16 for next year.
  17            THE CHAIRWOMAN: Senator King.
  18            SENATOR KING: Okay. Thank you, Madame
  19 Chair.
  20            You caught me off guard there. 35 this
  21 year and 85 next year? Is that what -- as far as your
  22 company is concerned, is that what I just heard?
  23            THE CHAIRWOMAN: Mr. Fitzpatrick.
  24            MR. FITZPATRICK: I believe so, yes.
  25            SENATOR KING: Thank you, Madame Chair.
  0109
   1 I have no more questions.
   2           THE CHAIRWOMAN: (Inaudible) okay.
   3 Senator King.
   4           SENATOR KING: Thank you, Madame Chair.
   5 I have one more question.
   6           THE CHAIRWOMAN: Go right ahead.
   7           SENATOR KING: Can you give us an idea of
   8 how many magazines are in the United States?
   9           THE CHAIRWOMAN: Mr. Fitzpatrick.
  10            SENATOR KING: How ubiquitous is it?
  11            MR. FITZPATRICK: It's hard to make
  12 tallies because there's so many magazine manufacturers,
  13 but it is in the tens of millions.
  14            SENATOR KING: Tens of millions.
  15            MR. FITZPATRICK: It could be more.
  16            SENATOR KING: Or more. Thank you, sir.
  17            THE CHAIRWOMAN: So, Mr. Fitzpatrick,
  18 since this is the first time I've seen those, are you
  19 saying that you don't have a 15-round one made, and
  20 that people would have to buy this part and that part?
  21            Mr. Fitzpatrick.
  22            MR. FITZPATRICK: Not quite. The
  23 magazine capacities go up for the rifles 10, 20, 30, in
  24 those segments. However, the flanges that are built
  25 into the magazines to accept the floor plate also
  0110
   1 allows it to accept extenders.
   2           And to give you an example, the most
   3 common magazine out -- common pistol out there, for
   4 example, is the Glock pistol. That utilizes the same
   5 flanges on the base of the magazine, and there are
   6 extenders available commercially for every available
   7 caliber of that magazine, have been for decades.
   8           THE CHAIRWOMAN: Okay. I was not
   9 understanding. I was thinking that maybe you would
  10 have to redesign a particular kind of magazine to fit a
                                                                                                     LEG HX 000246                   4162
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            Appellate Case: 14-1290 Document: 01019371762
  11 15 size.                                                                          Date Filed: 01/16/2015           Page: 9
  12           Mr. Fitzpatrick.
  13           MR. FITZPATRICK: It's not so much the
  14 capacity, it's just the fact that the body, itself, can
  15 be extended by the nature of attaching a floor plate.
  16 So even a 10-round magazine, which legally would be --
  17 for capacitywise, be legal in the state, the fact that
  18 you could slide off the base plate and slide on an
  19 extender would, therefore, make this 10-round magazine
  20 as legal as a two-round magazine doing the same thing
  21 or a 15-round magazine doing the same thing.
  22           THE CHAIRWOMAN: Uh-huh. Gotcha. Thank
  23 you.
  24           Senator King.
  25           SENATOR KING: Thank you, Madame Chair.
  0111
   1          Mr. Fitzpatrick, would this legislation
   2 make the most popular personal safety firearm in the
   3 United States, the magazine, illegal?
   4          THE CHAIRWOMAN: Mr. Fitzpatrick.
   5          MR. FITZPATRICK: I would have to -- if
   6 you're referring to the AR 15, the -- it is the most
   7 popular defense rifle in the United States, that would
   8 be correct. The standard capacity magazine is
   9 30 rounds that's shipped to military and also to normal
  10 civilian sales, it's a 30-round magazine. It's
  11 actually the first magazine that we ever produced for
  12 the AR 15 platform.
  13           THE CHAIRWOMAN: Senator King.
  14           SENATOR KING: Thank you, Madame Chair.
  15           I actually was talking about the Glock 17
  16 as far as a handgun is concerned. And I'd asked that
  17 of a previous expert witness, and just wondered if you
  18 had an opinion on that.
  19           THE CHAIRWOMAN: Mr. Fitzpatrick.
  20           MR. FITZPATRICK: In reference to the
  21 Glock, then yes, it would make all Glock magazines,
  22 including smaller capacity Glock magazines, illegal due
  23 to the nature of the flanges on the bottom of the
  24 magazine.
  25           SENATOR KING: Thank you.
  0112
   1          THE CHAIRWOMAN: So Mr. Fitzpatrick, I
   2 have this other question about your budget. How much
   3 of your budget is based on supplying the military? How
   4 much of the sales and so forth?
   5          Mr. Fitzpatrick.
   6          MR. FITZPATRICK: It varies. It depends
   7 on deployments by military units. But essentially it
   8 ranges from 50 percent to 20 percent. So 20 percent of
   9 the military or to 50 percent to the military, it
  10 depends on what military operations are going on at the
  11 time.
  12           THE CHAIRWOMAN: So then the nonmilitary
                                                                                                     LEG HX 000247                   4163
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  13 sales Appellate
            then do make Case:  14-1290
                            a good           Document:
                                    part of your business,01019371762
                                                          it                          Date Filed: 01/16/2015           Page: 10
  14 sounds like.
  15            Mr. Fitzpatrick.
  16            MR. FITZPATRICK: It does make a good
  17 part of the business. But that's also separated into
  18 military -- sorry, law enforcement and other
  19 professionals, as well as the civilian (inaudible)
  20 market.
  21            THE CHAIRWOMAN: I see. Okay. Thank
  22 you.
  23            Senator King.
  24            SENATOR KING: Thank you, Madame Chair.
  25            So 45 million last year, 85 million next
  0113
   1 year, have you thought about going public?
   2           THE CHAIRWOMAN: Mr. Fitzpatrick.
   3           MR. FITZPATRICK: Until just recently, we
   4 were quite happy not knowing anyone (phonetic) that we
   5 existed in the state doing what we were doing. But
   6 there's always an option.
   7           THE CHAIRWOMAN: Thank you very much for
   8 being here. I think that's all the questions. Thanks
   9 so much for being here.
  10            MR. FITZPATRICK: Thank you.
  11            THE CHAIRWOMAN: Libardo Jimenez. Good
  12 afternoon. Thank you for being here. Please introduce
  13 yourself and proceed with your testimony.
  14            MR. JIMENEZ: Thank you, Madame Chair.
  15 Thank you for the opportunity to speak today. My name
  16 is Libardo Jimenez. I am the production manager for
  17 Magpul Industries.
  18            I first heard about Magpul Industries
  19 when I was an enlisted Marine in 2003. Ever since then
  20 I was intrigued by the culture that this company had.
  21 After I left the Marine Corps, I worked as a Colorado
  22 Department of Corrections officer, and also held
  23 several jobs in the oil field.
  24            In 2008 I was finally given an
  25 opportunity after I was laid off in the oil field jobs.
  0114
   1 And Magpul would give me a chance with no background in
   2 (inaudible) was a godsend to me.
   3           I first came in as a helping hand in the
   4 shop, cleaning the floor and doing whatever odd jobs
   5 needed to be done. After several months of doing this,
   6 I was promoted to the assembly area, during which we
   7 were able to more than double the production output.
   8           I was taught about assembly processes,
   9 testing, plastic injection molding, personnel
  10 management, and a host of other topics. I was then
  11 promoted to production supervisor in the summer of
  12 2009. During that time we started to see a substantial
  13 growth within the company.
  14            I worked closely with my production
                                                                                                     LEG HX 000248                   4164
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           Appellate
  15 manager,          Case: 14-1290
                 and continued to learn andDocument:    01019371762
                                            to provide an                             Date Filed: 01/16/2015           Page: 11
  16 increasingly growing department. In March 2011 I was
  17 promoted to production manager, a role that I still
  18 hold today.
  19           Being able to come into the company that
  20 fosters growth within and rewards accomplishment is
  21 exactly what I had always been looking for. It is the
  22 same culture and mentality that has allowed so many of
  23 our coworkers to succeed and excel within the company.
  24           If House Bill 1224 passes, these
  25 opportunities will disappear for me and others. Magpul
  0115
   1 will not be able to continue to provide these types of
   2 opportunities to other Coloradans.
   3          Working for Magpul has gave me the tools
   4 I need to provide for my family, while still being able
   5 to keep in touch with the military roots that got me to
   6 where I am today. Losing this job would surely be a
   7 huge negative impact on my livelihood and severely
   8 impact my family's quality of life. On behalf of my
   9 family and coworkers, I urge you to vote no on
  10 House Bill 1224.
  11           THE CHAIRWOMAN: Thank you very much.
  12 Thank you very much for being here. Mr. Jimenez, how
  13 many years have you worked with Magpul? I didn't hear
  14 that, Mr. Jimenez.
  15           MR. JIMENEZ: I'm sure it's been about
  16 four and a half years.
  17           THE CHAIRWOMAN: Four and a half years.
  18           Senator Ulibarri.
  19           SENATOR ULIBARRI: Thank you, Madame
  20 Chair.
  21           And thank you, Mr. Jimenez, for being
  22 here today and sharing your perspective. I just wanted
  23 to thank you for coming here. Were you asked by your
  24 employer to come testify?
  25           MR. JIMENEZ: I was given an opportunity
  0116
   1 to come testify, and I gladly volunteered to do so.
   2          THE CHAIRWOMAN: Senator Ulibarri.
   3          SENATOR ULIBARRI: Mr. Jimenez, I just
   4 heard from your employer that last year he made
   5 $45 million, this year, $85 million, that may make a
   6 decision to move. Do you believe if that company were
   7 to move, that another company would not move in to fill
   8 the market demand?
   9          THE CHAIRWOMAN: Mr. Jimenez.
  10           MR. JIMENEZ: I don't know.
  11           SENATOR ULIBARRI: Thank you.
  12           THE CHAIRWOMAN: Any other questions for
  13 Mr. Jimenez?
  14           Thank you very much for being here. And
  15 please know that we care about you and your family, as
  16 well.
                                                                                                     LEG HX 000249                   4165
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               Oh, Senator    14-1290 Document: 01019371762
                            King.                                                     Date Filed: 01/16/2015           Page: 12
  18           SENATOR KING: Thank you.
  19           How many employees do you manage?
  20           THE CHAIRWOMAN: Mr. Jimenez.
  21           MR. JIMENEZ: Thank you, Madame Chair. I
  22 manage the production section of the company, which is
  23 well over 150 employees.
  24           SENATOR KING: And how many -- I'm sorry,
  25 Madame Chair.
  0117
   1          THE CHAIRWOMAN: That's all right.
   2 Please go ahead, Senator King.
   3          SENATOR KING: And how many of those 150
   4 employees have families?
   5          THE CHAIRWOMAN: Mr. Jimenez.
   6          MR. JIMENEZ: I would have to venture
   7 that everybody has a family.
   8          SENATOR KING: Thank you.
   9          THE CHAIRWOMAN: Thank you very much for
  10 your being here today. And thank you very much for
  11 serving in the United States military.
  12           MR. JIMENEZ: Thank you, ma'am.
  13           THE CHAIRWOMAN: Take care.
  14           Jessica Johnson. Hi, Ms. Johnson,
  15 welcome.
  16           MS. JOHNSON: Hi.
  17           THE CHAIRWOMAN: Please introduce
  18 yourself and proceed with your testimony.
  19           MS. JOHNSON: Thank you for the
  20 opportunity to speak today.
  21           My name is Jessica Johnson. I have
  22 worked for Magpul in the customer service and sales
  23 department for eight years. And I am the first Magpul
  24 employee hired. I handle some of our largest dealer
  25 distributor accounts and deal directly with our
  0118
   1 customers on a daily basis.
   2          Magpul has been a great place to work. I
   3 have watched the company grow, and am glad to have been
   4 able to grow with it. I love my job and I love coming
   5 to work every day. My husband also works at Magpul.
   6 He was the third Magpul employee hired, and he is the
   7 shipping and receiving manager.
   8          In addition to our employment, my
   9 daughter, sister, and niece work here, as well.
  10 Previously my in-laws, mother, father, and stepson,
  11 have all worked for Magpul, and deciding to leave for
  12 different reasons, all which are good.
  13           Magpul has given my husband and I such an
  14 awesome opportunity to grow, that we don't think we
  15 could start over at a new company, nor would we want
  16 to. Our hope is that Magpul will still be able to use
  17 us if they are forced to move. But we do not know
  18 exactly what's going to happen.
                                                                                                     LEG HX 000250                   4166
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                We haveCase:     14-1290
                           one child           Document:
                                     still at home with us01019371762                 Date Filed: 01/16/2015           Page: 13
  20 who will be going to high school next year. The
  21 thought of moving to another state and leaving our
  22 friends and family have been very stressful for him
  23 also. He asks us every day if Magpul has decided to
  24 move and where we would be moving.
  25            I have another son who has a good job in
  0119
   1 Colorado, and he would not move with us. I am very
   2 close to my family, and leaving my kids, my sisters,
   3 parents, nieces, and nephews would be extremely hard
   4 for me. We have made friends with our coworkers, some
   5 of whom we have worked for over 14 years with.
   6            This bill affects so many family members,
   7 friends, and coworkers. Colorado is our home. If this
   8 bill is passed, it will put so many people out of work.
   9 I do not believe that passing this bill is going to
  10 help the violence in this state or country. I ask on
  11 behalf of my family, coworkers, friends, Magpul, and
  12 myself that you please vote no on this bill.
  13            THE CHAIRWOMAN: Thank you, Ms. Johnson.
  14 Thank you for being here because you really do give a
  15 personal picture of what a company is all about, and we
  16 really do appreciate it.
  17            MS. JOHNSON: Thank you.
  18            THE CHAIRWOMAN: Thank you very much.
  19 Senator Aguilar.
  20            SENATOR AGUILAR: Thank you, Madame
  21 Chair.
  22            Actually, maybe not so much to you.
  23 Senator Hodge, my understanding is that the bill was
  24 modified in the house so that Magpul Industries can
  25 continue to work in Colorado; is that correct?
  0120
   1            THE CHAIRWOMAN: Senator Hodge.
   2            SENATOR HODGE: Thank you, Madame Chair.
   3            Yes, Senator Aguilar, it was.
   4            SENATOR AGUILAR: And so if we were to
   5 pass the bill as modified, it would be Magpul's
   6 personal choice to move out of our state, they would
   7 not be forced to move out of our state because of this
   8 bill; is that correct?
   9            THE CHAIRWOMAN: Senator Hodge.
  10            SENATOR HODGE: Thank you, Madame Chair.
  11            That is correct, Senator Aguilar.
  12            SENATOR AGUILAR: Thank you.
  13            Then I would encourage you to talk with
  14 your employer. Thank you.
  15            THE CHAIRWOMAN: Senator Lundberg.
  16            SENATOR LUNDBERG: Thank you, Madame
  17 Chair.
  18            THE CHAIRWOMAN: Senator Lundberg.
  19            SENATOR LUNDBERG: I think I might be
  20 able to give the committee a little bit of insight into
                                                                                                     LEG HX 000251                   4167
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  21 this suggestion      Case:   14-1290
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                                                             I met                    Date Filed: 01/16/2015           Page: 14
  22 with some of the officials with Magpul, and asked them
  23 okay -- and I begged them. I said, Look, please don't
  24 leave, give us a chance to at least repeal the bill.
  25            But they explained, and it makes perfect
  0121
   1 sense, too, that they have a clientele -- international
   2 clientele. And for them to actually produce a product
   3 that's illegal in the state that produces it in sends a
   4 message that is just completely unacceptable to the
   5 industry.
   6            And I perfectly understand that. You
   7 know, to suggest otherwise is to tell them you don't
   8 know how to run your business. Well, they do. And
   9 they know the only way to run their business is in a
  10 state that allows their business to be fully legal.
  11            THE CHAIRWOMAN: Senator Aguilar.
  12            SENATOR AGUILAR: Thank you, Madame
  13 Chair. And I do think that is a personal choice of the
  14 company, but I want to make clear that this bill would
  15 not make what they do illegal.
  16            THE CHAIRWOMAN: Are there other points?
  17 questions? Nothing from my right side. Okay.
  18            Well, thank you again for being here
  19 today and sharing with us your thoughts and your
  20 background and your experience.
  21            MS. JOHNSON: Thank you, Madame Chair.
  22            THE CHAIRWOMAN: Thank you.
  23 Cara Heller. Hi, Ms. Heller.
  24            MS. HELLER: Hi.
  25            THE CHAIRWOMAN: Thanks for being here.
  0122
   1 Please introduce yourself and proceed with your
   2 testimony.
   3            MS. HELLER: Thank you, Madame Chair, for
   4 having me today.
   5            My name is Cara Heller, and I'm a proud
   6 Magpul employee. I'm a Colorado native, I'm married,
   7 and I have two sons, ages 2 and 9. I work hard every
   8 day as a compliance specialist, making sure we abide by
   9 all federal, state, and city laws and regulations based
  10 on the products we make and sell and who we sell them
  11 to.
  12            Magpul treats me with the utmost respect,
  13 and has given me a great job with career progression
  14 and opportunities I've never had with any other job in
  15 Colorado. This includes my professional training,
  16 health and educational benefits to better myself and my
  17 family.
  18            If I felt that this law banning magazines
  19 over 15 rounds would protect my 9-year-old and
  20 2-year-old son, I would gladly sacrifice my job for
  21 their protection. But I know that this bill will not
  22 protect them. It only takes one bullet to hurt my
                                                                                                     LEG HX 000252                   4168
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  23 boys.Appellate Case: 14-1290 Document: 01019371762                               Date Filed: 01/16/2015           Page: 15
  24            As I told you, I'm a compliance
  25 specialist. So I know and ensure that we do not sell
  0123
   1 more than a 10-round magazine in the Chicago area, yet,
   2 even with a 10-round magazine, Chicago has had an
   3 extraordinary number of deaths in the last several
   4 years.
   5           And yet, I do know, and you know, too,
   6 that the loss of my job and career will have a
   7 devastating affect on my boys and my family. That, we
   8 all know is for certain. I urge you to vote no on 1224
   9 and to find a true solution for our protection. My
  10 boys and I are counting on it.
  11            THE CHAIRWOMAN: Thank you, Ms. Heller.
  12 Are there any questions? Seeing none, thank you very
  13 much for being here.
  14            MS. HELLER: Thanks for your time.
  15            THE CHAIRWOMAN: Harold Byers (sic).
  16 Thank you for being here today.
  17            MR. DORANS: Thank you.
  18            THE CHAIRWOMAN: Please have a seat and
  19 introduce yourself and proceed with your testimony.
  20            MR. DORANS: Thank you, Chair.
  21            My name is Rich Dorans, and I'm the vice
  22 president of operations for PTA plastics. PTA has
  23 operations in Longmont, Colorado, and Oxford,
  24 Connecticut. PTA has been in business 60 years. On
  25 March 1st, we celebrated our one-year anniversary of
  0124
   1 becoming an employee-owned company.
   2           I'm here today on behalf of the
   3 175 employee owners of PTA plastics. Throughout the
   4 '80s and '90s, the plastics industry in Colorado was at
   5 its peak. The consumer electronics and computer
   6 industries relied heavily on the Colorado injection
   7 molding community.
   8           During the late 1990s the industry was
   9 faced with a significant challenge. Offshoring was no
  10 longer a threat, it was a reality, and it happened
  11 very, very quickly. PTA felt the impact of work moving
  12 to China. Well, we were fortunate to have a
  13 diversified market portfolio.
  14            Senior management made a conscious
  15 decision in 2000 to focus our marketing on the medical,
  16 defense, and security markets. We felt these markets
  17 were less likely to move manufacturing to low-cost
  18 countries.
  19            Our industry, once again, was impacted
  20 with the aftermath of 9-11 and crippled by the
  21 recession of 2008, 2009. PTA successfully weathered
  22 those storms and was fortunate to begin a partnership
  23 with Magpul in 2010.
  24            Magpul's business philosophy is very
                                                                                                     LEG HX 000253                   4169
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  25 unique Appellate   Case:uncommon
              and extremely    14-1290 today.
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                                                 Their goal is to                     Date Filed: 01/16/2015           Page: 16
  0125
   1 source as much as they can on the Front Range of
   2 Colorado. Their presence and growth has made a
   3 significant impact to the injection molding community
   4 in Colorado.
   5           PTA has grown with Magpul. We've seen
   6 double-digit growth over the past three years. We've
   7 increased staffing by nearly 20 percent, added five
   8 molding machines, and two machining centers which are
   9 used to build tools. We've invested over $2 million in
  10 capital over the last two years.
  11           It's unfortunate our 175 employee owners
  12 are faced with the threat of losing a significant piece
  13 of business due to our top customer leaving the state
  14 of Colorado.
  15           While the gun control issue is
  16 emotionally and politically charged, we must be aware
  17 that in any legislation that has near and long term
  18 negative impacts on our tenuous economy. It's about
  19 jobs, our employees, and their families.
  20           Magpul has been loyal to Colorado since
  21 their inception, and it would be unjust to see them
  22 leave and stimulate the economy of another state. On
  23 behalf of PTA's 175 employees, I urge you to not put
  24 our Colorado jobs and our Colorado company at risk. I
  25 urge you to stop House Bill 1224 from moving forward.
  0126
   1 Thank you very much.
   2           THE CHAIRWOMAN: Thank you, Mr. Dorans.
   3 Senator King.
   4           SENATOR KING: Thank you, Madame Chair.
   5           Thank you, Mr. Dorans, for encouraging
   6 jobs, jobs, jobs in Colorado, we appreciate that.
   7 Could Magpul get what you do cheaper in India?
   8           THE CHAIRWOMAN: Mr. Dorans.
   9           MR. DORANS: In India?
  10           SENATOR KING: China, overseas, you pick
  11 the location.
  12           THE CHAIRWOMAN: Mr. Dorans.
  13           MR. DORANS: Absolutely. They could
  14 probably get a much cheaper property, and not the
  15 quality that is produced in the state of Colorado.
  16           THE CHAIRWOMAN: Senator King.
  17           SENATOR KING: Thank you.
  18           Mr. Dorans, can you speak to the loyalty
  19 of Magpul?
  20           THE CHAIRWOMAN: Mr. Dorans.
  21           MR. DORANS: You know, in today's day and
  22 age, there aren't many customers that are as loyal as
  23 Magpul is. The entire Front Range of Colorado, you
  24 know, if you look back in the 1980s, 1990s, it was --
  25 we were at the top, we were number one when it came to
  0127
                                                                                                     LEG HX 000254                   4170
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   1 injection molding.Case: 14-1290 Document: 01019371762                            Date Filed: 01/16/2015           Page: 17
   2           Most of that did go away, that business
   3 did evaporate. It's been a blessing to have somebody
   4 like Magpul come in and really stimulate the injection
   5 molding economy in the state of Colorado. They are
   6 very loyal.
   7           THE CHAIRWOMAN: Senator King.
   8           SENATOR KING: Thank you, Madame Chair.
   9           So Magpul has 200, roughly, employees;
  10 you said that you have 175 employees, all with
  11 families. Can you give me an idea of how many
  12 businesses would be affected and how many people would
  13 be affected, jobs would be affected should this
  14 legislation pass?
  15           THE CHAIRWOMAN: Mr. Dorans.
  16           MR. DORANS: I can't speak for the entire
  17 industry. You know, in -- the supply chain is huge.
  18 And the supply chain for everything that we're doing
  19 with Magpul is within the state of Colorado. So it not
  20 only affects the injection molders, but it affects tool
  21 makers, it affects polishers, it affects heat treaters,
  22 welders, a number of other employees, as well, and
  23 their families.
  24           THE CHAIRWOMAN: Senator King.
  25           SENATOR KING: Thank you, Madame Chair.
  0128
   1           Mr. Dorans, can you advise me who would
   2 have that answer? Who would know exactly how many
   3 families, businesses would be -- would it be Magpul?
   4           THE CHAIRWOMAN: I'm sorry, Mr. Dorans.
   5           MR. DORANS: Magpul would have a better
   6 idea than I because I'm not sure of their entire supply
   7 chains.
   8           SENATOR KING: Thank you. Appreciate it.
   9           THE CHAIRWOMAN: Any other questions for
  10 Mr. Dorans? Thank you very much for being here. Good
  11 information.
  12           MR. DORANS: Thank you very much.
  13           THE CHAIRWOMAN: Mr. Michael Shain.
  14 Welcome, Mr. Shain.
  15           MR. SHAIN: Thank you.
  16           THE CHAIRWOMAN: Please have a seat and
  17 introduce yourself and proceed with your testimony.
  18           MR. SHAIN: Thank you, Madame Chair.
  19           My name is Michael Shain. I run a
  20 company called Aimpro. It's located in Golden,
  21 Colorado. And although we're not nearly as large as
  22 Magpul or the previous companies that have been up
  23 here, we are in the firearms industry. We like to
  24 think that some day we would have a similar trajectory
  25 as Magpul.
  0129
   1           My background is in law enforcement. I
   2 moved my business from California to Colorado 10 years
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   3 ago because        Case: 14-1290
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                                                 regulations and                      Date Filed: 01/16/2015           Page: 18
   4 laws in California made it very difficult for me to
   5 operate a firearms-related business.
   6           I operate the Mossberg Law Enforcement
   7 Service Center. We service all the law enforcement
   8 shotguns for all the agencies across the United States.
   9 They're sent to my facility in Golden for service. I'm
  10 also the Mossberg national law enforcement instructor.
  11            Although I'm not here representing
  12 Mossberg, our focus is obviously -- the majority of our
  13 focus is on shotguns at this time, although we do deal
  14 in other firearms.
  15            So you have me at a little bit of a
  16 disadvantage because I had planned to come up here and
  17 talk a great deal about shotguns and the language in
  18 the bill that has to do with shotguns. I'm encouraged
  19 to hear from Senator Hodge that there's been some
  20 amendment to that language, but I just want to make
  21 sure that I understand it.
  22            Because the economic impact of the kind
  23 of, you know, under-the-radar shotgun language that
  24 really hasn't been focused on could be enormous for the
  25 state of Colorado. And I want to remind the committee
  0130
   1 that there are more than 1,200 federally
   2 firearms-licensed dealers in the state of Colorado.
   3           Some of them are mom and pop operations,
   4 some of them are larger shops, big-box stores. All of
   5 those dealers, manufacturers, gunsmiths would be
   6 affected by this legislation in a negative economic
   7 way.
   8           So if you'd permit me, I have to kind of
   9 delete some of my talking points because you caught me
  10 off guard with your amendment. Although I'm
  11 encouraged, I do want to say that I'm here to represent
  12 my business. We have only a few employees. We had
  13 planned to add more employees, although that's on hold
  14 for the time being.
  15            I represent them, I represent my
  16 customers, and I believe that I represent all of the
  17 legal gun-owning citizens of Colorado that are
  18 concerned about this legislation.
  19            The bill, prior to the amendment that was
  20 offered up today by Senator Hodge, is deeply flawed in
  21 the area of shotguns. And although Professor Kopel and
  22 folks from Magpul are a very difficult act to follow,
  23 I'd like to just touch on a couple of technical aspects
  24 about the shotgun legislation.
  25            And if I may ask Senator Hodge, if I'm
  0131
   1 correct, that the modification to the bill will make
   2 any shotgun that can accept eight rounds of shotgun
   3 ammunition, is that the language that we're moving to?
   4           Because the original language, can be
                                                                                                     LEG HX 000256                   4172
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   6 as being flawed, because I can literally take any
   7 shotgun with a tubular magazine and convert it to hold
   8 more than eight rounds of ammunition.
   9            So that would mean that virtually -- and
  10 I would say, in the state of Colorado, if you were to
  11 go into any of the gun stores today that have any
  12 product on their shelf, 80 percent of their shotguns
  13 would have tubular magazines, pump and semiautomatic
  14 shotguns. So 80 percent of the shotguns sold in the
  15 state of Colorado would fall under the readily
  16 convertible to hold more than eight rounds.
  17            So the language would need to be
  18 explicitly in the affirmative, any shotgun that does
  19 hold more than eight rounds or has been modified to
  20 hold more than eight rounds would fall under the
  21 restriction. Am I correct in understanding that?
  22            THE CHAIRWOMAN: Senator Hodge, do you
  23 have some information or a response for us on that?
  24            SENATOR HODGE: Thank you, Madame Chair.
  25            We are just limiting however you get
  0132
   1 there to eight. You can put the magazine on to make it
   2 eight --
   3            THE CHAIRWOMAN: Mr. Shain.
   4            MR. SHAIN: Thank you, Madame Chair.
   5            Senator Hodge, I'm sorry, forgive me, I
   6 don't understand how you get there from here, is what
   7 I'm saying. Any of these shotguns, by virtue of their
   8 design -- and I'm sorry, I have a white paper here that
   9 might be helpful. If the members of the committee
  10 would like to look this over, I'd be happy to
  11 distribute it. I'm not sure how it's done.
  12            THE CHAIRWOMAN: Yeah, Ms. Smith will get
  13 it from you and (inaudible).
  14            MR. SHAIN: And this addresses some of
  15 these technical issues. Tubular magazine shotguns and
  16 detachable box or drum magazine shotguns can simply not
  17 be described or dealt with in the same way from a
  18 design or technical standpoint.
  19            Tubular magazines by design are the
  20 attachment point for the barrel on most shotguns that
  21 use a tubular magazine, virtually all of them. So by
  22 design, a shotgun with a tubular magazine falls within
  23 this description, in the original bill, of any shotgun
  24 that can be readily converted to accept. That's why
  25 the language must be changed to be in the affirmative,
  0133
   1 any shotgun that will accept or has been converted to
   2 accept.
   3            Because right now under the bill, the way
   4 that it is written, virtually every hunting shotgun in
   5 the state of Colorado that uses a tubular magazine will
   6 fall under this restriction. That means that I won't
                                                                                                     LEG HX 000257                   4173
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   7 be ableAppellate
             to give my Case:  14-1290
                          son my             Document:
                                   hunting shotgun  when01019371762
                                                           we go                      Date Filed: 01/16/2015           Page: 20
   8 hunting together or when he takes it out to go hunting
   9 on his own. I won't be able to leave it to him when
  10 I'm gone.
  11           It means that hunters from out of state
  12 who come to Colorado for the purposes of hunting upland
  13 game, duck, geese, and bring a shotgun with a tubular
  14 magazine, either a pump or a semiautomatic shotgun,
  15 after July 1st, a shotgun that can be readily converted
  16 to accept more than eight rounds of magazine -- or
  17 excuse me, eight rounds of ammunition will be
  18 criminals.
  19           They won't come to Colorado anymore. All
  20 the revenue that we see from those hunters, possibly
  21 hundreds of thousands of them, they won't be here to
  22 buy our fuel, to eat in our diners, to buy our supplies
  23 from the local gun stores, they won't buy out-of-state
  24 hunting licenses.
  25           So it's very, very important from a
  0134
   1 technical standpoint that this language be exactly
   2 technically correct. Because at this point in time,
   3 those shotguns that we're talking about can't even be
   4 given to me for repair after July 1st.
   5          Even law enforcement agencies, under the
   6 language of this bill, cannot bring their shotguns to
   7 me to be repaired or I will be in violation, I'll lose
   8 my federal firearms license, and I have a license to
   9 manufacture. So this is a very serious issue from the
  10 aspect of the shotgun language.
  11           And let me just say that there had been
  12 testimony before I came up here by Professor Kopel that
  13 it was very incisive about the length of the shotgun
  14 magazine, too, that it should be 28 inches long because
  15 a three-and-a-half-inch-long shotgun shell, the
  16 capacity would need to be 28 inches to accommodate
  17 eight rounds.
  18           Well, 12-gauge shotguns are designed in
  19 three basic chambering configurations,
  20 two-and-three-quarter-inch, three-inch, and
  21 three-and-a-half-inch. And as it was said earlier by
  22 one of the senators, there's also a competitive shotgun
  23 round that's a little shorty, we call it.
  24           And that -- that term, capacity, when
  25 being used in connection with a shotgun is just simply
  0135
   1 not the same as when we use the term capacity with a
   2 box or a drum magazine that accepts a metallic
   3 cartridge because they're inserted into the magazine in
   4 a different way. In a shotgun, they're inserted end to
   5 end. In a box magazine or a drum magazine, they're
   6 inserted one on top of the other. And the diameter of
   7 those center-fire cartridges does not change the way
   8 the length of a shotgun shell does.
                                                                                                     LEG HX 000258                   4174
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   9        Appellate   Case: 14-1290 Mr.Document:
               THE CHAIRWOMAN:                           01019371762
                                              Shain, we can -- we                     Date Filed: 01/16/2015           Page: 21
  10 will take your information. This is your testimony,
  11 not a time to question back and forth. But we will
  12 certainly take your testimony. As we've discussed, as
  13 (inaudible) discusses this now.
  14            But Senator King, do you have a question?
  15            SENATOR KING: Yes, Madame Chair, thank
  16 you.
  17            Mr. Shain, on the possibility that the
  18 vice president calls and this bill is not amended,
  19 would you -- are you saying that by not being amended,
  20 this bill would ban all shotguns and magazines in
  21 Colorado?
  22            THE CHAIRWOMAN: Mr. Shain.
  23            MR. SHAIN: Thank you, Madame Chair.
  24 Thank you, Senator.
  25            No, I'm not saying that, because
  0136
   1 double-barrel shotguns, side by side, over and under,
   2 and single-barrel break-action shotguns will not be
   3 banned, they'll be the only shotguns that are not
   4 banned. And they account for probably somewhere
   5 between 10 and 20 percent of the overall number of
   6 shotguns that are produced and sold in Colorado.
   7           But more to your point, the vast majority
   8 of all the commonly-used shotguns in Colorado right
   9 now, the ones that are used by the hunters, the trap
  10 and skeet shooters, the sport and clay users, the folks
  11 that shoot competition, three-gun matches, IBPA, IPSC,
  12 Steel Challenge, all the folks that use these for
  13 sporting and hunting use with a tubular magazine, those
  14 guns will be banned, because you're not just banning a
  15 magazine with a shotgun, you're banning the entire
  16 firearm because you can attach magazines.
  17            THE CHAIRWOMAN: Senator King.
  18            SENATOR KING: Thank you, Madame Chair.
  19            Mr. Shain, thank you for adding to
  20 Colorado's economy. Thank you for the jobs that you
  21 provide. If, in fact, this bill is not amended, what
  22 affect would that have not only on your business, but
  23 other businesses within that specific job area?
  24            THE CHAIRWOMAN: Mr. Shain.
  25            MR. SHAIN: Thank you, Madame Chair. And
  0137
   1 thank you for the question, Senator, because it's a
   2 very important point.
   3           As I said earlier, I run a much smaller
   4 business than Magpul or the injection molding company
   5 that testified before me. But it's a very, very
   6 similar situation because I outsource all of my parts
   7 to local machine shops. Most of my supply chain is
   8 here in Colorado, that I can get here in Colorado.
   9           So if this bill is not amended, if it
  10 goes forward as written and these shotguns are no
                                                                                                     LEG HX 000259                   4175
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              legal for me     14-1290
                           to service, repair,Document:  01019371762
                                               modify, sell,                          Date Filed: 01/16/2015           Page: 22
  12 or use, for that matter, I have to consider seriously
  13 moving out of the state as well as Magpul is doing.
  14            I don't want to. I came here because
  15 Colorado was a friendly environment. My two kids are
  16 in universities here. All of my vendors are here.
  17 I've established relationships with them. But you're
  18 absolutely right, I may not affect as many jobs as the
  19 larger companies like Magpul and the injection molding
  20 companies, but our business plan calls for us to expand
  21 over the next two years.
  22            I moved out of the basement of my home
  23 when I started. I'm currently in a 4,400-square-foot
  24 facility. My business plans calls for us to be in a
  25 10,000-square-foot facility by June of 2014. That
  0138
   1 isn't going to happen if this bill goes forward.
   2           And all of those -- the revenues that
   3 come from shotgun use, notwithstanding what happens to
   4 my company, all of those mom and pop operations, gun
   5 stores, gunsmiths -- and we have two of the best
   6 gunsmithing schools in the nation here in Colorado.
   7 They've produced some of the best gunsmiths in the
   8 nation. All of those resources will be affected by
   9 this ban, this effective de facto ban on shotguns with
  10 tubular magazines.
  11            THE CHAIRWOMAN: Thank you.
  12            Mr. Shain, we're going to have to move
  13 forward. Thank you so much for being here today.
  14            MR. SHAIN: Thank you, Madame Chair. And
  15 thanks to the committee for letting me speak today.
  16            THE CHAIRWOMAN: Thank you.
  17            Sheriff Kirk Taylor. (Inaudible.) Thank
  18 you for being here, Sheriff Taylor.
  19            MR. TAYLOR: Thank you, Madame Chair.
  20            THE CHAIRWOMAN: Please introduce
  21 yourself -- well, we'll let everyone get here before we
  22 start so you can have the ... Okay. Please introduce
  23 yourself and proceed with your testimony.
  24            MR. TAYLOR: Good afternoon, Madame
  25 Chair. My name is Kirk Taylor. I'm the elected
  0139
   1 sheriff in Pueblo County, Colorado. I'm also a proud
   2 democrat, and prouder still to be here with my
   3 colleagues to oppose this bill, 1224.
   4           According to some well-educated people in
   5 our communities, there's been some link between
   6 high-capacity magazine rounds and mass shootings. In
   7 fact, there has been a suggestion that less bullets in
   8 a magazine is a less lethal combination that makes
   9 sense.
  10            The problem is, one bullet is lethal.
  11 There's a video on YouTube that's produced by a sheriff
  12 that shows what I could teach anybody, any of the
                                                                                                     LEG HX 000260                   4176
file:///X|/.../HB%201224%20and%201229/HB%201224/Transcripts%20of%20legislative%20history/House%20Bill%2013-1224-030413.txt[10/31/2013 2:57:31 PM]
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                  here. AsCase:
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                                    firearms instructor,    01019371762
                                                         I can                        Date Filed: 01/16/2015           Page: 23
  14 teach you all within about 15 to 20 minutes on how to
  15 reload your magazine in about four seconds. So -- and
  16 I think any law enforcement instructor, firearms
  17 instructor can do that.
  18              Just as more rounds is not less lethal
  19 and presents a problematic sense of security somehow,
  20 the real answers are found in the use of the weapon and
  21 the type of mental capacity it takes to be the shooter.
  22 Not necessarily in the amount of rounds and speed in
  23 which you deploy the deadly rounds, but the type of
  24 person that it takes to do it.
  25              I think we find ourselves in a position
  0140
   1 in the state of Colorado with these gun bills where we
   2 can make a difference, when the society is looking for
   3 answers, and we lose sight of the forest for the trees,
   4 or the side of the real problem for how many bullets
   5 are in the stack.
   6             The real problem is that (inaudible)
   7 societies, schools, teachers, and yet despite all of
   8 this, not because of it, they decide to take a human
   9 life, it's easy to do. Just this week in Pueblo we
  10 decided that threats were enough to seek the person who
  11 made them, and that we should look at the person, and
  12 lastly to enlist a professional group of educators,
  13 mental health professionals, and law enforcement with
  14 the parents to isolate another teen who had made
  15 threats against one of our institutions.
  16              That would not make sense to only make
  17 sure that that person had a hundred rounds in
  18 10 magazines or 90 in three magazines, what would make
  19 sense was to identify, isolate, mandate, educate, and
  20 prevent that one person from having any kind of
  21 firearm, knife or deadly weapon. And that's what we've
  22 done.
  23              The problem with this legislation that,
  24 in essence, my fellow sheriff's going to get up here
  25 and testify, that it's unenforceable to us, as
  0141
   1 sheriffs. The fact that you can drive across the
   2 border to Wyoming and buy all the 30-round clips you
   3 want, there's no -- the onus has been on the
   4 prosecution to prove that they didn't -- they weren't
   5 grandfathered in if this legislation were to pass.
   6             If law enforcement, parents, mental
   7 health professionals, neighbors, or a teacher wants
   8 somebody checked out for a large capacity to hurt
   9 others, I think our time would be better spent to
  10 release them from the liability that they would incur
  11 having told law enforcement about this potentially
  12 dangerous individual.
  13              If you use a firearm committing a crime,
  14 five years mandate with no parole no matter what. I
                                                                                                     LEG HX 000261                   4177
file:///X|/.../HB%201224%20and%201229/HB%201224/Transcripts%20of%20legislative%20history/House%20Bill%2013-1224-030413.txt[10/31/2013 2:57:31 PM]
  15 think Appellate     Case: 14-1290tool. Document:
            that's a crime-prevention          I have just a01019371762               Date Filed: 01/16/2015           Page: 24
  16 couple more things here, and I'll let Sheriff Smith
  17 touch on some of the unenforceable aspects of this bill
  18 if it should pass.
  19            But I just want to say, this bill just
  20 doesn't make any sense from our perspective. I sit on
  21 the board of directors for the county sheriffs of
  22 Colorado, we really looked at this in the light of
  23 public safety.
  24            In our opinion, it doesn't do anything to
  25 enhance public safety. All it does is to minimize our
  0142
   1 citizens' ability to either target practice or have the
   2 ability to own these types of magazines. That's all I
   3 have, Madame Chair.
   4           THE CHAIRWOMAN: Thank you so much.
   5 Sheriff Taylor. Are there any questions for Sheriff
   6 Taylor? comments?
   7           Senator Lundberg.
   8           SENATOR LUNDBERG: Thank you, Madame
   9 Chair, I'll be very brief because I know we have a very
  10 limited amount of time, only a few more minutes,
  11 unfortunately, not enough time for everyone.
  12            But gentlemen, I would be remiss if I did
  13 not thank you personally on behalf of the people of
  14 Colorado for not only standing up for us day in and day
  15 out, but standing up for our rights, as well, right
  16 here. Thank you very much.
  17            THE CHAIRWOMAN: I could call -- the next
  18 person is Dudley Brown -- oh, I'm sorry, Senator
  19 Aguilar.
  20            SENATOR AGUILAR: Thank you. Thank you,
  21 Madame Chair.
  22            Just one question. What would -- do you
  23 think there would be adverse affects on Colorado
  24 citizens' safety if we pass this law?
  25            THE CHAIRWOMAN: Sheriff Taylor.
  0143
   1           MR. TAYLOR: An adverse affect. I think
   2 any time that you restrict people's property rights in
   3 transferring or possessing any type of property,
   4 whether it be cows, I happen to raise cattle, or guns,
   5 or the ability to purchase something legally, that you
   6 adversely affect the constituents that we are sworn to
   7 protect.
   8           THE CHAIRWOMAN: Senator Aguilar.
   9           SENATOR AGUILAR: Thank you, Madame
  10 Chair.
  11            I think I meant, like, safety. Do you
  12 think it would harm anyone's safety if we were to pass
  13 this restriction?
  14            THE CHAIRWOMAN: Sheriff Taylor.
  15            MR. TAYLOR: Yes, ma'am. I mean, in the
  16 sense that a citizen who wants to have a 30-round clip
                                                                                                     LEG HX 000262                   4178
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                                                           without                    Date Filed: 01/16/2015           Page: 25
  18 grandfathering that in. And I think in that kind of
  19 conceptual sense, it would have an adverse effect on
  20 our constituents.
  21            THE CHAIRWOMAN: Senator Aguilar.
  22            SENATOR AGUILAR: Thank you, Madame
  23 Chair.
  24            To the best of your knowledge, has a
  25 citizen ever utilized a 30-round clip to defend
  0144
   1 themselves?
   2            THE CHAIRWOMAN: Sheriff Taylor.
   3            MR. TAYLOR: No, ma'am. But we had a
   4 police shooting with a 30-round clip. 16 rounds were
   5 fired at a distance at about 60 feet, and one actually
   6 hit its target. So I think the ability to have those
   7 rounds in a gun battle, whether it be citizen or law
   8 enforcement, is extremely important to have that
   9 capacity.
  10            THE CHAIRWOMAN: Senator Aguilar.
  11            SENATOR AGUILAR: I'm sorry, could you
  12 clarify? What do you mean by you had a police
  13 shooting? The policeman had 30 rounds or the
  14 perpetrator had 30 rounds?
  15            MR. TAYLOR: Actually, the police officer
  16 had 30 rounds. And the perpetrator had, I believe,
  17 16 rounds. My point was, the citizens should have the
  18 same right to defend themselves as the criminals who
  19 are putting the ...
  20            THE CHAIRWOMAN: Thank you for your
  21 testimony today.
  22            SENATOR AGUILAR: I'm not done.
  23            THE CHAIRWOMAN: The next person --
  24 Senator, I need to move on. We have just a few more
  25 minutes.
  0145
   1            The next person is Dudley Brown. Thank
   2 you for being here, Mr. Brown. Could you please
   3 introduce yourself and proceed with your testimony.
   4            MR. BROWN: Thank you, Madame Chairman.
   5            Members of the committee, my name is
   6 Dudley Brown. I'm with Rocky Mountain Gun Owners. I'm
   7 going to try and be real quick since I know we have a
   8 limited time. There are many people, of course you
   9 know, who have been waiting out in the hallways all day
  10 long to speak, especially on this particular bill.
  11            Friday about a million and a half people
  12 in Colorado got a very rude awakening when some people
  13 found out that this bill will ban pump shotguns in the
  14 state of Colorado. Now, we've heard some testimony on
  15 that earlier. I concur with that testimony.
  16            The modification of pump shotguns is
  17 virtually limitless in many ways. And that is the most
  18 common firearm in the state of Colorado, is a pump
                                                                                                     LEG HX 000263                   4179
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  19 shotgun,            Case:
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  20 committee and the sponsors of the bill, clearly, you
  21 have something to address to a large number of people.
  22            I'm going to skip most of the things I
  23 was going to say for time. But what I'd like to know
  24 is, how many rounds is it okay to defend my family
  25 with? How many? It seems kind of arbitrary, doesn't
  0146
   1 it, how many rounds you'll allow me to defend my family
   2 with or to my wife to defend my kids with or the
   3 citizen next door to me to defend me with? It's an
   4 arbitrary number and we all know it. It was picked out
   5 of the air, and it doesn't make any sense.
   6           The unintended consequence of this law is
   7 that it will be fireworks stands on the border of
   8 Wyoming, just like they do fireworks, and they're going
   9 to set up stands selling magazines. And people will
  10 flaunt it. And I believe it's very detrimental to
  11 state law to flaunt that, to pass the kind of laws that
  12 people distinctly ignore. And I don't like it.
  13            But I would like to give my time here to
  14 a lady that -- a member of ours, who is compelling, her
  15 name is Lily Tang Williams who signed up to speak, and
  16 let her briefly say some words, if that's okay with the
  17 chairman.
  18            THE CHAIRWOMAN: Sure. We have
  19 12 minutes left, and there are two other major groups
  20 to testify, so if you could be brief.
  21            MS. WILLIAMS: Well, good afternoon,
  22 Madame Chair here and to the senators and everybody
  23 here. My name is Lily Tang Williams. I was born in
  24 communist China. And to grow up there as a child
  25 (inaudible) and the police say that they can come knock
  0147
   1 on our doors at night without searching warrant. And
   2 also, we are not allowed to legally own any guns.
   3           So when the criminals come to rob our
   4 house, we have to defend ourself with a knife, kitchen
   5 knife, and whatever we can get our hands on.
   6           And I come to this country for freedom
   7 and for liberty, including your Second Amendment rights
   8 to own guns. And I thought because your Constitution,
   9 I loved it, it will protect me forever to have that
  10 right with me.
  11            But now I see this is slipping away. And
  12 I wanted to tell you the horrible stories I grew up in
  13 China (inaudible) know that lead under tyranny, it's
  14 very, very scary. And I know that lots of people here
  15 say, We're not Chinese communists, we are U.S.
  16 government. But I can tell you, I see (inaudible), I
  17 think global trend that the citizens -- law-abiding
  18 citizens are losing their rights --
  19            THE CHAIRWOMAN: Ma'am, could you please
  20 -- could you please keep your comments to the state of
                                                                                                     LEG HX 000264                   4180
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  21 Colorado?                                                                        Date Filed: 01/16/2015           Page: 27
  22            MS. WILLIAMS: Yes.
  23            THE CHAIRWOMAN: Just to save time.
  24            MS. WILLIAMS: I strongly oppose the
  25 bill -- I strongly oppose this bill because we limit
  0148
   1 the magazines for law-abiding citizens to have. I want
   2 to ask you a question. Do the criminals limit their
   3 magazines? Do they government (inaudible) tyranny to
   4 limit to their magazine sizes? If our Constitutional
   5 rights are to protect ourself of the tyranny and the
   6 criminals, why (inaudible). It's not fair game at all.
   7           THE CHAIRWOMAN: Thank you for your
   8 testimony.
   9           MS. WILLIAMS: And one more thing,
  10 Chairwoman. I want to say, I come to this country for
  11 freedom, not for tyranny. I wanted to ask you a
  12 question. You say communists (inaudible) end up taking
  13 my rights away from guns, why should you take my rights
  14 away from guns to defend myself? Why? Why? Like,
  15 it's a shame on you (inaudible).
  16            THE CHAIRWOMAN: Thank you for your
  17 testimony.
  18            Senator King.
  19            SENATOR KING: Thank you, Madame Chair.
  20 Mr. Brown, who do you represent and how many members do
  21 you have?
  22            THE CHAIRWOMAN: Mr. Brown.
  23            MR. BROWN: Madame Chairman,
  24 Senator King, I represent Rocky Mountain Gun Owners,
  25 which is -- I think we have 17,000 members in the state
  0149
   1 of Colorado. I also represent the National Association
   2 for Gun Rights, which has 2.4 million members.
   3           SENATOR KING: Thank you.
   4           THE CHAIRWOMAN: Okay. Senator Ulibarri.
   5           SENATOR ULIBARRI: Thank you, Madame
   6 Chair.
   7           I wanted to follow up on Senator King's
   8 line of questioning.
   9           Mr. Brown, does your organization engage
  10 in candidate endorsements?
  11            THE CHAIRWOMAN: Mr. Brown.
  12            MR. BROWN: Of course we do. We have a
  13 small donor committee that has a pack.
  14            THE CHAIRWOMAN: Senator Ulibarri.
  15            SENATOR ULIBARRI: Thank you, Madame
  16 Chair.
  17            And did your organization ask
  18 specifically about this legislation in making any
  19 determination for endorsements?
  20            THE CHAIRWOMAN: Mr. Brown.
  21            MR. BROWN: Senator, yes, actually, we
  22 did. We asked both the assault rifle question, we
                                                                                                     LEG HX 000265                   4181
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  23 askedAppellate
             magazine Case:
                         ban, we14-1290      Document:
                                  asked a whole           01019371762
                                                 slew of questions,                   Date Filed: 01/16/2015           Page: 28
  24 I think about 15 questions.
  25            THE CHAIRWOMAN: Senator Ulibarri.
  0150
   1           SENATOR ULIBARRI: Thank you, Madame
   2 Chair.
   3           So if someone answers your question
   4 correctly, are they endorsed and get the money to
   5 support your position?
   6           THE CHAIRWOMAN: Mr. Brown.
   7           MR. BROWN: Not always. There are a
   8 whole slew of questions, of course, and they must
   9 answer all of them correctly, yeah, before we'll
  10 endorse them.
  11            THE CHAIRWOMAN: Senator Ulibarri.
  12            SENATOR ULIBARRI: Thank you, Madame
  13 Chair.
  14            So sitting here on this panel before you
  15 today, has your organization endorsed and given money
  16 to any of the folks sitting here in front of us? I've
  17 heard some questions about --
  18            UNIDENTIFIED SPEAKER: Madame Chair,
  19 that's not appropriate.
  20            THE CHAIRWOMAN: Yeah, Senator --
  21 Mr. Ulibarri --
  22            UNIDENTIFIED SPEAKER: Absolutely. With
  23 very little time left, we -- it's not appropriate to
  24 deal with this political question.
  25            SENATOR ULIBARRI: I want to make my
  0151
   1 point. I'd like to finish, if possible.
   2           THE CHAIRWOMAN: Senator Ulibarri --
   3           SENATOR ULIBARRI: I would just like to
   4 finish if possible.
   5           THE CHAIRWOMAN: Senator Ulibarri --
   6           SENATOR ULIBARRI: Because we've heard
   7 people asking about whether or not people have received
   8 phone calls from the vice president. There's somebody
   9 sitting before us today who has given money directly to
  10 candidates on this panel.
  11            And so I think the question is
  12 appropriate, and the other questions were not ruled out
  13 of order.
  14            UNIDENTIFIED SPEAKER: Yes, Senator, and
  15 we're going to give money against your opponents,
  16 too -- for your opponents, so thank you.
  17            THE CHAIRWOMAN: Thank you for your
  18 testimony. And I'm now going to call the last person.
  19 There's two people, and we only have about a minute and
  20 a half. So I'm going to call Greg Alfred. Mr. Alfred,
  21 I'm sorry, but you have about a minute and a half to
  22 testify.
  23            MR. ALFRED: Okay. Then, if you don't
  24 mind, then I'll probably -- I'll read and be more
                                                                                                     LEG HX 000266                   4182
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  25 directAppellate
              and not --Case: 14-1290 Document: 01019371762                           Date Filed: 01/16/2015           Page: 29
  0152
   1            THE CHAIRWOMAN: Yes, sure.
   2            MR. ALFRED: Good afternoon. My name
   3 is -- good afternoon, Madame Chair, and committee
   4 members. My name is Greg Alfred. I'm here to oppose
   5 HB 1224. I represent myself and the 179 employees,
   6 $6.8 million in payroll and $650,000 in taxes my
   7 companies contribute.
   8            I'd like to tell you a little bit about
   9 Alfred Manufacturing. We currently employee 149 people
  10 at our Denver facility, located in the Globeville
  11 neighborhood, District 34, which I believe is Madame
  12 Chair's district.
  13             These are good-paying jobs with great
  14 benefits. We pay 98 percent of our employees' health
  15 care insurance. We offer 401(k) savings plans. We
  16 have profit sharing programs.
  17             If this legislation passes, it would
  18 say -- at least 100 of the 150 people employed at my
  19 Denver facility will no longer be needed or will lose
  20 their jobs. Our 15,000-square-foot expansion plans at
  21 this location, along with an additional 50 jobs we are
  22 planning for, will be scrapped. It will be necessary
  23 for us to set up operation where Magpul relocates.
  24             Unfortunately for Colorado, this business
  25 that my company does for this customer is easily
  0153
   1 transportable. It would be easy to move this part of
   2 the business to another state. I've already had many
   3 requests from other states with legitimate offers
   4 supporting a move to their state.
   5            If HB 1224 passes, it will not slow down
   6 production, but it will cost jobs. It's no wonder
   7 these other states are so interested in this business.
   8 It is a fairly known statistic that, to answer
   9 questions that were asked before, manufacturing jobs
  10 create seven more in the supply chain.
  11             I'm here today not only for the workers
  12 that work for me, but those companies -- those who work
  13 for the companies who supply goods and services to us.
  14 To be clear, we are talking about thousands of Colorado
  15 jobs if Magpul leaves the state.
  16             I'm a third-generation Colorado
  17 businessman and a fourth-generation Colorado native.
  18 It took two and a half generations for us to build our
  19 company, reinvesting everything we could back into the
  20 business to get it to 50 employees. Since we started
  21 doing business with Magpul in the beginning, we have
  22 grown to 150 in just the last six years.
  23             I heard something earlier that was a
  24 little bit disturbing. Magpul spends with their
  25 subcontractors, spends with their subcontractors
  0154
                                                                                                     LEG HX 000267                   4183
file:///X|/.../HB%201224%20and%201229/HB%201224/Transcripts%20of%20legislative%20history/House%20Bill%2013-1224-030413.txt[10/31/2013 2:57:31 PM]
            Appellate
   1 45 million          Case: purchases.
                  in Colorado   14-1290 They're
                                             Document:
                                                    talking01019371762                Date Filed: 01/16/2015           Page: 30
   2 about increasing that to 85 million next year. That's
   3 not their revenue, that's how much they put back in the
   4 state to subcontractors such as myself.
   5           THE CHAIRWOMAN: Mr. Alfred, I'm sorry,
   6 we are out of time.
   7           MR. ALFRED: Just one last thing.
   8           THE CHAIRWOMAN: I'll let you bring it to
   9 the close as fast as you can.
  10            MR. ALFRED: Okay. So what I'm saying
  11 is, before any legislator casts their vote, I'd
  12 personally invite them to tour my Denver facility and
  13 meet the people their vote will be impacting.
  14            I'd like to personally repeat my offer to
  15 you, Madame Chair, to visit our facility. We're right
  16 over here between I-25 and I-70. Many of our workers
  17 live in your district. Many of these workers are among
  18 those who will lose their jobs if HB 1224 passes.
  19            Madame Chair and fellow committee
  20 members, thank you for allowing me to address. Thank
  21 you for serving this great state of ours. And always
  22 keep Colorado's best interests driving your decisions.
  23 Please vote no on HB 1224.
  24            THE CHAIRWOMAN: Thank you very much.
  25 Senator Lundberg. Senator Lundberg.
  0155
   1           SENATOR LUNDBERG: Madame Chair, if I
   2 understand it correctly, we are out of time for the
   3 allotted time. I appreciate your giving both sides an
   4 equal time on everything. But I know a lot of citizens
   5 have come who have been unable to express their
   6 opinion, except maybe outside of the rules.
   7           But would it be appropriate, just simply
   8 by a show of hands or something like that, be able to
   9 give everybody an opportunity to indicate their support
  10 or their opposition to this bill?
  11            THE CHAIRWOMAN: That would be
  12 appropriate. Those in favor of the bill, raise your
  13 hand. Those in opposition? Thank you very much --
  14 okay. Thank you very much for being here today.
  15            MR. ALFRED: Thank you once again for
  16 your time.
  17            THE CHAIRWOMAN: So the testimony phase
  18 is closed now. We're going to go back to Senator Hodge
  19 and any closing remarks. And also, we will move your
  20 bill and your amendment. So please go ahead.
  21            SENATOR HODGE: Thank you, Madame Chair.
  22 No, I think we have covered this -- covered it again.
  23 If you would move the bill and the amendment. I'd be
  24 happy to explain the amendment again. Or if you're all
  25 clear, I'm also good with that.
  0156
   1           THE CHAIRWOMAN: All right. So members,
   2 I'm going to move House Bill 1224. And the amendment
                                                                                                     LEG HX 000268                   4184
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   3 L.023.Appellate
              Would you Case:   14-1290
                           like to           Document:
                                   describe the          01019371762
                                                amendment?   I                        Date Filed: 01/16/2015           Page: 31
   4 know you did in the beginning, but --
   5           SENATOR HODGE: I'd be happy to do it.
   6           THE CHAIRWOMAN: -- hit some points.
   7           SENATOR HODGE: Amendment L.023. Amend
   8 the bill as we have it in front of us today to describe
   9 what a large-capacity magazine means. It means, "A
  10 fixed or detachable magazine, box, drum, feed strip, or
  11 similar device capable of accepting, or that is
  12 designed to be readily converted to accept, more than
  13 15 rounds of ammunition; (II) A fixed magazine or
  14 similar device that is capable of accepting more than
  15 eight shotgun shells; or (III) A detachable
  16 magazine --" I'm reading you the amendment. I think
  17 you can read the amendment. How about I read you --
  18           THE CHAIRWOMAN: Thank you. All right.
  19           SENATOR HODGE: -- what it does.
  20           THE CHAIRWOMAN: That's good.
  21           SENATOR HODGE: All right. It creates a
  22 separate clearer definition for high-capacity magazines
  23 for shotguns. It makes sure that the future sale to
  24 common hunting shotguns with the ability to accept tube
  25 extenders are not outlawed by the language of the bill.
  0157
   1           With this amendment, owners can have
   2 attachments and six magazines. And manufacturers can
   3 still make the same guns they've always made, that the
   4 combination of capacity between the fixed capacity of
   5 the firearm and any extender cannot be more than eight.
   6           The language clarifies that high-capacity
   7 magazines will be banned that are specifically designed
   8 to be readily converted to accept more than 15 rounds
   9 of ammunition. It will make clear that it will be
  10 illegal to sell magazines that are smaller than
  11 15 rounds, but are designed to stack together like
  12 Lego's to make much larger, higher capacity magazines.
  13           Part II of the amendment includes
  14 retailers that sell directly to the government and law
  15 enforcement agencies in the exception to the legal sale
  16 of high-capacity magazines in Colorado, government
  17 entities and to law enforcement.
  18           No. III, this portion of the amendment
  19 clarifies that only manufacturers who are specifically
  20 exempt from the penalties of the bill are allowed to
  21 transfer high-capacity magazines out of state.
  22           And No. IV is the identification marking
  23 for large capacity magazines. This amendment clarifies
  24 that manufacturers of high-capacity magazines in
  25 Colorado will not be required to put serial numbers on
  0158
   1 each high-capacity magazine, but instead, will be
   2 required to add a permanent stamp or marking that
   3 indicates the magazine was manufactured after the
   4 effective date of the bill.
                                                                                                     LEG HX 000269                   4185
file:///X|/.../HB%201224%20and%201229/HB%201224/Transcripts%20of%20legislative%20history/House%20Bill%2013-1224-030413.txt[10/31/2013 2:57:31 PM]
   5        Appellate   Case: argued
               Manufacturers    14-1290      Document:
                                       that requiring a 01019371762                   Date Filed: 01/16/2015           Page: 32
   6 different serial number for each magazine would create
   7 a significant expense in the manufacturing process.
   8 This amendment will make sure that they do not incur
   9 those expenses while also ensuring that law enforcement
  10 will be able to tell the difference between
  11 newly-manufactured high-capacity magazines that will be
  12 illegal on the streets of Colorado and those previously
  13 owned magazines that have been grandfathered in. And
  14 that's the amendment.
  15            THE CHAIRWOMAN: Thank you. Are there
  16 any questions on the amendment? Is there any objection
  17 to Amendment L.023? Seeing none, that amendment is
  18 passed. We are now to the bill. Any further
  19 discussion?
  20            UNIDENTIFIED SPEAKER: Madame Chair,
  21 (inaudible).
  22            THE CHAIRWOMAN: Sir, you are out of
  23 order. Sir -- you may need to remove this man if he
  24 continues.
  25            So we are moving the bill to the
  0159
   1 committee of the whole.
   2           Senator King.
   3           SENATOR KING: Thank you, Madame Chair.
   4           (Interruption.)
   5           SENATOR KING: Thank you, Madame Chair.
   6 You know, it's been said that democracy is two wolves
   7 and a lamb voting on what's for lunch. And liberty,
   8 liberty is a well-armed lamb contesting the vote.
   9           Madame Chair, government should never put
  10 law-abiding citizens in a position of criminals having
  11 the superior weapons of violence. The first law of
  12 nature is every creature's right to self-defense.
  13            30 years of investigating violent crime,
  14 and I have found the answer to the question. For the
  15 protection of your family and your life and those you
  16 care about, how many rounds are enough? Just one more
  17 than the bad guy.
  18            Yet economic impact of this legislation
  19 to Colorado who just last year, the battle cry was
  20 jobs, jobs, jobs, is devastating. I will be a no vote.
  21            THE CHAIRWOMAN: Further discussion?
  22 Senator Lundberg.
  23            SENATOR LUNDBERG: Thank you, Madame
  24 Chair.
  25            First I want to apologize to the citizens
  0160
   1 of the state of Colorado for the way this has been
   2 forced into a rush situation. What we have before us
   3 today is one of seven bills, all of which are designed
   4 to further tighten the control of the honest,
   5 law-abiding citizen over their Constitutional rights in
   6 both the federal government's constitution and the
                                                                                                     LEG HX 000270                   4186
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   7 state'sAppellate   Case: 14-1290 Document: 01019371762
             constitution.                                                            Date Filed: 01/16/2015           Page: 33
   8           I apologize that many have come from
   9 many, many miles away, have been waiting for hours upon
  10 end trying to get in just to give their input as a
  11 citizen of this state at the public hearing. That is,
  12 once again, constitutionally guaranteed.
  13            I apologize that the choice was made to
  14 put all seven bills in one day. You can't even attend
  15 all the hearings because we've got two of them going on
  16 at the same time.
  17            Now, we've had many people speak both
  18 directions, and so this committee has actually gotten a
  19 pretty good picture of the situation overall. And for
  20 that, I am grateful that we at least have gotten the
  21 ideas out there.
  22            I should hope this committee has heard
  23 not only from the -- those who have been testifying,
  24 but from the constant blare of horns and protests
  25 outside, from the crowds in the hallways, and I don't
  0161
   1 know about you, but my aide is counting the e-mails in
   2 the thousands now.
   3           Senator Hodge, I oppose this bill because
   4 it is one of the bills that is designed to further
   5 tighten down on the controls of the citizens. And I am
   6 going to finish my comments with something that was
   7 just handed to me a few minutes ago from somebody who
   8 came here to testify and wasn't able to. And I'm not
   9 going to read everything, but there are a couple of
  10 portions of paragraphs I believe are very well put.
  11            This individual says, I, too, was shocked
  12 and saddened by the tragedy at Sandy Hook and too many
  13 others like it. You believe that tighter gun laws are
  14 the answer, I do not. Our actions must be focused on
  15 the root of the problem, the erosion of our moral
  16 fiber, kids that have been desensitized from hours of
  17 violent video games, and the complete failure of our
  18 system to recognize and deal with people who show signs
  19 of dangerous behavior, these are all contributing
  20 factors in this ongoing debate.
  21            But somehow it ends up being about guns
  22 and high-capacity magazines. This isn't about guns.
  23 This is about control. This is about an antigun agenda
  24 where the end game is to completely disarm every
  25 American citizen. Aren't the 20,000 gun laws that are
  0162
   1 already on the books enough? I say (inaudible) to
   2 that, and no to this bill.
   3           THE CHAIRWOMAN: Any further discussion?
   4 Senator Aguilar.
   5           SENATOR AGUILAR: Thank you,
   6 Senator Hodge, for bringing this bill forward. And I
   7 want to thank those of you who have been victims who
   8 came forward and testified in support of the bill.
                                                                                                     LEG HX 000271                   4187
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   9        Appellate
               I do wantCase:
                          to say14-1290
                                  that I am --Document:
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  10 be amazed by the hostility that we are hearing from
  11 people who are opposed to this bill both here and in
  12 committee, honking disrespectfully around the building,
  13 and having a gentleman sit here and directly tell my
  14 colleague that he's going to give money to his
  15 opponent?
  16            I've never seen such unprofessional
  17 behavior and such emotion-filled inability to think
  18 about what the consequences have been and the lives of
  19 these people whose lives have been irreparably harmed,
  20 and I'll be happy to vote for your bill today.
  21            THE CHAIRWOMAN: Any other discussion?
  22            I, too, want to thank you for bringing
  23 this bill forward. This is a challenging time here in
  24 Colorado. Some may say it's the best of -- it's the
  25 worst of times and it's the best of times.
  0163
   1           I believe that these are the times that
   2 call for our moving forward. So with that, Ms. Smith,
   3 will you please take the vote.
   4           MS. SMITH: Senator Aguilar.
   5           SENATOR AGUILAR: Yes, ma'am.
   6           MS. SMITH: Senator King.
   7           SENATOR KING: No, ma'am.
   8           MS. SMITH: Senator Lundberg.
   9           SENATOR LUNDBERG: No.
  10            MS. SMITH: Senator Ulibarri.
  11            SENATOR ULIBARRI: Yes.
  12            MS. SMITH: Madame Chair.
  13            THE CHAIRWOMAN: Aye.
  14            MS. SMITH: It passes 3 to 2.
  15            THE CHAIRWOMAN: It passes 3 to 2, you're
  16 on your way to the committee of a whole.
  17            (Inaudible.)
  18            THE CHAIRWOMAN: Thank you, Ms. Hodge.
  19 We're going to be in a short recess until we get
  20 Senator --
  21            (Whereupon, the audio recording was
  22 concluded.)
  23
  24
  25
  0164
   1                 CERTIFICATE
   2 STATE OF COLORADO                     )
     CITY AND COUNTY OF DENVER ) ss.
   3
   4       I, TERESA HART, Registered Professional
   5 Reporter and Notary Public for the State of Colorado,
   6 do hereby certify that this transcript was taken in
   7 shorthand by me from an audio recording and was reduced
   8 to typewritten form by computer-aided transcription;
   9 that the speakers in this transcript were identified by
                                                                                                     LEG HX 000272                   4188
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  10   me toAppellate
              the best ofCase:  14-1290
                          my ability          Document:
                                     and according   to the01019371762                Date Filed: 01/16/2015           Page: 35
  11   introductions made and written materials provided; that
  12   the foregoing is a true transcript of the proceedings
  13   had; that I am not attorney, nor counsel, nor in any
  14   way connected with any attorney or counsel for any of
  15   the parties to said action or otherwise interested in
  16   its event.
  17         IN WITNESS WHEREOF, I have hereunto affixed my
  18   hand and notarial seal this 24th day of June, 2013.
  19         My commission expires: January 15, 2016.
  20
  21                 __________________________________
  22                        TERESA HART
                     Registered Professional Reporter
  23                       and Notary Public
                      CALDERWOOD-MACKELPRANG, INC.
  24
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           Appellate Case: 14-1290 Document: 01019371762                              Date Filed: 01/16/2015           Page: 36
  0001
   1 CITY AND COUNTY OF DENVER
   2 STATE OF COLORADO
   3 JUDICIAL COMMITTEE MEETING
   4 Held on March 8, 2013
   5 HOUSE BILL 13-1224
   6 ------------------------------------------------------
   7 REPORTER'S TRANSCRIPT
   8 ------------------------------------------------------
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  10           This transcript was taken from an audio
  11 recording by Teresa Hart, Registered Professional
  12 Reporter and Notary Public.
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  0002
   1 SPEAKERS:                                 PAGE
     Senator Hodge                  3, 7, 9, 123, 193
   2 Senator Brophy              5, 7, 26, 145, 165, 196
     Senator Roberts                        13, 49
   3 Senator Lundberg 21, 53, 111, 146, 149, 153, 170, 200
     Senator Crowder                         33, 174
   4 Senator Baumgardner                 35, 76, 114, 158
     Senator Marble               39, 73, 76, 114, 158
   5 Senator Lambert                     44, 120, 122
     Senator Renfroe             57, 147, 161, 173, 191
   6 Senator Scheffel                   67, 148, 186
     Minority Leader Cadman                   81, 197, 200
   7 Senator Grantham                         95, 177
     Senator Balmer                            125
   8 Senator King                         128, 172
     Senator Hill                           144
   9 Senator Harvey                         154, 176
     Minority Leader Carroll                      199
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                                                                                                     LEG HX 000274                   4190
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  18       Appellate Case: 14-1290 Document: 01019371762                              Date Filed: 01/16/2015           Page: 37
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  0003
   1              PROCEEDINGS
   2           *     *     *     *    *
   3           THE CHAIRWOMAN: -- to House Bill 1224.
   4           MR. MAJORS: House Bill 1224 by
   5 Representative Fields and Senator Hodge concerning
   6 prohibiting large-capacity ammunition magazines.
   7           THE CHAIRWOMAN: And Senator Hodge is on
   8 her way.
   9           THE CHAIRMAN: Senator Hodge.
  10            SENATOR HODGE: Thank you, Mr. Chair. I
  11 move House Bill 1224 and I move the judiciary committee
  12 report.
  13            THE CHAIRWOMAN: To the judiciary
  14 committee report, Senator Hodge.
  15            SENATOR HODGE: Thank you, Mr. Chair.
  16            The committee report created a separate
  17 clear definition for high-capacity magazines for
  18 shotguns to make sure that future sales of common
  19 hunting shotguns with tube extenders are not outlawed.
  20            Owners can have attachments and six
  21 magazines. Manufactures can still make the same guns
  22 they've always made, but the combination of capacity
  23 between the fixed capacity of the gun and any extenders
  24 cannot be more than eight. As an aside, I have an
  25 amendment to fix this, but this is what the committee
  0004
   1 report reads.
   2           It also makes clear that high-capacity
   3 magazines will be banned if they are specifically
   4 designed to be readily converted to accept more
   5 than 15 rounds of ammunition. It makes clear that it
   6 will be illegal to sell magazines that are smaller than
   7 15 rounds but are designed to stack together like
   8 Lego's to make larger high-capacity magazines.
   9           It also includes retailers that sell to
  10 the government and law enforcement agencies in the
  11 exception for legal sale of high-capacity magazines to
  12 government entities and law enforcement in Colorado.
  13            It clarifies that only manufacturers who
  14 are specifically exempt from the penalties of the bill
  15 are allowed to transfer high-capacity magazines out of
  16 state. Thank you.
  17            And finally, it clarifies that
  18 manufacturers of high-capacity magazines will not be
  19 required to put serial numbers on each magazine, but
                                                                                                     LEG HX 000275                   4191
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           Appellate
  20 will be  required Case:
                        to add 14-1290
                               a permanent Document:      01019371762
                                             stamp or marking                         Date Filed: 01/16/2015           Page: 38
  21 that indicates the manufacture after the date of this
  22 bill.
  23            This reduces the burden on the
  24 manufacturer, but also allows law enforcement to tell
  25 the difference between newly-manufactured and
  0005
   1 grandfathered-in magazines. I ask for an aye vote.
   2           THE CHAIRMAN: Is there any further
   3 discussion on the committee report? Seeing none, the
   4 motion before the body is the adoption of the
   5 judiciary -- Senator Brophy.
   6           SENATOR BROPHY: Thank you, Mr. Chair.
   7           Members, to the committee report, and we
   8 can probably adopt it because it's better than -- well,
   9 I don't even know if it's better than not adopting it,
  10 but there was an attempt in the committee report to
  11 change the bill so that the common shotgun wouldn't be
  12 banned any longer in the state of Colorado.
  13            As the bill passed the house and had
  14 their clear stated support of other folks in this
  15 building, this bill actually banned the common shotgun,
  16 the shotgun that everybody uses to go pheasant hunting,
  17 that everybody uses to go duck hunting in the state of
  18 Colorado.
  19            After July 1st you would not be able to
  20 buy a new one. You wouldn't be able to give it to
  21 someone to let them fix it for you, nothing. You were
  22 just out of luck. If you brought a shotgun into the
  23 state of Colorado from out of state that you had just
  24 purchased for your fall hunt, you were risking, I
  25 think, 12 months in jail for having violated this law,
  0006
   1 and the amendment in committee didn't fix it.
   2           So the committee passed the bill
   3 (inaudible) to the floor that still bans the common
   4 shotgun in Colorado starting July 1st. So you can
   5 either vote for or against this committee report, but
   6 it doesn't really make things better, it just clouds
   7 them up.
   8           THE CHAIRMAN: Is there any further
   9 discussion on the judiciary committee report? Seeing
  10 none, the motion before the body is the adoption of the
  11 judiciary committee report. All those in favor, say
  12 aye. Those opposed, no. The ayes have it and the
  13 report is adopted. To the bill.
  14            SENATOR HODGE: House Bill 1224 -- thank
  15 you, Mr. Chair --
  16            THE CHAIRMAN: Senator Hodge --
  17            SENATOR HODGE: Yes.
  18            THE CHAIRMAN: There is the amendment on
  19 the desk. Do you want to address the amendment before
  20 you move in --
  21            SENATOR HODGE: I would like to, please.
                                                                                                     LEG HX 000276                   4192
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  22       Appellate   Case: 14-1290
               THE CHAIRMAN:                Document:
                                      Mr. Majors          01019371762
                                                  (phonetic),                         Date Filed: 01/16/2015           Page: 39
  23 would you please read Amendment L.026.
  24           MR. MAJORS: (Inaudible) 1224.
  25           SENATOR HODGE: Thank you, Mr. Chair.
  0007
   1 Amendment L.026 --
   2          THE CHAIRMAN: Senator Hodge, can you
   3 move your amendment?
   4          SENATOR HODGE: I move Amendment L.026.
   5          THE CHAIRMAN: Thank you.
   6          SENATOR HODGE: In kind of one of the
   7 ironies of living in the electronic age, I was sitting
   8 at my desk watching my twitter when I saw that
   9 Mr. Kopel said I had not fixed the shotgun problem.
  10           So I asked him to help me, and this is --
  11 he says it makes a bad bill better. He is not -- I'm
  12 not telling you that he supports the bill, but he
  13 worked very hard to help me fix this one issue. And I
  14 really do want to thank him for that.
  15           What this does is it says that you can
  16 have a shotgun that has a tubular extension, it can
  17 have one that is less than 28 inches. That's basically
  18 what it does. I ask for an aye vote.
  19           THE CHAIRMAN: Is there any discussion on
  20 L.026. Senator Brophy.
  21           SENATOR BROPHY: Thank you, Mr. Chairman
  22 and Senator Hodge, and for everybody in the chamber and
  23 everybody in the state of Colorado. See what happens
  24 when you listen to a Coloradoan on a bill like this, as
  25 opposed to somebody from New York City.
  0008
   1          This amendment does, indeed, make the
   2 common shotgun in Colorado -- the common hunting
   3 shotgun in Colorado legal. It significantly changes
   4 the way the bill came over, in that with a 28-inch
   5 magazine, tubular magazine on the bottom side of your
   6 shotgun, you would actually be able to put 19 of the
   7 shortest 12-gauge rounds in it, and eight of the
   8 three-and-a-half-inch super magnums, that's a new
   9 round, I've never even shot it, but I have a lot of the
  10 three-inch and two-and-three-quarter.
  11           So this amendment definitely makes a bad
  12 bill better, and probably saves 50 jobs from leaving
  13 Colorado. So congratulations, we are starting to talk
  14 about jobs and the economy, more to come.
  15           THE CHAIRMAN: Again, I'll remind the
  16 chamber of senate decorum, to not impugn the motives of
  17 a Colorado senator standing before you, a Coloradoan,
  18 and why this person may have chosen to run this bill.
  19 Please speak directly either to the amendment or to the
  20 bill at hand. But to continue to impugn the motives of
  21 our Colorado state senate colleagues is inappropriate
  22 per decorum rules.
  23           So with that, is there any further
                                                                                                     LEG HX 000277                   4193
file:///X|/...r/HB%201224%20and%201229/HB%201224/Transcripts%20of%20legislative%20history/House%20Bill%2013-1224-030813.txt[11/5/2013 7:32:54 AM]
            Appellate
  24 discussion         Case:Seeing
                  on L.026?    14-1290none, Document:   01019371762
                                            the motion before                         Date Filed: 01/16/2015           Page: 40
  25 the body is the adoption of Amendment L.026. All those
  0009
   1 in favor, say aye.
   2           (A response was heard.)
   3           THE CHAIRMAN: Those opposed, no.
   4           (No response was heard.)
   5           THE CHAIRMAN: The ayes have it and the
   6 amendment is adopted. To the bill. Senator Hodge.
   7           SENATOR HODGE: Thank you, Mr. Chairman.
   8           I guess I should make it clear that we
   9 don't feel that we had ever banned shotguns. But I
  10 think this amendment that we have just passed makes a
  11 lot clearer what our intent was.
  12            House Bill 1224 prohibits the sale,
  13 transfer, or possession of an ammunition feeding device
  14 that is capable of accepting more than 15 rounds of
  15 ammunition or more than 28 inches of shotgun shells.
  16 It grandfathers in those larger capacities currently in
  17 one's possession, but specifies that they must be kept
  18 with the current owner.
  19            Violation is a Class 2 misdemeanor. A
  20 second offense is a Class 1 misdemeanor. And it's a
  21 Class 6 felony to have a larger than 15-round magazine
  22 or 28-inch tube in the commission of a felony or any
  23 crime of violence.
  24            Manufacturers may continue to make
  25 larger-capacity magazines for transfer to a branch of
  0010
   1 the armed forces, a governmental agency, a firearms
   2 retailer who sells outside of Colorado, a foreign
   3 national government approved by the United States
   4 government for such transfers.
   5           High-capacity magazines can kill large
   6 numbers of people quickly. Many of those currently in
   7 use are larger in capacity than what we give our armed
   8 forces in battle.
   9           The Department of Justice analyzed
  10 selected cities and found them to be used --
  11 high-capacity magazines to be used in 14 to 26 percent
  12 of gun crimes, and 31 to 41 percent of fatal police
  13 shootings.
  14            Mayors Against Illegal Guns conducted a
  15 comprehensive analysis of every mass shooting between
  16 January 2009 and January 2013 that was identifiable
  17 through FBI data and media reports. High-capacity
  18 magazines were used in 28 percent of the incidents.
  19 This is disproportionate to the use in overall crime,
  20 which was about 2 percent of the time.
  21            Mass shootings in which they were used
  22 resulted in an average of 15.6 total people shot,
  23 123 percent more than shot in other incidents , which
  24 is 7; and 8.3 deaths, 54 percent more than the five
  25 other occurrences.
                                                                                                     LEG HX 000278                   4194
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  0011      Appellate Case: 14-1290 Document: 01019371762                             Date Filed: 01/16/2015           Page: 41
   1           Shootings involving these type of
   2 magazines include Newtown, Connecticut, December 14th,
   3 2012, 26 people killed, including 20 1st grade
   4 children. The shooter had multiple 30-round magazines.
   5 Oak Creek, Wisconsin, August 5th, 2012, six people
   6 killed, three wounded at a Sikh temple. The shooter
   7 had three 19-round magazines.
   8           Aurora, Colorado, July 20th, 2012,
   9 12 people dead, 58 injured, 100-round drum magazine was
  10 used. Tucson, Arizona, January 8th, 2011, six killed,
  11 13 wounded, including Congresswoman Gabby Giffords.
  12           Fort Hood, Texas, November 5, 2009,
  13 13 people killed, 34 wounded, 20- and 30-round
  14 magazines. Binghamton, New York, April 3rd, 2009,
  15 13 people killed, four injured. A 30-round capacity
  16 magazine was found at the scene. Virginia Tech,
  17 April 16th, 2007, 32 people were shot and killed, 17
  18 others were wounded.
  19           It's been argued that this would be an
  20 impossible legislation to enforce so we shouldn't even
  21 try to pass this bill. Well, during the time of the
  22 assault weapons ban from 1994 to 2004, a study in
  23 Virginia of guns recovered from crime scenes that had
  24 high-capacity magazines showed that immediately upon
  25 passing the ban, we had an uptick in the use of
  0012
   1 high-capacity magazines, and you can see that right
   2 here.
   3           But fairly soon, in 2000, the curve went
   4 down. And it continued going down through 2007, even
   5 after the ban ended in 2004. This shows that the
   6 effects won't be immediate, but banning these magazines
   7 will make a difference in the long run.
   8           We've heard a great deal about the affect
   9 the loss of Magpul would have in our economy and in
  10 jobs in this economy. I respect their right to make a
  11 business decision and understand that they've been
  12 seeking incentives from a variety of states. I hope
  13 they respect our right to increase the safety of our
  14 citizens.
  15           An amendment was added to this bill in
  16 the House that specifically addressed their ability to
  17 remain in Colorado if they so choose. This bill is
  18 merely an attempt to reduce the slaughter.
  19           Frequently the people who commit these
  20 crimes are not familiar with guns and ammunition, and
  21 they have trouble reloading. In the Giffords case, it
  22 was at that point that someone was able to tackle the
  23 shooter and end the carnage.
  24           Data from emergency rooms across the
  25 country suggest that home-defense gun use is relatively
  0013
   1 rare. A competent defender should find 15-round
                                                                                                     LEG HX 000279                   4195
file:///X|/...r/HB%201224%20and%201229/HB%201224/Transcripts%20of%20legislative%20history/House%20Bill%2013-1224-030813.txt[11/5/2013 7:32:54 AM]
            Appellate
   2 magazines          Case:
                  adequate      14-1290his or
                            considering       Document:
                                                her ability01019371762
                                                           to                         Date Filed: 01/16/2015           Page: 42
   3 reload quickly.
   4           A friend here at the capitol talked to me
   5 about this bill. He's an avid shooter, takes his kids
   6 shooting frequently. His comment, I support the bill,
   7 but it certainly makes things inconvenient. I'm asking
   8 you to support a little inconvenience for a chance to
   9 be in the process of keeping our constituents safer.
  10 Thank you.
  11            THE CHAIRMAN: Is there any further
  12 discussion? I see a head popping out of a (inaudible)
  13 box. Senator Roberts.
  14            SENATOR ROBERTS: Thank you, Mr. Chair.
  15            This one is a difficult one, all of them
  16 are, but this one's difficult because no one, no one
  17 thinks it's okay to massacre anybody, let alone,
  18 kindergartners. It doesn't matter whether it's a
  19 congresswoman in Arizona, children at Sandy Hook,
  20 Aurora theatre, no one thinks that's okay.
  21            And I can say, despite the thousands of
  22 e-mails I have received , again, no one would say, turn
  23 a blind eye to what has happened. What they do say,
  24 though, is it is a fallacy to think passing this bill
  25 will increase public safety. And there are many people
  0014
   1 who are quite concerned that by passing this bill, we
   2 will, in fact, increase the risk to their public
   3 safety.
   4           I'm going to actually talk more through
   5 the words of my constituents. I had a town hall
   6 meeting back in Durango a couple weekends ago. It was
   7 at our public library. Maximum capacity in our public
   8 library is 216 people. I'm lucky if we usually have
   9 40. We had 400 people turn out for that town hall
  10 meeting.
  11            The reason I bring this up is, I told
  12 those people, You know, if you make the trip to Denver,
  13 if you come up and testify and tell the stories that
  14 you have to tell, the legislators will take note,
  15 because they know you've come seven hours over mountain
  16 passes to communicate your story. While I can try, as
  17 your representative in the legislature, to tell your
  18 story, nobody can do it better than you.
  19            Well, you know what, some of those people
  20 took me up on that. I took the little pamphlet down,
  21 how a citizen testifies in committee. They were
  22 prepared. They had really prepared. They were
  23 nervous, they got in their cars, and they came up.
  24            And what happened? They didn't get to
  25 testify. They, like many other people, not just those
  0015
   1 in southwest Colorado, came here to a very crowded
   2 building to find out that there were double bookings of
   3 hearings on committees, that they wanted to be in both
                                                                                                     LEG HX 000280                   4196
file:///X|/...r/HB%201224%20and%201229/HB%201224/Transcripts%20of%20legislative%20history/House%20Bill%2013-1224-030813.txt[11/5/2013 7:32:54 AM]
   4 roomsAppellate
             at the sameCase:
                          time, 14-1290
                                they could notDocument:
                                                 be. They 01019371762
                                                           had to                     Date Filed: 01/16/2015           Page: 43
   5 make choices.
   6           And even when they made those choices,
   7 even when they got their names on the list to testify
   8 to tell us how these bills, this bill, in particular,
   9 would affect them in their daily lives, they never got
  10 a chance to speak.
  11            They had to get back in their cars and
  12 drive seven hours home. And I am deeply troubled and
  13 disappointed by how that was handled because it didn't
  14 have to be that way. That is not what we are supposed
  15 to be about in terms of listening to people.
  16            So as a second chance, not nearly as good
  17 as if you had heard from them directly, I'm going to
  18 give you some of their stories because I owe it to them
  19 to have their voices heard.
  20            The one that was most -- I wanted you
  21 most to hear from is a young veteran who actually now
  22 has moved up to this area because of services that are
  23 available here that he cannot get at home. His name is
  24 Tyler Wilson, and this is his story:
  25            I am a native of Colorado and I served
  0016
   1 honorably as a paratrooper with the 173rd Airborne
   2 Brigade. I was wounded in Afghanistan in 2005, where I
   3 was paralyzed from the waist down, receiving four
   4 gunshot wounds, and nearly died for the oath I swore to
   5 support and defend, the Constitution of the United
   6 States, against all enemies foreign and domestic.
   7 Those individuals who are elected to represent the
   8 people of this state swore to support the Constitution
   9 of the United States, as well.
  10            After I was shot four times while serving
  11 this great country, do you think for one second that I
  12 blame the firearm? Absolutely not. I blame the
  13 individual who pulled the trigger and only them. I am
  14 concerned because many people have fallen victim to the
  15 fallacy of the false sense of security these bills
  16 provide, not to mention the gross intrusion on personal
  17 liberties and extreme oversteps in power from the
  18 government.
  19            Instead of saying why not, we should be
  20 asking ourselves why. You cannot legislate away evil.
  21 No matter, are they reasonable, is there a reason for
  22 these bills? There has to be a reason for them to be
  23 reasonable. Or are they just another incremental step
  24 in the agenda of those who want to destroy the Second
  25 Amendment and destroy personal liberties.
  0017
   1           Are they just a distraction from society
   2 doing the things that would really benefit us in the
   3 long run? On the magazine ban Tyler says, Civilians
   4 defending themselves from a violent attack do so under
   5 conditions similar to those experienced by police
                                                                                                     LEG HX 000281                   4197
file:///X|/...r/HB%201224%20and%201229/HB%201224/Transcripts%20of%20legislative%20history/House%20Bill%2013-1224-030813.txt[11/5/2013 7:32:54 AM]
   6 officersAppellate   Case:
               in shooting      14-1290 Document: 01019371762
                            situations.                                               Date Filed: 01/16/2015           Page: 44
   7            Most U.S. law enforcement agencies have
   8 shifted to firearms with larger capacity magazines
   9 because 75 to 80 percent of rounds fired by law
  10 enforcement officers in lethal-force encounters miss
  11 the intended target. Many rounds that do hit the
  12 target fail to achieve immediate incapacitation of the
  13 immediate threat.
  14            New York police department officers fired
  15 368 rounds in 2010 to stop 24 attackers, 6.5-percent
  16 effective hit rate. In an apartment, one encounter
  17 involved four officers who fired a total of 21 rounds,
  18 16 rounds were fired by one officer and struck the
  19 individual only three times, 14-percent hit, 86-percent
  20 miss. August 2010, four officers fired
  21 46 rounds, hitting one subject four times.
  22            If armed with a firearm containing
  23 16 rounds, 15 in a magazine and one in the chamber, and
  24 even having the training most law enforcement officers
  25 receive, 12 to 13 rounds may miss the target entirely.
  0018
   1            Of the three to four rounds that hit some
   2 portion of the attacker's person, none may be effective
   3 in immediately stopping the attack. Hits to the vital
   4 areas may eventually cause death or incapacitation, but
   5 it's the effect on the attacker in the next few seconds
   6 of a fight that determines if the attacker is stopped.
   7            Tyler winds up his testimony that he
   8 would have given saying, I find it even more troubling
   9 when lawmakers choose to infringe on my right to defend
  10 myself. Unlike most people, being in a wheelchair, I
  11 do not have the option to retreat or run away if my
  12 life is threatened by that of another. I have to sit
  13 where I am and fight for my life.
  14            And those lawmakers want to dictate to me
  15 how I can do that or not do that. It should be what I
  16 deem necessary to defend my own life and those of my
  17 loved ones. According to FBI statistics, you are
  18 110 times more likely to defend your life using a
  19 firearm than being killed by one. I will take those
  20 odds any day.
  21            To those who argue, I have a greater
  22 chance of being shot with my own weapon, that is like
  23 saying I have a greater chance of getting into a car
  24 accident while driving my car than when I am not. It
  25 has no weight in reality.
  0019
   1            And it is with my apologies that you
   2 didn't get to hear Tyler in person because he's a
   3 wonderful young man, and you're lucky to have him in
   4 the Metro area. His mother drove all the way from
   5 Durango to be here with him during the entire day. He
   6 waited 'til 4 o'clock in the afternoon before he gave
   7 up on having a chance to testify.
                                                                                                     LEG HX 000282                   4198
file:///X|/...r/HB%201224%20and%201229/HB%201224/Transcripts%20of%20legislative%20history/House%20Bill%2013-1224-030813.txt[11/5/2013 7:32:54 AM]
   8        Appellate   Case:
               I also want      14-1290
                            to tell you aboutDocument:
                                              two other 01019371762                   Date Filed: 01/16/2015           Page: 45
   9 Durango young people who contacted me about this bill.
  10 Dear Senator Roberts, how are you? We are writing to
  11 you about our concerns for the proposed gun control
  12 bills that you will be voting on shortly and to thank
  13 you for your firm support of the Second Amendment.
  14            We attended your town hall meeting in
  15 Durango a few weeks ago, and unfortunately, didn't get
  16 a chance to talk with you, but we wanted to give our
  17 story. My twin sister and I are Olympians in biathlon
  18 and participate in the only winter Olympic sport that
  19 involves the use of firearms.
  20            We are also college students, concealed
  21 weapon permit holders, law-abiding citizens, and role
  22 models for many of the youth in Colorado and all around
  23 the country. As we make our final push to win the
  24 United States first ever medal in biathlon in the
  25 Olympics in 2014, we are worried about the effects the
  0020
   1 current gun control bills will have on our ability to
   2 compete in shooting competitions, as well as find
   3 sponsors to help support our quest for gold.
   4           We currently compete in three gun or
   5 multigun competitions to improve our skills and help us
   6 bring our shooting to a level that will enable us to
   7 win internationally.
   8           The gun bill, House Bill 1224, would make
   9 requiring magazines that we use for this competition
  10 illegal. We strongly believe in the existing gun
  11 control laws and support a push to enforce these laws.
  12 We do not, however, see how banning magazine capacities
  13 will reduce the number of gun crimes.
  14            These young ladies have, indeed, been
  15 role models for the young people in my area. And, you
  16 know, I am sure they are the unintended consequences of
  17 this bill, but, in fact, they are going to be hurt by
  18 it.
  19            I have other stories. I know there are
  20 others who would like to speak. I will -- Mr. Chair,
  21 had to make sure who was back there. Mr. Chair, I
  22 would like to reserve the right to come back and give
  23 you some more feedback from my constituents, but I
  24 would yield my time right now to whoever's next.
  25            THE CHAIRMAN: Thank you, Senator.
  0021
   1           Senator Lundberg.
   2           SENATOR LUNDBERG: Thank you,
   3 Mr. Chairman.
   4           There are several reasons to oppose
   5 House Bill 1224. I want to point out what I think is
   6 the most egregious part of this bill. And that is, its
   7 unintended consequence, I will assume it's
   8 unintended -- I wonder if somebody could give me that
   9 card there, thank you -- just a little bit of an
                                                                                                     LEG HX 000283                   4199
file:///X|/...r/HB%201224%20and%201229/HB%201224/Transcripts%20of%20legislative%20history/House%20Bill%2013-1224-030813.txt[11/5/2013 7:32:54 AM]
           Appellate
  10 example            Case:
                or a lesson    14-1290
                            of the extensions Document:
                                                 because -- 01019371762
                                                            this                      Date Filed: 01/16/2015           Page: 46
  11 is the way the amended bill reads, is: A
  12 large-capacity magazine means a fixed or detachable
  13 magazine, box, drum, feed strip or similar device
  14 capable of accepting or that is designed to be readily
  15 converted to accept more than 15 rounds of ammunition.
  16           Now, this is a 10-round magazine. This
  17 is a 30-round magazine. This is another 10-round
  18 magazine that has an extension. In this case, it's a
  19 20-round, but actually it could be another 10-round.
  20           In any event, this 10-round is easily
  21 converted to something more than 15 rounds. And the
  22 way these work, here, I have a magazine here, and this
  23 small plate is on the bottom, and, of course, this is
  24 the top part that feeds into the weapon. And there's a
  25 spring in here that feeds the bullets up.
  0022
   1          And you have to be able to take these
   2 things apart and to clean them. And therefore, you
   3 have to be able to get to the inside. You have to
   4 be -- and on this one, it's got this little plate at
   5 the bottom that you can take off. It takes what
   6 appears to be a bullet point to push this little button
   7 in so I can't remove it, but -- at this point in time.
   8          But having done that, you can put an
   9 extension on. Oh, and these green extensions here that
  10 we're looking at were made with 3-D printers. Now,
  11 that's readily available, and it will be more and more
  12 readily available as 3-D printers become more available
  13 everywhere.
  14           And that's the problem. That's the
  15 biggest problem that I want to point out right now, is
  16 this high-capacity magazine ban is banning virtually
  17 all magazines regardless of what their original
  18 manufactured capacity is because you can convert them.
  19 You can add an extension to them.
  20           And they're designed to come apart
  21 easily. And there's where the conversion occurs ,
  22 because you have to be able to field strip these
  23 things. You know, these are designed for the military
  24 in combat situations. And let me tell you, you need to
  25 be able to field strip your weapon, clean it out, put
  0023
   1 it back together, and keep on moving.
   2          And you can't afford for that one little
   3 piece of grit or sand to be jamming things up, you've
   4 got to be able to pop it out, clean it up, put it back
   5 together, and move back on. That's the way a magazine
   6 works.
   7          Now, another thing to bear in mind is,
   8 there are many weapons for which they have to have the
   9 magazine to be functional. So this bill,
  10 House Bill 1224, ostensibly is banning high-capacity
  11 magazines. But if all-capacity magazines are
                                                                                                     LEG HX 000284                   4200
file:///X|/...r/HB%201224%20and%201229/HB%201224/Transcripts%20of%20legislative%20history/House%20Bill%2013-1224-030813.txt[11/5/2013 7:32:54 AM]
            Appellate
  12 convertible         Case:
                    to high      14-1290
                             capacity,         Document:
                                       it's banning          01019371762
                                                    all of the                        Date Filed: 01/16/2015           Page: 47
  13 magazines.
  14            And if the magazines are necessary for
  15 the weapon, themselves, it's also banning the use of
  16 that weapon. The only exception is this grandfather
  17 clause for those that are out there today. Don't
  18 worry, there are only about -- what is it, 130 million
  19 throughout the country, and of this particular design,
  20 about 30 million available.
  21            Now, so what we're doing is we're saying
  22 to the people of Colorado, No problems, if you've got
  23 one today, you can continue to operate it, but you
  24 cannot even transfer that to your family members. If
  25 I'm understanding this correctly, or if I'm incorrect,
  0024
   1 I would like the sponsor to correct me, but as I
   2 understand it, it is a one-time ownership grandfather
   3 situation.
   4           And that means that the magazine and the
   5 firearm for which that magazine fits becomes
   6 nonfunctional in any transfer whatsoever, unless, of
   7 course, you have enough gas to drive to Wyoming and buy
   8 one, which is where I expect much will occur.
   9           What we're doing is we're setting up a
  10 black market system for honest citizens of today who
  11 wish to simply have what's necessary for their firearm
  12 to function. Again, the 10-round is not legal because
  13 it's readily converted, or convertible.
  14            I trust this is an unintended
  15 consequence, but it is a fatal flaw to House Bill 1224.
  16 House Bill 1224 bans virtually all magazines that are
  17 commercially available. I'm told there are some
  18 military issue that are kind of a pressed steel that
  19 aren't readily convertible, but I am not aware of that
  20 being that common on the private market. For sure
  21 we're talking to everything that's out there today,
  22 stay out of Colorado.
  23            Now, let's talk about Magpul, that
  24 particular company that employs around 200 people up in
  25 Erie, in Weld County. And in talking to them, they --
  0025
   1 in committee, they came and spoke, and explained that
   2 it's not only them, but it's their suppliers, which are
   3 another, very conservatively speaking, 200 people, all
   4 employed in the state of Colorado.
   5           The sponsor has said, Well, they can
   6 continue to do business. But they explained very
   7 clearly, their business is national, and, indeed,
   8 international. And their credibility among their
   9 clients would be severely eroded if they chose to
  10 continue to do business in the state that has outlawed
  11 their product.
  12            This kind of goes back to the jobs, jobs,
  13 jobs that we talked about in previous bills. All of
                                                                                                     LEG HX 000285                   4201
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  14 these Appellate     Case: jeopardizing
             bills are severely 14-1290 Document:
                                               the economic01019371762                Date Filed: 01/16/2015           Page: 48
  15 health of Colorado. And this one, in particular, is
  16 telling one very successful business, that it's
  17 provided good jobs up in my part of the state, I'm from
  18 Larimer County, but that's right beside Weld, it's
  19 telling those people, You're out of a job, or at best,
  20 leave the state . And it's telling all of those
  21 suppliers, You're out of a job, you best leave the
  22 state, as well. It's a great message, isn't it?
  23            So let's review a little bit. It's
  24 throwing several businesses out of business here in
  25 Colorado. It's banning virtually all magazines. And
  0026
   1 it's rendering those firearms for which the magazine is
   2 an essential part of its function inoperable. This is
   3 not a ban on high-capacity magazines. This is a
   4 wholesale ban on firearms in the state of Colorado.
   5            House Bill 1224 is fatally flawed, deeply
   6 misdirected, completely inappropriate, vote no.
   7            THE CHAIRMAN: Senator Brophy.
   8            SENATOR BROPHY: Thank you, Mr. Chairman.
   9            Members, I'll ask for a no vote on this
  10 bill, also. And we've heard from the proponents of the
  11 bill and the sponsor that the stated goal of the bill
  12 is to improve safety in Colorado, and that's obviously
  13 a (inaudible) goal.
  14            I heard one of our other senators from
  15 southwest Colorado mention that we all care about
  16 safety, and we do. The problem is that this bill
  17 doesn't do anything at all to improve safety of the
  18 citizens of Colorado.
  19            And I'm not just saying that, I'm reading
  20 that from the National Institute of Justice memo on the
  21 potential improvement of safety if there was a magazine
  22 ban put into place. And again, this is the branch of
  23 the Department of Justice. They just came out with
  24 this study because they're looking at all types of gun
  25 control measures.
  0027
   1            And with regard to banning high-capacity
   2 magazines they very clearly state it will do nothing at
   3 all to improve safety, nothing at all to improve
   4 safety. In no small part because of some of the facts
   5 that senator -- that's really not in the rules, that's
   6 kind of made up. But 10 years, 59 days, take my word
   7 for it.
   8            My friend from Berthoud mentioned that
   9 there are 130 million standard-capacity magazines
  10 floating around the United States of America. They are
  11 durable goods. They're not perishable. They're not
  12 going away.
  13            And so the National Institute of Justice
  14 tells us in their study that the only way that a
  15 magazine ban would improve safety is if you did a
                                                                                                     LEG HX 000286                   4202
file:///X|/...r/HB%201224%20and%201229/HB%201224/Transcripts%20of%20legislative%20history/House%20Bill%2013-1224-030813.txt[11/5/2013 7:32:54 AM]
            Appellate
  16 confiscation        Case: 14-1290
                     of significant numbers Document:
                                             of those     01019371762                 Date Filed: 01/16/2015           Page: 49
  17 130 million magazines that are around the United States
  18 of America.
  19            This bill doesn't do that. This bill
  20 doesn't improve safety. Now, let's talk about what
  21 this bill does in addition to what the senator from
  22 Berthoud mentioned. And it's important because I put
  23 on your desks earlier this evening a poll, a memo that
  24 tells you that the one thing that the people in
  25 Colorado want us to work the most on is jobs and the
  0028
   1 economy.
   2           57 percent of respondents say work on
   3 jobs and the economy. Well, this bill goes to jobs and
   4 the economy. The problem is, it takes it the wrong
   5 direction. This bill drives jobs out of the state of
   6 Colorado and has a negative impact on our economy, and
   7 we know that.
   8           I put up a map here of Magpul here in the
   9 middle and all of the suppliers that Magpul does
  10 business with in the state Colorado. Let me tell you a
  11 little bit about the company, first. It was founded in
  12 1999 by a Marine who was out of the service, working in
  13 a software company.
  14            He had an idea of a product to make for
  15 fellow Marines, and so he started his company. And
  16 then in addition to that wonderful product which
  17 started in 1999, over the course of the next about
  18 eight years, nine years, he started making all kinds of
  19 things that civilians like.
  20            I've often characterized their products
  21 as bling for AR 15s. I have several of their products.
  22 I absolutely love them. They are of the highest
  23 quality. They are such great quality, we will hear how
  24 valuable they are at some point in the future tonight I
  25 am positive.
  0029
   1           Well, I've got to tell you something
   2 about Marines. The Marines that I know, like
   3 Richard Fitzpatrick, when they tell you they are going
   4 to do something, they generally do it. And if they
   5 tell you they can't stay in business in the state of
   6 Colorado if this bill passes, I think you should take
   7 them at their word.
   8           And let's examine, then, what are the
   9 consequences of taking them at their word that they
  10 would leave the state of Colorado. And I want to set
  11 the record straight. If you're not to impugn the
  12 motives of other senators, you probably shouldn't
  13 suggest what the motives are of other civilians in the
  14 state of Colorado, either.
  15            They have not entered into any
  16 negotiations with anybody outside of the state of
  17 Colorado. Of course they've been contacted. This is
                                                                                                     LEG HX 000287                   4203
file:///X|/...r/HB%201224%20and%201229/HB%201224/Transcripts%20of%20legislative%20history/House%20Bill%2013-1224-030813.txt[11/5/2013 7:32:54 AM]
  18 making Appellate
               national Case:
                        news. 14-1290       Document:
                                Governor Perry          01019371762
                                                has contacted                         Date Filed: 01/16/2015           Page: 50
  19 them saying, Hey, come to Texas, we like jobs. They've
  20 been contacted from South Carolina, come to South
  21 Carolina, we like jobs. Apparently the people in
  22 Colorado don't want jobs.
  23            And let's talk about the jobs. Magpul
  24 right now, 200 employees in Erie, Colorado. But for
  25 this bill, by the way, they'd probably be at
  0030
   1 300 employees in Colorado by now, there is such great
   2 demand for their products. In Denver, two different
   3 businesses.
   4           Jobs in Denver, two different businesses.
   5 100 employees will have to leave the state of Colorado
   6 or go down the street to Department of Labor and get an
   7 unemployment check if this bill passes.
   8           In Longmont, from one company, 60
   9 employees; from another company, 3 and a half
  10 employees; from another company, 12; from another
  11 company, 3 and a half; from another company still in
  12 Longmont, two and a half.
  13            From the town of Hygiene, 36 people
  14 likely to have their job relocated out of Colorado with
  15 the passage of this bill; 14.4 in Superior; 7 in
  16 Loveland; 10 in Arvada; 5 in Englewood; 6 in Aurora; 5
  17 in Berthoud; 3.6 in Broomfield jobs in the economy.
  18 And we risk so many hundreds of direct jobs, not
  19 counting the indirect jobs, that will come with the
  20 passage of this bill.
  21            Lawrence Tool & Molding Company, their
  22 story is fabulous. The success of the company is
  23 directly tied to the success of Magpul. In 2008 they
  24 had 15 employees, now they have 73, all due to working
  25 with Magpul.
  0031
   1           Alfred here located in Denver, and Greg
   2 came in and testified in front of the judiciary
   3 committee, it took him three generations to build their
   4 company -- well, through two generations I think he
   5 said their company was at 40 employees. Now he's the
   6 third generation, and because of his work with Magpul,
   7 they're up to 150 employees. He has said without
   8 question he has to follow Magpul if they leave the
   9 state.
  10            And let me tell you why that is. Take a
  11 look at this map if you would again. What this map is
  12 is an example of the renaissance in American
  13 manufacturing. With relatively low and abundant energy
  14 supplies, manufacturing is coming back to the United
  15 States of America. We are not, if we defeat this bill,
  16 outsourcing jobs.
  17            And what's really neat about the
  18 renaissance in manufacturing is, is that the companies
  19 that work in this manner are unbelievably nimble. They
                                                                                                     LEG HX 000288                   4204
file:///X|/...r/HB%201224%20and%201229/HB%201224/Transcripts%20of%20legislative%20history/House%20Bill%2013-1224-030813.txt[11/5/2013 7:32:54 AM]
  20 have Appellate
            a very shortCase:
                           supply14-1290
                                   chain.  Document: 01019371762                      Date Filed: 01/16/2015           Page: 51
  21           See, if you outsource any of these jobs
  22 to China, for instance, where they do plastics
  23 manufacturing, number one, the guys from Alfred will
  24 tell you your quality won't be as good because we do
  25 better work here in the United States of America and
  0032
   1 right here in Colorado.
   2           But the other problem with that is, is
   3 that your supply chain then stretches to about six
   4 months in length. So if your brilliant design
   5 engineers come up with a modification for one of your
   6 200-some-odd products, you can't get it to the market
   7 for almost six months if you don't have this kind of a
   8 supply chain.
   9           With this kind of a supply chain, you can
  10 put your newly-improved product on the market in
  11 six days instead of six months, giving you an
  12 incredible advantage over any of your competitors. And
  13 that's what's at jeopardy here. And that's why all of
  14 these companies will follow Magpul in leaving Colorado
  15 if this bill passes.
  16           Is that really what you want to do? Is
  17 that really what you think the people of Colorado were
  18 thinking when they said jobs and the economy were the
  19 number-one priority for the legislature? Running jobs
  20 out of Colorado and harming the economy? Members, I
  21 don't think so.
  22           I think we need to speedily defeat this
  23 bill, send a clear message to this great American
  24 success story of a company, We are so happy to have you
  25 in Colorado, we apologize, get your expansion underway,
  0033
   1 build that new facility in Broomfield, hire and train
   2 another great hundred Colorado employees, stay here and
   3 make some more jobs for us. Members, vote no on this
   4 bill.
   5           THE CHAIRMAN: Senator Crowder.
   6           SENATOR CROWDER: Thank you, Mr. Chair.
   7           What I have is a letter from one of the
   8 businesses that's thinking about moving with Magpul I'd
   9 like to read, it's fairly brief.
  10           Dated March 7th, 2013. Dear Colorado
  11 senator, I am the president of Advance Tooling Concepts
  12 located in Longmont, Colorado. We are a manufacturer
  13 that serves the plastics industry. We design, build,
  14 and run plastic injection molds for many different
  15 industries here in Colorado and across the country.
  16           Some of the industries we serve locally
  17 are computer, medical, communications, and firearms.
  18 You may know of some of these companies, Oracle,
  19 Kobagin (phonetic), Autobox (phonetic), Magpul, and
  20 PharmaJet. I'm sending you this letter because I'm
  21 extremely concerned about the negative impact that I
                                                                                                     LEG HX 000289                   4205
file:///X|/...r/HB%201224%20and%201229/HB%201224/Transcripts%20of%20legislative%20history/House%20Bill%2013-1224-030813.txt[11/5/2013 7:32:54 AM]
  22 believeAppellate
              HB 1224Case:    14-1290
                        will have          Document:
                                  on our business        01019371762
                                                   and other                          Date Filed: 01/16/2015           Page: 52
  23 businesses in Colorado.
  24           I and two other partners started Advanced
  25 Tooling Concepts in 1999. By 2009 we had grown to
  0034
   1 approximately 35 employees, purchased a
   2 30,000-square-foot building in Longmont, and continued
   3 to grow.
   4          During that time, we also started working
   5 with another local company, Magpul. As our
   6 relationship with Magpul has grown, so has our
   7 business. In the four years we have been working with
   8 Magpul, we have been able to grow our business
   9 substantially.
  10           We are now leasing another
  11 10,000-square-foot facility in Longmont that
  12 specializes in medical molding. We now employ close to
  13 90 people, and our molding facility runs 24/7. A large
  14 percentage of our growth can be directly attributed to
  15 Magpul.
  16           If HB 1224 passes, Magpul has promised to
  17 move out of the state and take with it all that it has
  18 invested here. This move, if it happens, would
  19 significantly impact our business and many more
  20 businesses like ours around the state.
  21           We, as a company, have been able to grow
  22 in very trying economic times because of the companies
  23 like Magpul. Without Magpul as a customer, we will
  24 need to reduce our workforce and reconsider future
  25 plans for the growth here in Colorado.
  0035
   1          Gun violence is a very difficult problem
   2 to have to deal with, but I believe that HB 1224 is a
   3 feel-good answer that will not address the real
   4 problem. I urge you to look at everything that this
   5 bill impacts statewide if passed, and make the right
   6 decision by voting no on House Bill 1224. This is
   7 another business that could very well leave the state
   8 of Colorado.
   9          I would like to comment on something my
  10 predecessor said. He indicated that South Carolina and
  11 Texas would be in line for these businesses. But I
  12 would not leave out this business going overseas to
  13 places like China and Taiwan.
  14           You know, the president is in quite an
  15 uproar about businesses leaving the country, going
  16 overseas for cheaper labor. This Magpul could very
  17 well end up in China. And as I have heard,
  18 South Carolina and Texas are both offering incentives
  19 for these businesses. Please vote no on 1224. Thank
  20 you.
  21           THE CHAIRMAN: Senator Baumgardner.
  22           SENATOR BAUMGARDNER: Thank you,
  23 Mr. Chair.
                                                                                                     LEG HX 000290                   4206
file:///X|/...r/HB%201224%20and%201229/HB%201224/Transcripts%20of%20legislative%20history/House%20Bill%2013-1224-030813.txt[11/5/2013 7:32:54 AM]
  24         Appellate   Case:
                I received       14-1290
                            a letter from the Document:
                                              chief       01019371762                 Date Filed: 01/16/2015           Page: 53
  25 executive officer of Alfred Manufacturing Company
  0036
   1 that's located here in Denver. He said that he was
   2 extremely concerned about House Bill 1224, that it
   3 would have a devastating impact on Colorado business
   4 and the 150 employees that we -- that they employ here
   5 in Colorado.
   6            He has a third-generation company that
   7 has been committed to this state since his grandfather
   8 founded the company in 1948. If House Bill 24 passes,
   9 it's plain and simple, they have no voice, but they
  10 will relocate to another state. That's 150 jobs.
  11            Because, you know what, that's all we
  12 talk about down here, or seem to talk about, is jobs,
  13 jobs, jobs. And like one of the previous senators
  14 said, That's what it is, it's jobs, jobs, jobs, that
  15 we're forcing those jobs to leave the state.
  16            Alfred Manufacturing is proud of their
  17 growth. Even during the economic downturn, they grew.
  18 They went from 40 employees in 2008 to 150 employees
  19 currently. Their plan was to expand and employ an
  20 additional 25 employees so they could have 175 by the
  21 end of 2013.
  22            The growth was due to the fact that their
  23 major supply -- they were a major supplier to Magpul
  24 Industries. They've manufactured and supplied parts
  25 and products for over six years to other partnering
  0037
   1 Colorado companies, their company and many companies,
   2 that this bill will immediately harm in effect if this
   3 bill passes.
   4            House Bill 1224 has caused me, him,
   5 not -- the executive officer of Alfred Manufacturing,
   6 to put an immediate hold on an expansion that they had
   7 planned here in Colorado. They own and operate four
   8 buildings and are currently working with the city to
   9 add a fifth building on the land that they own.
  10            They froze that expansion when this bill
  11 was introduced. They will relocate. He says in this
  12 letter, If this bill passes, they will relocate.
  13 That's a possibility of 175 jobs. That's income to the
  14 state. It's for the kids, it's for education.
  15            I understand state leaders want to find
  16 solutions to the recent gun tragedies. If
  17 House Bill 1224 would make Colorado safer, I would put
  18 my business interests aside and fully endorse it as a
  19 fourth-generation Colorado citizen.
  20            The fact is, House Bill 1224 does
  21 absolutely nothing to improve or enhance public safety
  22 in Colorado. The only impact House Bill 1224 will have
  23 on Colorado , it will hurt Colorado's economy. It will
  24 destroy Colorado jobs and will significantly harm this
  25 Colorado business.
                                                                                                     LEG HX 000291                   4207
file:///X|/...r/HB%201224%20and%201229/HB%201224/Transcripts%20of%20legislative%20history/House%20Bill%2013-1224-030813.txt[11/5/2013 7:32:54 AM]
  0038      Appellate Case: 14-1290 Document: 01019371762                             Date Filed: 01/16/2015           Page: 54
   1          They urge all the state leaders to focus
   2 on the real solution to enhance public safety. They
   3 also urge state leaders to find ways to grow Colorado's
   4 economy and create jobs in the state that we live.
   5 House Bill 1224 will harm Colorado's economy, destroy
   6 Colorado jobs, and will have zero impact. I urge you
   7 to vote against House Bill 1224.
   8          I figure that we will hear not only this
   9 testimony, but a lot more testimony on this specific
  10 piece of legislation. Again, these companies are
  11 reaching out to all of us. And these companies are not
  12 in my district. These companies are located here
  13 locally. But they're reaching out to all of us to make
  14 sure that if this legislation was to pass, that we
  15 understand what the repercussions could possibly be.
  16           I'll stand with this gentleman and ask
  17 for a no vote on House Bill 1224 because it will affect
  18 our economy and it's just another bill in a group of
  19 bills that will affect our state and affect the way
  20 that our Constitution has guaranteed us, the right to
  21 keep these arms regardless of what they are.
  22           Thank you, Mr. Chair.
  23           THE CHAIRMAN: Senator Marble.
  24           SENATOR MARBLE: Thank you, Mr. Chair.
  25           Once again I want to reiterate the fact
  0039
   1 that none of us are here to advocate for death,
   2 violence. All the tragedies, the deaths of our
   3 children, it's horrific. But one of the more horrific
   4 feelings is to be a victim again by bad legislation.
   5          I'm going to reiterate what Vice
   6 President Joe Biden said, and I want to ingrain this in
   7 your minds. This came from the democrat vice president
   8 of the United States who said, Nothing we are going to
   9 do is going to fundamentally alter or eliminate the
  10 possibility of another mass shooting or guarantee that
  11 we will bring gun deaths down to a thousand a year from
  12 what it is now.
  13           In my district I am so fortunate to have
  14 some of the greatest manufacturing in the state of
  15 Colorado. That includes Magpul, and also, Alpha Mold
  16 West, Incorporated, out of Broomfield. And I want to
  17 read you a letter from the president, owner, and
  18 veteran, Dane Whittington, from Alpha Mode West.
  19           And he states: Dear Senator
  20 Vicki Marble, Reference, House Bill 1224. Alpha Mold
  21 West, Incorporated, opened in Broomfield in 1982 as a
  22 toolmaking facility, specializing in the designing and
  23 building of plastic injection molds.
  24           We custom manufacture injection molds
  25 which then produce parts molded of all types of resin
  0040
   1 and plastic. Our company's initial success came from
                                                                                                     LEG HX 000292                   4208
file:///X|/...r/HB%201224%20and%201229/HB%201224/Transcripts%20of%20legislative%20history/House%20Bill%2013-1224-030813.txt[11/5/2013 7:32:54 AM]
   2 workingAppellate
               with theCase:
                        Hewlett14-1290       Document: We
                                 Packard Corporation.    01019371762
                                                             had a                    Date Filed: 01/16/2015           Page: 55
   3 great relationship for many years until it became more
   4 profitable for them to move offshore. This happened at
   5 the end of the 1990s.
   6           We then moved our focus over to the
   7 medical industry. And this became one of our major
   8 sources for work. After the initial passing of the
   9 Affordable Healthcare Act, many of these companies
  10 started setting up manufacturing offshore to avoid the
  11 medical device tax which went into effect on
  12 01 January, 2013.
  13            We have seen our work from these
  14 companies dwindle as a result. For the past four years
  15 we have been one of the many local toolmaking
  16 facilities who design and build plastic injection molds
  17 for Magpul's products. They have become an important
  18 customer to our company.
  19            With the passage of House Bill 1224, I
  20 believe that jobs, many jobs will be lost to our
  21 community. I also believe that passage of
  22 House Bill 1224 will do nothing to improve the safety
  23 of the people of Colorado, only to harm the little
  24 manufacturing which is still remaining.
  25            I would like to add that the Northern
  0041
   1 Colorado Legislative Alliance, NCLA, does not support
   2 House Bill 1224. They have come forth saying that it
   3 ruins the economy, businesses, jobs, families, the list
   4 goes on. I think the state legislature so far has done
   5 quite a bit of damage to the small business owner here
   6 in the state of Colorado.
   7           I have another letter from a veteran that
   8 was sent. And I think he pretty much sums up a lot of
   9 what was sent in many of the e-mails, many of the
  10 thousands of e-mails that we all received.
  11            He states, Dear Sir or Madame, we cannot
  12 let ourselves fall down on this slippery slope. The
  13 right to self-defense is a natural individual right
  14 that preexists the government. It cannot morally or
  15 constitutionally be taken away absent individual
  16 consent or due process.
  17            Kings and tyrants have taken this right
  18 away. We cannot let a popular majority take it away,
  19 for the tyranny of the majority can be as destructive
  20 to freedom as the tyranny of a madman. And that he
  21 took from a quote from Judge Andrew Napolitano.
  22            The Bureau of Justice statistics'
  23 national crime victims crime survey states that 550
  24 murders and 1,100 rapes are prevented every day by
  25 firearms. According to the FBI, Americans use firearms
  0042
   1 in self-defense 2.1 million times annually.
   2           Cases where firearms are used criminally
   3 amount to 579,000. 70 percent of those cases are
                                                                                                     LEG HX 000293                   4209
file:///X|/...r/HB%201224%20and%201229/HB%201224/Transcripts%20of%20legislative%20history/House%20Bill%2013-1224-030813.txt[11/5/2013 7:32:54 AM]
   4 carriedAppellate   Case: repeat
             out by criminal   14-1290     Document:
                                     offenders.        01019371762
                                                I implore                             Date Filed: 01/16/2015           Page: 56
   5 you to vote against turning law-abiding citizens into
   6 criminals. None of these bills do a thing to protect
   7 our children or stop criminals from going on rampages.
   8 Vote no.
   9          I am a patriot and a disabled veteran who
  10 swore an oath to uphold the Constitution of the United
  11 States of America. You swore that same oath when
  12 elected to office. And with today's political climate,
  13 you might very well violate that oath and the oath you
  14 swore to the great state of Colorado.
  15           Criminals are called criminals because
  16 they do not obey the law. So passing gun legislation
  17 only disarms the law-abiding people of Colorado and
  18 turns the innocent into criminals with the stroke of a
  19 pen. Once citizens are unarmed -- underarmed, the
  20 criminals grow emboldened and attack with impunity.
  21           No numbers, no math, and no statistics
  22 show that any of your gun control measures reduce death
  23 by firearms. Actually, the opposite. FBI and CDC
  24 statistics show firearm-related deaths decreasing since
  25 the 1994 assault weapons ban ended.
  0043
   1          As for mass shootings, those statistics
   2 have not changed in 50 years. Estimates show that a
   3 hundred-thousand-plus lives are saved each year due to
   4 firearms. Here are literally thousands of news
   5 accounts of guns saving people's lives. And he refers
   6 to a website which is called alwaysbecarrying.com.
   7          Chicago, New York City, and DC are
   8 examples of complete gun regulation failures. The U.S.
   9 cities with the strongest gun laws have the highest
  10 rate of gun deaths. You disarm your citizens, the
  11 criminals have unarmed prey.
  12           Let's focus on measures that actually
  13 reduce crime. Pass legislation that lets gun owners --
  14 that gets guns out of criminals' hands and gets
  15 criminals off the streets. Armed security in schools,
  16 increased neighborhood watch groups create incentives
  17 for community involvement.
  18           And for the love of God, end gun-free
  19 zones, since only law-abiding citizens will respect
  20 those signs, the criminals will not. We allow armed
  21 guards to protect our money, but not our children? Our
  22 priorities are really screwed up.
  23           Please do not invalidate our
  24 Constitutional oath by violating law-abiding citizens'
  25 rights, vote against any restriction of our Second
  0044
   1 Amendment rights. Sincerely, Richard Harnet
   2 (phonetic).
   3          When you look at gun magazine capacity
   4 and you look at why our burglary rates are down in the
   5 United States, it's because we are a well-armed
                                                                                                     LEG HX 000294                   4210
file:///X|/...r/HB%201224%20and%201229/HB%201224/Transcripts%20of%20legislative%20history/House%20Bill%2013-1224-030813.txt[11/5/2013 7:32:54 AM]
            Appellate Case: 14-1290 Document: 01019371762
   6 citizenry.                                                                       Date Filed: 01/16/2015           Page: 57
   7           One of the things I want to tell you
   8 is -- that you might not know is that in Great Britain,
   9 are you aware that 60 percent of home invasions occur
  10 while the people are at home? That's because they know
  11 no one is armed. No one can protect their own home.
  12            There is such compelling evidence against
  13 the fact that restricting magazine bans allude to a
  14 safer public. It isn't true. This bill is for nothing
  15 except to destroy jobs and give those criminals the
  16 ability to keep their magazines of whatever capacity
  17 they choose to use against the citizens who are now
  18 rendered, in a way, defenseless. Vote no on this
  19 Bill 1224.
  20            THE CHAIRMAN: Senator Lambert.
  21            SENATOR LAMBERT: Thank you, Mr. Chair.
  22            Well, I come from a district that has a
  23 lot of military. You know, in Colorado Springs, we
  24 have a full Army division. We have four military -- or
  25 military bases affiliated with the Air Force, although
  0045
   1 a lot of them are joint, including the United States
   2 northern command.
   3           And, members, one of the mottos that we
   4 have in the military is you have to train the way
   5 you're going to fight. And I can guarantee you, with
   6 probably 20,000 soldiers, 20,000 airmen, Marines, Navy,
   7 Coast Guard, even Canadian forces in Colorado Springs,
   8 we have people who train the way they're going to
   9 fight. They are gun owners.
  10            The bill sponsor said that a lot of the
  11 military weapons we have now in the U.S. military have
  12 less than what she called a high-capacity magazine, I
  13 don't know what that's all about. The only one I can
  14 think of is maybe a 50-caliber sniper rifle or
  15 something like that.
  16            On my air crew we had guns with --
  17 450-caliber machine guns, we didn't even take off
  18 without 600 rounds in them. But the fact is, we have a
  19 lot of military people that are going to be affected by
  20 this.
  21            We have a lot of retired military people
  22 who work on security. Heck, we've got a church down
  23 there where their training officer is a retired member
  24 of Delta Force. And yet, we don't respect them enough
  25 to think they have the judgment to know what ammunition
  0046
   1 to put in their gun after they served 25, 30 years in
   2 the U.S. military. That's outrageous.
   3           We pass pro-military resolutions, maybe
   4 that's lip service, but then we turn around and do not
   5 listen to the military members and retirees who are
   6 telling this body, this is an infringement upon their
   7 rights. They are the ones who support your rights,
                                                                                                     LEG HX 000295                   4211
file:///X|/...r/HB%201224%20and%201229/HB%201224/Transcripts%20of%20legislative%20history/House%20Bill%2013-1224-030813.txt[11/5/2013 7:32:54 AM]
   8 ladies Appellate   Case: 14-1290 Document: 01019371762
            and gentlemen.                                                            Date Filed: 01/16/2015           Page: 58
   9           Now, I think the bill sponsor also said
  10 something about Virginia Tech. I don't think there was
  11 any of what they would call a high-capacity magazine
  12 down there because the shooter used two handguns. I
  13 believe it was a 15-round Glock, a 10-round Walther.
  14 But what happened in that case, did it have anything to
  15 do with the size of the magazine?
  16            One article about U.S. News seems to
  17 indicate there might have been another cause to that
  18 mass shooting. A senior university administrator
  19 warned her own family nearly 90 minutes before the
  20 all-campus alert was even issued.
  21            University officials locked down the
  22 president's office more than 30 minutes before the
  23 campus-wide alert. The alert wasn't made for almost
  24 two hours after Seung-Hui Cho shot the first of his two
  25 victims, and then went on a rampage, of course,
  0047
   1 reloading and reloading and reloading. It didn't make
   2 any difference what size of the magazine was, but then
   3 he saved one round to kill himself after he killed
   4 32 other people and injured many more.
   5           The real common denominator here is not
   6 the size of the magazines, it's the fact that except
   7 for the Tucson shooting, and maybe they should have had
   8 somebody with a concealed carry there guarding
   9 Congresswoman Giffords, but every single one of the
  10 incidents the bill sponsor cited were in areas where
  11 the law had banned citizens from arming and defending
  12 themselves.
  13            Now, I ran a bill this year to try to put
  14 some liability on that because that is the cause, I
  15 believe, of over 95 percent of the mass shootings since
  16 the 1950s have been in so-called gun-free zones. Let's
  17 get this right. Where people are disarmed, do not have
  18 the Constitutional right to protect themselves, that's
  19 where terrorists will look.
  20            Now, a few minutes ago I had a visitor
  21 here in the chambers. He's left, but he's the owner of
  22 Lockburner Firearms, he's a gunsmith. And he and his
  23 family came to visit today to tell us that they are
  24 already planning to move to Arizona because their
  25 parent company says, After these bills are passed in
  0048
   1 Colorado, there's no reason for them to be here
   2 anymore.
   3           I don't think it's a small company, I
   4 think it's a single family. And yet, they have been
   5 here for three generations in Colorado, and now because
   6 these bills may take away their livelihood, they're
   7 going to be moving.
   8           I also got a letter from the owner of
   9 Machining Technology, Mr. Kevin Curtis. He said, Dear
                                                                                                     LEG HX 000296                   4212
file:///X|/...r/HB%201224%20and%201229/HB%201224/Transcripts%20of%20legislative%20history/House%20Bill%2013-1224-030813.txt[11/5/2013 7:32:54 AM]
  10 Senator,Appellate   Case:
                I presently  own14-1290
                                  and operateDocument:
                                               Machining 01019371762                  Date Filed: 01/16/2015           Page: 59
  11 Technology located in Longmont, Colorado. We're in our
  12 fourth year of business and currently employee
  13 25 employees. Typical small business.
  14            We have experienced substantial growth in
  15 part due to our business relationship with Magpul. We
  16 want to express our explicit opposition to
  17 House Bill 1224. If House Bill 1224 passes, we will be
  18 forced to relocate our business.
  19            We have owned and operated many
  20 businesses in Colorado, and have been Colorado
  21 residents since 1977. The taxable revenue we've
  22 generated over the years is in the tens of millions of
  23 dollars. Our hope is that true legislative leadership
  24 prevails, that is, if freedoms are being compromised
  25 and lives will be saved. Unfortunately,
  0049
   1 House Bill 1224 is not the solution.
   2           And I agree with Mr. Curtis. I don't
   3 think we've seen the economic damage that ill-advised
   4 bills like this are going to cause. We have a tourist
   5 industry that brings in, what, 20-, $25 billion, it's
   6 bigger than the budget of our state. And yet, we're
   7 callously disregarding everything that's been said here
   8 today about people who come here to hunt, the people
   9 that want to come to Colorado.
  10            Even fishermen who don't want to go out
  11 maybe where there's bears or something in the woods,
  12 they want to have a little self-defense. And yet,
  13 we're creating an environment, a hostile environment to
  14 training, to possession of arms. And in summary, when
  15 all these things are totalled up, this is absolutely in
  16 the worst interest of the state of Colorado. Please
  17 vote no on 1224.
  18            THE CHAIRWOMAN: Senator Roberts.
  19            SENATOR ROBERTS: Thank you, Madame
  20 Chair.
  21            I'd like to touch on a couple of points.
  22 One thing that came up at my town hall meeting, where
  23 I, again, had over 400 people, was the concern that
  24 law-abiding citizens will turn into criminals under
  25 this bill.
  0050
   1           And I know there are some who would
   2 dismiss that as tough luck, so what, I guess if you
   3 don't know better, so it goes. Well, let me tell you
   4 how tough luck that's going to be. If you go to the
   5 bill, we're talking about any person who violates
   6 subsection 1 of this is going to be -- have committed a
   7 Class 1 misdemeanor. That's the second time. The
   8 first time is a Class 2 misdemeanor.
   9           If you go to our fiscal note, and I know
  10 the fiscal note analysts are challenged in terms of
  11 trying to figure out some of these new things, but you
                                                                                                     LEG HX 000297                   4213
file:///X|/...r/HB%201224%20and%201229/HB%201224/Transcripts%20of%20legislative%20history/House%20Bill%2013-1224-030813.txt[11/5/2013 7:32:54 AM]
  12 have Appellate      Case:
            a clear reading     14-1290
                              here of how manyDocument:   01019371762
                                                  new crimes are                      Date Filed: 01/16/2015           Page: 60
  13 created under this bill. It creates three new
  14 misdemeanors and one new felony charge.
  15            This is at a time where as a state we've
  16 said, We should not be filling our prisons with people
  17 who are not criminals, and yet, we are creating four
  18 new crimes. And I can guarantee you that there are an
  19 awful lot of people in my district who will end up
  20 being criminals under this not for any crime other than
  21 possession of this magazine.
  22            The other thing I'd like to point out,
  23 again, in talking with my sheriffs, is the
  24 implementation issue. I know on the Front Range a lot
  25 of you, it's been a long time since you've been to
  0051
   1 southwest Colorado. I have a visual aid, a map of
   2 southwest Colorado.
   3           I'd like you to see that in less than
   4 20 minutes, I'm in the state of New Mexico. There's
   5 Arizona, which is probably 40 minutes from Durango.
   6 And then Utah is over here. Every county of mine
   7 except two, so six out of eight counties border another
   8 state.
   9           How are we asking our county sheriffs to
  10 figure out how to implement something like this? I
  11 mean, again, on the Front Range, you're insulated on
  12 the Front Range corridor. That's not the world I live
  13 in. I live in the world where you can go to the Four
  14 Corners Monument and be in four states in a single
  15 second.
  16            So when we say that we're going to do
  17 this as the state of Colorado and it's not coming down
  18 as a federal law, wouldn't like it if it was, but as
  19 the state of Colorado, how is that going to work with
  20 the implementation piece?
  21            I want to underscore the fact that if we
  22 were getting some serious public safety proposals here,
  23 it would be one of those things where we would not be
  24 talking about, so what happens to tourism or hunters?
  25 This doesn't increase public safety. That is what I've
  0052
   1 heard. It's what anyone can sort of assess if you step
   2 back from it, you look at the people who will try and
   3 implement it.
   4           But I would just say, the consequences of
   5 this are very concerning. I know I personally have
   6 tried many times to take a bipartisan approach in the
   7 seven years that I've been here. I think it is
   8 extremely noteworthy that the bill package, and this
   9 bill in particular, has nothing to do with
  10 bipartisanship.
  11            In fact, there was no conversation, and
  12 some of the most informed people in this legislature on
  13 these kinds of issues would happen to be on the
                                                                                                     LEG HX 000298                   4214
file:///X|/...r/HB%201224%20and%201229/HB%201224/Transcripts%20of%20legislative%20history/House%20Bill%2013-1224-030813.txt[11/5/2013 7:32:54 AM]
            Appellate
  14 republican         Case:
                   side of       14-1290
                           the aisle.  PerhapsDocument:
                                                they still 01019371762                Date Filed: 01/16/2015           Page: 61
  15 wouldn't vote, but they'd help shape your bills or help
  16 you know some of the definitions.
  17            I guess I would just underscore that if
  18 you can't get any republican to support something like
  19 this, it is incredibly -- it's a disservice to our
  20 state. And I was asked a question whether this would
  21 have jurisdiction over Indian tribes, and no, it
  22 wouldn't, because state law and federal law -- federal
  23 law is -- rules on the Indian tribes.
  24            So again, we just have more
  25 jurisdictional mess that my sheriffs will have to try
  0053
   1 and figure out. And quite frankly, I think they will
   2 throw up their hands and say, This is unenforceable.
   3 Not because they don't care about public safety, but
   4 because we've created a bill proposal here that doesn't
   5 work in the real world and punishes people who are
   6 actually law-abiding citizens, not criminals.
   7           THE CHAIRWOMAN: Members, dinner has
   8 arrived. We will not be taking a break. But alongside
   9 of the wall over on this side of the building is dinner
  10 for members and staff. And we will, though, continue
  11 the discussion.
  12            Senator Lundberg.
  13            SENATOR LUNDBERG: Thank you, Madame
  14 Chair.
  15            Members, I rise again in opposition to
  16 House Bill 1224. And there are just so many things to
  17 be said about this bill that are so important. The
  18 good senator from southwestern Colorado pointed out
  19 some of the issues on the criminal law that's created
  20 through this, as well as the economic issues. I'm
  21 following up on that at this point in time.
  22            However, first let me remind you of the
  23 main point. At least in my opinion the main point of
  24 House Bill 1224 is it does not simply ban high-capacity
  25 magazines. It bans every magazine that can be, quote,
  0054
   1 readily converted to high-capacity magazines, which
   2 means virtually every magazine. So this is what it
   3 does. It bans magazines.
   4           UNIDENTIFIED SPEAKER: (Inaudible) tell
   5 me twice they (inaudible).
   6           SENATOR LUNDBERG: And it functionally
   7 renders any weapon that's fed with that magazine to be
   8 legally inoperable. Now, there is a grandfather
   9 clause. So you can keep your magazine, but you cannot
  10 pass that on even through inheritance.
  11            So if you have this firearm that's fed
  12 with this magazine, regardless of its size because they
  13 are all banned by this bill, then you can pass on to
  14 your heirs this inoperable piece of steel and plastic,
  15 but it's no longer functional.
                                                                                                     LEG HX 000299                   4215
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  16        Appellate   Case: 14-1290
                And I received               Document:
                                an interesting           01019371762
                                               observation                            Date Filed: 01/16/2015           Page: 62
  17 from a gentleman from Longmont who actually is a
  18 defense attorney, a criminal defense attorney. And he
  19 said -- this is his analysis of it. He says, I can
  20 tell you, it will be impossible for the DA to prove the
  21 date of possession.
  22            Because if you buy something after this
  23 bill becomes law, then it is illegal. Hence, his
  24 analysis is, therefore, the gun will be confiscated as
  25 evidence. And most charges are not brought to trial,
  0055
   1 they are settled through a plea bargain.
   2           Here's his analysis: Plea bargain will
   3 be to dismiss, but destroy. So the gun gets destroyed.
   4 At an absolute minimum, this is a confiscation of all
   5 of these weapons through at least the course of the
   6 generation.
   7           Now, that's some observations on the
   8 dysfunctionality of House Bill 1224 on the criminal law
   9 side. I also have before me a letter sent from a
  10 gentleman, Bryan Owens, the vice president of
  11 operations for Parkway Products from Loveland, a part
  12 of my district.
  13            This is concerning House Bill 1224. He
  14 states: I write as a Colorado businessperson who is
  15 very concerned with the upcoming vote on
  16 House Bill 1224. For it appears that our state's and
  17 our nation's recent horrible experience with gun
  18 violence has enticed us to find emotionally gratifying,
  19 but ultimately ineffective potential solutions to a
  20 serious and complex set of issues that our society
  21 currently faces.
  22            What is not complex, however, is the
  23 impact on Colorado citizens, taxpayers, and voters that
  24 are attempting to clean up a perceived image problem by
  25 racing to be on the vanguard of a movement without
  0056
   1 considering the immediate and practical impact of that
   2 action.
   3           Please understand that Coloradans will
   4 lose jobs making products that will continue to be
   5 legally sold and produced in other states. Magpul
   6 Industries is one of the few local manufacturers left
   7 in this state that have consistently supported what was
   8 once a thriving manufacturing industry in Colorado.
   9           And that's most notably in northern
  10 Colorado, which is where Magpul is, and my district up
  11 in Larimer County is, as well. Their decision to
  12 actively source from local business wherever possible
  13 has saved a number of our regional competitors and has
  14 contributed to healthy growth in numerous other local
  15 businesses over the past decade, including our
  16 Loveland, Colorado, facility.
  17            If Magpul pulls their business from
                                                                                                     LEG HX 000300                   4216
file:///X|/...r/HB%201224%20and%201229/HB%201224/Transcripts%20of%20legislative%20history/House%20Bill%2013-1224-030813.txt[11/5/2013 7:32:54 AM]
            Appellate
  18 Colorado,           Case: 14-1290
                  the immediate              Document:
                                  impact on our  Loveland01019371762
                                                          facility                    Date Filed: 01/16/2015           Page: 63
  19 will be a loss of jobs in manufacturing, logistics,
  20 engineering, and administration. I know of several
  21 manufacturers who are likely to close their Colorado
  22 facilities completely.
  23            Given that green energy is proving
  24 increasingly unlikely to come to the rescue of Colorado
  25 manufacturers, do we really wish to punish Colorado
  0057
   1 businesses and workers only to make a primarily
   2 cosmetic point with no real social benefit?
   3           Please consider the real and practical
   4 impact you will have on your constituents as you decide
   5 how to vote on this bill. I cannot believe that the
   6 hollow reward of purely symbolic response will outweigh
   7 the real harm to the numerous families affected by this
   8 course of action.
   9           Please, vote no on House Bill 1224.
  10 Thank you for your consideration. Thank you for your
  11 service to our wonderful state. Respectfully,
  12 Bryan Owens, vice president operations, Parkway
  13 Products, Loveland, Colorado.
  14            You've heard so many letters from so many
  15 manufacturers telling you the very same thing, this is
  16 bad for business, this is bad for jobs, this is bad for
  17 the people of Colorado. It would appear to me that
  18 this is a part of a new economic reality for the state
  19 of Colorado. Any questions?
  20            THE CHAIRMAN: Senator Renfroe.
  21            SENATOR RENFROE: Thank you, Mr. Chair.
  22 I just didn't realize where we were at in the order in
  23 time.
  24            Members, this bill, we can go so many
  25 directions to talk about the problems and the things
  0058
   1 that it doesn't fix. And I know we're trying to fix
   2 something. That's what we seem to want to do down
   3 here. We feel something, we want to fix it.
   4           When the sponsor gave her opening remarks
   5 on this bill, she talked about people needing to accept
   6 some inconvenience. I think that is unacceptable to
   7 ask the law-abiding citizens of this state.
   8           I'd also like to mention another thing
   9 she talked a lot about. She talked a lot about how
  10 with these standard-capacity magazines, they're truly
  11 not high, that's political rhetoric to try to scare
  12 people, they are standard-capacity magazines in that
  13 they kill quickly, that you have access to more rounds,
  14 that the killer has access to more rounds, the
  15 criminal.
  16            But that's only half the story. The
  17 law-abiding citizen would have access to more rounds
  18 quickly to defend themselves, which is why we have
  19 firearms in the first place. Let us not ever forget
                                                                                                     LEG HX 000301                   4217
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  20 that orAppellate
              leave thatCase:
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                                the debate because  that is01019371762                Date Filed: 01/16/2015           Page: 64
  21 what this should be about.
  22            Criminals are always going to break the
  23 law. We can make as many laws as we want. Until we
  24 change the hearts of man, they're going to continue to
  25 do evil things and cause tragedies.
  0059
   1           A lot of the testimony the sponsor gave
   2 also talked a lot about all these different criminals
   3 that used standard-capacity magazines. Why don't we
   4 want our citizens, our law-abiding citizens defending
   5 themselves to have that same firepower?
   6           I think I heard the sheriffs, or maybe it
   7 was even the senator from Grand Junction, when he was
   8 quizzing on how much -- he was quizzing I think a
   9 sheriff or a police chief, I don't recall, he was
  10 quizzing, How much ammo, ammunition should we have?
  11 How many rounds should we have?
  12            And I hope he comes up and explains and
  13 talks to that specifically on this because that was
  14 powerful testimony in committee. My answer is always,
  15 not just one more than whoever would be coming at you,
  16 but plenty more because I don't want to get down to
  17 where there's only one left. I don't think anybody
  18 wants that. And by banning the amount that you can
  19 have in a magazine, that's exactly what you're doing to
  20 law-abiding citizens trying to defend themselves.
  21            You know, I was sitting in my office the
  22 other day, and my aide was there working. And some of
  23 you might know my aide David or seen him around, you
  24 know, he's physically impaired. He's confined to a
  25 wheelchair, you know, tough motor skills, you know,
  0060
   1 very hard for him to do a lot of things.
   2           And he -- we were working, and he just
   3 kind of turned his wheelchair over to my desk and sat
   4 there real quietly while I was doing something and
   5 wanted to wait for me to pause to notice that he was
   6 there. And so I stopped and kind of looked up to him
   7 and kind of, What's going on? What do you need? What
   8 did I not do yet that I'm supposed to? You know, one
   9 of those things your aide keeps track of it.
  10            And he says, No, I just wanted to talk to
  11 you about the assault weapons ban if I may and give you
  12 some of my thoughts. And he sat there and he told me,
  13 he said, I can't load a magazine. I can put them in my
  14 weapon, but I can't load them. And if you're going to
  15 restrict what I can have, I'm already at a disadvantage
  16 because of the physical challenges that I face, is
  17 basically what he said.
  18            So what do you want me to tell him? What
  19 message is this senate, this legislature sending to
  20 people out there like David? Accept some inconvenience
  21 is I think the words that were used to start this.
                                                                                                     LEG HX 000302                   4218
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  22 That'sAppellate     Case: 14-1290 Document: 01019371762
              unacceptable.                                                           Date Filed: 01/16/2015           Page: 65
  23            A sheriff testified to this bill also.
  24 And one thing I thought was very powerful, I'm sure
  25 you've seen a picture of it, maybe you haven't, but you
  0061
   1 had one sheriff testifying with, at times, up to
   2 30 sheriffs standing behind him, opposed to every
   3 single bill that was heard on Monday.
   4           They testified in this bill that this was
   5 something that they had no idea how they could enforce.
   6 And I think you've heard that said over and over in
   7 here. How are we going to enforce this? Manufacturers
   8 don't put a born-on date or a manufactured date on
   9 their magazines, there's no way they could cost-wise.
  10            Now, obviously in the future you're going
  11 to know by a new generation of technology, you could
  12 probably figure it out if it is. So what you're
  13 basically doing is you're politely confiscating my
  14 weapon, my firearm to defend myself with this bill.
  15            That's truly what you're doing. You're
  16 saying, Oh, we're going to allow you to keep it, we're
  17 going to allow you to keep all the magazines that you
  18 have, we're going to grandfather those in. You can't
  19 transfer them to somebody else, so we're willing to
  20 wait you out.
  21            That's exactly what you're saying to the
  22 law-abiding citizens of this state, we're willing to
  23 wait you out. We'll get your guns, we'll get your
  24 magazines. It might take us 30 years, I pray 40, 50,
  25 but at some point in time, that day will come.
  0062
   1           And then my children will have to make
   2 the choice, are they going to obey the law and turn
   3 them in? Confiscation, that's what's coming with this
   4 bill at some point in time. There's no way around
   5 that. If there is, I'd love to hear how -- oh, I guess
   6 I could voluntarily sell them out of state where
   7 they'll still be legal. Or I could -- I don't even
   8 know.
   9           I guess a question for the sponsor or the
  10 chair in this bill is, Could I sell them to a police
  11 officer in our state since they have immunity and they
  12 can keep them and they can use them privately? That's
  13 a great question.
  14            Then along that same -- oh, the great
  15 senator from Mesa is volunteering. But that raises
  16 even another question. So the bill allows for off-duty
  17 police officers to purchase and use these banned
  18 magazines. What if their spouse has the vehicle that
  19 day that they're stored in? How are the police going
  20 to handle that?
  21            Now, the sheriffs say they don't know how
  22 they'll enforce it. But again, we're going to wait
  23 this out and we'll see in the future. And then you'll
                                                                                                     LEG HX 000303                   4219
file:///X|/...r/HB%201224%20and%201229/HB%201224/Transcripts%20of%20legislative%20history/House%20Bill%2013-1224-030813.txt[11/5/2013 7:32:54 AM]
  24 be in Appellate
             court tryingCase:  14-1290
                          to defend           Document:
                                      your innocence.      01019371762
                                                        That's                        Date Filed: 01/16/2015           Page: 66
  25 what will happen with this bill.
  0063
   1           It breaks my heart how many letters we
   2 have received from businesses talking about their
   3 future with this package of bills, this bill, in
   4 particular, but I think it's the package. It's the
   5 message that we're sending.
   6           I think some of the companies like
   7 Outdoor World, the messages that they've sent are that
   8 we are already sending that message. We have a chance
   9 to stop it, and I pray we do.
  10            Here's another company that has been in
  11 this state a very, very, very long time, 36 years. I
  12 can't believe the thought of having to write a letter
  13 like this after being in business in Colorado for
  14 36 years. This is from the president, Lloyd Lawrence,
  15 of Lawrence Tool & Molding. Sounds like a family-owned
  16 business to me. My father started our company 40 years
  17 ago. And to write a letter like this I know would
  18 break him.
  19            To where somebody that's been in business
  20 for 36 years, I can't imagine -- actually, I can. I
  21 actually -- I know exactly where this man is coming
  22 from. For 36 years Lawrence Tool & Molding has served
  23 Colorado with pride and efficiency. But if House Bill
  24 13-1224 passes, we will draw this relationship to a
  25 close.
  0064
   1           36 years. It breaks my heart. It
   2 absolutely breaks my heart. 36 years in the state of
   3 Colorado. We are a veteran-owned plastic injection
   4 molding company supporting dozens of local businesses.
   5 We manufacture components for ice machines, solar
   6 panels -- wow, solar panels. We're having an industry
   7 that supports the solar industry move out of our state
   8 if this passes -- frisbees, medical suppliers, and the
   9 construction industry.
  10            Our parts have been used in DIA, RTD's
  11 Light Rail, Children's Hospital, Union Station, and
  12 numerous other projects around the state. Since 1977
  13 we've driven nearly a hundred million dollars into the
  14 local economy and offered hundreds of stable jobs to
  15 its citizens.
  16            And they're located on 7th Avenue here in
  17 Denver. 36 years. We've always been profitable, but
  18 business really took off when we teamed up with Magpul.
  19 This partnership has allowed us to expand operation
  20 into a second location and invest hundreds of thousands
  21 of dollars into equipment, employees, and new product
  22 lines. Now we're at a crossroads.
  23            Yes, we are at a crossroads, aren't we.
  24 We talk about jobs, jobs, jobs, and here they are
  25 leaving Colorado. Jobs, jobs, jobs, leaving Colorado.
                                                                                                     LEG HX 000304                   4220
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  0065      Appellate Case: 14-1290 Document: 01019371762                             Date Filed: 01/16/2015           Page: 67
   1 36 years, unbelievable. We are at a crossroads.
   2           Magpul has promised to move out of state
   3 if this legislation passes. They feel it would be
   4 wrong to give the benefit of their laborers to a
   5 community that has banned their product. If you would
   6 ban my product in Colorado, I can tell you, even though
   7 we've been here 40 years, we would move, too.
   8           It says here, We agree, and with this
   9 letter, we're going to join them. You shouldn't view
  10 this loss as negotiable. The wealth our company
  11 produces is very significant. Our production rates are
  12 higher than ever, and we expect 2013 will be our
  13 strongest year yet in 36 years for a bill that
  14 everybody says is unenforceable, at least in this
  15 generation.
  16            So I guess you don't want this company to
  17 say they've been here 70 years is what we're saying.
  18 Jobs, jobs, jobs. Early estimates suggest we'll add
  19 hundreds of new jobs contributing upwards of
  20 200 million to the Colorado economy as we move forward.
  21            And that's just the business end of the
  22 discussion. The truth is, there is far more at risk.
  23 Wages we pay are immediately disbursed throughout the
  24 community. Each of our employees has a family, and
  25 they have families, we are their lifeline.
  0066
   1           I think the senator from Wray earlier
   2 said, instead of them collecting the check at their
   3 business over an 7th Avenue, they're going to go right
   4 down the street and collect a different type of check.
   5 Jobs, jobs, jobs leaving Colorado.
   6           Now, consider the number of businesses
   7 that rely on us for earnings, and the number of
   8 dependents climbs in a hurry. The effects will even be
   9 felt by people we've never met, doctors, grocers,
  10 mechanics, and those relying on public services.
  11            Overall losses are hard to project, but
  12 collectively, we're talking about more than 1,100 jobs
  13 and several million dollars leaving Colorado.
  14 Calculating what we'll lose in tax revenue alone is
  15 enough to make your head spin.
  16            We urge you to consider the outcomes.
  17 This bill is not a solution for problems at hand and
  18 only would undermine our economy. If you'd like to
  19 visit our facility and meet some of the people that
  20 will suffer the impact, please call to arrange a time.
  21 Lloyd Lawrence.
  22            I pray, Lloyd, that you don't have to
  23 leave because of a bill that can't be implemented for
  24 generations. Vote no on this bill.
  25            THE CHAIRMAN: Senator Hill.
  0067
   1 (Inaudible.) Senator Scheffel.
                                                                                                     LEG HX 000305                   4221
file:///X|/...r/HB%201224%20and%201229/HB%201224/Transcripts%20of%20legislative%20history/House%20Bill%2013-1224-030813.txt[11/5/2013 7:32:54 AM]
   2        Appellate
               SENATOR   Case:   14-1290 Thank
                             SCHEFFEL:       Document:
                                                  you, 01019371762                    Date Filed: 01/16/2015           Page: 68
   3 Mr. Chairman.
   4           First order of business, promise made,
   5 promise kept to Dan. I spent the entire day at the
   6 capitol building Monday, March 4th, waiting for my
   7 chance to speak against House Bill 1224. I sat
   8 patiently for over seven hours as I watched testimony
   9 after testimony.
  10            After waiting all those hours, the
  11 audience was told that expert testimony had taken all
  12 the time allotted and there was no time left for public
  13 comment, and that there would, therefore, be no public
  14 testimony.
  15            Hundreds of citizens were prevented from
  16 speaking. And I believe that this severely undermines
  17 the democratic process. The following is what I would
  18 have said to the committee.
  19            From Dan. The proponents of
  20 House Bill 1224 point out that a study conducted during
  21 the 1994 to 2004 assault weapon ban showed a decrease
  22 in the number of high-capacity magazines recovered in
  23 crimes in Virginia during the ban. They use this fact
  24 to say that the ban was successful, however, this is
  25 nothing more than circular logic.
  0068
   1           It is not surprising that banning an item
   2 will reduce its prevalence. Despite a reduction of the
   3 number of recovered magazines, a study done by the
   4 National Institute of Justice in 1999 said that the ban
   5 failed to reduce the average number of victims per gun
   6 murder or multiple gunshot wound victims.
   7           The previous magazine ban did not save
   8 lives and did not reduce the number of victims per
   9 shooting incident, even though it did reduce the number
  10 of high-capacity magazines recovered in crimes.
  11            Let me restate that. Reducing the use of
  12 high-capacity magazines did not reduce the number of
  13 overall deaths, nor did it reduce the number of deaths
  14 per shooting incident. This proves that having
  15 high-capacity magazines available to the public does
  16 not increase harm to society.
  17            People also like to point out anecdotal
  18 stories about murders being stopped during reloads.
  19 But anecdote is not a valid basis for making law,
  20 especially when the law is opposed by so many. Freedom
  21 should not be curtailed unless there is solid evidence
  22 that doing so would help society. There is no such
  23 evidence in this case.
  24            Proponents of House Bill 1224 made many
  25 emotionally-based calls to do something. However noble
  0069
   1 that may sound, there's no evidence that this bill will
   2 save lives. If we really want to save lives, we need
   3 to focus on mental health services and keeping weapons
                                                                                                     LEG HX 000306                   4222
file:///X|/...r/HB%201224%20and%201229/HB%201224/Transcripts%20of%20legislative%20history/House%20Bill%2013-1224-030813.txt[11/5/2013 7:32:54 AM]
            Appellate
   4 away from     those Case:  14-1290
                         who should         Document:
                                     not have them.      01019371762                  Date Filed: 01/16/2015           Page: 69
   5           Blanket bans on certain types of
   6 equipment are not the answer. Please do not support
   7 House Bill 1224. Thank you, Dan, for taking the time
   8 to contact me so that your voice could be heard today.
   9           A similar note, I don't know if anybody's
  10 had time to see this cartoon. It is funny. It draws a
  11 chuckle. It has a sad truth behind it. The car behind
  12 it is tragic. These are all the businesses that we've
  13 been talking about and reading letters from that will
  14 be affected by this bill.
  15            If you haven't taken time, you ought to
  16 take a closer look at this. It references contract
  17 manufacturers, mold and tooling suppliers, packaging
  18 suppliers, contract warehouses, I actually know that
  19 individual, marketing, and soft goods suppliers, and
  20 industrial equipment reflected here as mere dots on a
  21 map.
  22            Let me tell you about one of the dots.
  23 It's not just a dot on a map, it represents a real
  24 industry making real products, employing real people
  25 who will be hurt by this bill. The story of
  0070
   1 Technologies, LLC, is as follows:
   2           My name is Tim O'Hayre. And I'm the
   3 president of the two employee-owned manufacturing
   4 companies in Colorado, Techniques, LLC, in Louisville;
   5 and Colorado Fabricators in Broomfield. We've been
   6 manufacturing in Colorado since the early '70s. We've
   7 seen some good years and we've seen some bad years.
   8 Sounds like a regular business.
   9           For the last four years we have been
  10 digging our way out of the recession. How many times
  11 have we spoken at this mike about the recession. Our
  12 business has grown in the last two years in part due to
  13 companies such as Magpul Industries. Magpul has chosen
  14 to manufacture in the United States, and more
  15 importantly, in Colorado.
  16            Because of their commitment to Colorado
  17 companies like mine, we have been able to grow and
  18 create jobs. In the last 12 months, we invested
  19 several million dollars in new equipment. We have
  20 added 20 percent to our workforce in Louisville.
  21            In November of 2012 we purchased Colorado
  22 Fabrication in Broomfield. This company was on the
  23 verge of closing its doors. Since the purchase we have
  24 been able to retain the original workforce, add
  25 equipment, and add new jobs. More jobs and equipment
  0071
   1 were planned for 2013 in both locations. But those
   2 plans are on hold at this time.
   3           As Magpul supports our business, we, in
   4 turn, support other Colorado businesses that depend on
   5 us to make their payrolls. We purchase our raw
                                                                                                     LEG HX 000307                   4223
file:///X|/...r/HB%201224%20and%201229/HB%201224/Transcripts%20of%20legislative%20history/House%20Bill%2013-1224-030813.txt[11/5/2013 7:32:54 AM]
            Appellate
   6 materials          Case:
                and other       14-1290
                           support           Document:
                                    services from these 01019371762                   Date Filed: 01/16/2015           Page: 70
   7 companies. One of these companies recently told me
   8 that we were a godsend to his business, as he was going
   9 to have to shut down for lack of work. Our secondary
  10 work has kept his doors open, and he has added to his
  11 workforce.
  12            We are not a billion-dollar company. We
  13 are a collection of people, of families of fellow
  14 Coloradoans who want to continue to manufacture in
  15 Colorado. If House Bill 1224 passes and companies like
  16 Magpul are forced out of Colorado, we, in turn, would
  17 be forced to leave, taking all of our jobs and our
  18 support to the local economy with us.
  19            We make goods for companies all over the
  20 United States and some places around the world, so we
  21 can manufacturer our products from any state. Magpul
  22 is our largest customer. If they choose to leave for
  23 whatever reason, we will need to follow them.
  24            There's a lot of debate on both sides of
  25 this issue, but there's an extreme amount of
  0072
   1 uncertainty as to the effectiveness of this bill.
   2 House Bill 1224 will do nothing to improve the safety
   3 of the people of Colorado. This bill will only hurt
   4 Colorado business and the Colorado economy.
   5           There will be a terrible domino effect if
   6 this bill passes. It will not only impact Magpul and
   7 their Colorado suppliers, but it will impact the
   8 Colorado businesses that rely on those companies'
   9 employees to shop in their stores and eat in their
  10 restaurants.
  11            My family came to Colorado in the 1860s.
  12 My parents still live on some of the original homestead
  13 in Lakewood. I'm a fourth-generation Coloradoan. I
  14 urge you, as our leader, to focus on solutions that can
  15 enhance our safety and without crushing our economy.
  16            Colorado is a wonderful state to live in,
  17 raise our families in and work in. Please help protect
  18 all aspects of our health, safety, and welfare. Signed
  19 respectfully, Tim O'Hayre, president, Techniques, LLC,
  20 and Colorado Fabrication, LLC.
  21            Thank you, Tim, and thank you, Dan, for
  22 taking the time to contact me. Your words resonate
  23 with me, and I will be a no vote on 1224. Colleagues,
  24 to be sure, the heinous acts of criminals has deeply
  25 hurt and driven to the core of the people in our
  0073
   1 communities, our state, our nation. But the answer is
   2 not House Bill 1224.
   3           I have seen demonstrations about these
   4 magazines. I wish we could have them here, evidently
   5 it's not permissible. I wish we could have a
   6 demonstration here to show the interchangeability and
   7 how fast these turn from to this many to that many, and
                                                                                                     LEG HX 000308                   4224
file:///X|/...r/HB%201224%20and%201229/HB%201224/Transcripts%20of%20legislative%20history/House%20Bill%2013-1224-030813.txt[11/5/2013 7:32:54 AM]
            Appellate
   8 a reducer,         Case: 14-1290
                  and increaser, and a springDocument:     01019371762
                                               attenuator, and                        Date Filed: 01/16/2015           Page: 71
   9 all the different things that these do, it is not the
  10 answer to go after these magazines. This will directly
  11 hurt Colorado companies. Please vote no on 1224.
  12            THE CHAIRMAN: Senator Marble.
  13            SENATOR MARBLE: Thank you, Mr. Chair.
  14            We are here tonight discussing
  15 House Bill 1224 and the other gun bills due to the very
  16 misguided focused on an inanimate object instead of the
  17 perpetrator of truly evil acts. I've been given
  18 another letter from a woman who was here to testify on
  19 Monday, but due to time constraints, could not have her
  20 voice heard. And I am here to read her letter. And I
  21 hope you will listen, as it is from a woman's
  22 perspective regarding the limits on magazines .
  23            My name is Laura Carno, and I am from
  24 El Paso County. I run a political media company that
  25 communicates with women. And it's on behalf of myself
  0074
   1 and these women that I am urging you to vote against
   2 House Bill 1224 because it desperately affects women.
   3           And the reason that this affects women
   4 more than men is women are smaller in stature than
   5 their assailant. We never know if we are going to have
   6 a larger assailant, multiple assailants. Maybe it's a
   7 home invasion. Maybe I have to protect my children's
   8 lives, as well as my own life.
   9           What if the bad guy is hopped up on
  10 drugs, and even if I land a shot, he doesn't go down
  11 because he's not feeling pain? The point is, I need to
  12 be the one to decide how much firepower I need to be
  13 able to protect myself.
  14            You know, women in my mother's generation
  15 used to say, I don't need a man to take care of me.
  16 And that generation of women raised my generation of
  17 women to be independent. I can take care of myself in
  18 every way, including my own self-defense.
  19            So when my government says, No, I'm
  20 sorry, I understand that you think you're independent,
  21 but you need to wait for a man with a uniform and a gun
  22 to come help you, so just hang in there until he gets
  23 there.
  24            I'm not okay with that. I think we've
  25 come too far in too many decades to go backward on
  0075
   1 that. You know, I am delighted to live in a free
   2 country where I, the citizen, am created equal to you,
   3 the legislator. You're not the king and I didn't come
   4 here to ask for your permission on how to defend
   5 myself.
   6           And I know that some of you up there
   7 don't think that this size magazine is necessary. And
   8 my suggestion is, if you don't think it's necessary,
   9 then you don't have to own one. But your opinion about
                                                                                                     LEG HX 000309                   4225
file:///X|/...r/HB%201224%20and%201229/HB%201224/Transcripts%20of%20legislative%20history/House%20Bill%2013-1224-030813.txt[11/5/2013 7:32:54 AM]
           Appellate
  10 magazine          Case:
                 size has      14-1290
                          nothing  to do withDocument:    01019371762
                                               my ability as a                        Date Filed: 01/16/2015           Page: 72
  11 law-abiding citizen and independent woman who can take
  12 care of herself whether or not I own that magazine. So
  13 I ask you, as somebody created equal to you, to say no
  14 to House Bill 1224.
  15           I heard my colleague speak that these gun
  16 bills are a precursor to true confiscation. And I want
  17 to read a quote, a very amazing man who I know you all
  18 will recognize. But he said, Among the many misdeeds
  19 of British rule in India, history will look upon the
  20 act of depriving a whole nation of arms as the
  21 blackest. Mahatma Gandhi.
  22           I believe the takeaway from this letter
  23 and from this quote can be summed up as follows: There
  24 is nothing virtuous or dignified in a death due to lack
  25 of self-defense. Give the people their dignity of
  0076
   1 self-defense in the way they choose. Vote no. Just
   2 vote no on this bill.
   3          THE CHAIRMAN: Senator Baumgardner.
   4          SENATOR BAUMGARDNER: Thank you,
   5 Mr. Chair.
   6          You know, I didn't know if I was going to
   7 come back up here again or not, but -- well, I had
   8 planned to come back. You know, the senator from
   9 Douglas County made a few comments about these
  10 businesses on this map. They're just not businesses,
  11 those are people's lives, those are people's income,
  12 those are people's houses, those are people's kids that
  13 how are we going to send them to school now?
  14           How am I going to get my kids to school,
  15 I don't have a job because the company I worked for
  16 pulled out and went to another state or another country
  17 because of House Bill 1224 that restricted size of
  18 magazines.
  19           Hundreds and hundreds of people out of
  20 work. For how long? Who knows. I mean, they can draw
  21 unemployment for a while till they drop off if they
  22 can't find work. You know, we're supposed to be
  23 recovering. We're supposed to be coming out of this
  24 recession. And with these bills, we're going to go
  25 right back into part of it because we chose to drive
  0077
   1 business out of the state of Colorado.
   2          I have a letter that I'd like to proceed
   3 with, Mr. Chair, that does speak to House Bill 1224, if
   4 I may proceed, sir.
   5          THE CHAIRMAN: Yes.
   6          MR. BAUMGARDNER: Thank you, Mr. Chair.
   7          I would strongly encourage you to vote no
   8 on House Bill 1224. The magazine capacity limit bill
   9 will not make one single U.S. resident safer, not one
  10 single law enforcement officer safer.
  11           Today it's the 15-round limit. Tomorrow,
                                                                                                     LEG HX 000310                   4226
file:///X|/...r/HB%201224%20and%201229/HB%201224/Transcripts%20of%20legislative%20history/House%20Bill%2013-1224-030813.txt[11/5/2013 7:32:54 AM]
            Appellate
  12 the 10-round       Case:
                     limit.     14-1290
                             Down    the road, Document:
                                               six rounds. 01019371762
                                                           There                      Date Filed: 01/16/2015           Page: 73
  13 is no end to the goals that people, like President
  14 Obama, Mayor Bloomberg, and George Soros will do. You
  15 can easily bet their body guards will not be
  16 constrained even if they are private guards.
  17            This bill is not morally wrong, but
  18 extremely flawed. My goal and your goal should be
  19 public safety. The bill does not make that leap. With
  20 just 15 minutes of practice, I can have you doing a
  21 magazine change in less than two seconds. This bill is
  22 about fluff and feel good. Please do not support it.
  23 And he encourages us to not support it.
  24            This is from a former highway patrol
  25 trooper of 28 years, also works for the sheriff's
  0078
   1 department. May I proceed, Mr. Chair, with another
   2 letter?
   3           THE CHAIRMAN: Yes.
   4           SENATOR BAUMGARDNER: Thank you.
   5           I don't know if there's any connection
   6 here, I don't think so, but I'm going to proceed. It
   7 says, I support protecting law-abiding Americans'
   8 Second Amendment rights to keep and bear arms for
   9 self-defense. And I am a law-abiding citizen opposed
  10 to a law that guts our Constitutional rights.
  11            The idea to ban a magazine with capacity
  12 over 15 rounds is flawed. The high-capacity magazines
  13 are much greater than 15 rounds, greater than 30 rounds
  14 for many rifles sold today, including 30-round
  15 magazines. And the vast majority of the pistols use
  16 magazines greater than 10 rounds, and even 15 rounds.
  17            The rules set forth in District of
  18 Columbia versus Heller, A gun in common use cannot be
  19 banned as the often used estimate of high-capacity,
  20 standard-capacity magazines in the United States is
  21 over at this time, at the decision of District of
  22 Columbia versus Heller, was about 80 million, and today
  23 it's approximately 130 million said magazines are in
  24 common use.
  25            Again, the rule set forth says this
  0079
   1 common use cannot be banned. If you pass the
   2 high-capacity magazine ban and Magpul does leave the
   3 state and does continue to produce these magazines --
   4 and I'd like to stop there just a second and kind of
   5 elaborate on that a little bit.
   6           Something I heard early on in testimony
   7 about an amendment that was put on in the House. And
   8 if this has been talked about before, I apologize. But
   9 in case you were out of the room and didn't hear it, I
  10 think it's very important, that we, as the state of
  11 Colorado legislature, would support keeping Magpul
  12 here, telling them, you cannot sell these magazines in
  13 our state, but you can sell them in every other
                                                                                                     LEG HX 000311                   4227
file:///X|/...r/HB%201224%20and%201229/HB%201224/Transcripts%20of%20legislative%20history/House%20Bill%2013-1224-030813.txt[11/5/2013 7:32:54 AM]
            Appellate
  14 49 states,   places Case:  14-1290
                         like Sandy           Document: 01019371762
                                     Hook, Connecticut,                               Date Filed: 01/16/2015           Page: 74
  15 New York, California.
  16            We'll take the income, we'll take the
  17 taxes, we'll make sure you stay in business, and it's
  18 okay, you can sell those magazines in every other
  19 state, but you can't sell them here. So is that what
  20 it's about? Are we concerned about safety or are we
  21 concerned about money? Are we concerned about revenue
  22 for the state?
  23            It's important to keep these businesses
  24 here, but at what cost? If we're really concerned
  25 about this, then let's look at this and do something
  0080
   1 different. But to tell a company, We don't want you to
   2 make them and sell them here, but you can make them and
   3 stay in the state, and we'll keep the revenue coming in
   4 here.
   5           This gentleman said, continued to say
   6 that if that happened, he wouldn't buy another product
   7 of theirs, and he said that a lot of Americans agree
   8 with him. We stand to lose hundreds of jobs if Magpul
   9 pulls out.
  10            He would also like to bring to your
  11 attention the increasing number of firearm
  12 manufacturers and other companies in that industry that
  13 will not sell any goods to a state that cannot be sold
  14 in the state. So these other companies, they're not
  15 going to sell anything to us, either, or sell anything
  16 in this state that would benefit the state.
  17            The more companies join in a larger firm
  18 will placate this boycott. Supporters of the Second
  19 Amendment, this, again, is just another chunk, another
  20 small step. We're all concerned about safety. We're
  21 all concerned about our kids. We're all concerned
  22 about our citizens.
  23            But we've heard by this gentleman that I
  24 spoke about prior that was a trooper that can teach you
  25 how to change these magazines out in two seconds,
  0081
   1 that's not a lot of time.
   2           You know, I'd like to see business
   3 flourish in this state. I'd like to see us continue to
   4 make these accessories for firearms in our state. As
   5 well as many of the people of the state of Colorado,
   6 his last comment was, I hope that the people at the
   7 state capitol listen to the people of the state of
   8 Colorado.
   9           He's asking you to vote no on
  10 House Bill 1224. I'm asking you to vote no on
  11 House Bill 1224.
  12            THE CHAIRMAN: Minority Leader Cadman.
  13            MR. CADMAN: Thank you, Mr. Chairman.
  14            A lot of companies, a lot of Colorado
  15 employees, a lot of business. I want to share a
                                                                                                     LEG HX 000312                   4228
file:///X|/...r/HB%201224%20and%201229/HB%201224/Transcripts%20of%20legislative%20history/House%20Bill%2013-1224-030813.txt[11/5/2013 7:32:54 AM]
           Appellate
  16 statement   on thisCase:   14-1290
                         bill that was sent toDocument:
                                               us by    01019371762                   Date Filed: 01/16/2015           Page: 75
  17 Richard Dorans, the vice president of operations for
  18 PTA Plastics.
  19           PTA has operations in Longmont, Colorado,
  20 and Oxford, Connecticut. PTA has been in business
  21 60 years. And on March 1st we celebrated our one-year
  22 anniversary as an employee-owned company. I thought
  23 that was pretty amazing, 59 years, and then they
  24 figured out how to give their employees ownership share
  25 of their business.
  0082
   1          (Inaudible) management made a conscious
   2 decision in 2000 to focus our marketing on the medical,
   3 defense, and security markets. We thought these
   4 markets were less likely to use manufacturing to
   5 low-cost countries.
   6          PTA was fortunate to begin a partnership
   7 with Magpul in 2010. Magpul's business philosophy is
   8 unique and extremely uncommon today. Their goal is to
   9 source as much as they can on the Front Range of
  10 Colorado. There's the proof.
  11           Their presence and growth has made a
  12 significant impact to the injection molding community
  13 in Colorado. PTA has grown with Magpul. We have
  14 increased staffing by 20 percent, added five molding
  15 machines, and two machining centers used to build
  16 tooling. Over $2 million in capital expenditure
  17 investment in the last two years.
  18           It's unfortunate that PTA's 175 employee
  19 owners are faced with the threat of losing a
  20 significant piece of our business due to our top
  21 customer leaving the state of Colorado, not to mention
  22 the adverse impact to Magpul's Colorado supply chain of
  23 toolmakers, packaging companies, polishers, texture
  24 suppliers, welders, and on and on, that are required to
  25 support Magpul's orders.
  0083
   1          While the gun control issue is
   2 emotionally and politically charged, we must be
   3 cognizant of this and any legislation that has near and
   4 long-term negative impacts on our tenuous economy.
   5          It's about Colorado jobs, PTA's employees
   6 and their families. Magpul has been loyal to Colorado
   7 since their inception. And it would be unjust to see
   8 them leave and stimulate the economy of another state.
   9          On behalf of our 175 employee owners, I
  10 urge you not to put our Colorado jobs and our Colorado
  11 company at risk. I urge you to stop 1224 from going
  12 forward.
  13           I think what's interesting about some of
  14 these people that are pleading for their very survival
  15 of their businesses and their employees is they are
  16 also, many of them, incredibly cognizant of the issues
  17 before us that are supposedly being addressed in these
                                                                                                     LEG HX 000313                   4229
file:///X|/...r/HB%201224%20and%201229/HB%201224/Transcripts%20of%20legislative%20history/House%20Bill%2013-1224-030813.txt[11/5/2013 7:32:54 AM]
            Appellate
  18 proposals.    At theCase:
                          same 14-1290       Document:
                                time I've written on most01019371762
                                                          of                          Date Filed: 01/16/2015           Page: 76
  19 these letters, this is probably their business epitaph.
  20            And what are we talking about, magazines,
  21 pieces of plastic, some springs, some metal. Most of
  22 these are going to be -- the discussion around these
  23 has been around the 223 AR 15s. You've heard some
  24 citations from the Supreme Court case, Heller, that
  25 provides a restrictive standard for what types of arms
  0084
   1 may be banned, only those, and this is the important
   2 part, not typically possessed by law-abiding citizens
   3 for lawful purposes.
   4           Things can be banned that are not the
   5 following: Not typically possessed by law-abiding
   6 citizens for lawful purposes. The estimate currently
   7 is there's 30 million ARs in existence. I may or may
   8 not have a couple that look like them. Law-abiding
   9 citizens for lawful purposes own these arms.
  10            When these topics were first brought up,
  11 I kept hearing the word assault, assault weapons, and
  12 high-capacity magazines. And I thought, No big deal,
  13 those don't apply to me. I used to have an assault
  14 weapon. I used to have a weapon that went fully
  15 automatic, but the government gave me all the
  16 ammunition I needed. I was in the Army.
  17            They gave us assault weapons to use.
  18 M 16s, fully automatic, 30 rounds in, what, 1.2 seconds
  19 or something like that. I don't even remember it's
  20 been so long since I had one. And I kept hearing,
  21 high-capacity magazines, and I thought, That can't
  22 apply to me, I only have normal-capacity magazines. I
  23 don't have anything larger than 30 rounds.
  24            If you start going to 50 or larger, they
  25 get very expensive, they're incredibly unreliable. And
  0085
   1 now at 65 cents a round, going on a dollar a round, no
   2 way. You know what I make. I can't afford a
   3 paycheck -- to use a whole paycheck for an hour at the
   4 range, that's how fast those things go through them.
   5           So what do we have to do to feed the
   6 rhetoric? We have to change the definitions. We have
   7 to change what is normal. We have to change what is
   8 common. We have to call it something different. It
   9 has to be labeled different or we can't feed this
  10 rhetoric. We can't buy into this emotional argument
  11 that somehow a piece of plastic and a spring and a box
  12 is responsible for these horrible incidents, because
  13 they're not.
  14            You know what we're talking about? We're
  15 talking about parts, let me show you. Even under this
  16 bill that's been changed, this 10-round capacity -- I
  17 think this 15-round capacity, would almost be legal
  18 except since you can take the plate off so that you can
  19 clean it, it now becomes easily alterable.
                                                                                                     LEG HX 000314                   4230
file:///X|/...r/HB%201224%20and%201229/HB%201224/Transcripts%20of%20legislative%20history/House%20Bill%2013-1224-030813.txt[11/5/2013 7:32:54 AM]
  20        Appellate  Case:
               You could        14-1290
                           easily -- this is aDocument:
                                               10? Here's 01019371762                 Date Filed: 01/16/2015           Page: 77
  21 the legal, illegal magazine now, somewhat confusing.
  22 Here's the illegal spring, real scary. Here's the
  23 illegal base plate, real scary. The follower, I think
  24 that's what this is called. I guess I should take mine
  25 apart more often and clean them because I've never
  0086
   1 actually seen all these parts out of the inside before.
   2           So while you're banning these, you're
   3 also banning the folks that we're talking about here.
   4 You keep hearing about the jobs. Go look at one of
   5 these places and you will see a guy that literally
   6 takes a stack of these, puts one of these on it, and
   7 sets it over here. You're banning his job.
   8           So the moral assertion now is, well, we
   9 think these things are lethal, we think they're deadly,
  10 we think they're dangerous, but we'll go ahead and
  11 allow you to build them as long as you ship them out of
  12 state. Does that make sense to you?
  13           Do we get a pass on anything else that we
  14 think is dangerous to Colorado to ship it out of state?
  15 If so, maybe we should start doing nuclear power plants
  16 as long as we can ship the waste, the toxic waste out
  17 of state.
  18           So now, I may or may not have some of
  19 these, and they're currently legal for me, but would be
  20 illegal for me to sell or to give away to my kids or
  21 somebody else.
  22           The sponsor mentioned Mayors Against
  23 Illegal Guns. You know, if you look at what they've
  24 done, they've done some pretty good work. But why are
  25 we turning this into mayors against legal plastic? I
  0087
   1 thought we were talking about Mayors Against Illegal
   2 Guns, not legal parts, which is what we have, illegal
   3 guns. Nobody wants guns in the hands of criminals
   4 obviously. As a matter of fact, we ought to lock them
   5 up, the criminals.
   6           There's a lot of people in this building,
   7 I'm assuming some of this, there are probably people in
   8 this building that think we shouldn't have any guns,
   9 that's okay. Free society, we're welcome to have our
  10 own opinions. There's probably people that think you
  11 should have as many as you can hold and you should be
  12 able to get virtually anything. Somewhere in the
  13 middle in society we find a balance.
  14           There's people outside this building,
  15 probably outside this state, that think all guns should
  16 be banned by all people. Some of these people are
  17 supporting these bills. Some of the people that
  18 believe we should have no weapons are supporting these
  19 bills. Why? Because they know they can't get that
  20 passed anywhere, anywhere. They can't get the guns, so
  21 they're trying to get the parts.
                                                                                                     LEG HX 000315                   4231
file:///X|/...r/HB%201224%20and%201229/HB%201224/Transcripts%20of%20legislative%20history/House%20Bill%2013-1224-030813.txt[11/5/2013 7:32:54 AM]
  22        Appellate
                But I'll Case:
                         tell you,14-1290       Document: 01019371762
                                   it's effectively                                   Date Filed: 01/16/2015           Page: 78
  23 already happening. Maybe you don't even need to run
  24 this bill. Why? Because you can't even buy this stuff
  25 here now. Have you gone shopping lately? Have you
  0088
   1 tried to buy a $20 box of ammunition for your 22? It's
   2 nowhere to be found.
   3           The other day I heard about some
   4 somewhere, by the time I got there, it was too late.
   5 And when I found out that they were selling it for $60,
   6 for 22 ammunition that we used to buy a box of 50 for
   7 50 cents, that tells you how old I am, gallon of gas,
   8 box of ammo, 50 cents. It doesn't exist.
   9           Just the discussion of the government,
  10 the government, whether it's the federal government or
  11 the state government, clamping down on any component of
  12 what people were normally used to accessing has changed
  13 the marketplace all across the country. Want to bring
  14 one of those over to me?
  15            This is a store in Colorado Springs, I
  16 believe this was -- it was a couple -- it was right
  17 after Christmas, it was between Christmas and New
  18 Years. This is about 10 feet of a wall of Specialty
  19 Sports. And these are those old Rite Aid's, so you can
  20 imagine how big they are, you know how long those walls
  21 were, this is only one part of one wall of Specialty
  22 Sports of the weapons that they had sold in the last
  23 couple days.
  24            They said they sold enough weapons in
  25 four days to equate to an entire year of business. So
  0089
   1 these are all stacked up. These are all handguns,
   2 handguns, handguns, handguns, handguns, revolvers,
   3 semiautomatics. These are all long guns. Can't really
   4 see what they are. Oh, there's some AR's in there,
   5 there's some shotguns in there, there's some 22s in
   6 there.
   7           Another picture just around that corner,
   8 the same thing, literally panic-buying. Why? Because
   9 people thought there was going to be a rash of people
  10 breaking into their houses, no. Because there was a
  11 rash of government breaking into their Constitution.
  12            That's what happened. That's what's
  13 still happening. That's why what we were buying a
  14 couple, literally several weeks ago for a few pennies
  15 around are now impossible to get, and if you can find
  16 them, extremely expensive. So I hope you stocked up.
  17 I hope you stocked up.
  18            You pass this bill, there's still
  19 130 million of the 30-round capacity magazines out
  20 there. Typical value, what, 14- to $20? Well over a
  21 hundred after that. So congratulations if you have
  22 them. Enjoy your summer trip, because the minute you
  23 leave the border, you can legally sell them for their
                                                                                                     LEG HX 000316                   4232
file:///X|/...r/HB%201224%20and%201229/HB%201224/Transcripts%20of%20legislative%20history/House%20Bill%2013-1224-030813.txt[11/5/2013 7:32:54 AM]
             Appellate
  24 new value,          Case: 14-1290 Document: 01019371762
                   120 bucks.                                                         Date Filed: 01/16/2015           Page: 79
  25             Remember, this is people that aren't
  0090
   1 buying weapons because they're afraid of being broken
   2 into. Person after person I talked to at Specialty
   3 Sports said these were people that were buying because
   4 they were afraid of their government from proposals
   5 like this.
   6            And we keep hearing, This is just the
   7 first step. We keep hearing, I heard it in the house.
   8 I sat there and I listened to this on that long Friday
   9 over there as long as I could, I stayed there 'til
  10 4 o'clock, and I kept hearing, We have to do something,
  11 we have to do something, we have to do something.
  12             But does that mean you have to do the
  13 wrong thing? Does that mean you have to put a ban on
  14 something that's not going to do one thing for public
  15 safety, not one thing? Does doing something mean
  16 driving hundreds and hundreds and hundreds and hundreds
  17 of jobs producing legal products out of Colorado? Is
  18 that what doing something means?
  19             Then back to the premise of, they're so
  20 immoral, they're so dangerous, they're so deadly, we
  21 should stop making them unless we can sell them to
  22 somebody outside the border. That doesn't make sense.
  23 It just doesn't make sense.
  24             We can't even figure out a way how to
  25 make this bill let these things be legal in any
  0091
   1 capacity. All magazines are now illegal under this
   2 bill if you can alter them. If you can clean them so
   3 you can keep reusing them, they are now illegal, which
   4 virtually makes all hunting illegal because you have to
   5 use these magazines. Good luck.
   6            I guess we can shut down the DNR because
   7 revenues are going to dry up. Millions of dollars of
   8 hunting licenses will no longer be purchased in
   9 Colorado because you can't bring your weapon here, you
  10 can't get a magazine here. Don't get caught with a
  11 magazine. How's that message work? You know, bring
  12 all the weapons you want, don't get caught with a
  13 magazine.
  14             All right. All right. Maybe the goal is
  15 to turn us all into something similar to a poster in
  16 the president's office, Barney Fife had the bullet in
  17 the pocket? No magazine, keep your bullet in your
  18 pocket so when you're hunting, you're ready. Take your
  19 bullet out.
  20             We have to stop trying to create this new
  21 definition of assault anything because it's not
  22 accurate. As a matter of fact , when I joined the Army
  23 and they showed us what an M 16 round was, I said, Why
  24 is it so small? As someone who had been brought up
  25 hunting, we use 30.06, 308, pretty big rounds.
                                                                                                     LEG HX 000317                   4233
file:///X|/...r/HB%201224%20and%201229/HB%201224/Transcripts%20of%20legislative%20history/House%20Bill%2013-1224-030813.txt[11/5/2013 7:32:54 AM]
  0092      Appellate Case: 14-1290 Document: 01019371762                             Date Filed: 01/16/2015           Page: 80
   1          When you see the size of a 223, it's
   2 pretty small. As a matter of fact, it's about the size
   3 of a 22 with a little bit more powder. We hear these
   4 assertions that they're designed to kill, they're not
   5 actually. Specifically in the battle zone, they're
   6 designed to wound, right?
   7          So the more dangerous weapons are the
   8 ones that are bigger with more powder, the 308s, the
   9 30.06s. But if we label them assault something, we can
  10 scare people. We can scare people. We can turn up the
  11 rhetoric and turn down the reality and we can scare
  12 people.
  13           Let's stop scaring people. You know
  14 what, people are scared enough in Colorado. These are
  15 real people in our state that are scared of what's
  16 happening here, and this is how they're showing it. A
  17 year's worth of weapons purchased by our neighbors
  18 because they are afraid of what we're doing here. And
  19 I think they should be.
  20           These aren't assault anything. They're
  21 not designed to do anything different than any other
  22 defense weapon. They're small, they're compact. On
  23 the ranch, they're tools . Ax, bucket, shovel, AR, be
  24 ready, probably a fencing tool. But be able to put a
  25 magazine in or it's just an empty piece of metal that's
  0093
   1 virtually useless unless you need a pry bar.
   2          You know, there's another story that
   3 hasn't been told here yet. We've talked about the
   4 Second Amendment. We've talked about the economic
   5 impact. We've talked about the fear of government that
   6 this assembly is putting into Coloradoans, and here's
   7 the picture, you don't have to believe it, you can
   8 shake your head, but this is real.
   9          And I have a message yesterday from the
  10 owner of Specialty Sports that says they will close
  11 their doors in Colorado and move out. So
  12 congratulations, all you folks that want no guns in
  13 Colorado are about to accomplish at least part of your
  14 mission, because the sales of these items will not
  15 happen here, nor will the parts be sold here either.
  16 If we can scare people, though, we can get them to
  17 support us.
  18           You know, people are pretty scared after
  19 9-11. We had a couple, several, many, we had many
  20 planes, some full of people that some of you knew, used
  21 to attack our institutions, and people died. A
  22 significant point in history. We probably all remember
  23 where we were and what that day was like.
  24           Not too long ago the person responsible
  25 for that was found and he was killed by Seal Team 6.
  0094
   1 This is something -- I want to share with you something
                                                                                                     LEG HX 000318                   4234
file:///X|/...r/HB%201224%20and%201229/HB%201224/Transcripts%20of%20legislative%20history/House%20Bill%2013-1224-030813.txt[11/5/2013 7:32:54 AM]
             Appellate
   2 that this  companyCase:
                           doesn't14-1290
                                    share with Document:   01019371762
                                               folks. And I'm                         Date Filed: 01/16/2015           Page: 81
   3 going to show you a picture, I wish I had a bigger one.
   4            We've talked about the economic impact of
   5 all these companies, and certainly a lot about the
   6 economic impact of the company that's being fed by all
   7 these companies, Magpul. I'm going to share an excerpt
   8 here from this book. I encourage you to read it or
   9 borrow it from me.
  10             The firsthand account of the mission that
  11 killed Osama Bin Laden, No Easy Day, the auto-biography
  12 of a Navy seal. For the first time anywhere, the first
  13 person account of the planning and execution of the
  14 Bin Laden raid from a Navy seal who confronted the
  15 terrorist, master mind, and witnessed his final
  16 moments.
  17             From the streets of Iraq, to the rescue
  18 of Captain Richard Phillips in the Indian Ocean, and
  19 from the mountaintops of Afghanistan, to the third
  20 floor of Osama Bin Laden's compound, operator Mark Owen
  21 of the U.S. Naval Special Warfare Development Group,
  22 commonly known as Seal Team 6, has been part of some of
  23 the most memorable special operations in history, as
  24 well as countless missions that never made headlines.
  25             No Easy Day puts readers alongside Owen
  0095
   1 and the other handpicked members of the 24-man team as
   2 they trained for the biggest mission of their lives.
   3 The blow-by-blow narrative of the assault, beginning
   4 with the helicopter crash that could have ended Owen's
   5 life, straight through to the radio call confirming
   6 Bin Laden's death is an essential piece of modern
   7 history.
   8            The little Colorado company played a
   9 major part in that history started by a Marine who was
  10 probably in similar situations in combat that had a
  11 better idea. And on the day that that raid happened,
  12 when they marched in there and took down truly one of
  13 the most evil men of our time, those men, this man,
  14 Mark Owen, was carrying a Colorado-made product from
  15 Magpul, Magpul.
  16             Is that really the kind of company that
  17 we want to drive out? Pass this bill and say good-bye
  18 to Magpul and everybody that supports them, and turn
  19 your back on a part of history that was made from
  20 things made by people here in Colorado. For what? For
  21 what? Vote no.
  22             THE CHAIRWOMAN: Senator Grantham.
  23             SENATOR GRANTHAM: Thank you, Madame
  24 Chair.
  25             We've already heard from several, several
  0096
   1 industries that are impacted by this. These are --
   2 this is -- these are not some phantom assertions. You
   3 hear whispers and doubts. Folks, this is -- this is
                                                                                                     LEG HX 000319                   4235
file:///X|/...r/HB%201224%20and%201229/HB%201224/Transcripts%20of%20legislative%20history/House%20Bill%2013-1224-030813.txt[11/5/2013 7:32:54 AM]
           Appellate
   4 real. This  is real Case:
                         life for14-1290       Document:
                                  these folks that are going01019371762               Date Filed: 01/16/2015           Page: 82
   5 to be put in this position by this legislation.
   6           Byers Industries in Longmont, Longmont,
   7 they're in jeopardy here. It says, I am the chief
   8 executive officer -- this is coming from them.
   9           Dear Senator, I am the chief executive
  10 officer of Byers Industries located in Longmont,
  11 Colorado. I founded Byers Industries in 1976. We have
  12 had a steady growth ever since. 2007 we were employing
  13 over 70 employees. 2008, several of our larger
  14 customers sent their work offshore.
  15           At that time Magpul was expanding their
  16 product lines, and we were able to avoid a major
  17 layoff. Byers Industries will be severely impacted if
  18 Magpul moves their business out of the state. It makes
  19 me feel sad when I think of all the pain and suffering
  20 that has been caused by the recent shootings.
  21           I know that state leaders are trying
  22 their best to prevent such tragedies. I feel there are
  23 better ways than HB 1224 to prevent such shootings.
  24 HB 1224 will do considerable harm to the Colorado
  25 economy. And I urge our state leaders to find a better
  0097
   1 answer. Sincerely, Harold Byers.
   2           WP Manufacturing: Dear Senators, thank
   3 you for reading this letter. I own WP Manufacturing in
   4 Longmont. We are family owned, and WP has been in
   5 business since 1970. We have over 45,000 square feet
   6 of manufacturing space.
   7           Although our company is a contributor to
   8 the Colorado economy through the work we do, we are not
   9 insensitive to the issue of public safety. In fact, we
  10 are supportive of measures that would protect our
  11 community. Making sure weapons do not make it into the
  12 hands of those with malintents or mental illness is a
  13 very responsible goal.
  14           However, HB 1224 will not get us any
  15 closer to achieving that goal, as multiple studies have
  16 shown. Although it has good intent behind it, this
  17 bill will not keep criminals from obtaining magazines,
  18 as there are just too many out there as standard
  19 equipment. An in-state criminal black market would
  20 immediately form, which would only supply those without
  21 regard to law. Collectively, we can produce a much
  22 wiser solution.
  23           As the manufacturing market has slowly
  24 returned to our state, firearms accessories have become
  25 a majority of our revenues here at WP. If 1224 passes,
  0098
   1 WP will be forced to relocate its growing operations
   2 out of state before we complete our 44th year of
   3 business in Colorado. That would be an absolute shame.
   4           But from what I understand, we would not
   5 be alone. There are many small businesses that would
                                                                                                     LEG HX 000320                   4236
file:///X|/...r/HB%201224%20and%201229/HB%201224/Transcripts%20of%20legislative%20history/House%20Bill%2013-1224-030813.txt[11/5/2013 7:32:54 AM]
            Appellate
   6 be forced   to leaveCase:   14-1290
                           Colorado           Document:
                                      if you pass this bill. 01019371762              Date Filed: 01/16/2015           Page: 83
   7            The saddest part is the unintended
   8 consequence, that so many Colorado employees, my
   9 employees, would be forced to make a difficult
  10 decision. Either they must become unemployed in
  11 Colorado during these tough economic times or uproot
  12 their family and move to another state.
  13            I humbly ask that you do not force me to
  14 put my employees and their families through this. I
  15 ask the committee to -- and this committee of the
  16 whole, to consider studying this proposal in a more
  17 thoughtful manner.
  18            Analyze data whether a state magazine
  19 capacity limit would really do anything significant to
  20 enhance public safety. And look at whether there are
  21 other more effective solutions that will not cost
  22 Colorado jobs, companies, and the state so dearly,
  23 in-state revenue estimated to be in excess of
  24 $1 billion over the next decade.
  25            I believe we can find actual solutions
  0099
   1 rather than passing such a speculative law in a hurried
   2 fashion. Voting this bill down with the intent of
   3 arriving at a better solution will not be a defeat for
   4 any legislator, it would be a thoughtful and prudent
   5 process.
   6            We have elected you to take this type of
   7 measured approach in passing any new laws. As a proud
   8 Colorado small business owner, I am asking this
   9 committee for that prudence. It should not be this
  10 bill or nothing. We can do better. Sincerely,
  11 Steve McLean, president, WP Manufacturing.
  12            Folks, it's not just the manufacturers,
  13 it's not just the small businesses, it's not just
  14 Magpul. There are a lot of folks concerned about
  15 what's going on here today and what's going on with
  16 1224.
  17            Probably of all the legislation that
  18 we're hearing today, this is bringing about the widest
  19 concern from my constituents who aren't even attached
  20 to any of the -- any of the manufacturers up on the
  21 Front Range area, they don't have any direct connection
  22 to those, but they are most worried about the effects
  23 of this bill.
  24            We have folks in the shooting clubs that
  25 are worried about, how is this going to affect them?
  0100
   1 The 4-H shooters, I've got many good friends in that,
   2 and I know many of you do, too. In fact, I look across
   3 the chambers here today and I see many of the little
   4 bears sitting on the desk still, 4-H.
   5            One of the biggest activities that we see
   6 in 4-H is the shooting clubs. And that's a statewide
   7 thing, it's not just out in the rural areas. You know,
                                                                                                     LEG HX 000321                   4237
file:///X|/...r/HB%201224%20and%201229/HB%201224/Transcripts%20of%20legislative%20history/House%20Bill%2013-1224-030813.txt[11/5/2013 7:32:54 AM]
   8 I learnAppellate
             somethingCase:       14-1290
                          new every            Document:
                                       day, sometimes  more01019371762
                                                            than                      Date Filed: 01/16/2015           Page: 84
   9 one thing.
  10            But it's a -- its -- I had a 4-H parent,
  11 a 4-H activist call me up and tell me about the
  12 shooting sports and the activity around the state with
  13 this. And they've got really great clubs. They've got
  14 a great club down in Fremont County. In fact, they
  15 hold some of the competitions down there. They've got
  16 a great club in Douglas County. And I think there's
  17 some direct involvement with the Douglas County 4-H
  18 right in this room right now.
  19            But he said, Interestingly enough, some
  20 of the most competitive clubs for the shooting clubs
  21 actually come from the Denver and Boulder clubs. How
  22 will this affect them? They're scared. Because,
  23 folks, when you start talking about the kind of
  24 magazine capacity, the kind of weapons they need to use
  25 in these competitions, it's not just a simple matter of
  0101
   1 writing a check and replacing your weapon. We're
   2 talking about sometimes in cases of certain guns, a
   3 thousand dollars or more for some of these shotguns.
   4           They are scared about the fact that they
   5 may have to shut down their shooting clubs because of
   6 some of these new pieces of legislation. We got
   7 letters from Edward Kiley (phonetic).
   8           He just simply states, My son is in 4-H
   9 in the shooting area, trap and skeet. I'm asking you
  10 not to support this house bill. It will impact the 4-H
  11 shooting program. I hope that's not true. But folks,
  12 they are worried, they are worried.
  13            A good friend of mine, Anne, Anne Vinnola
  14 down in Florence, also, Fremont County, she says she's
  15 a 4-H parent. She's a 4-H shotgun coach from Fremont
  16 County. She says she's heartbroken.
  17            Each one of my kids were in the 4-H
  18 shooting sports program from the time they could hold a
  19 gun until they graduated from 4-H. I have many years
  20 of happy memories watching them shoot, learn
  21 sportsmanship, make lifelong friends, and learn how to
  22 be moral, productive Colorado citizens.
  23            4-H shooting sports programs include
  24 shotgun, 22 rifle, and others that are now in the line
  25 of bills that would seriously inhibit kids from
  0102
   1 pursuing these programs. Frankly, in rural counties,
   2 4-H shooting sports give large amounts of kids
   3 something important to do that they can excel it.
   4           Each Thursday night from March through
   5 Labor Day weekend, I, with other 4-H parents, sponsors,
   6 and leaders guide these kids through proper gun safety,
   7 sporting behavior, how to treat others with respect and
   8 kindness, and so much more.
   9           Boys and girls alike learn side by side.
                                                                                                     LEG HX 000322                   4238
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  10 And toAppellate
              watch theCase:   14-1290 of Document:
                        transformation     a small child01019371762                   Date Filed: 01/16/2015           Page: 85
  11 hoisting their parents' shotgun to their shoulder to
  12 take aim at clay pigeons for the first time, missing
  13 each target, to a self-assured and skilled shooter
  14 winning a national championship is an incredible
  15 journey.
  16           Misguided emotion and ignorance wants
  17 law-abiding American children penalized because of the
  18 horrible deeds of deranged people. Do we really want
  19 our children to view guns as bad and the pursuits they
  20 love and excel at as dangerous?
  21           How could you want to strip the freedom
  22 from law-abiding young people and send them a message
  23 that they are bad people because they like to legally
  24 and safely shoot guns?
  25           In over 30 years since the 4-H shooting
  0103
   1 sports have been around, there have been no fatalities
   2 and very few minor injuries to the thousands, thousands
   3 of kids on the range or anyone affiliated with them.
   4 Why are we penalizing them?
   5          They get good grades. They learn
   6 leadership skills. They learn how to work as a team.
   7 They get many other great skills. I would be very
   8 hard-pressed to even find one of these kids committing
   9 gun-related crimes as adults. In fact, I was not able
  10 to even find one.
  11           These kids are not your problem. They
  12 are the fine, upstanding citizens we in the state of
  13 Colorado and our nation need more of, and our Colorado
  14 senate needs to encourage and stand behind them.
  15           I echo those sentiments. Her daughter
  16 Jenny also wrote and gave many of the same sentiments
  17 as her mother. Thank you for all your support for us
  18 4-H shooting sports kids. Shooting sports is one of
  19 the things that made me who I am. It gave me more
  20 respect for firearms. It really taught me to be much
  21 safer with a gun. Without shooting sports, 4-H would
  22 not be the same. It gives us all something to work
  23 towards and focus our time on, and it gives us
  24 something positive to work toward.
  25           I have built so many strong relationships
  0104
   1 with people in Fremont County through the shooting
   2 sports. People that I know, I have such a connection
   3 with because of the shotgun. We learned how to pull
   4 our own weight in order to help the team, we grew a
   5 team that was more like a family. Without these sports
   6 we wouldn't have the unbreakable friendships that we
   7 have now.
   8          Jacob Yslas, same thing. I've been in
   9 4-H my whole life. I followed my brother into shooting
  10 sports as soon as I could carry a shotgun. Shooting
  11 sports impacted my life in many different ways, in many
                                                                                                     LEG HX 000323                   4239
file:///X|/...r/HB%201224%20and%201229/HB%201224/Transcripts%20of%20legislative%20history/House%20Bill%2013-1224-030813.txt[11/5/2013 7:32:54 AM]
            Appellate
  12 different          Case:
                 areas. The     14-1290
                             biggest  impact Document:
                                             was teaching01019371762
                                                          me                          Date Filed: 01/16/2015           Page: 86
  13 gun safety at a very young age.
  14            Children learn safety and are monitored
  15 so closely that with time, gun safety and
  16 responsibility comes naturally. People are afraid of
  17 guns because they don't understand them. Shooting
  18 sport programs through 4-H teaches you that guns are a
  19 tool and should be used with respect and confidence
  20 just like using a car.
  21            Shooting sports and hunting have taught
  22 me to be aware of my surroundings and cautious of other
  23 people's safety. Being able to shoot a firearm is our
  24 Second Amendment right and 4-H has preserved that right
  25 and passed on gun safety and responsibility. If these
  0105
   1 laws are passed, many children will not be allowed to
   2 have these rights, and that is wrong.
   3           Tony. Tony wrote that, I'm 19 years old,
   4 I was in 4-H from age 7 until I graduated from high
   5 school. And I'm a former Fremont County 4-H shotgun
   6 competitor. I competed in the shotgun shooting events,
   7 and won in the top five positions at the state 4-H
   8 competitions many times.
   9           Shooting sports had an impact on my life
  10 because not only did it help keep me out of trouble
  11 growing up, it also gave me an exciting hobby that I
  12 enjoyed doing and excelled at. I was also required to
  13 have good grades in order to compete in 4-H.
  14            4-H shooting sports is also where I met
  15 the majority of the friends I still have. It also
  16 taught me what being a leader meant. I am still an
  17 active 4-H shooting coach, and shoot shotgun events
  18 around the state in other competitions.
  19            I enjoy the fellowship I have with my
  20 friends and family. I know what it means to be a team
  21 player, how to lead a team. We all learned what it
  22 meant to better ourselves in life by not quitting and
  23 trying harder to meet a goal.
  24            By taking away anything that has to do
  25 with our guns, the Second Amendment, my freedom; my
  0106
   1 nephews, my future children will not get to experience
   2 all of the fun and knowledge about shooting and hunting
   3 that I did, and that is not fair.
   4           Shooting and hunting are a way of life.
   5 And in your statistics, how many law-abiding citizens
   6 that went through 4-H have committed the crimes that we
   7 are being attacked for? Please do not vote yes on
   8 these bills. They will destroy 4-H shooting sports and
   9 penalize thousands of great kids throughout Colorado.
  10            That's also Tony Vinnola. This is a
  11 family affair. Jenny, Anne, Tony, the Vinnolas, good
  12 friends of mine. Casey Myers, a 4-H shotgun
  13 instructor, has been a Fremont County 4-H shotgun
                                                                                                     LEG HX 000324                   4240
file:///X|/...r/HB%201224%20and%201229/HB%201224/Transcripts%20of%20legislative%20history/House%20Bill%2013-1224-030813.txt[11/5/2013 7:32:54 AM]
  14 leaderAppellate    Case: He
             for eight years.   14-1290       Document:
                                   says, During   that time,01019371762
                                                             I                        Date Filed: 01/16/2015           Page: 87
  15 have had the honor of coaching many wonderful kids. I
  16 have had the privilege of watching many of them grow
  17 from young children to upstanding productive members of
  18 our state.
  19            More than one youth shooter from our
  20 program has competed and won at the state 4-H
  21 competitions, as well as nationals. Colorado has a
  22 state program that is one of the very best in the
  23 nation. This proud tradition, this wonderful program,
  24 one that has touched the lives of thousands of kids
  25 over the last 30 years is now in jeopardy due to
  0107
   1 legislation that could render 4-H shooting sports and
   2 Coloradoans too risky to field.
   3           4-H is the best (inaudible) shooting
   4 sport program for many reasons. Most importantly, we
   5 are safe, ethical, legal, and right. It is not just a
   6 theory, it is the very foundation from which all 4-H
   7 has built an active, strong, positive youth
   8 organization that has lasted for more than 100 years.
   9           4-H shooting sports is (inaudible)
  10 one-half of the overall organization and growing. By
  11 passing laws forcing us to choose between compromising
  12 the very high standards we have set or ending a
  13 successful shooting sports discipline out of caution
  14 and abiding by a nonsensical law, I, as a 4-H
  15 volunteer, fully expect Colorado 4-H shooting sports to
  16 begin ending programs.
  17            Passing a law creating limited conditions
  18 in which youth would be allowed to have access to the
  19 guns commonly used in their disciplines would create
  20 hardship financially and legally for the kids, and the
  21 fine tradition of shooting sports will die.
  22 Casey Myers, Fremont County.
  23            Like I said, folks, they are worried,
  24 worried about the nuances of this bill, worried about
  25 the actual implications, not just for those of us who
  0108
   1 may or may not like to have the 30-round mags, we're
   2 talking about -- we're talking about kids, we're
   3 talking about shootings sports, we're talking about
   4 shotgun capacities, what are they going to be allowed
   5 to do and what are they not going to be allowed to do,
   6 how is this going to affect their competitions, their
   7 shooting sports; they're worried and they have a right
   8 to be.
   9           We see so much fallout in businesses, but
  10 what about other fallout, when we see the reaction of
  11 people across this country right now in this
  12 legislation, and what they're planning to do, what
  13 they're planning not to do in relation to Colorado
  14 because of what we're seeing here.
  15            We got an interesting e-mail from someone
                                                                                                     LEG HX 000325                   4241
file:///X|/...r/HB%201224%20and%201229/HB%201224/Transcripts%20of%20legislative%20history/House%20Bill%2013-1224-030813.txt[11/5/2013 7:32:54 AM]
  16 in Iowa.Appellate Case: 14-1290
                 They actually own a homeDocument:
                                            just south of01019371762
                                                          me in                       Date Filed: 01/16/2015           Page: 88
  17 Westcliffe down in Custer County, but their main home
  18 is in Iowa. It says, I live in Iowa, own a home near
  19 Westcliffe. In a time of economic uncertainty, it
  20 would be unwise to alienate the hunters and
  21 firearm-friendly people that travel to your state
  22 annually to spend vast quantities of money; from game
  23 tags, to lodging, for dining and groceries, to all
  24 kinds of local purchases, as well as discrimination of
  25 local businesses.
  0109
   1           I'm wondering if you have managed to hurt
   2 your pocketbook in ways you've never imagined. I took
   3 some of the people that work for me and spent
   4 February 8th through 10th in your lovely state looking
   5 at ranches and property. My wife and I had decided to
   6 buy land we looked at not far from Canon City.
   7           Today -- this is from February 18th -- we
   8 have halted that purchase. Try that again. Today,
   9 back on February 18th, we have halted that purchase.
  10 There is no way -- there is no way we're going to
  11 support a state that believes our rights to
  12 self-defense should be limited.
  13            We won't buy your elk tags. We won't use
  14 your outfitters. We won't buy our gear in your stores.
  15 We won't buy your gasoline and diesel for our vehicles.
  16 We won't shop in your stores, stay in your hotels, and
  17 we won't be eating in your restaurants, your local
  18 businesses won't enjoy revenue earned from our
  19 purchases, and the state won't collect a nickel of the
  20 associated tax.
  21            Opting to alienate the primary group of
  22 people that visit your state for tourism, hunting, and
  23 vacationing seems inherently foolish and ill-advised.
  24 I'm encouraging others to approach your decision to ban
  25 weapon magazines to do the same. Congratulations,
  0110
   1 Colorado. Be careful what you wish for, you may just
   2 get it.
   3           The exact same story, folks. Folks from
   4 Kansas. My name is Fred Hagerman (phonetic). My wife
   5 and myself have been looking at homes in the Woodland
   6 Park area in hopes of moving our family and my
   7 automotive restoration parts business. We have located
   8 a couple of homes to look at and had appointments to do
   9 so this upcoming week with ReMax there in Woodland
  10 Park.
  11            However, as of this afternoon, I have
  12 canceled those appointments. I am put in a position of
  13 having to wait to see if the firearms legislation is
  14 passed. Unfortunately, if this passes, I will not be
  15 continuing our search for a new location in
  16 Woodland Park or any other part of Colorado for either
  17 our family or my business. I cannot give up any of my
                                                                                                     LEG HX 000326                   4242
file:///X|/...r/HB%201224%20and%201229/HB%201224/Transcripts%20of%20legislative%20history/House%20Bill%2013-1224-030813.txt[11/5/2013 7:32:54 AM]
            Appellate
  18 freedoms,           Case:
                  liberties,     14-1290
                             or rights to moveDocument:
                                               there.    01019371762                  Date Filed: 01/16/2015           Page: 89
  19 Fred Hagerman, Kansas.
  20            I have several other letters, folks. I'm
  21 going to reserve the right to come back and talk about
  22 some of those a little bit later and give some of my
  23 comrades the opportunity to speak here and so I can get
  24 a drink of water. Thank you, Mr. Chair.
  25            THE CHAIRMAN: Thank you.
  0111
   1           Senator Lundberg.
   2           SENATOR LUNDBERG: Thank you, Mr. Chair.
   3           Mr. Chair, I was expecting today to see
   4 some interesting debate and discussion as we went back
   5 and forth on the merits or the demerits of these bills.
   6 Mr. Chair, I've been a bit surprised that it's been a
   7 one-sided argument against the bills, particularly on
   8 1224. I wonder, Mr. Chair, if there is any redeemable
   9 argument for passing this bill. I haven't heard much
  10 here.
  11            But I also stand before you today to
  12 point out once again how deceptively comprehensive 1224
  13 is. Because it states that a large-capacity magazine
  14 means a fixed or detachable magazine, box, drum, feed
  15 strip, or similar device capable of accepting or that
  16 is designed to be readily converted to accept more than
  17 15 rounds of ammunition.
  18            This is the basic case for a PMAG 10, it
  19 holds 10 rounds. Now, it also has a spring, a
  20 baseplate, and a couple of pieces around the spring to
  21 hold it in place and to feed the ammunition out. But
  22 this is it. It holds 10 rounds.
  23            So is this a high-capacity magazine or
  24 not? One would think it is not. And you have to have
  25 this in order to operate the firearm. Without it, the
  0112
   1 firearm is, as the good senator from Colorado Springs
   2 pointed out some time ago, maybe good for a pry bar.
   3           Well, is this readily converted -- or
   4 convertible to a larger-capacity magazine than 10 or is
   5 it not? Now, we've talked about it, but I thought it
   6 would be much more appropriate if we demonstrated
   7 exactly what we mean by "readily convertible."
   8           This is the basic piece. We've removed
   9 the baseplate that's right here and the spring and the
  10 other two pieces involved. So we take the baseplate
  11 off, we take an extension, and again, this was an
  12 extension that was printed out on a 3-D printer, so I'd
  13 call that readily available, as well.
  14            Here's the 10-round magazine, here's the
  15 extension. There it is, converted. Your spring, your
  16 baseplate, you're in business. That, ladies and
  17 gentlemen of the senate, is, in fact, something that is
  18 readily convertible. Hence, this is a high-capacity
  19 magazine. This, according to the terms of
                                                                                                     LEG HX 000327                   4243
file:///X|/...r/HB%201224%20and%201229/HB%201224/Transcripts%20of%20legislative%20history/House%20Bill%2013-1224-030813.txt[11/5/2013 7:32:54 AM]
  20 HouseAppellate
              Bill 1224,Case:   14-1290 Document: 01019371762
                         is illegal.                                                  Date Filed: 01/16/2015           Page: 90
  21            Is anybody listening out there who is
  22 going to be voting? Are you going to be voting to make
  23 this illegal? 1224 makes the standard
  24 smaller-capacity -- actually, if they have a smaller
  25 one, it doesn't take much to clip on enough to put more
  0113
   1 than 15 rounds in, they're all illegal, that's the way
   2 1224 works.
   3           Don't fool me with some rhetoric that the
   4 smaller magazines are acceptable, they are not. This
   5 bill makes all of these magazines illegal. It renders
   6 the weapons completely inoperable by legal standards
   7 for the state of Colorado.
   8           And I would also point out, the counsel I
   9 got from a -- a criminal defense attorney from Longmont
  10 who noted that there's no way a DA could establish when
  11 you built this. Hence, as evidence, they take the
  12 weapon.
  13            And by the practice of the law here in
  14 Colorado, you don't go to court, you plea bargain. And
  15 by his analysis, the most normal standard expected plea
  16 bargain would be they drop the charges, they destroy
  17 the weapon, the totally legal weapon, except they just
  18 couldn't figure it out because you didn't have that
  19 receipt for this piece that you built on your own. Is
  20 this really the kind of law we are expecting the people
  21 of Colorado to accept?
  22            Let me speak a little more -- let me
  23 raise my eyes to the people of Colorado. Is this the
  24 type of legislation you expect from your senators? Is
  25 1224 acceptable law for your day-to-day life? Well, if
  0114
   1 this senate passes this legislation and it becomes law,
   2 the good people of Colorado need to support those of us
   3 who will repeal this as soon as we possibly can.
   4           THE CHAIRMAN: Senator Baumgardner.
   5           SENATOR BAUMGARDNER: Thank you,
   6 Mr. Chair.
   7           I'm back again. Got a couple more things
   8 here that I wanted to bring out, a couple more pieces
   9 of mail that I just received. One's from a retired law
  10 enforcement officer that wrote me at 4:59 p.m. today
  11 and asked me if I'd please read this at the well, and I
  12 told him I would.
  13            Can I proceed, Mr. Chair?
  14            THE CHAIRMAN: Yes, sir, you may proceed.
  15            SENATOR BAUMGARDNER: Thank you. Thank
  16 you.
  17            Senators, in regard to the proposed gun
  18 laws before the senate, please vote no on all these
  19 laws now being considered. In regard to the 15-round
  20 cap for magazines, I am a retired law enforcement
  21 officer with 25 years of service. The weapon I carried
                                                                                                     LEG HX 000328                   4244
file:///X|/...r/HB%201224%20and%201229/HB%201224/Transcripts%20of%20legislative%20history/House%20Bill%2013-1224-030813.txt[11/5/2013 7:32:54 AM]
           Appellate
  22 and trained   withCase:
                        for over14-1290     Document:
                                  25 years holds 17 to 1901019371762                  Date Filed: 01/16/2015           Page: 91
  23 rounds each.
  24           If House Bill 1224 passes, I would be
  25 carrying an illegal weapon. I believe all of us who
  0115
   1 have retired in good standing from law enforcement
   2 reserve the right to protect ourselves from the many
   3 enemies that we have made over the years while serving
   4 in public.
   5          In regard to the bill, making
   6 manufacturers and sellers liable, again, vote no. This
   7 is a knee-jerk reaction to a problem caused by only a
   8 few individuals. Only about a dozen persons are
   9 responsible for the mass shootings which have taken
  10 place in the last few years, most of who have been
  11 mentally ill.
  12           The millions of people, citizens, who do
  13 not break the law of the land should not be punished by
  14 the very few who commit these crimes. I am sure that
  15 since we get a good many products from China, that we
  16 will not be able to go back to China to recoup damages
  17 from these manufacturers.
  18           I was at Columbine and know that only two
  19 persons were involved in those shootings. In regard to
  20 guns at colleges, how many rapes have occurred over the
  21 last number of years that may have been prevented had
  22 weapons been allowed?
  23           THE CHAIRMAN: Senator Baumgardner, are
  24 you focusing on House Bill 1224, the magazine bill?
  25           SENATOR BAUMGARDNER: Thank you,
  0116
   1 Mr. Chair. I asked for permission to read a letter
   2 from someone that had sent it to me. I will try to
   3 stay away from issues that might possibly address other
   4 pieces of legislation.
   5          THE CHAIRMAN: Thank you. Senator
   6 Baumgardner, please proceed.
   7          SENATOR BAUMGARDNER: Thank you.
   8          Over 100,000 people are killed and
   9 injured each year in automobile -- in vehicle
  10 accidents, many of those children, many times those
  11 killed in school shootings. Yet, where is the outcry
  12 to ban vehicles from the roads?
  13           In just the last few months we have had
  14 several hit-and-run accidents in the Denver area in
  15 which people have died. It's sad when children die,
  16 yet, this is another reaction that only harms
  17 law-abiding citizens.
  18           Having worked with many major lawbreakers
  19 in the past, I can only say that they would be most
  20 happy to see the public disarmed. It would give them
  21 free reign to commit their crimes without fear of
  22 meeting any armed citizens.
  23           They don't buy their weapons, they steal
                                                                                                     LEG HX 000329                   4245
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  24 them.Appellate
             They rob Case:      14-1290
                          them from  owners whoDocument:    01019371762
                                                    have them legally.                Date Filed: 01/16/2015           Page: 92
  25 Guns by themselves don't kill, only people kill, and
  0117
   1 many of those need mental help. Thank you,
   2 Terry Powell, retired law enforcement officer. He told
   3 me I could use his name.
   4           I have one final letter, Mr. Chair, if I
   5 may proceed.
   6           THE CHAIRMAN: Yes, Senator, you may.
   7           SENATOR BAUMGARDNER: Thank you.
   8           While I am not a resident of the state of
   9 Colorado, I do enjoy coming to the state to hunt, fish,
  10 and ski. I have been a longtime visitor to your state,
  11 averaging two to three trips a year.
  12            If House Bill 1224 passes, you can take
  13 any money I might have spent and kiss it good-bye. I
  14 will boycott your state and encourage everyone I know
  15 to do the same.
  16            This bill is bad policy. It will not
  17 only cost Colorado jobs with businesses picking up and
  18 leaving, and have no doubt, they will leave ... The
  19 men that own Magpul are honorable and actually do what
  20 they say, quite unlike most politicians.
  21            I am sure you've heard all the statistics
  22 and dollar values that will leave the state. But I
  23 personally think that it will be much higher, as folks
  24 like myself will totally boycott your state.
  25            This bill also will have zero affect on
  0118
   1 crime of any sort. It is unenforceable as its current
   2 language is written. All this bill does is to turn
   3 law-abiding citizens into criminals by taking those
   4 standard magazines and adapting to them to make them
   5 larger. The criminal element will still be able to do
   6 and get what they want.
   7           This bill will hamstring law-abiding
   8 citizens into the fence of their homes and property.
   9 He asks once again if we would oppose House Bill 1224.
  10            It's just not people in this state, it's
  11 people outside this state that say, You know what, if
  12 this group of legislation, gun bills pass, we won't
  13 come anymore. We'll tell our friends not to come
  14 anymore. We won't spend money in your state anymore.
  15 Business will leave the state. Unemployment will go
  16 up. Then we will be figuring out how we're going to
  17 fund more people on unemployment.
  18            One final thing here. You know, I,
  19 myself, have been getting a lot of these little cards.
  20 And they're not just from my district, they're from all
  21 over the state. Some of them are from my district.
  22            Craig, Colorado; Lakewood, Colorado;
  23 Fort Collins; Greenwood Village. Most of these that
  24 I've gotten are not in my district, they're here.
  25 They're in the cities, they're in the areas where most
                                                                                                     LEG HX 000330                   4246
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  0119      Appellate Case: 14-1290 Document: 01019371762                             Date Filed: 01/16/2015           Page: 93
   1 of the population lives. Grand Lake, Fort Garland,
   2 Fort Collins, Littleton, Loveland, Deer Trail,
   3 Lakewood, Englewood, Aurora, Greeley, Evergreen,
   4 Wellington, Wheat Ridge. Thousands came to me.
   5           Am I the only one that are getting these,
   6 asking that we seriously consider what we do here at
   7 the state legislature? These are the citizens. These
   8 are the people that elected us. They're asking us to
   9 make a good decision here. They're asking us to vote
  10 no on this gun legislation.
  11           We're elected to represent our districts.
  12 These are -- a lot of these are not in my district.
  13 These are the people of the state of Colorado saying,
  14 You know what, we need to think about what we're going
  15 to do here. We need to think about what's going to
  16 happen in the future.
  17           These are an outcry not just from my
  18 constituents, but constituents of everybody in this
  19 chamber from all over the state asking us to make good
  20 decisions here. They've asked that we vote no on
  21 House Bill 1224.
  22           I'll ask you again myself, vote no on
  23 1224. This legislation will not address what we're
  24 expecting and solve the problems that we expect it to
  25 solve.
  0120
   1           Thank you, Mr. Chair. Thank you,
   2 members.
   3           THE CHAIRMAN: Senator Lambert.
   4           SENATOR LAMBERT: Well, thank you,
   5 Mr. Chair.
   6           And I would just like to maybe ask a
   7 question of the distinguished senator from northwest
   8 Colorado in senate District 8. You know, I take high
   9 offense when you come up here to the well and talk
  10 about knee-jerk reactions.
  11           THE CHAIRMAN: Senator Baumgardner.
  12           SENATOR BAUMGARDNER: Thank you,
  13 Mr. Chair. And distinguished colleague, whose name I
  14 shall not mention, I -- I'll try to refrain from making
  15 any more comments about those knee things, knee-jerk
  16 reactions.
  17           THE CHAIRMAN: Senator Lambert.
  18 (Inaudible.)
  19           SENATOR LAMBERT: Well, thank you. Thank
  20 you.
  21           Yeah, I'm not sure if he was talking
  22 about the knee or the jerk. But, you know, our good
  23 senator from Berthoud made an absolutely compelling
  24 argument, that this type of technology in this bill is
  25 defined as any magazine in Colorado, possession of any
  0121
   1 magazine is illegal. And therefore, any rifle, any
                                                                                                     LEG HX 000331                   4247
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   2 pistol,Appellate   Case:
             anything you  use 14-1290       Document:
                                that can be adapted with 01019371762
                                                          this                        Date Filed: 01/16/2015           Page: 94
   3 technology is also illegal.
   4           So we're not making too much progress on
   5 that, so I think maybe -- let's turn and talk about
   6 exemptions. I came up here a little while ago and
   7 asked about how -- I mean, this is a question of trust.
   8 Let's play a little game here. Who do you trust? You
   9 trust people that protect our country, that are trained
  10 with military equipment to protect us overseas and to
  11 protect us here in Colorado.
  12            Do you honestly trust or do you not trust
  13 members of our military and former members that have
  14 been trained with standard-capacity weapons, even
  15 automatic weapons that we're not talking about today,
  16 we're talking about semiautomatic, but if they're
  17 trained to use exactly the same magazines in fully
  18 automatic military weapons, why should they not be
  19 allowed to maintain their readiness for our country
  20 here within the United States? I move amendment L.032,
  21 ask that it be read at length.
  22            THE CHAIRMAN: There is an amendment on
  23 the desk. Mr. Majors, would you please read
  24 amendment L.032.
  25            MR. MAJORS: Amendment L.032 to House
  0122
   1 Bill 1224 by Senator Lambert. (Inaudible) page 4,
   2 strike line 16 and substitute subsection 5, "An active
   3 duty, reserve, National Guard, or Coast Guard member,
   4 or honorably-discharged veteran of the United States
   5 Armed Forces, reserves, National Guard, or Coast Guard,
   6 or members of their families or," and "renumber
   7 succeeding subparagraph accordingly."
   8           THE CHAIRMAN: Senator Lambert.
   9           SENATOR LAMBERT: Thank you, Mr. Chair.
  10 I move L.032 again.
  11            Members, this does not take out the
  12 current exemptions, it adds one more exemption that
  13 says, if you're on active duty in this state, even in a
  14 private capacity, if you've been trained with these
  15 weapons, you should be able to have at least a magazine
  16 that's compatible with the legal rifles, legal pistols
  17 that you already own.
  18            I also added members of our National
  19 Guard which are not currently exempted in this bill
  20 because it's talking about active duty military forces,
  21 and I don't think the way it's defined, I don't
  22 believe, covers the Colorado National Guard, who should
  23 always be ready.
  24            Plus, our discharged, honorably
  25 discharged veterans of the United States armed forces
  0123
   1 and their families, it's a simple amendment, and I ask
   2 for an aye vote.
   3           THE CHAIRMAN: Senator Hodge.
                                                                                                     LEG HX 000332                   4248
file:///X|/...r/HB%201224%20and%201229/HB%201224/Transcripts%20of%20legislative%20history/House%20Bill%2013-1224-030813.txt[11/5/2013 7:32:54 AM]
   4        Appellate
               SENATOR  Case:   14-1290
                            HODGE:      ThankDocument:   01019371762
                                              you, Mr. Chair.                         Date Filed: 01/16/2015           Page: 95
   5           I ask for a no vote. Yes, these are all
   6 great and wonderful people, but some of them come back
   7 with significant mental health problems, and I think we
   8 need to check (inaudible) that first.
   9           THE CHAIRMAN: Senator Lambert.
  10            SENATOR LAMBERT: Mr. Chair, I really
  11 object to the -- this stereotypical viewpoint that all
  12 military veterans, all military returnees have mental
  13 health problems. Yes, there is --
  14            THE CHAIRMAN: Senator Hodge.
  15            SENATOR LAMBERT: Excuse me, I have the
  16 floor, Mr. Chair.
  17            THE CHAIRMAN: There was a long pause, I
  18 apologize. Senator Lambert.
  19            SENATOR LAMBERT: Thank you, Mr. Chair.
  20            Of course our active-duty military people
  21 suffer from traumas of war. They have since the Civil
  22 War. They have -- they've gone through battle fatigue.
  23 They've gone through soldier's disease in the Civil War
  24 is what they called it.
  25            But to stereotypically say, you know,
  0124
   1 we're just going to have a blanket policy in this state
   2 saying that military veterans who, if they have
   3 mentally deficient problems or if they have traumatic
   4 stress and they have been diagnosed, they're not
   5 eligible to get weapons anyway. It's already part of
   6 the law.
   7           It does raise the point, are we doing
   8 enough for our veterans? Maybe not, but that's not
   9 part of this bill. But please don't stereotypically
  10 identify military veterans and active-duty members as
  11 being disqualified for arms ownership simply because
  12 they've served our country.
  13            THE CHAIRMAN: Senator Hodge.
  14            SENATOR HODGE: Thank you, Mr. Chair.
  15            And I did not say all had mental
  16 problems, I said some.
  17            THE CHAIRMAN: Senator Lambert.
  18            SENATOR LAMBERT: Thank you, Mr. Chair.
  19            And, of course, those -- that exemption
  20 is understandable, again, not part of this resolution.
  21 Let's start out with people we should trust in our
  22 country. If the bill sponsor would like to put in
  23 another clause or put in an amendment, I'd be glad to
  24 have that. If by law people have been suffering from
  25 combat stress of some sort that is a disqualifying
  0125
   1 problem in this bill, maybe we should consider that.
   2           However, think of the chilling effect on
   3 active-duty members living in the state. If the
   4 state's going to say, any time that you may come back
   5 from overseas with posttraumatic stress syndrome, we're
                                                                                                     LEG HX 000333                   4249
file:///X|/...r/HB%201224%20and%201229/HB%201224/Transcripts%20of%20legislative%20history/House%20Bill%2013-1224-030813.txt[11/5/2013 7:32:54 AM]
            Appellate
   6 not going           Case:
                to let you   have14-1290
                                   a weapon. Document: 01019371762                    Date Filed: 01/16/2015           Page: 96
   7           They will never self-identify for
   8 counseling, for mental health counseling or anything
   9 else in the state of Colorado or perhaps anywhere else
  10 in the United States. Let's have a little more
  11 enlightened viewpoint about our veterans.
  12           THE CHAIRMAN: Senator Hodge.
  13           SENATOR HODGE: Thank you.
  14           I would be happy to work on that
  15 amendment with you, kind esteemed senator from Colorado
  16 Springs. In the meantime, I ask for a no vote on this
  17 one.
  18           THE CHAIRMAN: Senator Balmer.
  19           SENATOR BALMER: Thank you, Mr. Chairman.
  20           Members, I am profoundly disappointed
  21 with the way this discussion has turned. Remember that
  22 a lot of military personnel that return from a
  23 deployment where there are people every single day
  24 trying to kill them, the enemy trying to kill them,
  25 they come home, they are often not home for very long
  0126
   1 before our country calls them back to the same
   2 battlefield or to a different battlefield.
   3           So if it's -- if they are sane enough to
   4 fight for our country again on another deployment, why
   5 wouldn't they be able to be trusted with a weapon here
   6 in the United States of America where we are supposed
   7 to have the right to have a weapon?
   8           So our military personnel come back to
   9 Fort Carson or they come back to one of the other
  10 installations in our state, they're often not here for
  11 very long before our country calls them back again.
  12           So if you want to say that some of our
  13 military personnel have mental problems, I believe that
  14 was the quote that we're going to settle on, I'm not
  15 comfortable with that quote. I think we should
  16 completely back up this conversation. We are going
  17 down a bad road here.
  18           We should have nothing but enormous
  19 respect for our military personnel, and understand the
  20 fact that they are supremely qualified to handle a
  21 weapon because they have received hundreds of thousands
  22 of dollars from our country, from our government, from
  23 our Department of Defense on how to use weapons
  24 properly.
  25           No one knows more about weapons than
  0127
   1 those that have served in the military. So they're the
   2 only ones that we could say are completely qualified in
   3 every respect on every weapons system that they were
   4 trained to be qualified on. There are many people that
   5 become qualified in the civilian world, we should be
   6 protecting the Second Amendment rights for all of them.
   7           This amendment is simply trying to help
                                                                                                     LEG HX 000334                   4250
file:///X|/...r/HB%201224%20and%201229/HB%201224/Transcripts%20of%20legislative%20history/House%20Bill%2013-1224-030813.txt[11/5/2013 7:32:54 AM]
            Appellate
   8 military  personnel. Case: 14-1290
                             Remember          Document:
                                         that their families01019371762
                                                            had                       Date Filed: 01/16/2015           Page: 97
   9 to withstand the awful separation while they were gone,
  10 wondering every night whether or not they're going to
  11 be killed.
  12            And those families live right here in our
  13 communities, whether they be out in Aurora with
  14 families that are at Buckley, or Colorado Springs with
  15 Peterson and everything down there, with Fort Carson.
  16 Those families are here, they're all Coloradoans.
  17 They're Americans and they've served our country, let's
  18 show them some respect.
  19            THE CHAIRMAN: Senator Lambert.
  20            SENATOR LAMBERT: Ask for an aye vote.
  21            THE CHAIRMAN: The motion before the body
  22 is the adoption of Amendment L.032. A division has
  23 been called. All of those in the chamber not entitled
  24 to vote, please be seated. The motion before the body
  25 is the adoption of Amendment L.032. All of those in
  0128
   1 favor, please stand.
   2           Please be seated.
   3           All those opposed, please stand.
   4           The motion fails. Back to the bill. I
   5 have Senator King in the queue.
   6           SENATOR KING: Thank you, Mr. Chair.
   7           Wow, where do I start here? You know,
   8 it's been said that democracy is two wolves and a lamb
   9 voting on what's for lunch, and liberty is a well-armed
  10 lamb contesting the vote. I'm here on behalf of the
  11 lambs because I have seen that the wolves are at the
  12 door.
  13            You know, one of my -- one of my favorite
  14 quotes is, Government is not reason, it is not
  15 eloquence, it is force; like fire, a troublesome
  16 servant and a fearful master; never for a moment should
  17 be left to irresponsible action. President George
  18 Washington.
  19            It is irresponsible to infringe on
  20 law-abiding citizens' rights to self-defense and
  21 personal safety. And this administration and the
  22 majority party should be held strictly liable for any
  23 citizen's inability to protect themselves and their
  24 families as a result of this irresponsible action.
  25            Another favorite quote. Though defensive
  0129
   1 violence will always be a sad necessity in the eyes of
   2 men and women of principle, it would be more
   3 unfortunate if wrongdoers should dominate just men and
   4 women. Saint Augustine.
   5           We all bring life experience to this
   6 chamber. Mine is of violence. Like firemen know fire,
   7 I know violence. My whole adult life has been focused
   8 on violence: The study of it, the research of it, the
   9 investigation of it, the prevention of it, the teaching
                                                                                                     LEG HX 000335                   4251
file:///X|/...r/HB%201224%20and%201229/HB%201224/Transcripts%20of%20legislative%20history/House%20Bill%2013-1224-030813.txt[11/5/2013 7:32:54 AM]
  10 of it, Appellate    Case:
            the litigating of it,14-1290
                                 the training Document:
                                              of it, and in 01019371762               Date Filed: 01/16/2015           Page: 98
  11 some cases, the use of it.
  12            Whether it was Michael Blagg shooting his
  13 wife in the head and suffocating his daughter and
  14 putting their bodies in the Mesa County landfill for
  15 54 days, her body was recovered, the daughter's body
  16 was never recovered; or James Richard Drake, who cut
  17 the throat of Regina Drake while she slept next to her
  18 children, and the list goes on and on and on.
  19            And in 30 years of violent crime
  20 investigation, I can tell you this: That the amount of
  21 rounds for law-abiding citizens, their need to protect
  22 themselves and their families, is always one more than
  23 the bad guy's got.
  24            We should not be limiting law-abiding
  25 citizens' abilities to protect themselves and their
  0130
   1 families. I think to prove my point, or at least make
   2 my point, please relax because I want to share
   3 information that could save you, could save your
   4 family, could save your friends, information about
   5 critical incidents.
   6           What is a critical incident? A critical
   7 incident is any situation where there is a strong
   8 possibility of serious bodily injury or death for you.
   9 We're going to talk about that and we're going to talk
  10 about that what someone goes through during a critical
  11 incident.
  12            Raise your hand if you've ever been shot
  13 at. You know, on TV it's deceiving because you hear
  14 the bang -- thank you, sir. That's not what I hear.
  15 You hear (indicated), bang. And the (indicating) is
  16 the bullet.
  17            I heard that sound about 20 years ago.
  18 Rookie cop sent to a simple burglary of Rainbow Roller
  19 Rink. And as a rookie cop, I did what rookie cops do,
  20 you go to the back. You don't go in, you're not going
  21 in with the dog, you're not doing anything that's
  22 exciting at all, you go to the back and watch the door.
  23 And that's what I did.
  24            Little did I know that the same two young
  25 people that broke into Rainbow Roller Rink had decided
  0131
   1 that they would leave and go up on a hill in the back
   2 of that business. And that's when a 13-year-old
   3 gang-banger from Phoenix decided that he was going to
   4 impress his cousin by trying to shoot me in the head.
   5           You know, during a critical incident, a
   6 lot of thing happen. The average person takes in
   7 2,000 bits of information a second. You're doing it
   8 right now. You're thinking about what I'm saying.
   9 You're thinking about how long we've been going.
  10 You're thinking about your family. You're thinking
  11 about whether the weather is going to change all in a
                                                                                                     LEG HX 000336                   4252
file:///X|/...r/HB%201224%20and%201229/HB%201224/Transcripts%20of%20legislative%20history/House%20Bill%2013-1224-030813.txt[11/5/2013 7:32:54 AM]
  12 second.Appellate Case: 14-1290 Document: 01019371762                             Date Filed: 01/16/2015           Page: 99
  13            During a critical incident, one of two
  14 things happens. You drop to 500 bits of information a
  15 second. 500 bits of information a second is
  16 (indicating) so scared. Or you go to 6,000 bits of
  17 information a second. And 6,000 bits of information a
  18 second is, you know, it was so weird, I drove up to the
  19 intersection, four-way stop, I stopped, and I start to
  20 go through it, and I see out of the corner of my eye
  21 another car going right through the stop sign. And it
  22 was almost like it was all in slow motion all of a
  23 sudden.
  24            I watched the front of the car collapse.
  25 And I'm looking at the windshield and there's just
  0132
   1 spider webs in front. That is someone that is taking
   2 in 6,000 bits of information a second. And that is
   3 something that we're going to talk about.
   4           I want to talk about rounds and how many
   5 rounds a law-abiding citizen should have. You know, I
   6 asked the chiefs of police who were in favor of this
   7 that very same question. And they said, Well, you
   8 know, I don't know. That is a very good question. Do
   9 you know that the average police officer today carries
  10 52 rounds around his waist? Three 17-round magazines
  11 and one in the pipe, 52 rounds.
  12            How many people here, raise your hand if
  13 you've ever shot someone else, shot someone else. Not
  14 a pleasant experience. Pepe Mow (phonetic) was drunk
  15 and he was out in front of his girlfriend's house after
  16 a domestic violence disturbance. Girlfriend called the
  17 police, I showed up, he was gone.
  18            Everybody else left after I talked with
  19 her, and I left. Not five minutes later the girlfriend
  20 calls back and says, He's back and he's got a gun and
  21 he's standing out next to my trailer saying how he is
  22 going to come in and kill me and the guy that's in the
  23 trailer with me.
  24            I turn around, I park probably 200 yards
  25 from where the trailer's at. And there is this huge
  0133
   1 dark field that I need to cross to be able to get to a
   2 position of advantage. So I start across the field,
   3 and every time he stopped yelling, I thought he saw me
   4 and I thought I was in fear of losing my life.
   5           It's dark, and yet, I can see that he's
   6 standing in front of the trailer, he has a gun in his
   7 right hand. It's amazing the things you think about as
   8 you're going through that. There was a small dirt
   9 hill, and he's probably 40 yards -- 25, 30, 40 yards
  10 away from me.
  11            I go up behind him and tell him to drop
  12 the gun. And it was like it was in slow motion. I saw
  13 him turn, look at the trailer, look over his shoulder
                                                                                                     LEG HX 000337                   4253
file:///X|/...r/HB%201224%20and%201229/HB%201224/Transcripts%20of%20legislative%20history/House%20Bill%2013-1224-030813.txt[11/5/2013 7:32:54 AM]
  14 at me,Appellate
              look backCase:
                         at the14-1290
                                trailer, start Document:     01019371762
                                               to lift the gun                       Date Filed: 01/16/2015            Page: 100
  15 and turn towards me.
  16            I fire one shot, uh-oh, muzzle flash, I
  17 can't see. Sound distortion, sounds like my gun just
  18 misfired, just a pop, and yet, I could hear the brush
  19 under his feet, still all in slow motion. Fire four
  20 more times. Back then police officers carried
  21 18 rounds, and you're supposed to count your rounds. I
  22 didn't, I was scared.
  23            And I'm thinking, I hope I don't have to
  24 reload in the dark after muzzle flash. Please, God,
  25 don't make me reload. Fortunately for me, one of those
  0134
   1 rounds hit him and he went down. Fortunately for me,
   2 and dealing with PTSD, he lived. And he was nice
   3 enough to tell the paramedics that if I'd have come out
   4 from behind the hill that I was standing behind, that
   5 he would have shot me. So that takes away all of my
   6 guilt of shooting him.
   7           And I'd start to wonder -- and the reason
   8 I'm sharing this story with you is because that was a
   9 critical incident. And can you imagine what an
  10 untrained law-abiding citizen would be going through if
  11 they had to deal with something like that?
  12            You know, I've had the distinct honor of
  13 working with Lieutenant Dave Grossman. In fact, let me
  14 give you a little bit of background so that you
  15 understand why we're talking about this in reference to
  16 the amount of rounds that law-abiding citizens should
  17 be able to carry.
  18            Lieutenant Dave Grossman is a former West
  19 Point psychology professor, professor of military
  20 science, an Army Ranger who has combined his experience
  21 to make revolutionary new contributions to our
  22 understanding of killing in combat, the psychological
  23 costs of combat, and the root cause of the current
  24 virus of violent crime in our society.
  25            He is the author of "On killing," which
  0135
   1 was nominated for a Pulitzer Prize. He on the
   2 U.S. Marine Corps commander's required reading list.
   3 And it's required reading for the FBI academy and
   4 numerous other academies and colleges.
   5           Colonel Grossman's most recent book, "On
   6 Combat," has also been placed on the U.S. Marine Corps
   7 commandant's required reading list. He has presented
   8 papers before the national convention of the American
   9 Medical Association, the American Psychiatric
  10 Association, the American Physiological Association,
  11 the American Academy of Pediatrics.
  12            He has presented at over a hundred
  13 different college and universities worldwide, and has
  14 trained educators and law enforcement professionals in
  15 the field of school safety -- and that's where I met
                                                                                                     LEG HX 000338                   4254
file:///X|/...r/HB%201224%20and%201229/HB%201224/Transcripts%20of%20legislative%20history/House%20Bill%2013-1224-030813.txt[11/5/2013 7:32:54 AM]
  16 him, Appellate
            debriefing Case:
                       a school14-1290
                                 shooting --Document:       01019371762
                                               in all 50 states,                     Date Filed: 01/16/2015            Page: 101
  17 and just finished his last book, "Stop Teaching Our
  18 Kids to Kill: A Call to Action Against TV, Movie, and
  19 Video Game Violence."
  20            I want to talk a little bit about
  21 phobias. You know, there hasn't been a ton of research
  22 done on phobia. But what we have found is that
  23 15 percent of the population, 15 percent of the
  24 people -- thank you, sir -- 15 percent of the people in
  25 this room would have a phobia if I dropped a large
  0136
   1 bucket of snakes right there. 15 percent of the people
   2 in this room would have an immediate response, eyes to
   3 feet to door. I'm outta here. I'm outta here.
   4           And that message shoots directly to their
   5 eyes and their feet. No conscious thought, running to
   6 the door, probably leaving a trail of unnecessary body
   7 mass right behind them.
   8           However, we have found that there is one
   9 universal phobia that we all have, a universal phobia,
  10 and that is violence, human to human, corrosive,
  11 destructive violence. 98 percent of the people in this
  12 room, if someone walked through that door and shot me
  13 in the chest, would have a phobic response. And the
  14 other 2 percent are mentally ill.
  15            Human-to-human violence is devastating.
  16 It devastates us. It shatters us. It causes us, as
  17 humans, to be broken people. So what happens during a
  18 critical incident. If you've ever been through one,
  19 you know what happens for you, heart rate immediately
  20 goes from 80 beats a minute to 120 bets a minute to
  21 140 beats a minute. Over 140 beats a minute your
  22 complex motor skills start to go away. You can't do
  23 things because your complex motor skills are gone.
  24            Think about that in reference to loading
  25 a magazine, to defending yourself. 160 beats a minute,
  0137
   1 you have auditory exclusion. You don't hear things as
   2 well at 160 beats a minute. You have loss of near
   3 vision. You can't see very good up close. That could
   4 be a problem trying to reload a magazine. That could
   5 be a problem trying to get a sight picture to defend
   6 yourself.
   7           170 beats a minute, you lose depth
   8 perception, you lose peripheral vision. In other
   9 words, you get tunnel vision. You can see straight
  10 ahead, that's it. You have vasoconstriction. Think
  11 about that. They were as white as a ghost. That's
  12 because your body is responding by drawing all of that
  13 blood into the internal organs and away from the skin.
  14 White as a ghost, vasoconstriction. And at 200 beats a
  15 minute you lose your cognitive processes, they
  16 deteriorate.
  17            Now, this is where I would really like
                                                                                                     LEG HX 000339                   4255
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  18 you toAppellate   Case:I 14-1290
              listen because                Document:
                               care about you  and I care01019371762
                                                          about                      Date Filed: 01/16/2015            Page: 102
  19 your family. There's no one in this room that can make
  20 their heart rate go to 180 beats a minute, can't do it.
  21 But can you bring it down?
  22            THE CHAIRWOMAN: Senator King?
  23            SENATOR KING: Yes, ma'am.
  24            THE CHAIRWOMAN: Is this relevant to --
  25            SENATOR KING: Absolutely, ma'am.
  0138
   1 Absolutely relevant to the idea that citizens should
   2 not be limited in their ability to protect themselves
   3 no matter how many rounds they feel they need to
   4 protect themselves. And I will continue because it's
   5 relevant to your life and your safety.
   6            The only way that you can overcome a
   7 critical incident -- and that doesn't mean it's a
   8 shooting. That could be a fire. That could be a heart
   9 attack by the person right next to you. That could be
  10 someone choking, a chemical spill, you name it. SIDS,
  11 critical incident for your child.
  12            So you're right, Madame Chair, in
  13 reference to those others, it is not relevant. In
  14 reference to the idea that you need to reload a gun for
  15 your own personal safety and the safety of your family,
  16 it is absolutely relevant.
  17            Your able to lower your heart rate, your
  18 ability to get over the fact that you're in the middle
  19 of a critical incident is the difference between you
  20 living and you dying, the difference between someone
  21 you care about living or them dying, the difference
  22 between (indicating) so scared and taking action.
  23            In 2011 there were three homicides in the
  24 state of Colorado from semiautomatic rifles with these
  25 type of magazines. There were 22 homicides with an
  0139
   1 edged weapon. There were 20 homicides with a hammer.
   2 And yet, we are looking at telling law-abiding citizens
   3 that you can't decide. Cops can have 52 rounds around
   4 their waste, we're going to limit you to 15.
   5            You start thinking about all of the
   6 things involved in a critical incident when it comes to
   7 saving your family and your life during -- well, let's
   8 talk about home invasion. You're outnumbered, maybe
   9 they have weapons. You know, I really do think an
  10 edged weapon is a great personal safety tool.
  11            But what if that bad guy has made the
  12 mistake and brought a knife to a gun fight, but he does
  13 happen to cut you. What if it happens to be on your
  14 hand, your right hand? The idea of reloading your
  15 weapon now that you've been injured, along with
  16 180 beats a minute, along with the fact that probably
  17 this is in low-light conditions, along with the fact
  18 that you've never been through this before, along with
  19 the fact that you're worried about your family, along
                                                                                                     LEG HX 000340                   4256
file:///X|/...r/HB%201224%20and%201229/HB%201224/Transcripts%20of%20legislative%20history/House%20Bill%2013-1224-030813.txt[11/5/2013 7:32:54 AM]
  20 with Appellate
            the fact thatCase:
                          you're14-1290      Document:
                                 worried about            01019371762
                                                 dying, along                        Date Filed: 01/16/2015            Page: 103
  21 with the fact that if you've fired a round, you now
  22 have a visual problem, you might have a hearing
  23 problem, you might have a tunnel vision problem.
  24            That is just one of your problems. The
  25 other would be, what if there's more than one? These
  0140
   1 cowards don't run by themselves. Like hyenas, they go
   2 in packs. The idea here is that you need to do the
   3 things that you need to do to feel safe and secure, to
   4 be able to defend yourself and your family.
   5           Let's take it one step further. What
   6 if -- what if they are like the California bank
   7 robbers, well planned, well executed, but it's a home
   8 invasion. What if -- what if they've got one of these?
   9 Then how many rounds do you need? What if they're
  10 wearing body armor? That's why cops carry 52 rounds
  11 around their waist.
  12            And should our citizens be any less able
  13 to protect themselves and their family?
  14            I say no. I say that citizens, like
  15 police officers in this country, should have every
  16 right to have as many rounds as they possibly could
  17 want to make themselves feel safe and secure. They
  18 should have as many semiautomatic rifles, 22 -- oh,
  19 wait, that's an assault -- oh, wait -- 22 through M 16.
  20            I think that that is not only good common
  21 sense, but that is your right. And the idea that we
  22 are starting to limit the ability of our law-abiding
  23 citizens to do that, here we go again, is
  24 dysfunctional.
  25            The idea that we're making an argument
  0141
   1 with I don't know how many millions of these magazines
   2 in the United States -- and ladies and gentlemen, I'm
   3 32 miles from Utah. The ability to just go across that
   4 border and go into Green River, Utah -- and to think
   5 that we're doing anything other than making a political
   6 statement, that's what's going on here, it's a
   7 political statement, because it's dysfunctional, it
   8 doesn't work.
   9           Millions of these magazines, we're
  10 surrounded by them, and yet, we want to tell our
  11 citizens, oh, no, no, no, we're going to limit your
  12 ability to protect yourself and your family, you're law
  13 abiding. And these animals, these wolves at the door
  14 who don't play by the rules, who go out of their way to
  15 make it hard for you, that are cowards, that will take
  16 every advantage against women and children, they don't
  17 have rules, there are no rules.
  18            That type of violence is what I've spent
  19 my life studying, what I have spent my life dealing
  20 with. That is the reason that I am up here sharing
  21 with you my life's work, so that you don't have to and
                                                                                                     LEG HX 000341                   4257
file:///X|/...r/HB%201224%20and%201229/HB%201224/Transcripts%20of%20legislative%20history/House%20Bill%2013-1224-030813.txt[11/5/2013 7:32:54 AM]
           Appellate
  22 so that  you haveCase:      14-1290
                          that life           Document:
                                    experience. Because in01019371762
                                                           my                        Date Filed: 01/16/2015            Page: 104
  23 world, good gun control is two to the body and one to
  24 the head. That is sad, but that is what violence is.
  25            Our citizens should be able to protect
  0142
   1 themselves and their families, they're law abiding,
   2 they have done nothing wrong. And this idea that we're
   3 making a political statement at the expense of our
   4 citizens is unconscionable.
   5           It's sad and it is a situation where we
   6 will rue the day that we started down this road, this
   7 political statement road of dysfunctional laws that
   8 don't work, that are nothing more than talk, that don't
   9 reduce violent crime, that don't make our citizens
  10 safer from domestic violence, from other types of
  11 violence, from home invasions, from robberies, from
  12 rapes.
  13            Ladies and gentlemen, we've got choices
  14 here. The nation's watching us. And quite frankly,
  15 the world is watching us, our gun battles. Well, I
  16 hope I didn't just wreck my political career there.
  17 Our gun battles. You know, it ...
  18            And if we had any evidence-based
  19 information to say, Oh, yeah, this will reduce violent
  20 crime by this amount, but it's not, it's hype. It's a
  21 political statement. It has no -- no basis in reality
  22 that you think that we outlaw these in Colorado, that
  23 anyone will be safer. Millions, we're surrounded by
  24 them.
  25            Sad, it's sad that we've come to this
  0143
   1 because we're not solving problems. It's almost
   2 12 hours and we've solved one problem, and it has to do
   3 with the ability to use video to get a concealed carry
   4 permit, or TV, 12 hours.
   5           Evidence-based decision-making,
   6 evidence-based problem-solving, we're not doing that.
   7 We're doing emotional-based decision-making. I'm so
   8 scared based decision-making, I want you to be scared
   9 based decision-making instead of telling our citizens,
  10 You do what you need to do to protect yourself and your
  11 family.
  12            You're a law-abiding citizen, you deserve
  13 that respect. You know what's best for you and your
  14 children and your wife and those people you care about.
  15 You, not the government, not the state of Colorado, and
  16 not the senators in this room. And all for a political
  17 statement. Vote no on this legislation.
  18            THE CHAIRMAN: Is there any further
  19 discussion? Senator Harvey. There wasn't one listed.
  20            Senator Hill.
  21            SENATOR HILL: Thank you, Mr. Chair.
  22            Mr. Chair, I move Amendment L.031.
  23            THE CHAIRMAN: There's an amendment on
                                                                                                     LEG HX 000342                   4258
file:///X|/...r/HB%201224%20and%201229/HB%201224/Transcripts%20of%20legislative%20history/House%20Bill%2013-1224-030813.txt[11/5/2013 7:32:54 AM]
            Appellate
  24 the desk.          Case: 14-1290
                 Mr. Majors,                Document:
                               would you please          01019371762
                                                  read amendment                     Date Filed: 01/16/2015            Page: 105
  25 L.031.
  0144
   1           MR. MAJORS: Amendment L.031 to
   2 House Bill 1224 by Senator Hill. Amend (inaudible)
   3 bill, page 4, strike lines 19 through 24, (inaudible)
   4 paragraph accordingly.
   5           SENATOR HILL: Thank you, sir.
   6           THE CHAIRMAN: Senator Hill.
   7           SENATOR HILL: This is a pretty simple
   8 bill -- or pretty simple amendment. We have a real
   9 problem growing here, that if -- as I started to look
  10 at the these exemptions, as I started to look at the
  11 many different legitimate cases where this was going to
  12 restrict someone's opportunity, I realized we have a
  13 growing divide.
  14            We have a growing divide between what the
  15 average citizen of Colorado is going to have to abide
  16 by and what the military industrial complex is going to
  17 have to abide by. This is absolutely a threat to our
  18 civil liberties going forward. We've had many talks
  19 about this. If it's good for the goose, it's good for
  20 the gander. If it's good for the goose, it's good for
  21 the military industrial complex, as well.
  22            This will remove exemptions from this
  23 bill and ensure that if we are going to limit the
  24 citizens of Colorado, we are going to limit everybody
  25 in Colorado. I ask for an aye vote.
  0145
   1           THE CHAIRMAN: Is there any further
   2 discussion? Senator Hodge.
   3           SENATOR HODGE: Thank you. I just ask
   4 for a no vote.
   5           THE CHAIRMAN: Is there any discussion?
   6 Seeing none, the motion before the body -- oh, Senator
   7 Brophy. Senator Brophy.
   8           SENATOR BROPHY: Thank you, Mr. Chairman.
   9           And I really think that the people of
  10 Colorado deserve to hear from the proponents of this
  11 bill why this amendment is a bad idea. Because it
  12 appears to those who are still watching that the
  13 proponents must think that law enforcement officers
  14 would need more than 15 rounds in a dangerous situation
  15 with one or more bad guys challenging them, threatening
  16 their lives, threatening the lives of the citizens that
  17 they are sworn to protect. It makes sense to me they
  18 do. They may face more threats than you can handle
  19 with 15 rounds.
  20            But guess what, so can every other
  21 law-abiding citizen in the state of Colorado if they're
  22 faced with more threats than 15 rounds can handle. It
  23 seems that the people of Colorado need to hear from the
  24 proponents of this bill why the law enforcement
  25 community can justify 15 rounds and 16 rounds and the
                                                                                                     LEG HX 000343                   4259
file:///X|/...r/HB%201224%20and%201229/HB%201224/Transcripts%20of%20legislative%20history/House%20Bill%2013-1224-030813.txt[11/5/2013 7:32:54 AM]
  0146      Appellate Case: 14-1290 Document: 01019371762                            Date Filed: 01/16/2015            Page: 106
   1 rest of us cannot.
   2            THE CHAIRMAN: Senator Lundberg.
   3            SENATOR LUNDBERG: Thank you, Mr. Chair.
   4            I believe this amendment, and I'm
   5 supporting this amendment, I believe it makes as much
   6 sense as the bill does. And so if you're going to
   7 support the bill, you have no reason to not support the
   8 amendment.
   9            But I would also point out that the way
  10 the bill reads is, the PMAG 10 is illegal because it's
  11 readily converted. I commend the senator from El Paso
  12 for bringing this before us to point out how much sense
  13 this bill makes.
  14             So do you think that there should be a
  15 limit? Okay, make it a limit. Either that or tell the
  16 people of Colorado, you're second class. Tell that to
  17 the constituent that came to me who's from Livermore up
  18 in northern Larimer County who told me that he's about
  19 an hour away from any emergency services.
  20             And he told me specifically, he said,
  21 I'll tell you how many rounds I want in my magazine,
  22 that's one more than the guy who's facing me. If it's
  23 good for him, it's good for the cop who shows up
  24 defending him.
  25             I think the senator from Wray is quite
  0147
   1 correct, if there's any reason to vote no other than
   2 raw political power, let's hear it.
   3            THE CHAIRMAN: Senator Marble.
   4            SENATOR MARBLE: Thank you, Mr. Chair.
   5            I believe this is an appropriate
   6 amendment. And I would definitely vote yes. What's
   7 good for the people are good for everyone. It stands
   8 to reason that we should all be treated equally.
   9            And I am a Marine mom. I do have friends
  10 who are in law enforcement, best friends. But I think
  11 we all stand together when it comes to the audacity of
  12 this bill and its genesis. At some point we have to
  13 make the statement that it's just wrong.
  14             When we look at Colorado as one of the
  15 lowest ranking gun murder death rates in the nation,
  16 it's ranked 13th, compared to the District of Columbia
  17 that's ranked 50th with 16.5 gun murders per hundred
  18 thousand, compared to our 1.3. I mean, even 1.3 is way
  19 too many, but I think we all stand together on this,
  20 and I urge your support for this amendment.
  21             THE CHAIRMAN: Senator Renfroe.
  22             SENATOR RENFROE: Thank you, Mr. Chair.
  23             Members, I rise in support of this
  24 amendment. And a lot of times when we do things here,
  25 we look at how things are done around the country and
  0148
   1 we hear all the time, We do this because, well, other
                                                                                                     LEG HX 000344                   4260
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   2 statesAppellate     Case:
             are doing this,     14-1290
                               other states areDocument:  01019371762
                                               proposing this.                       Date Filed: 01/16/2015            Page: 107
   3            This is the way this bill I think was
   4 originally drafted, not having a law enforcement
   5 exemption in it. If you go back and look at what
   6 New York did and what Mayor Bloomberg wanted in his
   7 bill, that's exactly what they did. They didn't exempt
   8 their police from having high-capacity or
   9 standard-capacity magazines.
  10             And the uproar came and the police
  11 screamed, We need to be able to protect ourselves,
  12 self-defense. Why is it good for law enforcement and
  13 not good for a law-abiding citizen? This is exactly
  14 the way this bill was probably supposed to be drafted,
  15 or should have been, shouldn't it have? I ask you to
  16 support this amendment, Mayor Bloomberg would.
  17             THE CHAIRMAN: Senator Scheffel.
  18             SENATOR SCHEFFEL: Thank you,
  19 Mr. Chairman.
  20             Colleagues, I'm going to support this
  21 amendment, as well. You know, it was just a little bit
  22 ago that we tried to expand the exemption, that didn't
  23 work. And so now the argument that what's good for the
  24 goose is good for the gander, that resonates with me.
  25 Let's level the playing field.
  0149
   1            If there is a legitimate basis for the
   2 magazine limitation, then this endorses that view, and
   3 let's level the playing field. Let's not give a
   4 special exemption. If the limit is good for the
   5 regular citizenry, then it ought to be good for
   6 military, et cetera, and let's make it even-handed
   7 across the board.
   8            I somehow think that this vote will belie
   9 the inconsistency on how we're thinking about this, but
  10 that's worth doing. I ask for an aye vote.
  11             THE CHAIRMAN: The motion before the body
  12 is the adoption of Amendment L.031. A division has
  13 been requested. All of those in the chamber who are
  14 not entitled to vote, please be seated.
  15             The motion before the body is the
  16 adoption of Amendment L.031. All those in favor,
  17 please stand.
  18             Please be seated.
  19             All those opposed, please stand.
  20             The motion fails. Back to the bill. I
  21 have Senator Lundberg in the queue.
  22             SENATOR LUNDBERG: Thank you, Mr. Chair.
  23             Members, on Monday in the judiciary
  24 committee we had a very limited amount of time.
  25 Hundreds of citizens came to speak their mind, very few
  0150
   1 were allowed to because of the time constraints. And I
   2 bring to you the testimony of a lady who I could see
   3 she was incredibly frustrated in the audience, and I
                                                                                                     LEG HX 000345                   4261
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   4 went Appellate
           and talked Case:
                       to her, 14-1290
                               and she said,Document:
                                              Here's my 01019371762                  Date Filed: 01/16/2015            Page: 108
   5 testimony.
   6           Well, Senate, here's the testimony: My
   7 name is Karen Murray. I am here representing my family
   8 and all of my freedom-loving friends who couldn't be
   9 here today. I'm here to speak out in opposition to all
  10 of these bills.
  11           I'm a mom, who under the Second
  12 Amendment, has the right to protect myself and my
  13 family. I don't believe any law should limit what
  14 types of firearms I can use for that purpose or how
  15 many rounds of ammunition I might need in any given
  16 scenario.
  17           I, too, was shocked and saddened by the
  18 tragedy of Sandy Hook and too many others like it. You
  19 believe that tighter gun laws are the answer, I do not.
  20 Our actions must be focused on the root of the problem,
  21 the erosion of our moral fiber, kids that have been
  22 desensitized through hours of violent video games, and
  23 a complete failure of our system to recognize and deal
  24 with people who show signs of dangerous behavior are
  25 all contributing factors in this ongoing debate. But
  0151
   1 somehow it end up being about guns and high-capacity
   2 magazines.
   3           The term "slippery slope" that is often
   4 used on this side of the issue refers to what doors are
   5 being opened or what precedents will be set in the
   6 future. But what about now? Magpul has made it very
   7 clear that they will pull out of the state of Colorado,
   8 taking revenue and jobs with them. And other companies
   9 will follow suit in not doing business here.
  10           Will it also create more division within
  11 our communities? Will it cause Coloradoans to move to
  12 more gun-friendly states where they can still use their
  13 favorite shotgun when they go hunting? Will it mean
  14 loss of revenue from tuition at public universities
  15 where concealed carry is not permitted? No one knows
  16 for sure.
  17           But the sentiment among my friends and
  18 family is that, and this one is in quotes, This is the
  19 last straw. Most of the people in my life have said
  20 that they've have enough of this gun-grab mentality and
  21 are moving out of Colorado -- and moving out of
  22 Colorado is a viable option for them.
  23           This is not about guns. This is about
  24 control. This is about an antigun agenda where the end
  25 game is to completely disarm every American citizen.
  0152
   1           Aren't the 20,000 gun laws that are
   2 already on the books enough? If this were all about
   3 public safety, wouldn't our speed limits be lowered
   4 again to 55 miles an hour so we could save just one
   5 life? Speed-related highway fatalities far outnumber
                                                                                                     LEG HX 000346                   4262
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   6 thoseAppellate     Case:
            killed in mass      14-1290
                             shootings      Document: 01019371762
                                       each year.                                    Date Filed: 01/16/2015            Page: 109
   7           I am a conservative. I speak out. I
   8 change minds. And most importantly, I vote. I urge a
   9 no vote on all of these bills. Thank you.
  10            Well, I have this to say to Karen,
  11 Karen Murray, who wrote that, Amen. And I move
  12 amendment 27.
  13            THE CHAIRMAN: There's an amendment on
  14 desk. Mr. Majors, would you please read Amendment
  15 L.027.
  16            MR. MAJORS: Amendment L.027 to
  17 House Bill 1224 by Senator Lundberg. Amend (inaudible)
  18 bill, page 2, strike line 1.
  19            THE CHAIRMAN: Senator Lundberg.
  20            SENATOR LUNDBERG: Thank you, Mr. Chair.
  21            This one's kind of simple. It takes out
  22 one line.
  23            THE CHAIRMAN: Senator Lundberg, would
  24 you like to move your amendment?
  25            SENATOR LUNDBERG: I did, but I will move
  0153
   1 it again.
   2           THE CHAIRMAN: Well, thank you.
   3           SENATOR LUNDBERG: I move Amendment
   4 L.027, which removes the enacting clause, it kills the
   5 bill. And this is a straight-up vote, yes or no.
   6           We have listened for the last, what,
   7 five hours, and we have heard an overwhelming
   8 preponderance of the evidence that this bill is a bad
   9 bill. This bill is poorly written. It somehow
  10 captures all of the magazines out there or virtually
  11 all and declares them illegal, thus, rendering all of
  12 the firearms that require these magazines to be legally
  13 inoperable. It makes exemptions for some, but not for
  14 the people of Colorado.
  15            And hour after hour after hour after hour
  16 we have passionately argued these points. And we've
  17 essentially heard a deafening silence from the
  18 proponents of this legislation. They have only one
  19 strong argument, and it might be 20 votes. And I call
  20 that raw political power.
  21            I'd like to hear some legitimate
  22 arguments as to why this bill should not die right here
  23 and right now by accepting Amendment 27. You're on.
  24            THE CHAIRMAN: Senator Hodge.
  25            SENATOR HODGE: Thank you, Mr. Chair.
  0154
   1           I ask for a no vote. This kills the
   2 bill.
   3           THE CHAIRMAN: Senator Lundberg.
   4           SENATOR LUNDBERG: Thank you,
   5 Mr. Lundberg (sic), Mr. Chairman, whoever it is, it's
   6 almost 12 hours now.
   7           I think the argument is clear, there is
                                                                                                     LEG HX 000347                   4263
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   8 none,Appellate      Case: 14-1290
             only raw political              Document:
                                 power. Exercise  it while01019371762                Date Filed: 01/16/2015            Page: 110
   9 you've got it, but it won't last.
  10            THE CHAIRMAN: Is there any further
  11 discussion on L.027? Seeing none, the motion before
  12 the body is the adoption of the amendment. A division
  13 has been requested. All those not entitled to vote in
  14 the chamber, please be seated.
  15            The motion before the body is the
  16 adoption of amendment L.027. All those in favor,
  17 please stand.
  18            Please be seated.
  19            All those opposed, please stand.
  20            The motion fails. Back to the bill.
  21 Senator Harvey.
  22            SENATOR HARVEY: Thank you, Mr. Chair.
  23            I want to thank all of my colleagues who
  24 have been up here and have spoken so eloquently,
  25 especially Senator King.
  0155
   1           We've been up here talking about how this
   2 bill is going to impact businesses, how it's going to
   3 impact the economy. We have a chart here showing all
   4 of the businesses that are going to be impacted by this
   5 bill. Look at them.
   6           But what does that represent, those dots
   7 on this map up here? It's more than just companies,
   8 it's people, it's families. And I have a letter here
   9 from a gentleman in Colorado who has asked me to give
  10 his two cents from the employees' perspective.
  11            It says: Hello, my name is
  12 Edgar Entelione (phonetic), however you pronounce it.
  13 I will start by writing a little bit about my
  14 background. Both of my parents came to Colorado in
  15 1980 from Chihuahua, Mexico.
  16            My parents came to this country not to
  17 leave a tyrannical country, nor to escape communism.
  18 My parents came to this great nation because of its
  19 economic opportunities. A large part of my family soon
  20 followed my parents. I suspect that many Hispanic
  21 families came to Colorado for economic prosperity.
  22            I do know a large group of Mexican
  23 immigrants that are gun enthusiasts, but I will concede
  24 the fact that guns are not the reason they came to the
  25 United States. They're here to work.
  0156
   1           I've seen many news reports about Magpul,
   2 the Colorado-based company that will leave if
   3 House Bill 1224 is passed. In these news reports, I
   4 couldn't help but notice the amount of Hispanic faces
   5 I've seen working for Magpul.
   6           After seeing the video clips of the
   7 hard-working Hispanics, it reminds me of my mother, my
   8 cousins, uncles, and aunts who came to Colorado to
   9 become successful, success many Hispanics may not see
                                                                                                     LEG HX 000348                   4264
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  10 if House          Case:
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                           passes.                                                   Date Filed: 01/16/2015            Page: 111
  11           I'm a first-generation born American, a
  12 Colorado native, a gun enthusiast and a Hispanic.
  13 Let's step away from the impact 1224 will have on my
  14 gun rights, and let's focused on how House Bill 1224
  15 will put on hold many Hispanic dreams.
  16           I know I am preaching to the choir when I
  17 say that Hispanic families often work harder and earn
  18 less, but I always maintain focus -- but they always
  19 maintain focus on their goals.
  20           House Bill 1224 will force many Hispanic
  21 families to put their goals aside. Those working to
  22 buy a house, a new car, pay for college will now have
  23 to fill out an unemployment form when all of these
  24 businesses on this map leave the state.
  25           Many of you have supported lower tuition
  0157
   1 fees for undocumented students. And now that support
   2 will be in vain if you push a company as big as Magpul
   3 away. This year President Obama has finally
   4 acknowledged the need for immigration reform. But this
   5 year, Colorado's legislature could potentially render
   6 that reform useless, as immigrants will have no
   7 incentive to be in Colorado.
   8           Your push for driver's licenses for those
   9 who are undocumented, your push for access to higher
  10 education for those who are undocumented, and your
  11 support for immigration reform will have little effect
  12 if at the same time you create a higher Hispanic
  13 unemployment rate. Some reports state that current
  14 Hispanic unemployment is above 10 percent.
  15           The Hispanic community cannot afford to
  16 lose more jobs. Hispanic children cannot afford to see
  17 their parents lose another job. Hispanic families
  18 cannot afford to live in economic uncertainties.
  19           I cannot ask you to forget my gun rights,
  20 but I ask you to remember those who will suffer from
  21 your yes vote. Folks like your mothers, fathers,
  22 grandparents, cousins, uncles, remember the Hispanic
  23 families that will live in deeper poverty because of
  24 political agendas. Please keep Hispanic families
  25 employed, keep Hispanic dreams alive. Please vote no
  0158
   1 on House Bill 1224. I couldn't agree more.
   2           THE CHAIRMAN: Senator Baumgardner.
   3           SENATOR BAUMGARDNER: Thank you,
   4 Mr. Chair.
   5           Earlier this evening the -- I received a
   6 text from one of my constituents and was reminded that
   7 even though it had been touched on a little bit, maybe
   8 we need to talk about it a little more is, out in rural
   9 Colorado when someone gets in trouble, sometimes it
  10 takes a little longer than a couple of seconds or a
  11 couple of minutes for law enforcement to respond.
                                                                                                     LEG HX 000349                   4265
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  12       Appellate    Case:in14-1290
                Has anyone                  Document:
                                 the room ever been to 01019371762                   Date Filed: 01/16/2015            Page: 112
  13 Massadona, Colorado? What's there? Never mind.
  14 Massadona is about halfway between Craig, Colorado, and
  15 Dinosaur. There's a couple of houses there. There
  16 used to be a restaurant/bar there. That Massadona,
  17 yes.
  18            So I guess if you want to look at a
  19 situation, hypothetical situation that someone was
  20 trying to break in to one of those houses in Massadona
  21 and they had to wait for law enforcement to respond,
  22 that's about 45 miles from Craig, Colorado. It's also
  23 about 45 miles from Dinosaur, which does have a
  24 sheriff's office annex. But the time to get there is
  25 going to be a little longer than a couple of minutes or
  0159
   1 10 minutes or 15 minutes.
   2           Do not the people that live in these
   3 remote areas have the right to protect their-self? As
   4 the senator from Grand Junction said at one point in
   5 time, How many more rounds do you need to protect
   6 yourself, that's one.
   7           If that's all you have to protect
   8 yourself is a weapon that has more than 10 rounds,
   9 knowing that it's going to take law enforcement time to
  10 get there, do they not have the right to have as many
  11 rounds as they need to protect their-self?
  12            The other thing that was touched on a
  13 little, but was not touched on a lot, was farmers and
  14 ranchers that possibly might have a type of firearm
  15 that has more than a 10-round magazine or 15-round
  16 magazine.
  17            These guys go out to check their cattle
  18 miles from home. And when they're calving, the coyotes
  19 are out there, and sometimes it may take more than
  20 one shot. I'm a fair shot, but you get three or four
  21 or five of them out there trying to get your calves,
  22 you need something that you may need more than
  23 15 rounds to take care of those predators.
  24            Just something to consider when we're
  25 talking about banning magazines that hold more than
  0160
   1 15 rounds, or if you want to call them standard
   2 magazines because that's what they are for certain
   3 types of firearms that are out there.
   4           So are you going to take that farmer's or
   5 rancher's right away from them to protect their
   6 livelihood? This is how they make their living. This
   7 is what they're doing, is protecting their flock. Is
   8 that what we want to do, is to say, You know what, we
   9 appreciate the produce that you bring to Colorado, but
  10 you know what, if it takes more than 15 rounds to
  11 protect that, that's okay.
  12            Do you know what a cow is worth right
  13 now? It's worth a lot of money. It's worth about a
                                                                                                     LEG HX 000350                   4266
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  14 dollarAppellate
             and 83 a Case:
                        pound. 14-1290       Document:
                                 You lose very            01019371762
                                                many of that --                      Date Filed: 01/16/2015            Page: 113
  15 very many of those, you can lose thousands of dollars.
  16            And there's predators out there, there's
  17 mountain lions, there's coyotes. You have the right to
  18 protect what is yours. And sometimes you need more
  19 than 15 rounds to protect that.
  20            So that's just another aspect that we
  21 need to think about. When you do this, you're not only
  22 affecting people that just want to have this as a
  23 constitutional right, because it is their right, but
  24 you're also taking away the availability to protect
  25 your family and to protect your animals.
  0161
   1           But again, I had somebody ask me to bring
   2 that up. Didn't know if it had been brought up a lot
   3 or not, but thought that we would just reinforce that.
   4           Thank you, Mr. Chair and members.
   5           THE CHAIRMAN: Senator Renfroe.
   6           SENATOR RENFROE: Thank you, Mr. Chair.
   7           Mr. Chair, I rise in opposition to this
   8 bill. And I think it's pretty clear where we are after
   9 our last division vote, but that just gives us the
  10 chance to move forward from here and see if we can make
  11 some arguments to change a few minds and save a few
  12 jobs in the state of Colorado.
  13            Earlier I came up and read a letter from
  14 a company that has been here for 36 years. When we
  15 were out getting dinner later on, I met someone
  16 associated to the company, and I didn't know they were
  17 here.
  18            And they said, You know, that is truly a
  19 family-owned business, this Lawrence Tool. The dad
  20 started it, his daughter is working there, son-in-law
  21 working there, it is truly a family-owned business.
  22 36 years.
  23            And by passing a bill that can't be
  24 enforced except for, I guess unless you take it to what
  25 it truly is doing, in banning every single magazine in
  0162
   1 the state, that should make it pretty easy to enforce,
   2 you would think, except we're grandfathering existing
   3 in, so back to that, it's a circular argument of how do
   4 you enforce.
   5           The question becomes why? What's the
   6 motive? What's the goal? Is it about safety? We sure
   7 haven't heard very many people come up here and talk
   8 about safety except from people opposed to the bill
   9 talking about how having the opportunity to defend
  10 yourself is what increases safety. Not restricting you
  11 to less than what, as the senator from Mesa said, a
  12 wolf would have.
  13            Let me talk to you about another company
  14 since we're looking at another long list of companies
  15 that will leave. This is one we haven't talked about,
                                                                                                     LEG HX 000351                   4267
file:///X|/...r/HB%201224%20and%201229/HB%201224/Transcripts%20of%20legislative%20history/House%20Bill%2013-1224-030813.txt[11/5/2013 7:32:54 AM]
           Appellate
  16 this is           Case:
             another one.   US14-1290       Document:
                                 Precision Mold         01019371762
                                                is a small tool                      Date Filed: 01/16/2015            Page: 114
  17 and die manufacturing facility that builds plastic
  18 injection molds. In the past few weeks we have become
  19 very -- the past few weeks has become very uncertain
  20 for us.
  21           You know, the senator from Boulder talks
  22 about being in business a long time, and I know that he
  23 has been in business a long time. Uncertainty is not
  24 what a business wants. It's not what our market wants.
  25 Whenever we hear uncertainty, it seems the market's
  0163
   1 dropped. That's what we're creating with this bill.
   2 They are continuing in a path of uncertainty.
   3          They have a relationship with Magpul.
   4 They provide products to them. As a result of that
   5 relationship, they've purchased more than $525,000 in
   6 manufacturing equipment to meet the needs of Magpul and
   7 other customers.
   8          I bet that we could figure out what the
   9 business personal property tax is on that equipment.
  10 Look what that's doing to Arvada. That's where this
  11 company is located, the city of Arvada.
  12           With the passage of this bill, we will be
  13 forced to lay off 50 percent of our current workforce.
  14 There we go, jobs, jobs, jobs leaving Colorado again.
  15 And these are very highly skilled jobs, earning between
  16 65- to $80,000 a year.
  17           I don't think the governor would laugh
  18 about $65,000-jobs leaving the state. I would hope he
  19 would not laugh about that. I would hope he wouldn't
  20 laugh about any job leaving the state.
  21           US Precision Mold is a home-grown
  22 company. They write in here, this is kind of amazing,
  23 There have been many sleepless nights, long hours, and
  24 lost weekends to create our business out of nothing.
  25 I've seen those nights with my father in our business,
  0164
   1 and I'm sure this is true for them in their business.
   2          But, of course, there's some -- maybe we
   3 shouldn't even read this letter because obviously,
   4 there's some out there that would say they didn't build
   5 that. So let's just disregard this company, we can let
   6 them go because they didn't build it. And we could sit
   7 up here and we could make jokes like that all we want.
   8 But the reality is, this is a real company with real
   9 jobs.
  10           We would consider the passage of this
  11 bill and a front to the business community while
  12 producing yet more dependence on government handouts
  13 with people losing their jobs. Thank you for taking
  14 the time to listen to our voice in your final decision.
  15           I hope you listen to that and their
  16 voice, because what I have here is, this is the list of
  17 citizens that signed up to speak in judiciary committee
                                                                                                     LEG HX 000352                   4268
file:///X|/...r/HB%201224%20and%201229/HB%201224/Transcripts%20of%20legislative%20history/House%20Bill%2013-1224-030813.txt[11/5/2013 7:32:54 AM]
           Appellate
  18 on Monday.      AndCase:   14-1290
                           I know  we've been Document:   01019371762
                                                reading testimonies                  Date Filed: 01/16/2015            Page: 115
  19 of people that didn't get the opportunity to speak
  20 because of the pace that these were heard.
  21            On the signup sheets here, 34 people
  22 showed up in support of this measure, with 16
  23 testifying. In opposition there were 238 people that
  24 came to the capitol and waited hours and hours. Out of
  25 this list, there's three that got to testify.
  0165
   1           According to the Shooting Sports
   2 Foundation, they're a trade group in the firearms
   3 industry, The industry, as a whole, in Colorado
   4 directly creates 2,676 jobs, 84 million in wages,
   5 259 million in economic impact. The overall impact of
   6 the fire industry -- firearms industry direct and
   7 indirect is 4,765 jobs, 190 million in wages, and
   8 590 million in economic impact.
   9           So what message are we sending the
  10 business community for a bill that is unenforceable?
  11 Our sheriffs admit that, it's, leave Colorado. Vote no
  12 on this bill.
  13            THE CHAIRWOMAN: Senator Brophy.
  14            SENATOR BROPHY: We have a new chair.
  15 Thank you, Madame Chair.
  16            Members, I want to join the rural caucus
  17 that we heard from the senator from northwest Colorado.
  18 And I appreciate his words so much and it speaks so
  19 much to the heart of my constituents.
  20            But before I do that, I want to remind
  21 you that this bill as drafted, because of its language,
  22 effectively bans every detachable magazine in existence
  23 in America, or every style. So you won't be able to
  24 purchase any new ones after July 1st of this year
  25 because they are all readily convertible.
  0166
   1           When you do that it's a de facto ban on
   2 all of the modern sporting rifles that are becoming
   3 ubiquitous across this country. They tell us that
   4 there are almost 12 million of these things in the
   5 country.
   6           And so I'm going to tell you some stories
   7 about how they are typically used and typically owned
   8 by citizens for lawful purposes in rural eastern
   9 Colorado.
  10            First, I heard from a constituent of mine
  11 near Holyoke, which is, you know, the next town north
  12 of Wray, great little community. She lives on a ranch
  13 about 30 miles out of town. And she says, you know,
  14 Goodness, we might be, best case scenario, 45 minutes
  15 from law enforcement showing up to help us if we ever
  16 have a problem. Worst case scenario is more like an
  17 hour and a half.
  18            How would you like to be on your own for
  19 an hour and a half? Doesn't sound like a lot of fun.
                                                                                                     LEG HX 000353                   4269
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  20 That'sAppellate
              hopefullyCase:    14-1290
                         an atypical        Document:
                                     use. You            01019371762
                                               know, I own  a                        Date Filed: 01/16/2015            Page: 116
  21 life insurance policy, even though I have every
  22 intention of living to be 140 years old, I hope I don't
  23 have to use my life insurance policy. I hope I never
  24 have to use one of my standard-capacity magazines for
  25 home defense.
  0167
   1           My buddy, Kenny Rogers, that's really his
   2 name and he really is a cowboy, most of you have
   3 probably met him, he lives by Yuma, he's the past
   4 president of the Colorado Cattlemen's Association,
   5 e-mailed me over the weekend after I'd spoken on a
   6 radio show with Ross Kaminsky on Sunday.
   7           And Kenny said, Just this morning, and
   8 this is a typical lawful use by a citizen in eastern
   9 Colorado, just this morning Kenny said, I had four
  10 coyotes harassing my newly-born baby calves, four. So
  11 I grabbed my modern sporting rifle, it's an AR style,
  12 and dispatched some of those coyotes and the others
  13 off. And it took more than 15 rounds to do the job
  14 that day.
  15            Typical lawful use of what has really
  16 become the utility rifle. It's found in almost every
  17 ranch pickup in eastern Colorado right in the gun rack,
  18 right above the pliers and the leather gloves, tools.
  19            And I'll tell you about another typical
  20 lawful use by citizens in eastern Colorado for modern
  21 sporting rifles. Ever since I was a little boy I have
  22 been shooting watermelons on my dad's farm with him. I
  23 have a scar right between my eyes from a scope when I
  24 was too close to it at the age of about 6 or 7, on what
  25 was then the common rifle owned by my dad, a standard
  0168
   1 deer hunting rifle.
   2           Now, again, most of us out there own the
   3 modern sporting rifle just like this one. And yeah,
   4 you might recognize that, gentlemen. He's been there
   5 twice. And if you observe the ear-to-ear grin on his
   6 face, you might come to realize that he's having a good
   7 time. That is a typical lawful use of a modern
   8 sporting rifle in eastern Colorado. And that is a
   9 20-round Magpul PMAG.
  10            And that event is called Brophy's Bike
  11 and Blast. It's what my dad's little fun watermelon
  12 shoot has morphed into. I've been using it as a
  13 fund-raiser. I don't make any money off of it because
  14 we spend about a thousand dollars on ammo and almost
  15 that much on adult beverages, the night before.
  16            This bill makes the event illegal. This
  17 bill makes no provision for the temporary transfer of a
  18 standard-capacity magazine, no provision at all. I
  19 have to maintain continuous possession. None of you,
  20 none of you can have possession of one of those if you
  21 didn't own it before July 1st. This bill makes this
                                                                                                     LEG HX 000354                   4270
file:///X|/...r/HB%201224%20and%201229/HB%201224/Transcripts%20of%20legislative%20history/House%20Bill%2013-1224-030813.txt[11/5/2013 7:32:54 AM]
           Appellate
  22 fun event    illegal.Case: 14-1290 Document: 01019371762                        Date Filed: 01/16/2015            Page: 117
  23            Is that what you want to do, make it
  24 illegal to do something that people have been doing
  25 for -- as long as there are rifles and watermelons, I
  0169
   1 guarantee you people have always shot watermelons
   2 because it's so darned much fun.
   3           They go kerplunk, blow up all over the
   4 place, and they're biodegradable, you don't have to
   5 clean up the mess. I was going to disk them under
   6 anyway. I disk them under the next week and drill it
   7 all to wheat.
   8           This September, on the third Friday in
   9 September, I would plan to do this again. And if my
  10 friend comes out there and this bill passes, my sheriff
  11 might arrest him. Even though my sheriff is shoulder
  12 to shoulder with all of the other sheriffs in the state
  13 of Colorado -- the Sheriffs Association unanimously
  14 opposes this legislation.
  15            They think it's unconstitutional because
  16 it bans typically-owned weapons that are used for
  17 lawful purposes. They think it's absolutely
  18 unenforceable. And they can't believe that it's
  19 advanced this far in the state of Colorado.
  20            Sheriffs of both parties were at the
  21 capitol Monday to stand in opposition to this bill, and
  22 you're willfully ignoring them, ignoring the fact that
  23 the bill bans an event this guy participated in, that
  24 the governor begged me for an invitation to.
  25            It's going to drive a lot of jobs out of
  0170
   1 Colorado. They're probably going to have to leave even
   2 if the bill is ultimately found unconstitutional
   3 because their political risk exists because of the
   4 attitude exhibited by the majority party in this
   5 legislative body.
   6           If you're operating a business and you've
   7 got that great problem that everybody wants when
   8 they're operating a business, more work than your
   9 people can do, you need to expand, you have to have a
  10 bigger building, how can you, in good conscience, sign
  11 a long-term lease on a building in a state where your
  12 product is about to be banned? You can't. You can't
  13 take that risk. It's way too great of a risk.
  14            If we kill this bill tonight, we might
  15 save those jobs, we might save that Colorado company,
  16 we might save a fun event like this, and we might save
  17 the taxpayers of Colorado a lot of money defending an
  18 unconstitutional bill, vote no.
  19            THE CHAIRWOMAN: Senator Lundberg.
  20            SENATOR LUNDBERG: Thank you, Madame
  21 Chair.
  22            To the good senator from Wray, Colorado,
  23 it was 50 years ago last October that I got my scar
                                                                                                     LEG HX 000355                   4271
file:///X|/...r/HB%201224%20and%201229/HB%201224/Transcripts%20of%20legislative%20history/House%20Bill%2013-1224-030813.txt[11/5/2013 7:32:54 AM]
  24 rightAppellate
            here from Case:
                        my dad's14-1290
                                   300 H&HDocument:      01019371762
                                             magnum, it slipped off                  Date Filed: 01/16/2015            Page: 118
  25 the shoulder. The deer got worse, though.
  0171
   1           I have a letter from a councilman from
   2 Loveland. Honorable Senators, I appear before you --
   3 he wanted to give this in person, but wasn't able to.
   4 I appear before you as a fellow elected official, a
   5 councilman from the town of Loveland, where we are
   6 wrestling with the question of mixed jurisdiction, as I
   7 believe you are, as well.
   8           In Loveland we will be discussing and
   9 determining whether to follow a course of action in
  10 establishing rules and regulations for the production
  11 of oil and gas reserves that align with the state and
  12 the Colorado Oil and Gas Conservation Commission in
  13 order to develop rules and regulations that apply in
  14 the face of the established process in Colorado.
  15            It is with a great deal of humility that
  16 I consider such a decision. The humility that the
  17 state of Colorado has spoken to the nature and scope of
  18 oil and gas permitting and regulation, and the humility
  19 that the city of Loveland, in my opinion, should
  20 acquiesce to the guidance of the State.
  21            In similar fashion, I believe that the
  22 United States Constitution has spoken to
  23 House Bill 1224 and other measures, seeking to limit
  24 the people's right to keep and bear arms, and that the
  25 senate should exhibit that same humility. It is the
  0172
   1 right of free people of this nation to keep and bear
   2 arms, to defend their associated unalienable rights and
   3 to protect their rights from a tyrannical government.
   4           To abridge that right by the limiting of
   5 arbitrary components of various firearms, the
   6 capricious restriction of when and where citizens can
   7 exercise their right to protect themselves and the
   8 indiscriminate association of liability for those who
   9 choose to engage in the commerce of firearms products
  10 is not only wrong, but it is being discussed without
  11 consideration of the overriding jurisdiction of our
  12 most important founding document, the United States
  13 Constitution. I implore you to defeat these measures
  14 and not send them on. Thank you. Hugh McKean,
  15 Loveland City Council.
  16            THE CHAIRWOMAN: Senator King.
  17 Senator King is first.
  18            SENATOR KING: Thank you, Madame Chair.
  19            So how do we make decisions,
  20 evidence-based decision-making, hysteria-based
  21 decision-making. As part of a 1994 and badly named
  22 assault weapon ban, the production of high-capacity
  23 magazines was halted. A comprehensive study by the
  24 Center of Disease Control nine years later looked at
  25 51 studies covering the full range of gun control
                                                                                                     LEG HX 000356                   4272
file:///X|/...r/HB%201224%20and%201229/HB%201224/Transcripts%20of%20legislative%20history/House%20Bill%2013-1224-030813.txt[11/5/2013 7:32:54 AM]
  0173     Appellate Case: 14-1290 Document: 01019371762                             Date Filed: 01/16/2015            Page: 119
   1 measures, including this ban, and concluded that none
   2 could be proven to reduce crime, none could be proven
   3 to reduce crime. Now, that sounds like evidence to me.
   4           In 2005, the American Journal of
   5 Preventative Medicine did a similar survey and came up
   6 largely to the same conclusion. Evidence-based
   7 decision-making, hysteria-based decision-making. Come
   8 down and debate. Come down to the well and let's
   9 debate. The people of Colorado deserve that.
  10            If you've got a point to make that isn't
  11 hysteria and is actually facts, then there's a spot
  12 right here. And there's nobody here. Then I take it
  13 you concede.
  14            THE CHAIRWOMAN: Senator Renfroe.
  15            SENATOR RENFROE: Thank you, Madame
  16 Chair.
  17            Madame Chair, I wish you could see the
  18 picture, so when you come down, you'll need to take a
  19 little time and take a peek at this to see what Senator
  20 Brophy is talking about. I've been out to the Bike and
  21 Blast, and I would encourage you all to come out, but
  22 it won't be as much fun this next year.
  23            I guess I can take my magazine and still
  24 have fun for (sic) my rifles, and Senator Brophy --
  25 excuse me, the senator from Wray can have his fun with
  0174
   1 his, and a few other members can have fun with their
   2 magazines, but that would be about it, isn't it? It'll
   3 change.
   4           One thing Senator Brophy didn't bring up
   5 with this picture, is this is an AR 10 that's actually
   6 being shot in this picture, having fun with, which it
   7 could be an AR 15. It could have an upper on it that
   8 would shoot a 22, and there are magazines that can do
   9 that.
  10            And actually, that's what people are --
  11 the senator from Wray has one of those, and that's on
  12 my list, because the price of ammo these days, that's
  13 what people are liking to shoot in the AR style of a
  14 firearm. And those, just like everything else, will be
  15 banned, the 22.
  16            Again, it looks like a lot of fun with
  17 that smile. I know I have a lot of pictures of me with
  18 smiles. I have pictures of my kids, I have pictures of
  19 friends at different shoots that we've been at.
  20 Amazing, amazing amount of fun. That's all.
  21            THE CHAIRWOMAN: Senator Crowder.
  22            SENATOR CROWDER: Thank you, Madame
  23 Chair.
  24            Senator Brophy, or the senator from Wray,
  25 brought up an idea that I'd like to talk to you about
  0175
   1 briefly about this bill.
                                                                                                     LEG HX 000357                   4273
file:///X|/...r/HB%201224%20and%201229/HB%201224/Transcripts%20of%20legislative%20history/House%20Bill%2013-1224-030813.txt[11/5/2013 7:32:54 AM]
   2       Appellate
               RecentlyCase:
                          I went14-1290
                                 against myDocument:
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   3 voted for a different bill, it's called the asset bill.
   4 And after I did that -- I had no problem doing that
   5 because I believed in it. But I had people stopping me
   6 in the hallway, democrats, and individuals shaking my
   7 hand and saying what an amazing amount of courage that
   8 took.
   9           And I did not think it was any courage at
  10 all because I thought it was the right thing to do.
  11 But I guess I would ask now if, in fact, you believe in
  12 this, if you believe this would hurt this state
  13 economically, would you have the courage to stand up
  14 against your caucus and do the same thing?
  15            What my idea of doing up here is what is
  16 right for the state of Colorado, as well as your
  17 district. But I think this goes a little bit beyond
  18 partisan politics. I think this is actually a very
  19 real issue. But again, I would ask you if you had the
  20 courage or if you had the inclination to stand up for
  21 this or against this, if you could do the same thing.
  22            I -- personally, I slept very well all
  23 the nights past that asset bill, and I still sleep
  24 well. But I think that's the biggest thing about this
  25 job here, you need to do what you think is right so you
  0176
   1 can go home and sleep and look at yourself in the
   2 mirror and be very comfortable with yourself. Thank
   3 you very much.
   4           THE CHAIRWOMAN: Thank you. Senator
   5 Harvey.
   6           SENATOR HARVEY: Thank you, Madame Chair.
   7           I just wanted to take a minute to come
   8 back to this picture. I've been at this watermelon
   9 shoot two times. Many of you all saw my son here
  10 earlier today, he was here for most of the day on the
  11 other side of the room, and he has gone with me to the
  12 event on many times.
  13            We didn't go on this one because as you
  14 can see, it's pretty darned cold, and he was in school
  15 and I didn't want to pull him out of school to come out
  16 to a gross, muddy farm three and half hours away from
  17 our house.
  18            But this is great fun. This is great
  19 fun. Actually, Adam and I were at the one previous to
  20 this. Adam is the gentleman shooting the gun here.
  21 We'd been to the one prior to that with my son, the
  22 three of us were out there shooting. And it was a lot
  23 of fun, as you can seen on his face, he's smiling.
  24            But I'm not smiling anymore. Awkward.
  25 MAIG, Mayors Against Illegal Guns, a lobbying
  0177
   1 organization to push gun control all across the country
   2 and here in Colorado. Adam is the lobbyist for Mayors
   3 Against Illegal Guns. Look at the smile. He's taken
                                                                                                     LEG HX 000358                   4274
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   4 awayAppellate
            me and myCase:     14-1290
                         son and              Document:
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                                                            son's                    Date Filed: 01/16/2015            Page: 121
   5 ability to enjoy an afternoon in the mud on a farm in
   6 eastern Colorado. Ironic? I ask for a no vote.
   7           THE CHAIRWOMAN: Senator Grantham.
   8           SENATOR GRANTHAM: Thank you, Madame
   9 Chair.
  10            Shift gears just a little bit. We've
  11 heard lot of testimony from some of those that couldn't
  12 speak for themselves the other day. And there's some
  13 unique stories that come out of the woodwork on this.
  14 When it comes to those that are in our districts and
  15 those across the state that are going to be affected
  16 directly or indirectly by this legislation. I think
  17 we'll all be affected directly in one sense or another.
  18            But this one comes from a man by the name
  19 of Mitali Korichic (phonetic), and I know you're
  20 watching tonight, Mitali, and I hope I do this justice.
  21 But he says that, My message to us, to all of us here,
  22 my message would be this: My family emigrated to this
  23 country from USSR Russia in 1996. I was still young.
  24            This country gave us all opportunity to
  25 grow and live. We came with a few bags of clothes,
  0178
   1 some pictures, had to start life anew. My parents
   2 worked hard. My mom worked three jobs, and worked for
   3 us.
   4           I was a bit young to understand and
   5 appreciate all of it. This country was founded upon
   6 the notion that the person is free to make choices, and
   7 their lives reflect those choices. The Constitution
   8 puts limits on government so they do not take away our
   9 rights and put us back to Russia-like times.
  10            I served my country because I believe in
  11 giving back. The part of the oath that every enlisted
  12 member goes -- when taking the oath goes something like
  13 this: I, state your name, do solemnly swear or affirm
  14 that I will support and defend the Constitution of the
  15 United States against all enemies, foreign and
  16 domestic; that I will bear true faith and allegiance to
  17 the same.
  18            The Army, Marines, Air Force, Navy, Coast
  19 Guard protect the Constitution of the United States.
  20 The document that places restrictions and limits on
  21 government, they don't protect our government, they
  22 protect the people.
  23            Coming from someone who has been in those
  24 other countries, seen what it's like, seen where we're
  25 heading, he also says that, The First Amendment gives
  0179
   1 us the right to speak, believe, and publish what we
   2 want, that is human nature to us. But many countries
   3 do or did not have this right, my family included.
   4           The Second Amendment protects this
   5 fundamental human right or God-given right and protects
                                                                                                     LEG HX 000359                   4275
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   6 thoseAppellate
            that follow.Case: 14-1290
                         The first          Document: 01019371762
                                   10 are inalienable                                Date Filed: 01/16/2015            Page: 122
   7 rights. Look the term up, bill of rights, not needs.
   8 This being said, all of the laws being proposed are
   9 limits on law-abiding free people.
  10            Some very important remarks also come
  11 from John Arndt. And John, I know you're listening
  12 tonight, too. It says, I had prepared testimony to
  13 speak, and the limited time for testimony of opponents
  14 did not allow for me to speak.
  15            My testimony follows: Please let me know
  16 if there's any other way in which I can assist. He
  17 says, the Department of Homeland Security currently has
  18 a request for proposal for self-defense weapons.
  19 Self-defense weapons in quotes. Even though DHS is not
  20 in a theatre of war. DHS agents are not soldiers.
  21            The RF P describes these weapons as,
  22 quote, personal defense weapons, unquote, and states
  23 they are, quote, suitable for personal defense used in
  24 close quarters, unquote.
  25            The weapon being purchased under those
  0180
   1 guidelines contains a magazine capable of holding
   2 30 rounds, personal defense weapon, personal defense
   3 used in close quarters, that's how DHS defines it.
   4           He continues: On January 20th of this
   5 year, college students stopped two armed intruders when
   6 the attacker saw one resident had a rifle which had a
   7 30-round magazine. The gun and included magazine is a
   8 tool. Tools are used properly or improperly.
   9           Individuals deciding to break laws harm
  10 people, rape, and still do not follow laws. Banning
  11 magazines with a capacity larger than 10 rounds will
  12 not stop criminals from using them illegally.
  13            On January 4th a Georgia mother defending
  14 her children shot an attacker using a six-shot handgun
  15 her husband had trained her to use, hitting the
  16 attacker five times out of six. But if there are
  17 multiple intruders, as is increasingly common in home
  18 invasion attacks, the mother would not have been able
  19 to continue to defend herself and her young children.
  20 She likely would have been beaten or worse. He goes on
  21 and on with similar stories. Thank you, John , for
  22 sharing all of your testimony.
  23            Another one comes from a Chris Gonzalez
  24 from right here in Denver. It says, I've been a
  25 lifelong democrat, and I am deeply disappointed in the
  0181
   1 party's gun control package. Yes, national polls
   2 suggest Americans may want it, but these polls ask very
   3 broad questions.
   4           National polls don't reflect Coloradoans'
   5 positions on specific policy proposals, like a 15-round
   6 magazine limit. 15 rounds have banned many types of
   7 nonassault weapons which I wish to protect my family
                                                                                                     LEG HX 000360                   4276
file:///X|/...r/HB%201224%20and%201229/HB%201224/Transcripts%20of%20legislative%20history/House%20Bill%2013-1224-030813.txt[11/5/2013 7:32:54 AM]
   8 with. Appellate
            Coloradans  Case:  14-1290
                          deserve more thanDocument:
                                             an arbitrary01019371762                 Date Filed: 01/16/2015            Page: 123
   9 policy.
  10            Reverend Tracy Hinkel. 1224 --
  11 House Bill 1224 to limit the number of rounds in a
  12 magazine is ridiculous. First, there's no such thing
  13 as a high-capacity magazine. A magazine is built to
  14 hold a certain number of bullets and that is it. The
  15 use of the term is only meant to cause an emotional
  16 reaction by people who are not familiar with guns.
  17            Second, if someone has to use a weapon
  18 for self-defense, they need all the rounds they can
  19 shoot. If a fire-fight law enforcement officer's
  20 average accuracy -- they average an accuracy rate of
  21 about 40 percent. That rate would probably be lower
  22 for the average citizen, with training, possibly maybe
  23 around 30 percent, he speculates.
  24            If a legally-armed citizen has fewer
  25 rounds, they are more likely to suffer injury or be
  0182
   1 killed by their assailant. Recently a mother in
   2 Georgia protected herself and her daughter -- and this
   3 is the same story that was relayed by Mr. Arndt in the
   4 previous, the five shots -- or the six shots and the
   5 five hits for one person.
   6           He was still able to follow her
   7 downstairs and next door to a neighbor's house after
   8 being shot five times. He finally collapsed and then
   9 was taken into custody. What if there had been more
  10 than one? What if there had been more than one?
  11            There are many more letters such as this.
  12 David Smith is from Canon City, where I live, draws the
  13 analogy between these magazines and vehicles. The
  14 madman can kill with one or the other, why are we
  15 focussing on these particular tools?
  16            Gary Griego (phonetic) says: I have been
  17 in corrections at -- it's home for those of us down in
  18 my neck of the woods. I've been in corrections for
  19 22 years, and I'm currently a case manager. And I
  20 don't see how limiting the number of rounds or type of
  21 guns I can possess as a law-abiding citizen will stop
  22 criminals or the mentally ill from committing crimes.
  23            I exercise my Second Amendment rights
  24 responsibly, as does the majority of the gun owners in
  25 the country, yet, my elected officials want to punish
  0183
   1 me and ban the weapons I have, which are not assault
   2 weapons, but semiautomatic rifles. Assault weapons are
   3 military weapons with a selector switch that allow for
   4 full automatic operation or three-round spurts.
   5           As a corrections officer I see violent
   6 offenders enter the system all the time. These
   7 offenders victimized others, other law-abiding citizens
   8 that they saw as weak and as easy prey.
   9           There are as many laws in place now that
                                                                                                     LEG HX 000361                   4277
file:///X|/...r/HB%201224%20and%201229/HB%201224/Transcripts%20of%20legislative%20history/House%20Bill%2013-1224-030813.txt[11/5/2013 7:32:54 AM]
            Appellate
  10 tell all            Case:
               citizens they     14-1290
                              cannot commit Document:
                                              violent acts 01019371762               Date Filed: 01/16/2015            Page: 124
  11 against other citizens, yet, they do. For the
  12 criminal, the laws do not apply. For the mentally ill,
  13 the laws do not apply. So how is banning my weapons
  14 and magazine capabilities going to stop a criminal or
  15 mentally ill person from committing crimes against
  16 another?
  17             Laws are just words on paper that don't
  18 apply to these criminals. And taking or banning my
  19 weapons only makes me a better and less resistant
  20 target for criminals. Criminals will find weapons and
  21 ways to victimize the weak regardless of what laws are
  22 in place. And punishing me and taking my rights is not
  23 the answer.
  24             In my profession, when I have to carry a
  25 Glock, I am issued a handgun and three 15-round
  0184
   1 magazines. And I've been trained to stand and fight to
   2 protect myself or a third party. And while I've never
   3 been in a fire fight, and hope to never be, I can tell
   4 you that 15 rounds can go very quickly. And I'm sure
   5 even quicker when fighting for your life.
   6            Why shouldn't I have the same
   7 capabilities as a citizen to protect myself or my
   8 family. As for my M4 AR-style rifle and automatic
   9 rifle, I use this rifle for hunting prairie dogs and
  10 recreational target practice, fun shooting. Some
  11 people golf, I shoot my M4, and I do so responsibly.
  12             So to say that there's no legitimate use
  13 for this rifle is just like saying I don't need a
  14 14-inch kitchen knife. It is also one of the first
  15 go-to rifles in my safe, as well as a Glock 9
  16 millimeter should I need it for home defense.
  17             The vice president goes to his dove
  18 hunting shotgun -- well, I won't continue that
  19 sentence. I live in a safe community, but a rural
  20 community, too. Calling the sheriff has taken as much
  21 as 15 to 20 minutes for a deputy to arrive.
  22             So while I hope and pray that I would
  23 never need to, I know that if I needed it, I have an
  24 AR M4 to defend my family should I have to stand my
  25 ground waiting for police help. I know some will say
  0185
   1 it's just a fantasy or something that would never
   2 happen, million-to-one odds. My reply, it's no
   3 fantasy. Only a -- as Mr. Griego puts it, only a
   4 sicko, he says, would fantasize about a horrible
   5 scenario like that.
   6            And I also say, remember the Stovall
   7 brothers. Now, many in here may not remember that
   8 name. If you live down in Canon City and Fremont
   9 County, you definitely remember the Stovall name. They
  10 went on a shooting spree, killed a deputy, severely
  11 wounded a Florence police officer, who is now confined
                                                                                                     LEG HX 000362                   4278
file:///X|/...r/HB%201224%20and%201229/HB%201224/Transcripts%20of%20legislative%20history/House%20Bill%2013-1224-030813.txt[11/5/2013 7:32:54 AM]
           Appellate Case:
  12 to a wheelchair   for the 14-1290        Document: 01019371762
                                rest of his life.                                    Date Filed: 01/16/2015            Page: 125
  13           They went through the country -- the
  14 county on a shooting spree, and nobody knew where they
  15 were or where they might strike next. I stood ready to
  16 defend my family this night alongside my neighbors.
  17 The police were horribly outgunned by these criminals,
  18 and it cost our law enforcement community dearly. I
  19 was not outgunned had they attempted to victimize my
  20 family. Again, thank God they didn't come down my
  21 street looking for victims to shoot.
  22           He just wants to protect his own family,
  23 folks. How many rounds does it take? More than the
  24 bad guy. And who are we limiting? We're limiting the
  25 good guy. We're limiting the law abiding. The bad
  0186
   1 guys, the Stovall brothers, many of these others that
   2 are committing these home invasions, are they checking
   3 state statute to make sure that they don't have too
   4 many rounds in their magazines? Of course they're not.
   5           But we are. The law abiding, we're the
   6 ones that make sure that we're compliant, make sure
   7 we're doing things right. The family down the street
   8 that enjoys their weekend shooting trips, that enjoys
   9 target shooting, but also is aware that they need these
  10 for self-defense, why, why would we purposefully put
  11 them at a disadvantage?
  12           Why would we do that? It's unfathomable
  13 to me that someone else is making the choice for me
  14 what is necessary to defend my home, my family, my
  15 property.
  16           THE CHAIRMAN: Senator Scheffel.
  17           SENATOR SCHEFFEL: Thank you,
  18 Mr. Chairman.
  19           I wanted to thank PJ for taking the time
  20 to contact me, specifically with respect to this bill.
  21 He starts by saying he's against the current battery of
  22 anti-Second Amendment bills, and then specifically
  23 discusses that the magazine ban is unenforceable, does
  24 not contribute to public safety and restricts
  25 law-abiding citizens who have done nothing wrong.
  0187
   1 We've certainly heard about that.
   2           This bill is directed at disarming
   3 Americans and is diminishing our freedoms. In
   4 addition, the bill will destroy competitive, something
   5 I was not aware of, competitive IPSC/USPSA shooting in
   6 Colorado. Not only does it limit the state shooters
   7 entering the sport, but restricts shooters from other
   8 states coming to Colorado for major matches and state
   9 championships.
  10           PJ believes that that, alone, would cost
  11 somewhere around $4 million a year in tourist revenue.
  12 In addition, it will drive Magpul and most of the
  13 molded injection plastics industry out of the state.
                                                                                                     LEG HX 000363                   4279
file:///X|/...r/HB%201224%20and%201229/HB%201224/Transcripts%20of%20legislative%20history/House%20Bill%2013-1224-030813.txt[11/5/2013 7:32:54 AM]
  14 This Appellate
            will lower Case:    14-1290income
                         state corporate     Document:    01019371762
                                                 tax revenue by                      Date Filed: 01/16/2015            Page: 126
  15 over 15 percent, he believes. The Colorado economy is
  16 not large enough to sustain this blow.
  17            Most other small firearm manufacturers
  18 will at least consider leaving the state, and PJ
  19 states, he's one of them. He states that, I own a
  20 specialty equipment company, a small shop, a licensed
  21 FFL 07 class 2 SOT manufacturer, and he employs five
  22 people.
  23            He states that he builds USPSA and IPSC
  24 specific match pistols, rifles, and shotguns. And if
  25 the bill passes, he will leave. He states that
  0188
   1 South Dakota is a much better environment for business.
   2           Thank you, PJ, for taking the time to
   3 contact me. Your argument resonates, as does that of
   4 Tom, who commented on the various bills. He stated
   5 that the following is a summary -- Dear Senator
   6 Scheffel, the following is a summary of my views on the
   7 six bills now before the state senate.
   8           I'll skip specifically to 1224, the
   9 magazine limitation. Tom states that this bill is a
  10 red herring. The bad guys will have all the magazines
  11 they want at whatever capacity they want. The good
  12 guys, the law-abiding citizens, will be relatively
  13 disarmed.
  14            Most 9-millimeter pistols are designed
  15 for -- and sold with magazines larger than 15 rounds.
  16 Pass this law and Magpul leaves, a sad result for a
  17 bill that will have absolutely no effect on reducing
  18 gun violence.
  19            To those who know little or nothing about
  20 firearms, this bill feels good, but in Tom's views, it
  21 is bogus. In any event, what right does the government
  22 have to tell me how many rounds I need. This is purely
  23 an emotion-based arbitrary bill.
  24            Thank you, Tom, for taking the time to
  25 contact me, as well. In the case of PJ, who's a small
  0189
   1 business, he didn't even make -- glad this map is still
   2 up here with the dots, PJ doesn't have a dot up here,
   3 he didn't even make this map. He employs five people,
   4 but he states he'll be out of here.
   5           Worked on many business bills since I
   6 came to this place. I remember when I first came, I
   7 was appointed with some of my colleagues to something
   8 called the joint select committee on jobs in the
   9 economy. We heard from business after business after
  10 business after business in a suffering economy that
  11 what they wanted most was an elusive thing called
  12 regulatory certainty.
  13            Tell us the rules of the game and we will
  14 try to make lemonade out of lemons. This bill injects,
  15 infuses a huge amount of regulatory uncertainty into
                                                                                                     LEG HX 000364                   4280
file:///X|/...r/HB%201224%20and%201229/HB%201224/Transcripts%20of%20legislative%20history/House%20Bill%2013-1224-030813.txt[11/5/2013 7:32:54 AM]
           Appellate
  16 the business        Case: 14-1290
                      environment.           Document:
                                    We've heard           01019371762
                                                   colleague after                   Date Filed: 01/16/2015            Page: 127
  17 colleague after colleague read testimony after
  18 testimony after testimony which only delivered on top
  19 of the testimony that was delivered on Monday that
  20 says, this bill is unpredictable.
  21            We've seen magazines and springs and caps
  22 and tops and all the different things, the end result
  23 seems to be it's all illegal. It's all adjustable,
  24 it's all kind of fungible, and so it's all going to be
  25 illegal, notwithstanding what the bill sponsors
  0190
   1 indirectly are saying, that it's limited.
   2           Besides that, there is no evidentiary
   3 proof that this will reduce crime, that this will have
   4 a public safety effect. We've heard that over and over
   5 again. And thanks again to PJ and Tom for contacting
   6 me. Your arguments resonate. This bill misses the
   7 mark on what it intends to accomplish. I urge a no
   8 vote.
   9           THE CHAIRMAN: Senator Marble.
  10            SENATOR MARBLE: Thank you, Mr. Chair.
  11            I know all of you are looking at your
  12 e-mails and scrolling through and seeing what's coming
  13 in. And I want to read you something that I think is
  14 very important. Remember that little amendment, that
  15 little equalizer on this that we were trying to get
  16 passed here?
  17            Well, I just got an e-mail, and it is
  18 signed by around 15 manufacturers of guns and ammo, and
  19 also, magazines. And I'm going to read you a little
  20 bit of what they said. And then I'm going to read off
  21 all of them who believe that this is fair for
  22 restricting the Second Amendment rights of the people
  23 of Colorado.
  24            It's just amazing. Here we go, I'll
  25 start with this one. Recently companies such as
  0191
   1 LaRue Tactical and Olympic Arms announced they will no
   2 longer sell prohibited items to government agencies and
   3 personnel in states denying civilians to own those same
   4 items. I guess we do have an equalizer, and it's
   5 called small business.
   6           I think you better look and listen to
   7 what they're saying. This isn't just in Colorado, this
   8 is around our nation. I'm going to read you the names
   9 of these companies. Maybe you'll recognize them,
  10 probably a lot of you won't. 2A Armament,
  11 Ryan Jacobson, co-owner, operator; American Spirit
  12 Arms; BCM; Bravo Company USA; Bowater Enterprise, LLC;
  13 Cheaper Than Dirt; CMMG, Incorporated; Doublestar and
  14 Doublestar Training Academy, they're in -- in a letter
  15 to us, republicans, be victorious. Extreme Firepower;
  16 Huntertown Arms; J & G Sales; LaRue Tactical; Lauer
  17 Custom Weaponry; Liberty Suppressors; Midway USA; OFA
                                                                                                     LEG HX 000365                   4281
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            Appellate
  18 Tactical;    QualityCase:
                           Arms;14-1290        Document:
                                   Tier One Arms;         01019371762
                                                    Top Gun Supply;                  Date Filed: 01/16/2015            Page: 128
  19 and Top Gun Police; Trident Armory; West Fork Armory,
  20 York Arms. It's pretty sad.
  21             THE CHAIRMAN: Is there any further
  22 discussion? Senator Renfroe.
  23             SENATOR RENFROE: Thank you, Mr. Chair.
  24             I know we talked a little bit about it
  25 earlier, but I wanted to bring it up again, because I
  0192
   1 think it is such an important part of this bill and the
   2 absolute absurdity of the bill to rationally believe
   3 that this bill will do anything.
   4             This right here was made on a three 3-D
   5 printer. If you don't know what a 3-D printer is
   6 today, Google it right now. Everybody's got their
   7 computer out doing something. A three 3-D printer.
   8 And we're allowing people to keep every magazine that
   9 they already have.
  10             I realize I'm saying that someone could
  11 illegally make this in the future and you would never
  12 know when it was made. But that's what you're doing
  13 with this bill if you vote yes, is you're taking
  14 honest, law-abiding citizens and making them choose
  15 between the choice of breaking the law or potentially
  16 protecting themselves, defending themselves with what
  17 this and other magazines, the standard-capacity ones
  18 that hold 30 rounds, are meant to do.
  19             Senator Grantham brought it up, the
  20 senator from Canon City, about Department of Homeland
  21 Security and their recent request for firearms. And
  22 they were wanting the AR 15, and their definition of it
  23 was the defense, for the defensive qualities of the
  24 gun.
  25             I talked a little earlier about Supreme
  0193
   1 Court Justice Joseph Story. Let me just end with a
   2 couple things from him again. There can be no freedom
   3 where there is no safety to property or personal
   4 rights. Whenever legislation breaks in upon personal
   5 liberty or compels a surrender of personal privileges,
   6 it is, in its essence, tyranny.
   7             That's what you're forcing honest
   8 law-abiding citizens to choose between. There can be
   9 no freedom where there is no safety to property or
  10 personal rights. This bill takes my property and
  11 allows me to not pass it on to my children, therefore,
  12 it takes my freedom, it takes our liberty. And when
  13 that happens, tyranny can't be far behind.
  14             THE CHAIRMAN: Is there any further
  15 discussion? Seeing none, the motion before the body is
  16 the adoption of house bill -- Senator Hodge.
  17             SENATOR HODGE: Thank you.
  18             THE CHAIRMAN: Senator Hodge.
  19             SENATOR HODGE: Thank you, Mr. Chair.
                                                                                                     LEG HX 000366                   4282
file:///X|/...r/HB%201224%20and%201229/HB%201224/Transcripts%20of%20legislative%20history/House%20Bill%2013-1224-030813.txt[11/5/2013 7:32:54 AM]
  20       Appellate    Case:
                It stopped      14-1290
                           before           Document:
                                   I was ready. I'd like 01019371762                 Date Filed: 01/16/2015            Page: 129
  21 to thank you all, all my colleagues, for your passion,
  22 your commitment, and your perseverance. I appreciate
  23 the courteous discourse that has happened here tonight.
  24            To reiterate what House Bill 1224 does,
  25 is it bans high-capacity magazines of over 15 rounds or
  0194
   1 28 inches of shotgun shells. It grandfathers in all of
   2 these items currently owned.
   3           We had an amendment added that says that
   4 those that manufacture these items can continue to do
   5 so legally, they just can't sell over 15-round
   6 magazines and 28-inch shotgun shells in the state of
   7 Colorado. We heard a lot of talk about how this will
   8 hurt hunters.
   9           Hunters in Colorado are allowed
  10 three shots for water fowl, six shots for big game.
  11 This bill doesn't touch hunters. And there is at least
  12 a fourth story to be told tonight. We've heard a lot
  13 of stories. Fox 31 Denver has confirmed that Magpul --
  14 this is an item posted last night. Eli Stokols, Fox 31
  15 Denver, has confirmed that Magpul had discussions last
  16 year with the state's Office of Economic Development
  17 and International Trade in which they asked about tax
  18 incentives and credits that might be available to them
  19 as they looked to consolidate their two facilities into
  20 a single space at North Park in Broomfield.
  21            They wanted some state support, said
  22 Kathy Green, OEDIT's spokeswoman. We had some job
  23 training tax credits, but there was never any
  24 follow-up. According to Green, job training incentives
  25 would have been available only if the company was
  0195
   1 adding new jobs.
   2           Last summer, Fitzpatrick reportedly told
   3 the governor's office and Sam Bailey, the business
   4 development manager for OEDIT, who toured Magpul's
   5 facility, that Texas and Wyoming had lots of incentives
   6 for them should the company decide to relocate.
   7           That was not a threat. We never made any
   8 threat to leave, Doug Smith, Magpul's chief operating
   9 officer, told Fox 31 Denver late Thursday afternoon.
  10 We were just mentioning, Hey, these other states have
  11 approached us, they have something to offer.
  12            According to Smith and Fitzpatrick, the
  13 conversations with the state started at a business
  14 roundtable lunch hosted by the Governor's office where
  15 companies were asked about how the state can be more
  16 supportive and help them grow.
  17            Bailey's visit to Magpul's Erie
  18 manufacturing plant followed the initial meeting at the
  19 capitol. We were planning to move forward with the
  20 developer at North Park, but we put those plans on hold
  21 in December based on a change in the legislative
                                                                                                     LEG HX 000367                   4283
file:///X|/...r/HB%201224%20and%201229/HB%201224/Transcripts%20of%20legislative%20history/House%20Bill%2013-1224-030813.txt[11/5/2013 7:32:54 AM]
            AppellateSmith
  22 environment,      Case:   14-1290 Document: 01019371762
                            said."                                                   Date Filed: 01/16/2015            Page: 130
  23           This bill was not even a concept in
  24 December.
  25           I would like to read again some of the
  0196
   1 victims. Shootings involving these types of magazines
   2 includes Newtown, Connecticut, December 14th, 2012,
   3 26 people killed, including 20 1st-grade children. The
   4 shooter had multiple 30-round magazines. Oak Creek
   5 Wisconsin, August 5th, 2012, six people killed, three
   6 wounded at a Sikh temple. The shooter had three
   7 19-round magazines.
   8          I'm not going to continue, but I think we
   9 need to consider doing -- helping our citizens remain
  10 safe. I ask for an aye vote.
  11           THE CHAIRMAN: Minority Leader Cadman.
  12           Senator Brophy, he was first. Senator
  13 Brophy.
  14           SENATOR BROPHY: Thank you, Mr. Chairman.
  15           You know, I read Eli's article on the
  16 Fox 31 website myself today, I also read the whole
  17 thing. And my immediate thought was, So it has come
  18 down to this: The Governor's office will leak
  19 information about a business to try to make that
  20 business uncomfortable in the state of Colorado because
  21 that business is standing up to that governor.
  22           Is that what it's come down to? Is that
  23 the abuse of power that we're going to see in the state
  24 of Colorado? The people of Colorado and the companies
  25 in Colorado deserve better than that. Vote no.
  0197
   1          THE CHAIRMAN: Minority Leader Cadman.
   2          MR. CADMAN: You can't talk about
   3 tragedies without getting emotional. They're
   4 tragedies, of course we're emotional. But using the
   5 deaths of the innocent to take away the rights of the
   6 innocent doesn't do anything to bring them back. It
   7 doesn't leave us any safer in our homes, in our
   8 businesses, in our vehicles.
   9          That's real blood really spilled by our
  10 innocent neighbors and friends, those of you who had
  11 family members. And I think using these tragedies to
  12 take away the rights that were protected by the
  13 sacrifice of the blood that was shed by veterans who
  14 paid the ultimate price is a disservice to them, it's a
  15 disservice to all of us.
  16           In spite of those tragedies and in spite
  17 of the next one that we're going to read about, and God
  18 help us that it affects any of us. But we aren't
  19 changing the human condition, and we will move forward,
  20 and we will face these again in the future. I would
  21 much rather take my chances living and dying in a
  22 country that's free than living in a country that
  23 isn't.
                                                                                                     LEG HX 000368                   4284
file:///X|/...r/HB%201224%20and%201229/HB%201224/Transcripts%20of%20legislative%20history/House%20Bill%2013-1224-030813.txt[11/5/2013 7:32:54 AM]
  24       Appellate
                We keep Case:    14-1290
                           hearing             Document:
                                     that this bill is just 01019371762              Date Filed: 01/16/2015            Page: 131
  25 one step, one step, one step, the package, one package,
  0198
   1 bill after bill after bill after bill. We know where
   2 this is taking us. We don't want to go there. We
   3 don't want to go there.
   4           These tactics are being modeled after
   5 nations that are ruled by governments that are no
   6 longer serving their citizens, but enslaving them.
   7 Disarming citizens means we are not being governed, we
   8 are being ruled.
   9           I like most of you. I enjoy serving with
  10 you. I don't want to be ruled by you. It's not
  11 personal. I move for a review of the fiscal note on
  12 this. We have the signatures, gone, gone, gone, gone,
  13 gone, gone, gone, gone, gone; the products that they
  14 manufacture and the people that pay for them, the
  15 millions of dollars that go into the Department of
  16 Natural Resources, gone; licenses, gone; hunters, gone.
  17            I just got an e-mail earlier from a group
  18 of folks that do tourism in Colorado, gone. Not one
  19 reference in the fiscal note to the revenues that are
  20 gone. Once they're gone, and now that no new magazines
  21 can be sold in Colorado, that's what this bill says.
  22            THE CHAIRMAN: Majority Leader Carroll.
  23            MS. CARROLL: Thank you, Mr. Chair.
  24            Members, in order to give staff a moment
  25 to review the request for fiscal note and see what
  0199
   1 comes of that, I move that we lay over right now
   2 Senate (sic) Bill 1224, one bill, and so I'll go ahead
   3 and make that motion at this time and then have a
   4 second motion.
   5           THE CHAIRMAN: Is there any discussion?
   6 The motion before the body is to lay over
   7 House Bill 1224, one bill. All those in favor, say
   8 aye? Those opposed, no. The ayes have it and the
   9 motion is adopted.
  10            Majority Leader Carroll.
  11            MS. CARROLL: Thank you, Mr. Chair.
  12            I move that we proceed out of order to
  13 take up House Bill 1226 at this time.
  14            (Pause in the proceedings.)
  15            THE CHAIRMAN: Back to House Bill 1224.
  16 Upon review of the fiscal note, the fiscal note is up
  17 to date and is valid, so we will continue into our
  18 conversation about House Bill 1224.
  19            Is there any further discussion?
  20 House Bill 1224 concerning -- Minority Leader Cadman.
  21            Mr. Majors, will you please read the
  22 title to House Bill 1224.
  23            MR. MAJORS: House Bill 1224 by
  24 Representative Fields and Senator Hodge concerning
  25 prohibiting large-capacity ammunition magazines.
                                                                                                     LEG HX 000369                   4285
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  0200     Appellate Case: 14-1290 Document: 01019371762                             Date Filed: 01/16/2015            Page: 132
   1           THE CHAIRMAN: Minority Leader Cadman.
   2           MR. CADMAN: Thank you, Mr. Chairman.
   3           I'm concerned that the fiscal note has no
   4 opportunity for revision. I think there's a pretty
   5 clearcut case that this will have an impact in
   6 Colorado. An $800 million industry has been
   7 jeopardized or will be jeopardized when this becomes
   8 law.
   9           A million people from one channel alone
  10 across the country are now being told, Don't come here.
  11 It will have an impact. I'd ask for a no vote.
  12            THE CHAIRMAN: Is there any further
  13 discussion for House Bill 1224? Senator Lundberg.
  14            SENATOR LUNDBERG: Thank you, Mr. Chair.
  15            And I, too, am deeply disappointed that
  16 our fiscal note system seems to become just a rote
  17 procedure rather than a real statement. The minority
  18 leader pointed out some significant financial issues.
  19 And I want confidence in my fiscal notes. This doesn't
  20 build confidence. This just makes it a process.
  21            I find that deeply disappointing because
  22 it's quite true, as we've had our debate and
  23 discussion, we've actually uncovered a lot of issues
  24 that actually I didn't see clearly enough in committee
  25 for all the consideration that was given then.
  0201
   1           And if five members cannot actually
   2 request a real review in light of new information, I
   3 find that deeply disappointing. But I think the train
   4 has already left the station, so let us proceed with
   5 the process.
   6           THE CHAIRMAN: Senator Hodge.
   7           SENATOR HODGE: Thank you, Mr. Chair.
   8           I renew my motion for House Bill 1224 and
   9 ask for an aye vote.
  10            THE CHAIRMAN: Is there any discussion?
  11 Seeing none, a division has been requested. All of
  12 those in the chamber not entitled to vote, please be
  13 seated.
  14            The motion before the body is the
  15 adoption of House Bill 1224. All those in favor,
  16 please stand.
  17            Please be seated.
  18            All those opposed, please stand.
  19            The motion is adopted.
  20            (Whereupon, the audio recording was
  21 concluded.)
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  0202
   1                 CERTIFICATE
                                                                                                     LEG HX 000370                   4286
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   2 STATE Appellate  Case: 14-1290 ) Document: 01019371762
               OF COLORADO                                                           Date Filed: 01/16/2015            Page: 133
     CITY AND COUNTY OF DENVER ) ss.
   3
   4       I, TERESA HART, Registered Professional
   5 Reporter and Notary Public for the State of Colorado,
   6 do hereby certify that this transcript was taken in
   7 shorthand by me from an audio recording and was reduced
   8 to typewritten form by computer-aided transcription;
   9 that the speakers in this transcript were identified by
  10 me to the best of my ability and according to the
  11 introductions made and written materials provided; that
  12 the foregoing is a true transcript of the proceedings
  13 had; that I am not attorney, nor counsel, nor in any
  14 way connected with any attorney or counsel for any of
  15 the parties to said action or otherwise interested in
  16 its event.
  17        IN WITNESS WHEREOF, I have hereunto affixed my
  18 hand and notarial seal this 28th day of June, 2013.
  19        My commission expires: January 15, 2016.
  20
  21               __________________________________
  22                      TERESA HART
                  Registered Professional Reporter
  23                     and Notary Public
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  0001
   1 CITY AND COUNTY OF DENVER
     STATE OF COLORADO
   2 JUDICIAL COMMITTEE MEETING
     Held on March 11, 2013
   3 House Bill 13-1224
   4 _____________________________________________________
   5 REPORTER'S TRANSCRIPT
     _____________________________________________________
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   8           This transcript was taken from an audio
     recording by Jodi M. Wagner, Registered Professional
   9 Reporter and Notary Public.
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  0002
   1 SPEAKERS:                            PAGES
   2 Senator Brophy                       5, 65
   3 Senator Cadman                           9
   4 Senator King                      16, 50
   5 Senator Baumgardner                        19
   6 Senator Lambert                         23
   7 Senator Lundberg                     27, 55
   8 Senator Johnston                       31
   9 Senator Roberts                        42
  10 Senator Renfroe                         59
  11 Senator Crowder                          64
  12 Senator Scheffel                        69
  13 Senator Grantham                          74
  14 Senator Marble                      94, 110
  15 Senator Ulibarri                       97
  16 Senator Harvey                         102
  17 Senator Renfroe                        105
  18 Senator Hill                        112
  19
  20
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  24
  25
  0003
   1              PROCEEDINGS
   2            * * * * *
   3            MR. MAJORS: House Bill 1224 by
   4 Representative Fields and Senator Hodge concerning
   5 prohibiting large capacity ammunition magazines.
   6            Senator Hodge?
   7            SENATOR HODGE: Thank you,
   8 Mr. President. I move House Bill 1224 on the third
   9 reading and final passage.
  10             House Bill 1224 prohibits the sale,
  11 transfer, or possession of an ammunition-feeding device
  12 that is capable of accepting more than 15 rounds of
  13 ammunition or a 28-inch tube of shotgun shells.
  14             It grandfathers in those currently in
  15 one's possession and it allows for manufacturers to
  16 remain manufacturing what they have always done.
  17             I ask for an aye vote.
  18             UNIDENTIFIED SPEAKER: Senator Hodge, I
  19 do have an amendment on the desk.
  20             Senator King, would you like to ask for
  21 permission to offer a third-reading amendment?
  22             SENATOR KING: (Inaudible.)
  23             UNIDENTIFIED SPEAKER: So at this point,
  24 there is not a third-reading amendment being asked for.
  25 So then Senator Brophy is in queue.
  0004
   1            SENATOR BROPHY: Mr. President and
   2 Members and Citizens of Colorado, I'm going to ask for
   3 a no vote on House Bill 1224 today and I want to tell
   4 you a few more things about this bill.
   5            If you -- if you all remember right,
   6 here about ten days ago I explained very carefully how
   7 this bill banned the sale of the common shotgun in the
   8 State of Colorado as of July 1st of this year.
   9            And there have been a couple of attempts
  10 in committee to solve that problem. And finally, with
  11 the help of Dave Kopel, the problem of the ban of the
  12 sale of the common shotgun in Colorado was solved.
  13             But we have another problem with this
  14 bill that we explained to you on Friday night, but I'm
  15 afraid that it must have gone missed during the
  16 debates. So listen now as I tell you how it is that
  17 this bill will ban the sale of the most popular handgun
  18 sold in the United States of America.
  19             The most popular handgun sold in the
  20 United States of America is a Glock handgun. It's a
  21 semi-automatic pistol. Some of the Glocks have
  22 magazine capacity built in that are greater than 15,
  23 and we all understand that those are going to be banned
  24 with this bill.
                                                                                                     LEG HX 000373                   4289
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                         problem            Document:
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  0005
   1 is how this bill actually bans the sale of all Glock
   2 handguns and most other semi-automatic handguns in the
   3 State of Colorado come July 1st. And that's in the
   4 definition part, just as it was with the shotguns.
   5           And the important part of the definition
   6 that you need to look at is on page 2, starting at
   7 line 12, where the bill defines what a large capacity
   8 magazine is for the law. And the important words are
   9 starting on line 12: "Or that is designed to be
  10 readily converted to accept more than 15 rounds."
  11            Glock, as an original equipment
  12 manufacturer, makes a magazine extension that allows
  13 their magazines to hold five more rounds for a
  14 9 millimeter and four more rounds for a 40 cal pistol,
  15 and it's designed that way.
  16            The deck plate at the bottom of the
  17 magazine comes off, the extension slips on, and the
  18 deck plate goes back in there. That's the way it's
  19 designed and, therefore, this bill bans the sale of
  20 those magazines in Colorado starting July 1st of this
  21 year.
  22            So I guess you could say you can still
  23 buy the pistol, but it just becomes a paperweight
  24 because it takes a magazine to feed it. So just as I
  25 pointed out about ten days ago that your bill affected
  0006
   1 almost every hunter in the State of Colorado by banning
   2 the sale of shotguns starting July 1st, it still
   3 affects almost every person in the Colorado who owns a
   4 handgun or intends to buy the most popular handgun sold
   5 in America today, the Glock semi-automatic handgun.
   6           Now, I think you can suggest, since it's
   7 the most popular handgun sold in the United States of
   8 America, it is commonly used by citizens for lawful
   9 purposes and, therefore, the bill is clearly
  10 unconstitutional. And I will ask for you to vote no
  11 for it based on that reason alone.
  12            Now, I'll give you a couple of other
  13 reasons to vote no for the bill. 1224, unlike the
  14 previous bill that we passed, 1229, which was under
  15 consideration by the exact same legislature, 1224 makes
  16 absolutely no provision for the temporary transfer of
  17 any what are defined as high-capacity magazines.
  18            That means that, if you take one of your
  19 grandfathered magazines to the shooting range that
  20 happens to hold more than 15 rounds and hand it to the
  21 person beside you to allow them to shoot your firearm
  22 or use it in their firearm, you have broke the law and
  23 you are both going to go to prison for -- jail for
  24 12 months. This is a misdemeanor two on this bill.
  25            And the courts will have no other choice
  0007
                                                                                                     LEG HX 000374                   4290
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           Appellate
   1 than to            Case:
               assume that   the 14-1290      Document:
                                 legislature did          01019371762
                                                 not mean for a                      Date Filed: 01/16/2015            Page: 137
   2 temporary transfer to be allowed because the
   3 legislature clearly allowed for temporary transfers, if
   4 you remember, nine exceptions in another bill under
   5 consideration on exactly the same day that this bill
   6 passed.
   7             So you understand while there is this
   8 theoretical grandfather clause for your 15, 16 in a
   9 round and above detachable magazine, it doesn't do a
  10 lot of good unless you just want to keep your toys and
  11 play with them only yourself.
  12             If, on the other hand, you want to do
  13 like I do, allow my soon-to-be 11-year-old son to fire
  14 one of my rifles -- again, blowing up watermelons
  15 typically -- the scary black rifles have a slidable
  16 stock so that the little guy can actually reach around
  17 and avoid the scar that I told you guys about from the
  18 scope that I got from my dad's rifle when I was little.
  19             This bill makes my handing him the rifle
  20 that he's been shooting for about three years now a
  21 misdemeanor two, punishable by up to 12 months in
  22 prison and a $5,000 fine.
  23             Is that really what you intend to do?
  24 If it is, that's pretty disappointing. If it isn't,
  25 then I will ask you to vote against this bill. How far
  0008
   1 -- how far do you want to go pushing gun control in
   2 Colorado?
   3             MR. PRESIDENT: Senator Cadman.
   4             SENATOR CADMAN: Thank you,
   5 Mr. President.
   6             This bill criminalizes legal products in
   7 Colorado. Nobody debated that. Actually, nobody
   8 really debated anything. On the other hand, these are
   9 so dangerous, so threatening, that we should outlaw
  10 their use here; but we have a bill that protects the
  11 manufacturing of those items here and ships them out of
  12 state. We can go out of state and buy them legally.
  13 It sounds a little selfish. It may sound somewhat
  14 hypocritical.
  15             This bill is about passing something.
  16 I've heard the proponents. I've sat through this in
  17 the House because you just don't get enough over here.
  18 I sat through this in the committees. I kept hearing
  19 the sponsor say we have to pass something, we have to
  20 pass something. If you don't believe me, I actually
  21 have it recorded. I'd be glad to share it with you.
  22 It's about passing something and solving nothing,
  23 nothing in the way of public safety.
  24             There are people outside of this
  25 building and even outside the state that want all guns
  0009
   1 eliminated from private possession, anywhere and
   2 everywhere in our country. But there is no appetite
                                                                                                     LEG HX 000375                   4291
file:///X|/.../HB%201224%20and%201229/HB%201224/Transcripts%20of%20legislative%20history/House%20Bill%2013-1224-031113.txt[10/31/2013 4:34:21 PM]
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   3 for that.         Case:
               So get the       14-1290
                            mags,            Document:
                                  get what you   can. And01019371762
                                                            as                       Date Filed: 01/16/2015            Page: 138
   4 you've already heard, this bill eliminates the use of
   5 those weapons because these mags are part of the use of
   6 the weapons.
   7            This bill tells Colorado citizens that
   8 some of their property is legal for them now, but
   9 illegal for them later and virtually illegal for anyone
  10 but them to use them ever again. That's what the word
  11 possess does to ownership of magazines. They've got to
  12 be in your possession. Illegal to share with my wife,
  13 my kids, my friends, my colleagues. Those aren't
  14 always mutually exclusive.
  15            What we will get out of this ban in
  16 Colorado for public safety is absolutely nothing. I
  17 know I've said it before, but it bears repeating.
  18 Nothing, zero. What we will get is confusing. There
  19 will be a cast of doubt placed on the legal ownership
  20 and use of this product that is now legal for some to
  21 use, but illegal for others to use after the date of
  22 the ban -- a product that if you owned ten before the
  23 ban, you purchased them in Colorado, you would be a
  24 criminal trying to replace broken or worn out magazines
  25 in Colorado after the ban goes into place. It makes no
  0010
   1 sense.
   2            Bear with me a little bit. Let's
   3 compare this ban to something that we've already banned
   4 in Colorado. We have a ban on most fireworks here. I
   5 know we shared a little bit about this in session.
   6            Many municipalities allow some sales of
   7 some fireworks -- whistles, sparklers, spinners -- but
   8 things that leave the ground or explode are illegal
   9 everywhere in the state. Everywhere. No firecrackers,
  10 no bottle rockets, no skyrockets, you know, the fun
  11 stuff.
  12            How well is that working? I can tell
  13 you it's not. On the 4th of July, there's a 360 degree
  14 fireworks show. Now, if I had the Senator's hair from
  15 Grand Junction, I would do that spinning thing that he
  16 does to show you.
  17            There is a 360 degree fireworks show in
  18 my neighborhood in the middle of Colorado Springs that
  19 can't be matched by anything that the Rockies or the
  20 Sky Sox put on. Even the main 4th of July shows at
  21 Fort Carson and Memorial Park are no match for the
  22 annual Red, White and Boom of the Homestead Trail
  23 Amateur Pyrotechnicians. That's what I call them.
  24            One of my neighbors actually brings
  25 his -- he's a contractor. He pulls his flatbed trailer
  0011
   1 out, puts it in the middle of the street, blocks it up,
   2 pulls his vehicle away so he doesn't light the gas tank
   3 on fire, and he starts launching these things from the
   4 middle of the street. They light them up, they drop
                                                                                                     LEG HX 000376                   4292
file:///X|/.../HB%201224%20and%201229/HB%201224/Transcripts%20of%20legislative%20history/House%20Bill%2013-1224-031113.txt[10/31/2013 4:34:21 PM]
   5 them Appellate    Case:and
           in the canisters,  14-1290      Document:
                                 boom, a towering     ball 01019371762
                                                           of                        Date Filed: 01/16/2015            Page: 139
   6 fire and thunder explodes over our homes in the middle
   7 of the city.
   8           On the 5th of July and a garbage day
   9 after the 4th, this is what you can find literally
  10 strewn about our neighborhood. Boom, these are the big
  11 aerials. These are the ones you expect to see at a Sky
  12 Sox game. It's unbelievable.
  13            You can't buy them here, but they sure
  14 are used here. They're everywhere. And when you call
  15 the authorities, the Colorado Springs Police
  16 Department, they say they can only respond if there's
  17 an injury or a fire because there's just too many to
  18 handle.
  19            We always try to be home on the 4th for
  20 two reasons: to keep the hoses ready and to keep the
  21 dogs in the basement. One year we weren't home on the
  22 4th. We were in Pueblo, Lake Pueblo State Park. Great
  23 place. They were launching these things, these exact
  24 canisters right in the campground next to us.
  25            And we're in tents, in tents right in
  0012
   1 the campground next to us. They're banned. They're
   2 illegal border to border, but you can drive to any of
   3 our neighboring states and just toss them in your car.
   4 And it's my understanding that several of the big
   5 warehouses for these things up in Cheyenne belong to
   6 people that live in Denver. It's ironic, isn't it?
   7           So now we will have a ban on this
   8 plastic or metal part and we will have the same result.
   9 Except there won't be any way to distinguish that they
  10 are pre-ban or post-ban. And unlike the fireworks,
  11 it's obvious when they leave the ground and they
  12 explode, they're illegal.
  13            No one will be able to identify whether
  14 they were legally obtained or not legally obtained.
  15 Again, casting a shadow of illegality on hundreds of
  16 thousands of people who have these magazines already
  17 and use them legally.
  18            For what? Will we be safer? No. Will
  19 criminals heed this ban? Of course not. That's why
  20 they're criminals. Kind of goes like that, doesn't it?
  21 And frankly, from our own Justice Department under
  22 President Barack Obama, the statistics are not on your
  23 side on this one. We were told that some of our debate
  24 was unfair, that some of the photos weren't fair, they
  25 were too personal, that the assertions about economic
  0013
   1 impact and loss of revenue were unfair or exaggerated.
   2           Well, the debate, if you could call it
   3 that, was based on facts, on history, on knowledge.
   4 The photos were real with real people legally using
   5 normal capacity magazines firing weapons with not one
   6 person getting hurt, not one. The economic impact and
                                                                                                     LEG HX 000377                   4293
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           Appellate
   7 the revenue    lost Case:  14-1290
                         to families  is going Document:
                                               to be real. 01019371762               Date Filed: 01/16/2015            Page: 140
   8            We heard true stories from genuine
   9 people who are about to lose their livelihoods as
  10 businesses across the front range relocate out of
  11 Colorado. For those Colorado citizens and business
  12 owners who shared their personal stories, they were
  13 berated in our committees. And I apologize. The
  14 treatment you received by this body was unfair.
  15             Let me tell you what else was unfair.
  16 It's unfair that this law casts thousands of
  17 law-abiding citizens, including many of us in this
  18 chamber, into the same lot as criminals, killers, mass
  19 murderers.
  20             Actually, it's despicable. It's unfair
  21 that hundreds of people came from all over the state
  22 and were shut out of the process that is supposed to be
  23 open and accessible. It's unfair that many who did get
  24 a chance to testify were maligned in the public
  25 hearings by the very legislators who represent them.
  0014
   1            It's unfair that this assembly is using
   2 horrific tragedies to push a national agenda on gun
   3 control, in spite of the fact that the statistics
   4 already prove that this bill will do nothing for public
   5 safety.
   6            It's unfair that elected law enforcement
   7 officials from across our state were virtually
   8 dismissed out of hand and denied an opportunity to
   9 testify on this bill and others. It's unfair that with
  10 the passage of this package of bills, the de facto
  11 Governor of Colorado is New York Mayor Michael
  12 Bloomberg.
  13             MR. PRESIDENT: Senator Cadman,
  14 30 seconds.
  15             SENATOR CADMAN: May I continue my time
  16 into my next segment?
  17             MR. PRESIDENT: You may.
  18             SENATOR CADMAN: Thank you,
  19 Mr. President.
  20             Many proponents of this legislation,
  21 when asked why, have said we must do something, we have
  22 to do something. They claim this Bill 1224 is just the
  23 first step in a long journey. Wow. A first step.
  24 Seven bills. Second step. Third step. Fourth step.
  25 Seven steps. Now you're on a roll, on a long journey.
  0015
   1 A long journey to government confiscation, a journey to
   2 eliminating the Second Amendment Rights altogether.
   3            You know, I would much rather take my
   4 chances out on the street. I'd much rather -- I'd
   5 rather take my chances of dying in a country where men
   6 and women are free than living in a country that isn't.
   7            I believe the Founders felt that way
   8 when they put the Second Amendment in place and we
                                                                                                     LEG HX 000378                   4294
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            to uphold Case:
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                               opening day.Document: 01019371762                     Date Filed: 01/16/2015            Page: 141
  10            This is our chance to uphold that solemn
  11 promise that we made to the people that elected us.
  12 And do that today by voting no.
  13            MR. PRESIDENT: Senator King?
  14            SENATOR KING: Thank you, Mr. President.
  15            This is an emotional event for many. I
  16 want to start by apologizing to my friends on this side
  17 of the aisle. Friday, I read some research. I read
  18 that as a part of the 1994 and badly named assault
  19 weapons ban, the production of high-capacity magazines
  20 was halted.
  21            A comprehensive study by the Center for
  22 Disease Control nine years later looked at 51 studies
  23 covering the full review of gun control measures,
  24 including this ban, and concluded that none could be
  25 proven to reduce crime. The American Journal of
  0016
   1 Preventative Medicine did a similar survey and came up
   2 with much the same conclusion.
   3           I know it's hard to believe,
   4 Mr. President, as stoic as I am and unemotional, but I
   5 got pretty fired up and challenged my friends to a
   6 debate about that. And we voted and we were done at
   7 11:30 on Friday night. I got into my car and drove
   8 254 miles in a snowstorm, got home at about 4:00 in the
   9 morning and was wide awake, trying to answer a
  10 question.
  11            And the question was: Why did I want my
  12 red-headed friend and adversary from Aurora to come
  13 down to the well and do what we do best, which is fight
  14 in public about policy?
  15            Why did I want my friend who is a
  16 principal to come down to the well and educate me, to
  17 school me on this information?
  18            Why did I want my friend, who is a
  19 doctor, to come to the well and tell me where these 51
  20 studies that the Center for Disease Control were wrong,
  21 that they had bad information?
  22            The reason is -- the reason that I
  23 wanted to have that debate was because I wanted to be
  24 wrong. I wanted you to convince me that all of this
  25 information is wrong. I prayed that it was nothing
  0017
   1 more than plastic and springs. I wanted it to be that
   2 simple. I wanted it to be simple.
   3           My whole life has been studying violence
   4 and that simple answer would have been key. I did not
   5 want it to be about neurotransmitter pathways. I did
   6 not want it to be about serotonin or norepinephrine or
   7 adrenaline or dopamine or any natural chemical
   8 imbalance. I did not want it to be about those
   9 complicated chemical computers that we all have on our
  10 shoulders.
                                                                                                     LEG HX 000379                   4295
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  11       Appellate
                SaturdayCase:   14-1290
                           morning,  when IDocument:
                                            got up, I 01019371762                    Date Filed: 01/16/2015            Page: 142
  12 looked at our local newspaper and the headline was
  13 "Guns used in more suicides than any other weapon."
  14 And I thought, Well, there's the answer. We just get
  15 rid of the guns and we won't ever have suicides again.
  16            It is not that simple. That is the
  17 problem. It is not that simple. And I'm reminded of
  18 that saying about insanity is doing something over and
  19 over and over and over again and expecting a different
  20 result.
  21            I try and figure out why someone would
  22 kill their mother and then kill innocent children, and
  23 I want it to be as simple as plastic and springs. I
  24 wonder why someone would dress up like a Joker and go
  25 into a theater and kill innocent people and I want it
  0018
   1 to be as simple as plastic and springs, but it is not.
   2 It is much more complex than that. That is violence.
   3 We are complex organisms, and springs and plastic is
   4 not going to cover it.
   5           I want us to make good decisions,
   6 decisions based on evidence, decisions based on
   7 information like, for example, the American Journal of
   8 Preventative Medicine, or, for example, the Center for
   9 Disease Control, 51 studies. And 51 studies said it is
  10 not as simple as plastic and springs, so let's move on.
  11            I would ask for a no vote on this
  12 (inaudible) legislation. Thank you, Mr. President.
  13            MR. PRESIDENT: Senator Baumgardner.
  14            SENATOR BAUMGARDNER: Thank you,
  15 Mr. President.
  16            Well, that raised a lot of questions,
  17 didn't it? Mine are not as complex as that. One of
  18 the things that I wanted to talk about, one of them. I
  19 should be done within the next, oh, ten minutes or so.
  20            And I've come up to speak on almost
  21 every one of these bills, and maybe there's several
  22 members here that is tired of me coming up and speaking
  23 on these bills. But my constituents, as we all have
  24 constituents, continue to call me and e-mail me and
  25 say, Don't stop the fight. Stay in there. Protect my
  0019
   1 rights. Make sure we're represented.
   2           Last Friday, 10:30, 11:00, when I came
   3 up and I had all these cards from constituents -- and
   4 not only mine, but people from all over the state --
   5 begging the legislature to not pass any of these gun
   6 laws.
   7           The one that was most on their mind was
   8 this piece of legislation. Mainly because they felt
   9 whether we feel here, whether we feel it's not part of
  10 it, they felt that it was an infringement, again, on
  11 their Second Amendment Rights. And again, whether we
  12 believe it or not, they believe, I believe it's an
                                                                                                     LEG HX 000380                   4296
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           Appellate
  13 infringement    onCase:   14-1290 Document: 01019371762
                        their rights.                                                Date Filed: 01/16/2015            Page: 143
  14            We talked for hours and hours on the
  15 jobs. And we come down here and that's all we tout
  16 most of the time -- jobs and the economy, jobs and the
  17 economy, and what we're going to do down here in the
  18 State of Colorado to make sure that we keep people
  19 working.
  20            We talked about businesses that have
  21 said we will leave. And when we leave, they'll be
  22 hundreds of people, possibly over a thousand people
  23 because of the satellite businesses, that will be
  24 affected by this piece of legislation. Those people
  25 will now be out of work.
  0020
   1           We talked about unemployment, that we
   2 seemed to be recovering right now. So what do we want
   3 to do? We want to drive more business out of the State
   4 of Colorado and our unemployment rates will go back up.
   5           And when those unemployment rates go
   6 back up, then there's more people on unemployment.
   7 Then we have to pay for it. And again, where's that
   8 money going to come from?
   9           Limiting the size of a magazine is not
  10 going to stop bad people from doing bad things. You
  11 heard from a retired state patrolman through me that in
  12 a short order of time he can teach people and does
  13 train people on self-defense. And in a matter of
  14 seconds, you can change those magazines out. Many of
  15 the atrocities that we've seen throughout this state
  16 and throughout the country, ten-round clips, ten-round
  17 magazines -- excuse me.
  18            And right now, 15 rounds. We want to
  19 set that magic number at 15 rounds. And let's hope
  20 nothing ever happens again, but chances are it might.
  21 So now, we're going, Well, 15 is not the number. Let's
  22 do ten. Let's do five or one. And it was said
  23 earlier, is this just one of many steps to disarm the
  24 citizens of the United States?
  25            We've remained a free country for over
  0021
   1 two centuries because law-abiding citizens are armed.
   2 Criminals, by definition, they don't follow the law.
   3 If we limit the law-abiding citizen, the type of
   4 firearm, the type of magazine that they can own, how
   5 will they defend themselves? How will they defend
   6 their family?
   7           How will we defend our livestock from
   8 the people that live in rural Colorado that do sling
   9 their AR-15 over their shoulder when they go out, when
  10 they do sling that AK-47 over their shoulder when they
  11 go out to make sure that their calves are okay, to make
  12 sure their sheep are okay, to make sure that the
  13 mountain lion or the bear or the coyote hasn't
  14 decimated their herd? Drastically affect rural
                                                                                                     LEG HX 000381                   4297
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           Appellate Case: 14-1290 Document: 01019371762
  15 Colorado.                                                                       Date Filed: 01/16/2015            Page: 144
  16             I, like anybody else in this state, have
  17 the right to defend myself and my family from
  18 criminals, and the Constitution also says from foreign
  19 and domestic enemies. Limiting the size of a magazine
  20 is not going to stop someone that is mean, someone that
  21 suffers from mental illness, someone that, if their gun
  22 does not have a large-capacity magazine or a
  23 standard-capacity magazine, which many of these
  24 firearms have -- many firearms that people have, have
  25 17, 19 rounds. That's in a handgun. These would now
  0022
   1 be outlawed. That's a standard-capacity magazine that
   2 comes with that firearm.
   3            A law-abiding citizen that has not
   4 broken any laws should have the right guaranteed to
   5 them by a Constitution that I believe should not be
   6 limited.
   7            Vote no on House Bill 1224, not because
   8 I ask for it, but because a large group of Coloradans
   9 who showed up here during testimony, who showed up here
  10 in the chambers, the ones that were heard, the ones
  11 that were not heard.
  12             MR. PRESIDENT: Senator Baumgardner,
  13 30 seconds.
  14             SENATOR BAUMGARDNER: Thank you,
  15 Mr. President. I'll finish up.
  16             Please. I'm asking for those people.
  17 Vote no on this piece of legislation. Thank you,
  18 members. Thank you, Mr. President.
  19             MR. PRESIDENT: Senator Lambert. I'm
  20 not starting the close yet, Senator Lambert.
  21             SENATOR LAMBERT: Thank you,
  22 Mr. President.
  23             It was my pleasure to serve, as you
  24 know, in foreign service overseas. I was the defense
  25 attache in Stockholm, Sweden. I was able to travel to
  0023
   1 France, Germany, England, Denmark, a lot of European
   2 countries. I spent about -- I think it was about two
   3 weeks in Switzerland.
   4            We are told in this bill that having
   5 high -- so-called high-capacity magazines and having
   6 rifles in our society is somehow unsafe. I was very
   7 impressed by the Homeland Security and probably most
   8 impressed of any country in the world with the Homeland
   9 Security of the Swiss. They have a very, very well
  10 planned out system of deterrence.
  11             And as far as I know, as far as I
  12 recall, it's about the only country in Europe that
  13 hasn't been successfully invaded, at least for hundreds
  14 of years. They buy some of our products. I think they
  15 buy American F-18 fighters. They put them inside of
  16 revetments, inside of mountains in case they are bombed
                                                                                                     LEG HX 000382                   4298
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           Appellate
  17 and they   roll outCase:
                          onto a14-1290
                                  runway andDocument:     01019371762
                                              take off with                          Date Filed: 01/16/2015            Page: 145
  18 high-performance aircraft. But one of the reasons that
  19 the Swiss are not invaded is because they have a
  20 citizen army.
  21            Now, I've been told that their sergeants
  22 show up at their door and put a tape measure on the
  23 handle of the door and stretch it out I think it's 15
  24 feet or whatever it is, ten meters. And if you don't
  25 have your assault rifle within that distance from your
  0024
   1 front door, you'll be on report. And oh, by the way,
   2 the 300 rounds of ammunition that every citizen in
   3 Switzerland, every home, has to have within ten feet of
   4 their front door.
   5           Isn't it interesting that the model
   6 we're looking at today is patterned after New York City
   7 or maybe Washington D.C. or maybe Chicago, where guns
   8 are banned and yet have the highest crime rates and
   9 murder rates in this country? Shouldn't we be looking
  10 at another model, maybe like Switzerland, that has the
  11 lowest crime rate in the world? There are no drive-by
  12 shootings. Are you kidding?
  13            A lot of people put their money in Swiss
  14 banks. I don't -- I don't have enough money. But
  15 there are not a lot of bank robberies. It's generally
  16 what we would call a civil society because people know
  17 their limits. People don't commit violent crimes in
  18 Switzerland. It's a great place to visit.
  19            We have trusted people in the United
  20 States that should be defending our liberties. Here in
  21 Colorado, our National Guard, our six military bases,
  22 plus all the National Guard bases we have. We have
  23 hundreds of thousands of veterans who have served our
  24 country with the training to protect us here at home as
  25 well.
  0025
   1           And yet when I offered an amendment on
   2 Friday without comment, it was turned down to have a
   3 waiver of this incredibly dangerous law for active duty
   4 military, for active -- for reservists, for our
   5 National Guard members and their families, who they
   6 might just have to leave the gun around the home to
   7 protect. I don't know if we have background
   8 investigations or not when you leave on a deployment.
   9           But shouldn't we be relying upon our law
  10 enforcement officers, our veterans, our active duty
  11 military and National Guard members to know what the
  12 right thing is to do instead of taking away their
  13 rights to defend themselves and to defend our country?
  14 This bill does not do this. This bill creates a moral
  15 hazard of extreme proportions of higher crime for this
  16 state.
  17            And yet, we have an alternative and I
  18 would implore my fellow members to vote against this
                                                                                                     LEG HX 000383                   4299
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           Appellate
  19 bill, to           Case: 14-1290
              at least recognize             Document:
                                 that there is           01019371762
                                               another way.                          Date Filed: 01/16/2015            Page: 146
  20 There is a model. It is not confiscating weapons. It
  21 is not confiscating magazines.
  22            Let's look at the Swiss. Let's look at
  23 a lot of other places that have well-trained and that
  24 case sort of a well-regulated militia, which is what
  25 was contemplated by our Constitution, and yet they are
  0026
   1 citizens. We have the same model here in the United
   2 States successfully throughout our American history
   3 where our citizens were expected to have the freedom to
   4 be able to defend our own country and our own
   5 communities. And yet, now we're passing that threshold
   6 of freedom of self defense into an impractical,
   7 unenforceable world which we've seen in other models
   8 just lead to more crime, more violence.
   9            Please vote no on this bill.
  10            MR. PRESIDENT: Senator Lundberg.
  11            SENATOR LUNDBERG: Thank you,
  12 Mr. President.
  13            It was George Orwell who coined the term
  14 "double speak." And if you recall, in that book,
  15 "1984," the big issue was the tyrannical government
  16 that found ways to manipulate the population by taking
  17 a term or a phrase or a word and turning its meaning on
  18 its head. I want to start with that concept with the
  19 1224 because I believe that 1224 is employing that
  20 technique of double speak, because it says banning
  21 high-capacity magazines.
  22            Now, we've been over this before, but we
  23 need to go over it again until everyone in Colorado
  24 understands that this is double speak. It's banning
  25 magazines that can hold more than 15 rounds of
  0027
   1 ammunition or can be readily converted to do that. You
   2 saw this before, but this is the PMAG 10, holds 10
   3 rounds. Is it banned? Yes. Why? Because here's what
   4 it takes to convert it. Put the spring in and you have
   5 much more than 15-round capacity from a PMAG 10.
   6            Now, what does that make this part?
   7 Illegal. Because it doesn't -- the law doesn't state
   8 that it has been converted. It just is designed to be
   9 converted. Well, it is. And that's the way these
  10 magazines function. So this is a ban on any capacity
  11 magazines, any capacity. That's the first point.
  12 House Bill 1224 is a ban on magazines of any capacity.
  13 That's one point.
  14            Here's the next one. This is an
  15 anti-jobs bill. You've heard of the direct
  16 implications, that being that the manufacturer Magpul
  17 that does produce these units employs about 200 people.
  18 They have suppliers that they have intentionally drawn
  19 from the State of Colorado and we've heard many, many
  20 testimonies from those suppliers, how grateful they are
                                                                                                     LEG HX 000384                   4300
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           Appellate
  21 that PMAG           Case: 14-1290
                    intentionally  kept their Document:    01019371762
                                              business at home.                      Date Filed: 01/16/2015            Page: 147
  22 This is not just built in the USA, but built in a
  23 Colorado company.
  24             They're all leaving the State and it's
  25 not out of spite. It's out of the economic necessity
  0028
   1 of producing a product that's legal in its state of
   2 origin. The gun owners of our country and probably
   3 around the world know better than to support a business
   4 that has capitulated to the gun control measures of its
   5 local state. It makes every bit of sense for them to
   6 leave if they're to stay in business. So anything we
   7 put in this bill that says oh no, you can still come
   8 and build your product here, you just can't sell it
   9 here falls on deaf ears that know better. That's a
  10 false hope that's let out.
  11             So it's jobs, jobs, jobs, but that's
  12 just the first part of the jobs. Because I've been
  13 assured by people from around this country that they
  14 will not support Colorado's hunting industry either.
  15 This is a destination state. This is a big business
  16 for Colorado. It's not just a few hundred jobs. It's
  17 a significant portion of our state's economy. House
  18 Bill 1224 tells those people stay away because you're
  19 second-class citizens in our state.
  20             That's another point, but that's not the
  21 most important point. Because the most important point
  22 is the ability of citizens to defend themselves and
  23 their family, to defend their property. In my District
  24 up in Larimer County, that's -- there are a lot of
  25 people who live a long way away and I still remember
  0029
   1 the gentleman from Livermore up in the northwest corner
   2 of the county telling me I'll tell you how big the
   3 capacity magazine I need and that's one more than the
   4 guy that comes up against me because I'm -- you know,
   5 the police, the sheriff's department can show up and
   6 fill out the report, but they can't fix the problem.
   7            He understands and it's his
   8 Constitutional God-given right to defend himself. But
   9 we're saying only with one hand tied behind your back.
  10 Now, that's even assuming that I buy into the double
  11 speak of this one's legal. No, it's not. It's not
  12 legal. If this is the magazine for your firearm, you
  13 can keep the gun, but you can't keep what feeds it.
  14 And you know, we've had discussion on other bills where
  15 we've discussed, well, can you legally transfer it here
  16 or there or does it have to have a background check?
  17             Well, that discussion is off the table
  18 with 1224 because you can't transfer it, period. You
  19 can't pass it on to your children. You can't give it
  20 to someone. You can't sell it to someone. You can't
  21 transfer it. It's illegal. And it's not just this,
  22 it's this. This is illegal by the standards of House
                                                                                                     LEG HX 000385                   4301
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            Appellate Case: 14-1290 Document: 01019371762
  23 Bill 1224.                                                                      Date Filed: 01/16/2015            Page: 148
  24            This bill is the gun ban bill of 2013.
  25 And we've had a few others that have not made it
  0030
   1 through the system for which I am grateful, but it
   2 doesn't really matter much because -- because this
   3 still seems to be the end game. And I've been down
   4 here long enough to know that there's a little bit of
   5 shuffle that you do when you go through the process.
   6 If what you want at the end of the day is a pretty
   7 substantial gun control measure that bans a lot of
   8 what's out there, this is it, 1224.
   9           Some of the other bills have some
  10 long-term consequences that will potentially leap that
  11 direction, but you don't need to go any further than --
  12 what is it? -- July 1st of 2013 and suddenly, all of
  13 these are at least called into question because you can
  14 say well, wait a minute. I owned this before that
  15 date, but you're going to have to prove that to a Judge
  16 in order to maintain that authority. And otherwise,
  17 they take it away and charge you with the crime of
  18 merely possessing it.
  19            House Bill 1224, the gun ban bill of the
  20 2013 session. The people of Colorado have spoken very
  21 clearly and each one in this room knows that very well.
  22 Vote no.
  23            MR. PRESIDENT: Senator Johnston.
  24            SENATOR JOHNSTON: Thank you,
  25 Mr. President. I'm going to go ahead and pay my fine
  0031
   1 proactively, Mr. President, because I plan to break the
   2 rules.
   3           Senator King, I also couldn't sleep
   4 Friday night. And I had a much shorter drive than you
   5 did, it was only about ten miles. But I got home and
   6 couldn't go to sleep either. And it was because I felt
   7 that I owed you an answer on Friday.
   8           I felt like it is easy in issues this
   9 tense and this closely held to avoid the conflict
  10 rather than to walk into it. But I feel like if our
  11 friendship means anything, it means on the issues most
  12 deeply held to you I ought to owe you an answer if we
  13 disagree. And so -- so I want to say a few words about
  14 some of the points that you made and others have made.
  15            And the first is I do want to say
  16 something about the people involved in this debate, and
  17 particularly about the folks on this side of the
  18 chamber who have opposed this measure. I want to say
  19 that -- and apologies to Senator Roberts and Senator
  20 Marble -- I may use the phrase "guys" because it
  21 describes the majority of you.
  22            I want to say that one of the things
  23 that makes me proud to serve in this body is that you
  24 are the type of men that escort the women members of
                                                                                                     LEG HX 000386                   4302
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  25 our caucus        Case:
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                                                          bill to                    Date Filed: 01/16/2015            Page: 149
  0032
   1 ensure their safety, even for a policy they've just
   2 voted for that you believe deeply against.
   3           You are the kind of people that if I
   4 ever find myself on Flight 93 or in Theater 9 or in
   5 Sandy Hook, I hope I look up and see these faces in
   6 that room. Yeah, I read the great essay from Colonel
   7 Grossman and you, my friends, are in a world of sheep
   8 and wolves, you are sheepdogs and I want to say thank
   9 you for that.
  10           And so what is the question that we are
  11 asking here? I think the truth is that any society
  12 that holds more than one value, holds no value
  13 absolutely. And that means that the sacred right to
  14 bear arms, just like the sacred right to freedom of
  15 speech, just like the sacred right to freedom of
  16 privacy, has limits. Liberty curbs equality, equality
  17 curbs liberty, just in the way that these rights are
  18 balanced against each other.
  19           And I think our lives and our laws now
  20 reflect that truth. We're not here debating today
  21 whether or not we have the right to bear an RPG or an
  22 M-1 tank or a Black Hawk helicopter or a bazooka or the
  23 arms that might reasonably be required if we were going
  24 to require a well regulated militia today to defend
  25 ourselves against foreign invasion.
  0033
   1           We made that decision when we
   2 established a professionalized Army in this country.
   3 We made that decision when we supported policies that
   4 had America wage and win an arms race that made us the
   5 single superpower in the world, I think policies that
   6 made this country safer. But it means that it's no
   7 longer personally possible or fiscally possible for us
   8 to believe that every household in America can win an
   9 arms race against every foe.
  10           But I believe there is a different war
  11 that we are talking about today that is deeply
  12 important. And that is a war fought by the hollow men
  13 in this country, fought by the people whose emptiness
  14 is so deep that they try to fill it by finding
  15 senseless ways to cause pain in lives of the innocent.
  16 That's the war we're talking about here.
  17           And let's make no mistake. The defining
  18 characteristic of this war is that it is a war fought
  19 by cowards, which means, Senator Brophy, they will
  20 never post on the website that they'd like to challenge
  21 us and meet us in the town square of Wray. Because
  22 they know that the number of Americans that would show
  23 up to fight that battle would be so vast, even the
  24 great eastern plains of Colorado probably couldn't fit
  25 them all.
  0034
                                                                                                     LEG HX 000387                   4303
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               They mayCase:  14-1290 but Document:
                           be cowards,      they aren't 01019371762                  Date Filed: 01/16/2015            Page: 150
   2 fools, which means they will never fight this war in a
   3 place where we're ready or we're prepared. And the
   4 irony is if they did, none of us would probably need
   5 more than a musket from the 18th Century, because a
   6 hundred-million Americans standing arm to arm shooting
   7 one round each would be plenty to mow down whichever
   8 cowards would show up at that fight.
   9           But that's not the way they're going to
  10 fight this. They're going to fight this not on the
  11 battlefields of America, but on the playing fields of
  12 America. They're going to fight this not in the times
  13 when we have an AR-15 and a couple of 60-round
  14 magazines in our pocket. They're going to fight it
  15 when we have a box of popcorn and a movie ticket in our
  16 hands or when we have a library book or a Disneyland
  17 pass. Those are the moments they're going to fight.
  18            And that's a hard reality to face,
  19 because that means in those moments, we are going to be
  20 outgunned. Because let me tell you, there was one
  21 debate that was heated around this issue, which is what
  22 if there were an SRO at Sandy Hook?
  23            Well, I can tell you we had an SRO at
  24 our school for five years and that SRO carries a gun.
  25 He carries one gun. But the task of taking lives and
  0035
   1 the task of saving lives are fundamentally different
   2 endeavors and they require different tools, which is
   3 why on that SRO's belt, he also has a radio. He has
   4 tools of communication. He has tools of peace. He has
   5 a telephone. He has handcuffs.
   6           And you know what? He'd never have
   7 space to carry an AR-15 with him because he is going to
   8 spend 99 percent of his time doing what every adult in
   9 an elementary school does every day, which is putting
  10 Band-Aids on kids' knees and asking them how their day
  11 was and carrying them to class if their leg's broken
  12 and ruffling their hair and (inaudible) and pick up
  13 basketball. The cost of living and loving is that it
  14 takes up so much space in our lives. It fills our
  15 hands. It fills our pockets. It fills our hearts.
  16            The hollow men have no such burden.
  17 Think of the man that walked into Theater 9 or into
  18 Sandy Hook. Every single ounce of his being is filled
  19 with hate. Every pocket is filled with ammo. Every
  20 shoulder is filled with a gun. Every hand is filled
  21 with another one.
  22            And unless we plan to put down all of
  23 the rest of things that we value to compete with him,
  24 unless we plan to hollow ourselves out so much that we
  25 also are that empty and have nothing else to carry, we
  0036
   1 will never walk into that battle as prepared as he is.
   2           Because when I walk into the Aurora
                                                                                                     LEG HX 000388                   4304
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   3 theater  and I do Case:
                       often, I14-1290     Document:
                                have about seven pockets01019371762
                                                          in                         Date Filed: 01/16/2015            Page: 151
   4 my coats. And one of them's got a bottle and one of
   5 them's got a pacifier and one of them's got a snake
   6 book and one of them's got a half-eaten fruit bar and
   7 one of them's got a cell phone and one's got my wife's
   8 car keys. And I hope that the next time I'm in one of
   9 those theaters that there is someone sitting next to me
  10 with a concealed carry permit. I do.
  11            That's why I had concerns about the bill
  12 on Friday. But even that man, even one of us in this
  13 chamber sitting next to me in Theater 9 with a
  14 concealed carry permit, when I walk into that theater,
  15 I'm hopefully holding two things. I'm holding a Coke
  16 and I'm holding my wife's hand.
  17            I might drop that Coke for a concealed
  18 carry permit to pick up my gun. I'm never dropping my
  19 wife's hand, which means I always only got one hand to
  20 fight with and he's always got at least two. Because
  21 he's got nothing to hold that's nearly as valuable as
  22 my wife's hand is.
  23            And so the bad news is, in that moment,
  24 we are going to be outgunned. The good news is in
  25 America, that never means we're going to be outfought.
  0037
   1 Todd Beamer was outgunned on Flight 93. He won that
   2 battle. Jean Hassam at the New Life Church in Colorado
   3 Springs was outgunned. She had a simple 15-round
   4 magazine against a guy with an AR-15. She only needed
   5 ten of those rounds to hit him and knock him down.
   6            You take -- my favorite story, the
   7 74-year-old Lieutenant Colonel Badger at Gabby
   8 Gifford's shooting. He was outgunned, didn't even have
   9 a gun. But it didn't stop him from tackling the
  10 shooter and ending that massacre. Actually, he was --
  11 he was joined by a man, (inaudible), who actually had a
  12 concealed carry permit, but didn't use it. Why?
  13 Because in the incident, he responded as fast as he
  14 could and just tackled him. He never got the gun out
  15 of the holster.
  16            In those moments, being outgunned
  17 doesn't mean being outfought. It just means we need a
  18 chance to let American people be heroes. It means we
  19 need the chance. Because I think those folks that are
  20 willing to fight for their families are always going to
  21 fight harder than those that are willing to die for
  22 fame.
  23            So what I find the most shocking about
  24 the Newtown story, what broke my heart the most on that
  25 is when the story broke at the end of the day, I
  0038
   1 couldn't believe it. There were no survivors. There
   2 has never been a mass shooting in America where there
   3 were no survivors. And you know the story no one wants
   4 to tell about that? Do you know why? It's because
                                                                                                     LEG HX 000389                   4305
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   5 everyAppellate     Case:
             single bullet     14-1290
                           mattered.  BecauseDocument:
                                                he put the01019371762
                                                           gun                       Date Filed: 01/16/2015            Page: 152
   6 to the head of a five-year-old execution style one
   7 after another and made sure he never missed.
   8            MR. PRESIDENT: Senator Johnston, 30
   9 seconds.
  10             SENATOR JOHNSTON: Can I use,
  11 Mr. President, my next ten?
  12             MR. PRESIDENT: You may.
  13             SENATOR JOHNSTON: And so here's why
  14 that matters. We lost 26 people that day.
  15 Mr. Sherlock, whose wife died that day, the school
  16 psychologist, testified that when he reloaded his
  17 30-round mag, in that 11 seconds that he reloaded, 11
  18 kids got away. You gave us that 11 seconds and we
  19 prevented a body count of 26 from being 37. All we
  20 needed was that 11 seconds. And so the hard question
  21 to ask is what if that were a 15-round mag? We could
  22 have picked 11 of those little five-foot coffins and
  23 chosen not to fill them in that 11 seconds.
  24             Senator Brophy, I was invited to your
  25 party last year and I plan to come this year. And when
  0039
   1 I come, I want to bring my boys. And I think there is
   2 no place safer or more enjoyable frankly for them to
   3 shoot than with you on your farm. I think they'd love
   4 it. And I will be happy when this bill passes to make
   5 two stops on the way to that party. I will stop and
   6 buy Mrs. Brophy a bottle of wine, which I should,
   7 because I have at least a little bit of good home
   8 training. And I will be happy to stop on the way to
   9 buy my own ten-round mag for my kids to use in your
  10 guns.
  11             And I have every bit of confidence that
  12 there will be on the market that magazine for me to buy
  13 in July in the same way that there is right now because
  14 I too like to search online, Senator Brophy.
  15 (inaudible) right now online a Glock 17, 9 millimeter.
  16 You can buy it right now, $499. It says right here at
  17 the bottom choose your options, California, Hawaii,
  18 Massachusetts, New Jersey, New York models come with
  19 ten-round magazines.
  20             I believe in capitalism. It's a fierce
  21 thing, which means I'm sure you will have that option
  22 on here to buy in Colorado a 15-round magazine. But
  23 what matters more than that is that when they get there
  24 and they get to shoot that gun and I am sure the first
  25 ten rounds that they shoot nothing will come within a
  0040
   1 country mile of a watermelon. But then they for the
   2 first time unpack that first clip and in the 11
   3 seconds, if I've trained them well, they'll look up and
   4 they'll give you a big smile and they will say thank
   5 you for letting them have this great fun experience for
   6 teaching them how to do it safely. About 11 seconds.
                                                                                                     LEG HX 000390                   4306
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   7       Appellate
               All I'mCase:
                        saying14-1290        Document:
                               is if in that same 11    01019371762                  Date Filed: 01/16/2015            Page: 153
   8 seconds, somewhere else in this State, that buys a man
   9 like Steve King enough time to clear his holster and
  10 take a shot at somebody, if that buys him enough time
  11 to even clear his head and take a swing at somebody,
  12 then that means we put 11 fewer kids in boxes in the
  13 next year or two years. That is an 11 seconds that I
  14 will trade.
  15            You're right, we can't get the kids back
  16 that we've already lost, but we can sure refuse to send
  17 them more. We can right now fight the increase in
  18 class sizes in heaven. We can do that. But it's going
  19 to take our ability to make a commitment on values.
  20 Because this is a true dilemma. Dilemmas are when you
  21 have competing values on both sides. I am willing to
  22 trade the 11 seconds of that inconvenience for the 11
  23 kids we don't have to bury.
  24            If we just one time give someone in this
  25 chamber or the next theater or baseball game or public
  0041
   1 gathering enough time to be a hero, we have seen over
   2 and over and over in this country, if you give the
   3 American people a chance, they will fight for us and
   4 they will keep us safe. We're not asking for it all.
   5 We're just asking for 11 seconds to give them a chance.
   6 I ask for an aye vote.
   7           MR. PRESIDENT: Senator King?
   8           SENATOR KING: (Inaudible.)
   9           MR. PRESIDENT: So to Senator Roberts.
  10 Okay.
  11            SENATOR ROBERTS: Thank you,
  12 Mr. President.
  13            Well, and I want to thank our esteemed
  14 colleague from Denver, because I know there's a lot of
  15 passion and thought in there and a lot of good points.
  16 It will take me a while to unpack some of them and I'm
  17 not sure I followed all of them. But I want to talk
  18 about this bill, House Bill 1224 and why I'm opposed to
  19 it.
  20            I brought this up on Friday and I ask
  21 you if you haven't looked at your fiscal note, because
  22 that's the best Reader's Digest version I see for this
  23 bill. I want to remind you what this bill does. So
  24 beginning on July 1st, 2013, the following actions are
  25 subject to criminal penalties:
  0042
   1           Sale, transfer or possession of a
   2 large-capacity magazine is a class two misdemeanor.
   3 Second and future violations of the prohibition of the
   4 sale, transfer or possession of a large-capacity
   5 magazine is a class one misdemeanor. And use of a
   6 large-capacity magazine in the commission of a felony
   7 or crime of violence is a class six felony.
   8           If you go to the second page of our
                                                                                                     LEG HX 000391                   4307
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   9 fiscalAppellate
             note, it willCase:
                           talk to14-1290     Document:
                                   you about the four new 01019371762                Date Filed: 01/16/2015            Page: 154
  10 crimes that are created. And I would tell you that a
  11 number of my constituents -- and I have heard from
  12 many, many of those constituents, they'd probably be
  13 okay with that one new felony charge for those who are
  14 already committing crimes. Where the big issue comes
  15 is creating three new misdemeanor crimes for my
  16 currently law-abiding citizens who come July 1 will no
  17 longer be law-abiding citizens, but under this bill
  18 will become criminals.
  19             So who will this bill affect? If only
  20 it would make our children more safe, if only it would
  21 make going to a movie a safe experience, but who will
  22 this actually affect? It's going to affect my
  23 constituents. And when they go to court the first time
  24 for a violation of this, whether it was knowing or
  25 unknowing, then they'll go again a second time and
  0043
   1 perhaps there will be a Judge there that says well gee,
   2 you didn't get it the first time, let's up the ante.
   3 Well actually, the ante is upped by this bill.
   4            And then what happens the next time? So
   5 do you actually put them in jail? Yeah, basically as I
   6 read the bill, that is what it does. It puts them in
   7 jail. Who else is going to be impacted by this bill?
   8 Well, I think criminal defense attorneys are going to
   9 have a real windfall with this. I think the public
  10 defenders probably ought to look at adding some public
  11 defenders because they'll be defending my constituents.
  12             Who else is impact by this bill is my
  13 sheriffs. And I've tried to tell you repeatedly I have
  14 eight sheriffs. I've now spoken with seven of them.
  15 They each let me know how unenforceable this is. It's
  16 unenforceable particularly in my district because I
  17 live in the four corners, because Utah, Arizona and New
  18 Mexico are way, way closer to us than Denver.
  19             They are very concerned because when we
  20 create a new law, there's an expectation that they're
  21 going to go out there and they're going to enforce that
  22 law. What they're telling us is they can't do it. Not
  23 because they don't want to do it, but because how in
  24 the world do you actually make this work? To me, this
  25 is a Metro Denver solution for an entire state that
  0044
   1 does not work.
   2            Now, who won't this bill affect? It's
   3 not going to affect the criminals. It's not going to
   4 -- it's not going to affect those people you're trying
   5 to catch for the felony and it isn't going to affect
   6 the determined, violent and mentally ill person who are
   7 the people who are walking into the theaters and the
   8 classrooms and mowing people down. They're not going
   9 to be deterred by this.
  10             I get frustrated sometimes here. I feel
                                                                                                     LEG HX 000392                   4308
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           Appellate
  11 like the          Case:
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                            divide          Document:
                                   of Colorado  shows up01019371762
                                                          in                         Date Filed: 01/16/2015            Page: 155
  12 many ways. In no way does it show up more than in this
  13 bill. I've talked before about how many Coloradans are
  14 incredibly proud and rightfully proud of the western
  15 slope and rural Colorado and the fact that your
  16 calendars have our lands on them.
  17             The fact that the Colorado State map has
  18 six out of its ten pictures come from my District
  19 because we're all very proud of the rural area. Well,
  20 you know, the rural area doesn't take care of itself by
  21 itself. It's the people who live in it who actually
  22 take care of it.
  23             I want to talk about the sheriffs and
  24 what their position was on this bill in particular, the
  25 ban on high-capacity magazine. And this is a letter
  0045
   1 that the sheriffs had sent out explaining their
   2 opposition to this bill.
   3            Law enforcement officers carry
   4 high-capacity magazines because there are times when
   5 ten rounds might not be enough to end the threat.
   6 County sheriffs of Colorado believe the same should
   7 hold true for civilians who wish to defend themselves,
   8 especially if attacked by multiple assailants.
   9            Recently, a young mother in Georgia
  10 defending herself and her two children, needed all six
  11 bullets in her 38 caliber handgun to stop one intruder.
  12 She hit him five times and still he was able to get
  13 into his car and drive away. Fortunately, the young
  14 mother prevailed. Had there been more than one
  15 assailant, the outcome may not have been the same
  16 because she would have been out of ammunition.
  17             Also -- and this is the county sheriff
  18 speaking. Also, we know that in high pressure, high
  19 adrenaline situations, people may not be as accurate
  20 with their shots. Thus, they may need more ammunition
  21 to neutralize a threat. When seconds matter, county
  22 sheriffs of Colorado do not want to deny a law-abiding
  23 citizen the ability to defend himself and his family
  24 based on an arbitrary limit on how many bullets should
  25 be in one magazine clip.
  0046
   1            There are studies -- and they've been
   2 brought up this morning even -- that would dispute that
   3 this will make any public safety difference. I have
   4 had the opportunity to go to some foreign countries
   5 with the national conference of state legislatures to
   6 do town hall meetings, working with legislators in
   7 Algeria and in South Africa. When my friends and
   8 neighbors are called by those, including some in this
   9 chamber, lunatic fringe or right-wing wackos because
  10 they care about their Second Amendment Right, it is
  11 deeply offensive.
  12             Having been to these countries where
                                                                                                     LEG HX 000393                   4309
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  13 todayAppellate    Case:people
            real time 2013,     14-1290      Document:
                                      are sitting         01019371762
                                                   on a powder                       Date Filed: 01/16/2015            Page: 156
  14 keg or, in fact, fights in their street, it is not
  15 being a wacko to be concerned about caring for your
  16 citizenry and for the rights guaranteed to us under our
  17 Constitution. I look at Syria today. I look at Egypt
  18 today. Again, I don't think it's lunatic fringe to
  19 have concerns for that.
  20            Who I see this bill impacting is the
  21 grandmother who lives down the long, dirt road, 40
  22 minutes if she's lucky from law enforcement when she
  23 has that intruder. And yes, we do have intruders who
  24 come into our homes and want to cause harm. I see this
  25 bill impacting the rancher who's up against a bear or a
  0047
   1 mountain lion. And again, it's not just on the
   2 calendars. It's not just on our state map. These are
   3 the caretakers of our land. They're the caretakers of
   4 the beef you like to eat in your restaurants or at your
   5 dinner table.
   6           And probably most emotionally to me, the
   7 person who this will impact is the veteran in the
   8 wheelchair, who I told some of you who were actually in
   9 the room last week about, but I'll tell it now. Some
  10 of you might not have been here. Tyler Wilson, the
  11 young man who served in Afghanistan, who took four
  12 shots and is forever paralyzed in a wheelchair, who now
  13 lives here in Metro Denver.
  14            He's the young man who tried to testify
  15 a week ago today, who showed up at 7:30 in the morning
  16 and finally had to leave at 4:00 unable to testify
  17 despite having signed up for that because nobody could
  18 get around to hearing from him. That is a disgrace and
  19 it hurts my heart.
  20            Tyler wanted to tell you how he needs a
  21 right to defend himself now that he will spend the rest
  22 of his life in a wheelchair. He feels handicapped, not
  23 just by the wheelchair, but by this bill and the
  24 inability to defend himself as he lives in the streets
  25 of Metro Denver. And I can tell you that the people
  0048
   1 who will be impacted the most are the people who are
   2 not going to comply with this law.
   3           We talk down here about emptying our
   4 prisons and the jails and the appropriateness of
   5 criminal penalties and I will tell you that my people
   6 will not do this. They will not give up their rights
   7 under the Second Amendment. They will not accept an
   8 arbitrary ten, as if that is going to save somebody in
   9 particular. If you are motivated, you will mow down
  10 people with whatever you have.
  11            MR. PRESIDENT: Senator Roberts, 20
  12 seconds.
  13            SENATOR ROBERTS: That's fine, and I'll
  14 go into my next ten minutes if I'm not done.
                                                                                                     LEG HX 000394                   4310
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  15       Appellate   Case: 14-1290
                MR. PRESIDENT:       Okay.Document: 01019371762                      Date Filed: 01/16/2015            Page: 157
  16            SENATOR ROBERTS: Thank you,
  17 Mr. President.
  18            MR. PRESIDENT: Okay.
  19            SENATOR ROBERTS: So I would suggest
  20 that you be prepared to jail the grandmother who lives
  21 down the dirt road. You be prepared to go after the
  22 rancher, who is actually using it as a tool on his tool
  23 belt, no different than a wire cutter or the shovel he
  24 needs to use on his job on his daily rounds around the
  25 ranch.
  0049
   1           And you be prepared to jail people like
   2 Tyler Wilson, because I do not believe they will comply
   3 with this. And I for one cannot support a bill that is
   4 asking people, law-abiding citizens, to become
   5 criminals. It is just wrong.
   6           MR. PRESIDENT: Senator King.
   7           SENATOR KING: Thank you, Mr. President.
   8           Though defensive violence will always be
   9 a sad necessity, in the eyes of men of principle, it
  10 would be even still more unfortunate if wrongdoers
  11 should dominate just men, St. Augustine. Sir Johnston,
  12 I would gladly fight the good fight for you so you
  13 don't have to let go of your wife's hand.
  14            Government should never put law-abiding
  15 citizens under the boot of violent criminals.
  16 Government should never allow law-abiding citizens to
  17 be outgunned by criminals. The first law of nature is
  18 every creature's right to self defense.
  19            My friends, on a somewhat different
  20 topic, please do not be confused that the goals and
  21 objectives of Barack Hussein Obama, of Joe Biden, of
  22 Michael Bloomberg are the same goals and objectives as
  23 the majority of your constituents.
  24            Mr. President, I look forward to the
  25 vice president of the United States coming to Colorado
  0050
   1 and going to Durango to help the representative on his
   2 recall election. He owes him that. He does. He owes
   3 him that. The man was in office for two months as a
   4 state representative when he gets a call from the vice
   5 president of the United States lobbying him. Joe Biden
   6 and Michael Bloomberg do not know what's important for
   7 Colorado.
   8           MR. PRESIDENT: Senator King, stay on
   9 the bill.
  10            SENATOR KING: Thank you, Mr. President.
  11            Compelling interest. We have a
  12 compelling interest for the people we represent. If
  13 someone should call and say hey, we think it's in the
  14 best interest that we send all our water to California,
  15 we have a compelling interest to say no, that is not
  16 good for the people that I represent. Colorado is a
                                                                                                     LEG HX 000395                   4311
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  17 very Appellate    Case:
            diverse State.  You14-1290
                                 know that.Document:
                                              We are more01019371762                 Date Filed: 01/16/2015            Page: 158
  18 diverse than the City of Chicago, than the City of New
  19 York, than Washington D.C.
  20            Yes, Denver has its inner city violence
  21 issues and they're doing their best to deal with that.
  22 But those issues are not in Wray, Colorado. Those
  23 issues are not in Loma, Colorado. Those issues are not
  24 in Snowmass, Colorado. Those issues are not in
  25 Durango, Colorado. Just like the wonderful hunting and
  0051
   1 fishing are not in Downtown Denver. We have people
   2 coming here from all over the world to enjoy our
   3 quality of life.
   4            We want our sportsmen who come here from
   5 all parts to be able to go to Sportsman's Warehouse, to
   6 (inaudible), to local sporting shops and get the things
   7 that they need to get to have a successful hunt or
   8 fishing expedition in Colorado. We have a compelling
   9 interest here to realize that we are a diversified
  10 state with many issues. We have inner city violence
  11 problems. But we also have urban areas where that
  12 ability to be able to find a magazine, that ability to
  13 not have to drive to Green River, Utah.
  14            And if I thought for one second the 11
  15 seconds would functionally save 11 lives, that those
  16 bad guys and the millions of magazines out there could
  17 not find what they are looking for, if we could
  18 functionally do that, okay. Sure. But that's not the
  19 world that we live in. And the world that we live in,
  20 we've done studies on this and it doesn't change
  21 violence. Good people going to the breach change
  22 violence. Good people standing up in the theater with
  23 a concealed carry permit and maybe not just one prevent
  24 violence.
  25            Why don't these cowards ever go to the
  0052
   1 cop bars? Why? Because we know that as soon as they
   2 pull out a gun, there's going to be 10 or 15 cops there
   3 with guns. That's why they go to schools.
   4            And I totally agree with you, Senator
   5 Johnston. School resource officers spend a good
   6 percentage of their time loving and taking care of
   7 kids, just like the teachers that are teaching there,
   8 that would gladly take a bullet for their kids. But
   9 those school resource officers there are there to put
  10 up and give the good fight, outgunned or not. That's
  11 what they're going to do. Because they'd rather expend
  12 a round than take one, because doing that saves lives.
  13            This is a complicated issue and that --
  14 when I first started talking about I'd love it to be
  15 just plastic and springs. We haven't done any studies
  16 of this in Colorado. None, zero. We haven't had the
  17 ability -- and that's why I wanted to debate and thank
  18 you. Thank you so much. I would love to have done
                                                                                                     LEG HX 000396                   4312
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           Appellate
  19 that on             Case:
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                              and forth for asDocument:
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                                                          wanted                     Date Filed: 01/16/2015            Page: 159
  20 to talk about that stuff because that's how you solve
  21 problems. And I appreciate your courage in coming up
  22 and just saying.
  23             We need to find solutions, but it's not,
  24 ladies and gentlemen, always going to be the easiest
  25 question. The easiest question would be springs and
  0053
   1 plastic. It's not. It's humans, very sick humans,
   2 chemically-challenged humans, humans that will kill
   3 their own mother and innocent children. Humans that
   4 would dress up like the Joker and go into a theater
   5 that's a no gun zone.
   6            MR. PRESIDENT: Senator King, 30 seconds
   7 on your second take.
   8            SENATOR KING: This is a more complex
   9 answer to this question for our State. Our state is
  10 diversified enough -- our state is talented enough to
  11 figure this out. But it isn't the simple answer of
  12 plastic and springs. I would ask for a no vote.
  13             MR. PRESIDENT: Very quickly to those
  14 watching from the gallery and on the camera. You've
  15 seen two of the three of the last senators lay money on
  16 the table and that may be of interest to you.
  17             It is the custom and practice here that
  18 senators are fined for rule violations and Senator
  19 Johnston and Senator King were prepaying their fine
  20 because it is a violation of the rules to address
  21 senators by name as opposed to addressing them as the
  22 gentleman or gentle lady from whatever District they're
  23 from or from whatever community live in. That's how we
  24 normally do it.
  25             Senator Johnston knew he was going to
  0054
   1 call Senator King and Senator Brophy by name and that's
   2 why he paid the fine ahead of time. And Senator King
   3 knew he was going to react to Senator Johnston for his
   4 comments and that's why they put that money on the
   5 table. Senator Lundberg won't be violating any rules
   6 and he now has the floor for the second time.
   7            SENATOR LUNDBERG: Thank you,
   8 Mr. President. I appreciate your confidence in my
   9 abilities to stay within the rules, which I will, one
  10 of which is to acknowledge that it's not in the rules.
  11 It's actually in the Mason's Rules by some
  12 interpretations, but the senate rules are really silent
  13 on that particular point, but I won't violate any of
  14 the assumed rules either.
  15             I will make reference to the senator
  16 from Denver who did have some comments that I believe
  17 were not -- well, they were curious actually, because
  18 in listening to most of his -- the discussion, it would
  19 sound like the counsel and advice is to vote against
  20 this bill because this bill takes away some of the
                                                                                                     LEG HX 000397                   4313
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           Appellate
  21 abilities         Case: 14-1290
               of the citizens of Colorado Document:
                                            to have the 01019371762                  Date Filed: 01/16/2015            Page: 160
  22 firearms that they see are appropriate for themselves.
  23 And you know, there's another element on this too.
  24            There seems to be this disconnect on
  25 what this bill even says. Now, I've said this before,
  0055
   1 but I repeat it again. It's not about some concept of
   2 high-capacity magazines, because it captures virtually
   3 all magazines that are out there today. Sure, there
   4 may be some production in the future of some magazine
   5 that could not be converted, but it will be at the
   6 compromising of the actual ability to field strip the
   7 magazine. And so it will be an inferior product from
   8 that perspective.
   9           But this is not about limiting the
  10 high-capacity magazines in the hands of the bad guys.
  11 This is about banning all mag -- essentially banning
  12 all magazines that are out there today, from future
  13 sale or transfer of any sort, putting in question those
  14 that are actually in possession of people today simply
  15 because of the mechanics of all that.
  16            This bill does not cure any problems as
  17 we've been -- as some have tried to lead us to believe.
  18 In fact, it strikes me that double speak still reigns
  19 supreme in some of the arguments and debates we hear
  20 down here. Because this bill bans magazines that are
  21 necessary for the function of many firearms that the
  22 citizens of Colorado own today. And this bill won't
  23 fix the problem when some lunatic shows up in some
  24 gun-free zone and thinks they've got a free-fire shot
  25 at everyone.
  0056
   1           By the way, 11 seconds was used as an
   2 example of what it -- what time it takes to change out
   3 a magazine. Now, that's a painfully long time and
   4 they're not designed to take 11 seconds. Here's what
   5 11 seconds is. I yield 11 of my precious seconds up
   6 here to the clock.
   7           There we go. 11 seconds. It's probably
   8 time to change the magazine four times out. As a
   9 matter of fact, that's about what it takes if you're
  10 kind of fumbling a bit and don't quite have everything
  11 at your fingertips. We're not buying 11 seconds for
  12 anybody. What we're doing is we're holding one arm
  13 behind the back of the honest citizen from being able
  14 to defend themselves and their family when they really
  15 need it the most.
  16            If there's anything hollow about the
  17 arguments we've heard, it's the hollow false hope that
  18 this bill puts before people that it will somehow fix
  19 something. It won't. It makes it more difficult for
  20 the honest citizen to defend themselves. It
  21 criminalizes what should be a common practice of being
  22 able to transfer the ownership of a -- of a small
                                                                                                     LEG HX 000398                   4314
file:///X|/.../HB%201224%20and%201229/HB%201224/Transcripts%20of%20legislative%20history/House%20Bill%2013-1224-031113.txt[10/31/2013 4:34:21 PM]
           Appellate
  23 magazine          Case: 14-1290
                  to somebody                   Document:
                                   else. It defeats          01019371762
                                                    the principle of                 Date Filed: 01/16/2015            Page: 161
  24 safety.
  25             You know, if individual citizens are to
  0057
   1 be commended for their responsibility to look after the
   2 well-being of others, should we be getting in the way
   3 of them being able to do that? Because that's what
   4 1224 is doing. It's -- it's, as I said earlier, it's
   5 the gun ban bill. Oh, it doesn't ban them all. We've
   6 seen some legislation here this year that tried to go
   7 further down that road and -- and that seemed to be an
   8 impossible path. So this is as much of the, you know,
   9 the elephant you can bite off at this point in time.
  10             Well, it's -- it's not fixing the
  11 problem. It's making it worse. House Bill 1224 is a
  12 -- a -- a bill that defeats the real purpose of
  13 defense. And remember one other thing too, that
  14 defense for the citizen doesn't mean unloading, you
  15 know, everything with both barrels. It means having
  16 that ability of deterrence. And each one of these
  17 steps that we take in this bill that's before us today
  18 is the biggest step before us now, just limits that
  19 ability a little bit more. And it sends that message,
  20 don't worry, we're in charge, you're not.
  21             And, you know, there's a reason why the
  22 Second Amendment was written and put as the very Second
  23 Amendment. They understood the necessity for a free
  24 society to have citizens who can defend themselves and
  25 their families and their communities. We must not go
  0058
   1 down this road. I implore you to reconsider what would
   2 appear to be a vote set in concrete right now. Is
   3 there no better way than disarming the people of
   4 Colorado? I say there is. Senator Lambert -- oh, no.
   5 He didn't notice.
   6            And the good senator from Colorado
   7 Springs, and a lot of you there, noted that Switzerland
   8 has found a better way for centuries. Why oh why do we
   9 have to rush down the hollow promise of somehow
  10 somebody else is going to do it for you? And I believe
  11 there is a best way and it's the American way. It's
  12 the -- it's the path of responsible citizens, capable
  13 and allowed to defend themselves and everything within
  14 this bill says no, you don't. We're going to stop you
  15 first and foremost. Please, please don't go down this
  16 road. Vote no on 1224.
  17             MR. PRESIDENT: Senator Renfroe?
  18             SENATOR RENFROE: Thank you,
  19 Mr. President.
  20             Members, I rise in opposition of this
  21 bill also and I think many of the reasons have been
  22 brought up. I'll start I guess -- I think it does fall
  23 into three categories again. You have Constitutional
  24 reasons, you have flaws in the bill that I think cannot
                                                                                                     LEG HX 000399                   4315
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            Appellateand
  25 be reconciled      Case:
                           then 14-1290     Document:
                                you have safety           01019371762
                                                 reasons also                        Date Filed: 01/16/2015            Page: 162
  0059
   1 that I don't think matter. And the one that does -- we
   2 talked a lot on seconds about, which I don't think is
   3 -- well, I guess it is important also is the loss of
   4 businesses to our State.
   5            I think the senator from Wray was very
   6 right when he stated and correct in the concerns with
   7 this bill on page two, lines 12 through 14, talking
   8 about a detachable magazine, box drum, fed strip or
   9 similar device capable of accepting or that is designed
  10 to be readily converted to accept more than 15 rounds
  11 of ammunition. That does cover almost every handgun
  12 that is commonly used by law-abiding citizens for
  13 lawful purposes. So I think that does bring in the
  14 Constitutional issues with this bill.
  15             One area that -- you know, we talked
  16 earlier on other bills about loopholes and loopholes
  17 and loopholes. Well, there's been a group that's
  18 formed across this country that's called the police
  19 loophole and they have a website on it. And what it
  20 is, it's actually gun companies that have started not
  21 selling their product to law enforcement until that
  22 product is allowed by law-abiding citizens. That list
  23 is pretty long.
  24             And my concern when we start looking at
  25 that is look what that does to innovation. When you
  0060
   1 start restricting where a product's going to go, the
   2 innovation of that product is probably not going to be
   3 as sound and as solid as it was when you have the free
   4 market and you have the competition for that product
   5 everywhere.
   6            A senator came up and talked -- from
   7 Denver came up and talked and I thank him for those
   8 words, his eloquent words, about a war with hollow men.
   9 When I've talked on these issues, I've used a little
  10 bit different words I guess. I've talked -- I've said
  11 that until we change the evil that is in a person's
  12 heart, until we change a person's heart, you're going
  13 to have evil in the world. And that is something that
  14 we can't reconcile with this bill.
  15             The senator from Denver talked about 11
  16 seconds and it's tragic to think of somebody standing
  17 there reloading over a group of unarmed people or
  18 children anywhere and I wish we would have addressed
  19 that in other measures that were before us, but we
  20 defeated those to allow protection to happen in that
  21 case.
  22             But here's my question to not only the
  23 senator from Denver, but to every single one of you
  24 that will vote on this. 11 seconds within that. So
  25 because that 11 seconds, you want to reduce the size of
  0061
                                                                                                     LEG HX 000400                   4316
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           Appellate
   1 a magazine.    CanCase:   14-1290 me Document:
                         you guarantee                   01019371762
                                            that the criminal is                     Date Filed: 01/16/2015            Page: 163
   2 going to obey? Is he going to only have a ten-round
   3 magazine from now on? Can you guarantee me that? Can
   4 you guarantee the next person that has a criminal break
   5 into their home, break into their business or the next
   6 parents who send their kids off to school or a movie
   7 and that hollow man comes in, can you guarantee that he
   8 will have less than a 15-round magazine?
   9           Because if you can't guarantee me that,
  10 what you're doing is you're making me or whoever is
  11 there that obeys the law at a disadvantage, tactically
  12 from a firepower standpoint to whoever it is that is
  13 that evil person that wants to inflict harm. Can you
  14 guarantee me that they will obey this law?
  15            Look at -- and that's what we -- that's
  16 my frustration with this entire gun debate. I don't
  17 feel like anybody listens to that question right there.
  18 Law-abiding citizens will obey this. Unless they don't
  19 know what our -- the loopholes and how we've crafted
  20 our law and they just happen to by their ignorance
  21 break the law.
  22            But can you guarantee me that that
  23 criminal, that thug, that evil person, that wolf,
  24 whatever designation, that hollow man, whatever
  25 definition you want to give me, that they're not going
  0062
   1 to get one of the -- I've heard numbers of 180 million
   2 magazines that are out there -- that are standard
   3 capacity 30-round magazines?
   4           I think that's the question you have to
   5 ask yourself if you're going to vote yes on this bill.
   6 Because that's what you're telling your constituents.
   7 That's what you're telling the people of Colorado.
   8           Otherwise, what you should be doing is
   9 you should vote no on this bill and you should bring
  10 another bill to confiscate and ban everything. Because
  11 until you can collect them all, you can't guarantee me
  12 that that hollow man, that criminal, that wolf, that
  13 thug, or we could say even at some point maybe even
  14 just a mentally-deranged person that needs help, isn't
  15 going to have a 30-round magazine.
  16            Can you guarantee that to your
  17 constituents? To Colorado? That's why I'm voting no
  18 on this bill, because I know for a fact that criminals
  19 don't obey the law. They break the law. They look for
  20 every advantage they can. They don't volunteer -- they
  21 don't go into a place they know that they're going to
  22 be outmatched, outmanned. They're going to look for
  23 the easiest target. They're going to look for the
  24 place to go that they will guarantee as much disaster,
  25 tragedy or probably in their minds success, however you
  0063
   1 want to word it. You can't guarantee me or the people
   2 of Colorado they won't use what's available out there.
                                                                                                     LEG HX 000401                   4317
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   3       Appellate   Case:citizens
               Law-abiding     14-1290       Document:
                                       will obey the law.01019371762                 Date Filed: 01/16/2015            Page: 164
   4 You will put them at a disadvantage with this bill.
   5 You will make them less safe. That is a fact. And
   6 that's not even getting into what businesses will or
   7 will not leave the State, the other side of it.
   8           That's not even talking about the 238
   9 people that came to testify in committee on this bill
  10 in opposition to it and only three were allotted time
  11 to testify or out of the 34 that came in support that
  12 only 16 of them were able to testify, because we rammed
  13 these bills through. We didn't think of the unintended
  14 consequences. We didn't really debate this bill. We
  15 didn't listen to the citizens.
  16            So again, I just want to leave you --
  17 can you guarantee the people of Colorado that that next
  18 evil person will not have one of these magazines?
  19            MR. PRESIDENT: Senator Renfroe, 30
  20 seconds.
  21            SENATOR RENFROE: Vote no on this bill.
  22 Protect the people of Colorado.
  23            MR. PRESIDENT: Senator Crowder?
  24            SENATOR CROWDER: Thank you,
  25 Mr. President.
  0064
   1           We should never succumb to terrorism at
   2 the expense of our God-given rights. Southern Colorado
   3 does not and will not adhere to the very idea of
   4 lessening our rights for the purpose of a solution that
   5 does not exist. Vote no on this. Thank you.
   6           MR. PRESIDENT: Senator Brophy?
   7           SENATOR BROPHY: Thank you,
   8 Mr. President.
   9           And Senator Johnston so much for coming
  10 down and having the courage of your convictions to
  11 state why it is that you believe this bill is the
  12 appropriate course for the people of the State of
  13 Colorado. I hope I can earn your no vote.
  14            For those of you who don't know, the
  15 senator was talking about an essay that I had shared
  16 with him Friday night by Lieutenant Colonel Dan -- Dan
  17 or Dave? Dave Grossman. Brilliant man. And the essay
  18 is called "Of sheep, Wolves and Sheepdogs," and if any
  19 of you want it, I have it on my iPad. You can read it
  20 or I can e-mail it to you. It is telling. It tells
  21 you a lot about the kind of people that you will find
  22 who rush to the sound of the gunfire. I don't know if
  23 I qualify, but I'd like to think that I do.
  24            And we've heard that there are in the
  25 hundreds of millions of detachable magazines, in the
  0065
   1 mid teens of millions of standard-capacity 30-round
   2 magazines in existence in this country. We heard the
   3 discussion about whether or not it would be appropriate
   4 to have RPGs or M-1 Abram tanks or Black Hawk
                                                                                                     LEG HX 000402                   4318
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           Appellate Case: 14-1290 Document: 01019371762
   5 helicopters.                                                                    Date Filed: 01/16/2015            Page: 165
   6            Well, let me remind you on the latter
   7 three there, there is, as far as I know, no example of
   8 criminal use of that type of weaponry in this country.
   9 So it's a fair argument to say that we don't need to
  10 have those under the Second Amendment. We can have
  11 that discussion at some point if we really wanted to.
  12             But we know that the wolves use
  13 standard-capacity 30-round magazines. We know that.
  14 And this bill denies to the sheepdogs the opportunity
  15 to meet the wolves with the same amount of force.
  16 Tying an arm behind the back of the men that rush to
  17 the sound of danger, instead of giving them equal
  18 footing. That is the wrong way to go.
  19             Now, one of the greatest things that the
  20 Founding Fathers of this country gave us besides the
  21 founding documents is the Constitution that sets the
  22 framework of this country, the Bill of Rights that
  23 protects our rights, is that they took the time to --
  24 in the Federalist Papers and in other writings --
  25 explain to us what these natural rights mean that the
  0066
   1 senator from Grand Junction was talking about.
   2            As a -- as a person, you have the right
   3 to protect yourself and your family and your property
   4 against those who want to do you harm or take it from
   5 you. That's a natural right. You have that as
   6 individuals. You're born with it and that's what it
   7 means to have a natural right that comes from nature's
   8 God.
   9            And the Founding Fathers told us that it
  10 was unacceptable for a government to take that natural
  11 right away from you without due process. This isn't --
  12 this doesn't constitute what they considered due
  13 process. That was a court of law when you have proven
  14 that you no longer deserve that right or can't be
  15 trusted with it.
  16             One of the other Founding Fathers wrote
  17 about this saying that it wasn't just that you had the
  18 right to protect yourself, your family and your
  19 property, you actually have a duty. It was Joe Storey
  20 who wrote that. You have a duty to protect your
  21 family.
  22             And so while one of the senators have
  23 said this bill would only affect law-abiding citizens
  24 because the wolves, the hollow men, the criminals
  25 wouldn't follow this law, they would still find a way
  0067
   1 to access those 30-some-odd million standard-capacity
   2 rifle magazines or 150-some-odd million detachable
   3 magazines, you know they will. They do it all the
   4 time. They do it now, illegally in many cases.
   5            It puts the rest of us into a difficult
   6 position and I do not like saying this, but I'm going
                                                                                                     LEG HX 000403                   4319
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   7 to tellAppellate  Case:I 14-1290
             you right now.     will not obeyDocument:
                                              this law. 01019371762                  Date Filed: 01/16/2015            Page: 166
   8           MR. PRESIDENT: No displays. No public
   9 displays. This is a legislative hearing, not a rally.
  10            SENATOR BROPHY: Some day when I need
  11 one or when my son needs one, a standard-capacity
  12 Magpul magazine, a company that you guys are running
  13 out of the State of Colorado, some day I will hop in my
  14 Prius and I will drive to Sidney, Nebraska to the
  15 Cabela store and I will buy what I or he needs to be
  16 the sheepdog of the family, to protect against the
  17 wolves.
  18            I imagine when I get up there, I will
  19 see a lot of Colorado license plates. Because I really
  20 doubt that very many people are going to be willing to
  21 give up their right and to forgo their duty to protect
  22 their families and their property against the wolves.
  23            We talked a lot on Friday about the
  24 economic consequences of this, but the personal
  25 consequence of this legislation is that I will
  0068
   1 willfully and purposefully and civilly disobey this
   2 law. Vote no.
   3           MR. PRESIDENT: Senator Scheffel?
   4           SENATOR SCHEFFEL: Thank you,
   5 Mr. President.
   6           Colleagues, as we've been discussing and
   7 debating this, I couldn't help but think again of a
   8 time given the seriousness of this discussion and
   9 what's obviously at stake on occasion when this aisle
  10 once again disappeared. With my colleagues, this side
  11 and this side, there's no aisle. My colleagues had the
  12 privilege of attending the reopening of the Aurora
  13 Theater. There was no aisle that night. The profound
  14 experience was really more like walking into a
  15 cathedral.
  16            I didn't stay for the movie because I
  17 couldn't. That's not something I could do that night,
  18 but I was there for the ceremonial part and was proud
  19 to serve in this body and be there, was proud to be a
  20 citizen of Colorado and be there, proud of the speakers
  21 and was particularly proud of our governor. I thought
  22 his words were very appropriate that night. There was
  23 no aisle that night.
  24            And again, in the face of unspeakable
  25 hurt and harm, there were families there that night and
  0069
   1 I referred to them earlier, there are people affected
   2 by criminals in our society that have done harm that we
   3 will never recover from. Families will always have a
   4 hole. People will always have injuries. And in this
   5 topic, we must never lose sight of that. I must never
   6 lose sight of that.
   7           And the desire to reach out and do
   8 something is so strong, you can taste it. You can feel
                                                                                                     LEG HX 000404                   4320
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   9 it. It Appellate
            screams outCase:
                          from 14-1290
                               within we must Document:   01019371762
                                                  do something.                      Date Filed: 01/16/2015            Page: 167
  10 And as hard as it is to weigh that unspeakable hurt and
  11 the seriousness and gravity of those crimes against the
  12 attempt of 1224, I must conclude that it's not an
  13 appropriate match. We look at the crime. We look at
  14 the criminal. We look at the tools that they use and
  15 we settle in on magazine capacity prohibitions and then
  16 it gets bizarre from there.
  17             We're once again finding ourselves
  18 firmly in the grasp of confusion and -- and -- and lack
  19 of clarity. These bills are confusing. Who's going to
  20 get caught up in this net? We're once again talking
  21 about families and relatives and sons and daughters and
  22 wives and protections and self defense, things that go
  23 to the very core of our history and our being and our
  24 Constitution and we can't seem to figure it out.
  25             I sat through the demonstrations.
  0070
   1 They've been sitting up here. They've been brought up
   2 to this podium many times. If you touch this stuff,
   3 you can't figure it out. Springs and attenuators and
   4 base plates that pop in and pop off and sometimes pop
   5 up and sometimes hit you in the face, it makes no
   6 sense. A 15 becomes a 10, becomes a 30.
   7            The bad guys are not going to take the
   8 time to figure this stuff out. I would love it if as a
   9 result of this, we could get 11 seconds for the good
  10 guys like the senator from Grand Junction to jump into
  11 the fray. We're not going to get 11 seconds. We're
  12 going to get 11 more rounds. The bad guys are not
  13 going to obey this. They're not going to figure this
  14 out. They're not going to slip out the base plate and
  15 do this, that or other thing.
  16             What's the word in here; readily
  17 convertible, readily converted. They're not going to
  18 take the time to figure out what that means. And if we
  19 get it right here in Colorado and we get -- you know,
  20 start manufacturing these things and assume that's even
  21 do-able, they're not going to waste time with that.
  22 They're going to go across the border.
  23             The minority leader's example of
  24 fireworks was dead-on and we know that. That's
  25 something we tangibly experience every year. And we
  0071
   1 all kind of laugh about it and we all kind of smirk
   2 about it. A bunch of us probably even participate in
   3 it. But it's not funny when it comes to this. The bad
   4 guys aren't going to listen to this.
   5            I love -- I didn't love -- I -- the
   6 testimony was so clear during committee, I didn't hear
   7 -- I heard this in the committee I sat in. I wasn't on
   8 the committee. But the discussion that took place
   9 about how many rounds is the right answer? 15, 10, 5,
  10 30, a drum, who knows, right?
                                                                                                     LEG HX 000405                   4321
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  11       Appellate   Case: 14-1290
                The conclusion     was crystalDocument:
                                               clear; one 01019371762                Date Filed: 01/16/2015            Page: 168
  12 more than the bad guy. Assume when there's trouble,
  13 when there's good guys and bad guys, it's foolhardy to
  14 assume anything other than they're going to be coming
  15 at you with everything they've got and you better plan
  16 on being able to respond plus one.
  17            I said it in a different body and I have
  18 to say it again here. Our work isn't done. There's no
  19 evidence that this is going to increase public safety.
  20 This is not going to work and I hate to say that.
  21 People are still going to look at this body to figure
  22 it out because I don't think this is going to do it.
  23            What it will do is infringe on the
  24 rights of law-abiding citizens. Those are the folks
  25 that are going to try to fare through this. Those are
  0072
   1 the folks that are going to get caught up in the net
   2 and find themselves on the wrong side of the law and
   3 have to try to figure that out and hire lawyers and
   4 handle that and it's going to be -- it's going to be
   5 unfortunate. The bad guys are going to care less.
   6 These things are going to be as available as ever.
   7           During the second reading, you saw the
   8 cartoon up here, and it was funny; but it was frankly
   9 kind of sad, because it's true. And who's going to get
  10 caught in the crossfire, not initially, but probably
  11 eventually it's going to be all these companies.
  12 Remember the (inaudible) and they're not just
  13 companies. They're people. They're people that are
  14 citizens of this State that are working hard and
  15 raising families and planning for futures and sending
  16 people to college and they're leaving. I was looking
  17 back at my notes.
  18            It was at a minimum 15 letters were
  19 read. I know because we had each member read one of
  20 them, but each member probably read two or three other
  21 ones, of companies that are saying -- I remember the
  22 littlest one I think was five employees, the big one
  23 obviously Magpul, we know that. People that are going
  24 to be affected by this.
  25            The conclusion. If you discount the
  0073
   1 business, if you discount law-abiding citizens getting
   2 caught in the fray. We can't get past the fact that
   3 the bad guys aren't going to do this. They're going to
   4 ignore this. They're going to be well-armed,
   5 well-equipped. They're going to have as many magazines
   6 as they can get their hands on. They're going to be
   7 intent on doing harm.
   8           But for me it begins and ends back at
   9 the basics. The right of the people to keep and bear
  10 arms shall not be infringed. 1224 is an infringement.
  11 I'm voting no and I think you should too.
  12            MR. PRESIDENT: Senator Grantham.
                                                                                                     LEG HX 000406                   4322
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  13       Appellate
                SENATOR Case:GRANTHAM:
                               14-1290 Document:
                                               Thank you,01019371762                 Date Filed: 01/16/2015            Page: 169
  14 Mr. President.
  15            I'd like to thank the senator from
  16 Denver for his comments earlier and his description of,
  17 you know, the possible events and I share the sentiment
  18 that if I was in that situation, I would not want to
  19 let go of my wife's hand either. Try as I might, she
  20 would insist on letting go because she likes to use two
  21 hands when she takes aim.
  22            In all seriousness, folks, I do ask for
  23 a no vote on this. We look at our -- at our own
  24 Colorado Constitution, there are no words that are
  25 unfamiliar to us in the last few days. We've heard
  0074
   1 them many times here at this podium. Article 2,
   2 Section 13, the right of no person to keep and bear
   3 arms in defense of his home, person and property or in
   4 aid of the civil power when thereto legally summoned
   5 shall be called into question.
   6           Even when we look back a few sections
   7 earlier, we look at inalienable rights in Section 3.
   8 All persons have certain natural, essential and
   9 inalienable rights among which may be reckoned; the
  10 right of enjoying and defending their lives and
  11 liberties. The right to self defense, to self
  12 preservation. And of course, the Second Amendment to
  13 our US Constitution, a well-regulated militia being
  14 necessary to the security of a free state, the right of
  15 the people to keep and bear arms shall not be
  16 infringed.
  17            With apologies to my friend from Wray, I
  18 will probably be trying to make that constitutional
  19 case, even if it is like a Christian and a Buddhist
  20 trying to have a theological argument.
  21            When we look back in history and we look
  22 at our Founders when they wrote those words, context I
  23 think is important. We look at what they were going
  24 through when they said the right of the people, the
  25 right of the people to keep and bear arms shall not be
  0075
   1 infringed. You know, we could fast -- we could fast
   2 forward through most of our history, through the
   3 history of the world, even since the founding of this
   4 country and we can find examples of many different
   5 types of acts of aggression by dictators, by other
   6 forms of government in the attempt to take arms from
   7 the people. But just looking at that over-arching
   8 theme, what would the attempted subjugation of a -- of
   9 another otherwise free people, what would that look
  10 like?
  11            Would it include the restricting of a
  12 free law-abiding citizen? Would it restrict their
  13 access to firearms? Would it restrict their access to
  14 equipment necessary to operate those arms? When that
                                                                                                     LEG HX 000407                   4323
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           Appellate
  15 attempt            Case:one's
               at restricting  14-1290
                                    access toDocument:
                                               those things01019371762
                                                            is                       Date Filed: 01/16/2015            Page: 170
  16 unsuccessful, as history tells us it is, when the
  17 law-abiding citizens are forced into lawlessness. When
  18 the black market activity in those arms and equipment
  19 stores, when the cross-border activity commences, what
  20 is the next step in controlling these items?
  21            If these items are truly as bad as some
  22 believe, as some believe that they are, if they are so
  23 evil that they must contained, then the only recourse
  24 is to remove them from the possession of the populace.
  25 There's a word for that. It's called confiscation.
  0076
   1 But that is the logical end, isn't it? If these items
   2 are that bad and we cannot contain them, even by this
   3 law, the activity will continue, the demand for them
   4 will continue, the existence of those that are already
   5 on the market is still real, it leads to one
   6 conclusion.
   7            Now, imagine, imagine this otherwise
   8 free people, who have only exercised their natural
   9 right, the natural right to self defense, the natural
  10 right and freedom of commerce, but they are now because
  11 of a law considered lawless. They are considered law
  12 breakers, but only because of the edict of the ruling
  13 authority, only because of the fiat of legislative
  14 bodies.
  15            In your mind, what would their natural
  16 reaction be? What would their reaction be for these
  17 free people to such an intrusion, such an invasion of
  18 their rights, of their freedoms, of their liberty?
  19 What would it be? Would it be to just roll over?
  20 Would it be to roll over and accept this violation?
  21 Well, that would be one option. And you can see many
  22 examples of that option in this world. You can see it
  23 across this country. You can see this example across
  24 time where those who were once free rolled over.
  25            Or perhaps the reaction that you would
  0077
   1 hope for is that these free people would stand. They
   2 would stand up for themselves. They would use whatever
   3 means are available to them to prevent such abridgments
   4 of their liberties. And when those were exhausted,
   5 then and only then, would they go to their option of
   6 last resort, revolt. Not because they want to, because
   7 they have to.
   8            Now, while we may hope for this
   9 response, it is atypical. This is not what you would
  10 commonly see, history proves that. Isn't the typical
  11 that we see for people in this situation just to roll
  12 over and take it like the good little citizens they
  13 are? Yes, that's typical.
  14            In fact, there is only one example in
  15 history of a free people doing the atypical and that's
  16 us. That is our Forefathers. The Sons of Liberty in
                                                                                                     LEG HX 000408                   4324
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  17 1773Appellate
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                         most 14-1290
                               famous partyDocument:
                                             ever in the 01019371762
                                                         Boston                      Date Filed: 01/16/2015            Page: 171
  18 Harbor and the reaction by Parliament was to pass the
  19 Coercive Acts of 1774.
  20            One of the provisions of those acts was
  21 the import ban on firearms and gunpowder. When that
  22 failed and it was bound to fail, the confiscations
  23 begin 1774-1775. What's the out workings of that? I
  24 think we know the answer to that; revolution and
  25 independence. It was these men who experienced this,
  0078
   1 the slow legislative creep of infringements on our
   2 natural rights; the right of self defense and to keep
   3 and bear arms. These men gave us the words of the
   4 Second Amendment; the right of the people to keep and
   5 bear arms shall not be infringed.
   6           MR. PRESIDENT: Senator Grantham, 30
   7 seconds.
   8           SENATOR GRANTHAM: I will continue into
   9 my second one, sir.
  10            MR. PRESIDENT: Okay. Continue.
  11            SENATOR GRANTHAM: It is our Colorado
  12 Forefathers in 1876, who in the spirit of the Founders,
  13 gave us Article 2, Section 13; the right of no person
  14 to keep and bear arms in defense of his home, person
  15 and property or in aid of the civil power when thereto
  16 legally summoned shall be called into question.
  17            Just words? Just words? Not to the
  18 Founders. What about for us? If this legislation
  19 effectively bans this equipment and several senators
  20 have come up here and shown you exactly how that is
  21 going to happen, regardless of this number, this
  22 arbitrary number we have in this legislation, it
  23 effectively bans this equipment and subsequently bans
  24 specific weapons and that is not an infringement?
  25 Then, what in the world does "shall not be infringed"
  0079
   1 mean?
   2           And forcing Colorado's law-abiding
   3 citizens to the black market or across State lines to
   4 by an otherwise constitutionally legal product, allowed
   5 product, guaranteed right product, if that is not
   6 calling our rights into question, then what in the
   7 world does "the right of no person . . . shall be
   8 called into question" actually mean? Just words? Are
   9 we or are we not in this body, the guardians of the
  10 plain reading of our Constitution? If not, then what?
  11 Are we the lap dogs of the judiciary? I'd rather be a
  12 sheepdog.
  13            Are we the lap dogs of the Mayor of New
  14 York City? Do we sit in dark corners waiting for the
  15 next phone call for instructions? Do we wring our
  16 hands waiting for the next Supreme Court ruling so that
  17 we know what we have permission to legislate?
  18            Well, of course not. We have the right.
                                                                                                     LEG HX 000409                   4325
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  19 As theAppellate   Case:
              senator from    14-1290
                            Wray  said, we Document:    01019371762
                                           have the duty. We                         Date Filed: 01/16/2015            Page: 172
  20 have the responsibility to legislate to the plain
  21 reading of the text of our founding documents. And
  22 folks, that plain reading says "shall not be
  23 infringed."
  24            The plain reading of our Colorado
  25 Constitution says the right of no person shall be
  0080
   1 called into question. The plain reading. Are we the
   2 guardians of these words or not? That plain reading
   3 says that 1224 is a violation. That plain reading says
   4 vote no on 1224.
   5            MR. PRESIDENT: There is an amendment on
   6 the desk. Mr. Majors, would you please read
   7 Amendment 35 by Senator King. Oh, I'm so sorry.
   8 You're right.
   9            Senator King, do you want to come up and
  10 address the body and ask for permission to run it
  11 through a reading amendment? Senator King?
  12            SENATOR KING: Thank you, Mr. President.
  13 I move for permission to offer a third reading
  14 amendment to House Bill 1224.
  15            MR. PRESIDENT: Okay. Can you tell us
  16 briefly why you need to offer an amendment on third
  17 reading?
  18            SENATOR KING: Thank you, Mr. President.
  19            We have had some long discussions about
  20 this legislation. It is more complicated than I think
  21 we tend to want to believe. I think everyone in this
  22 room would agree that the number one compelling
  23 interest in our State in reference to violence is
  24 mental health. Yet, we have done nothing in these
  25 seven bills that we have seen to address that. We have
  0081
   1 done no studies in reference to this legislation for
   2 Colorado. We talked about --
   3            MR. PRESIDENT: Senator King, you have
   4 to state why you want to do this right now. So I mean
   5 -- and my sense is because this is the final reading
   6 and the final House and the only opportunity you're
   7 going to have to offer an amendment. Because there's
   8 not much more than that as to why you would ask for
   9 permission and then if permission is granted, then you
  10 can make the argument that I think you're making now.
  11            SENATOR KING: Thank you, Mr. President.
  12            This body has been accused of being
  13 reactionary. I think that this is of compelling
  14 interest to the people of Colorado to ask the
  15 commission to look at this, to research this, to take a
  16 step back and make decisions based on evidence rather
  17 than hysteria. And therefore, Mr. President, I would
  18 ask for permission to be able to have this amendment
  19 and present this amendment to you.
  20            MR. PRESIDENT: So you've heard the
                                                                                                     LEG HX 000410                   4326
file:///X|/.../HB%201224%20and%201229/HB%201224/Transcripts%20of%20legislative%20history/House%20Bill%2013-1224-031113.txt[10/31/2013 4:34:21 PM]
  21 motionAppellate    Case:
               asking for      14-1290
                          permission         Document:
                                       to offer            01019371762
                                                a third reading                      Date Filed: 01/16/2015            Page: 173
  22 amendment. So all those that are in favor of giving
  23 permission say aye.
  24             (Senators respond.)
  25             MR. PRESIDENT: Opposed, no?
  0082
   1            (No Senators respond.)
   2            MR. PRESIDENT: The ayes have it.
   3 Senator King, you have permission so move it and on to
   4 your points.
   5            SENATOR KING: Thank you, Mr. President.
   6 I move --
   7            MR. PRESIDENT: I'm sorry. Hang on.
   8 Let me have Mr. Majors read it first. I'm sorry.
   9            Mr. Majors, would you please read
  10 Amendment L-35 to House Bill 1224?
  11             MR. MAJORS: Amendment L035 to House
  12 Bill 1224 by Senators King, Roberts, Balmer,
  13 Baumgardner, Brophy, Cadman, Crowder, Grantham, Harvey,
  14 Hill, Lambert, Lundberg, Marble, Renfroe and Scheffel.
  15 Amend revised bill page 2 --
  16             MR. PRESIDENT: Senator King?
  17             SENATOR KING: Thank you, Mr. President.
  18             I move L-35 to House Bill 1224.
  19             MR. PRESIDENT: Please continue.
  20             SENATOR KING: Like I had said a few
  21 moments ago, this body at times has been accused of
  22 being reactionary. This is of such compelling interest
  23 to the people of the State of Colorado, to our
  24 children, that I think that the ability to take a step
  25 back, to use evidence-based decision making, the
  0083
   1 ability to see what has worked and what does not work,
   2 the ability to present this to the right people in the
   3 room, and the right people in the room are people with
   4 experience of dealing with violence, of dealing with
   5 mental health issues, of dealing with the things that
   6 we have charged the Juvenile and Criminal Justice
   7 Commission to look at.
   8            Those are the right people to look at
   9 this issue. Director Davis, in charge of the
  10 Department of Public Safety, was also in charge of the
  11 Aurora shooting. Retired FBI, a long history of law
  12 enforcement, a long history of evidence-based decision
  13 making. I won't go through who was on the commission.
  14 Suffice it to say, it is people that have life
  15 experience in not only prosecution of criminals,
  16 investigation of criminals, but also in the defense of
  17 criminals. Also, in judgment of criminals. In other
  18 words, DAs, public defenders, judges, law enforcement
  19 officers, members of the Senate, members of the House
  20 to look intensely focusing on issues of compelling
  21 interest to the people of the State of Colorado.
  22             This issue has not been researched by
                                                                                                     LEG HX 000411                   4327
file:///X|/.../HB%201224%20and%201229/HB%201224/Transcripts%20of%20legislative%20history/House%20Bill%2013-1224-031113.txt[10/31/2013 4:34:21 PM]
           Appellate
  23 the State         Case:and
                of Colorado   14-1290        Document:
                                  these people   have the 01019371762
                                                          life                       Date Filed: 01/16/2015            Page: 174
  24 experience, have the work experience to do that. And I
  25 would ask that we send this legislation to them, we
  0084
   1 send this issue to them and ask for their research,
   2 their input and their recommendations and would ask for
   3 an aye vote on this amendment.
   4           MR. PRESIDENT: Senator Roberts?
   5           SENATOR ROBERTS: Thank you,
   6 Mr. President. I rise in support of this amendment and
   7 here's why. While we haven't had Colorado studies, we
   8 have had national-level studies on this particular
   9 issue. And if you look at Greg Ridgeway, PhD, Deputy
  10 Director of the National Institute of Justice, he had
  11 come out on January 4th, 2013 -- and for those that
  12 don't know, the National Institute of Justice is the
  13 law enforcement agency which is the research and
  14 development branch of the Department of Justice, part
  15 of the Obama Administration.
  16            Mr. Ridgeway, in looking at
  17 large-capacity magazine restrictions, came to the
  18 conclusion in order to have an impact, large-capacity
  19 magazine regulation needs to sharply curtail their
  20 availability to include restrictions on importation,
  21 manufacture, sale and possession. An exemption for
  22 previously owned magazines would nearly eliminate any
  23 impact.
  24            If you go to the bill that's before us,
  25 on page 3, lines 19 through 23, specifically have a
  0085
   1 grandfather clause in here. So the national-level
   2 studies suggests that this bill will have nearly -- any
   3 impact has been nearly eliminated by this grandfather
   4 clause.
   5           I do agree with Senator King -- or the
   6 gentleman from Grand Junction that we should look at
   7 this in a Colorado way, a uniquely Colorado way. 80
   8 percent of the land of the State of Colorado is on the
   9 western slope. 88 percent of the population lives
  10 between Fort Collins and Pueblo. There is no easy
  11 answer that fits our State of Colorado.
  12            We, the legislature, since the Colorado
  13 Commission on Criminal and Juvenile Justice was formed,
  14 we have sent them numerous issues. In 2008, we sent
  15 them House Bill 1119, where we directed the Commission
  16 to study the reduction of disparities with the Criminal
  17 Justice System.
  18            Senate Bill 2009, Number 286, the
  19 General Assembly directs the Commission to prioritize
  20 the study of sentencing reform while maintaining public
  21 safety. House Bill 12-- 1310, just last year, the
  22 General Assembly directed the Commission on the
  23 development of a comprehensive drug sentencing scheme.
  24            Senate Bill 12-20, the General Assembly
                                                                                                     LEG HX 000412                   4328
file:///X|/.../HB%201224%20and%201229/HB%201224/Transcripts%20of%20legislative%20history/House%20Bill%2013-1224-031113.txt[10/31/2013 4:34:21 PM]
           Appellate
  25 encouraged    the Case:   14-1290
                       Commission           Document:
                                     to create and make 01019371762
                                                          publicly                   Date Filed: 01/16/2015            Page: 175
  0086
   1 available, a document describing provisions regarding
   2 immunity for persons who suffer or report an emergency
   3 drug or alcohol overdose event.
   4           If we have sent issues at this level,
   5 each one of them important, but if we have sent these
   6 to the Commission to study, why not this one? Why not
   7 this one that talks about life and death situations,
   8 gun violence?
   9           Let's let the people who are in the
  10 streets trying to deal with these issues, let's let
  11 them on a non-partisan basis evidence-based talk as
  12 they do -- and I've been a member of the Commission as
  13 you Senator -- Senate President, have been a long-time
  14 member of the Commission.
  15            We all know that the Commission does
  16 hard work, lots of hard conversations, debate. There
  17 is no rolling over by any one party, diverse
  18 stakeholders at a common table and they come back to us
  19 with recommendations.
  20            Those recommendations come to us as a
  21 legislature, as a whole. None of us are committed to
  22 those recommendations, but they have done the good,
  23 hard work that has not occurred in coming to the
  24 legislature with this bill. I strongly support the
  25 amendment and would appreciate an aye vote.
  0087
   1           MR. PRESIDENT: Senator Hodge?
   2           SENATOR HODGE: Thank you,
   3 Mr. President.
   4           And I ask for a no vote. The CCJJ does
   5 do incredible work. I absolutely admit that I admire
   6 what they do. But the work of the Commission,
   7 according to their mission statement, will focus on
   8 evidence-based recidivism reduction initiatives and the
   9 cost effective expenditure of limited criminal justice
  10 funds.
  11            They shall have the following duties:
  12 An empirical analysis of collect evidence based on
  13 sentencing policies and practices, alternatives to
  14 incarceration, factors contributing to recidivism, to
  15 study the outcomes of the Commission recommendations as
  16 they are implemented. Anyway, it's a study of
  17 recidivism and how to better use our limited funds. I
  18 ask for a no vote.
  19            MR. PRESIDENT: Senator Scheffel?
  20            SENATOR SCHEFFEL: Thank you,
  21 Mr. President.
  22            Colleagues, I rise in favor of this
  23 amendment. I appreciate the senator from Grand
  24 Junction bringing it. I consider it the "slow the
  25 wagon train down and keep it in Colorado for a while"
  0088
                                                                                                     LEG HX 000413                   4329
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           Appellate Case: 14-1290 Document: 01019371762
   1 amendment.                                                                      Date Filed: 01/16/2015            Page: 176
   2            If we feel at all -- and I'm probably
   3 speaking mostly to the folks that intended to vote for
   4 this bill -- if anything that's been talked about
   5 resonates with you at all, if any of the discussion
   6 about the effect on business, the effect on crime, the
   7 effect on the rights of citizens and the
   8 constitutionality, I believe -- and I think
   9 procedurally we could get there -- we all respect the
  10 work of the CCJJ. And I had the privilege of serving
  11 on it for a while with a number of you.
  12             They are indeed an extraordinary group
  13 of people, very hardworking, very diverse and they
  14 don't pull any punches. They roll up their sleeves and
  15 really tackle these things. And if we feel at all
  16 disquieted about this, which I know I do, and I would
  17 -- I think that even resonates with some that are
  18 considering voting for it.
  19             I think this would be a great
  20 opportunity to slow the wagon train down. Let's take a
  21 step back. Let's make sure we've got a full handle on
  22 the intended and unintended consequences and allow this
  23 body to do their work. I think the topic, I think the
  24 State, I think we would benefit from this accordingly
  25 and urge an aye vote.
  0089
   1            MR. PRESIDENT: Senator Cadman?
   2            SENATOR CADMAN: Thank you,
   3 Mr. President.
   4            I support this amendment. Talk about
   5 getting rid of the six feet here again in the aisle and
   6 bringing all the desks together, I think we have found
   7 an opportunity to join ranks and submit this to the
   8 group that is tasked to evaluate things like this and
   9 then present back to this General Assembly their
  10 findings.
  11             Because without this, I can guarantee
  12 you a couple things. No reduction in crime. We
  13 already know that. The Department of Justice has
  14 already made that clear. No reduction in crime. The
  15 second thing we can guarantee is one of our colleagues,
  16 at least one, is going to break the law down the road.
  17 The third thing we can guarantee is he's either going
  18 to need a car pool or a caravan to get the rest of us
  19 with him. That's a fact. This is serious stuff.
  20             We have mutual goals of stopping the
  21 violence. Isn't that the focus? Shouldn't that be the
  22 focus? It's getting lost. The focus of what we should
  23 be doing is getting lost on this bill, this proposal.
  24 Something that was supposed to have a arbitrary number,
  25 which we now know includes every magazine. But
  0090
   1 shouldn't we be focused on stopping the violence?
   2 Shouldn't we be focused on evaluating what makes up the
                                                                                                     LEG HX 000414                   4330
file:///X|/.../HB%201224%20and%201229/HB%201224/Transcripts%20of%20legislative%20history/House%20Bill%2013-1224-031113.txt[10/31/2013 4:34:21 PM]
            Appellate
   3 violence?         Case:
                 Because   we 14-1290       Document:
                              know a majority            01019371762
                                                 of violence is                      Date Filed: 01/16/2015            Page: 177
   4 not even committed with a firearm. It's not. You
   5 can't pretend it is because it is not.
   6            Violence happens. We just saw in Denver
   7 a week or so ago, somebody used their car to mow down
   8 innocent people in a parking lot and it wasn't even the
   9 people that they had an altercation with. They came
  10 back later. They were upset and they just picked three
  11 people with a 5,000 pound machine full of fuel and
  12 mowed them down.
  13            Eight weeks ago, somebody doused people
  14 in Denver with lighter fluid and then tried to light
  15 them on fire. This happened in an office I worked in
  16 with our chief of staff one time. Excuse me, it was
  17 attempted. A man walked in with an open can of lighter
  18 fluid and told my boss that before she could call 911,
  19 that she would be set on fire. Thank God that guy is
  20 doing prison time because he went to a congressional
  21 office in D.C. with a weapon.
  22            Propane, how many were they trying to
  23 set up for Columbine? Was it 90 propane tanks that
  24 they were trying to make bombs out of, 90? Tell me
  25 what wouldn't be violent. Tell me it wouldn't be
  0091
   1 violent around this building with all the cars parked
   2 here and the amount of fuel that's stashed around this
   3 building. We have a bigger problem than a piece of
   4 plastic and a spring and a part of a firearm. We have
   5 a deeper assessment that needs to be made than an
   6 arbitrary number that we're picking for what's mostly
   7 used as a tool.
   8            This is a good amendment. This does say
   9 that this General Assembly is making a commitment to
  10 taking a real evaluation of something that we all
  11 acknowledge is a significant problem and finding real
  12 recommendations to address them. Because all you're
  13 doing now if you don't adopt this amendment is you're
  14 making this little book a little bit thicker. And do
  15 you think if you turn back the clock a few months that
  16 James Holmes was going to look in here and say oh no, I
  17 can't use that. I'm not going to commit murder with
  18 something that's been banned. That's ludicrous.
  19 That's ludicrous.
  20            Making this book thicker with these
  21 words does not make us safer. Getting a pure
  22 evaluation of all of these things and the people that
  23 commit the crimes with these things would. Let's
  24 eliminate this aisle, support this amendment. I'd ask
  25 for an aye vote.
  0092
   1            MR. PRESIDENT: Further discussion,
   2 Senator King?
   3            SENATOR KING: Thank you, Mr. President.
   4 I'll be very brief.
                                                                                                     LEG HX 000415                   4331
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   5        Appellate  Case:
               These are  our 14-1290      Document: 01019371762
                              Judges, our prosecutors,                               Date Filed: 01/16/2015            Page: 178
   6 our defense attorneys, our investigators, our law
   7 enforcement, our human services workers. These are the
   8 people that have the life experience to be able to talk
   9 about unintended consequences, to be able to talk about
  10 the broad spectrum of how complex this issue is. These
  11 are the people that have the life experience to be able
  12 to step back and make evidence-based decisions, not
  13 hysteria-based decisions.
  14            Bad policy is created with hysteria. I
  15 would ask that you consider allowing the people that
  16 should be in the room, have the life experience to deal
  17 with this issue to weigh in on this. Because they're
  18 going to see these people anyway. I would ask for your
  19 support on this amendment to send this to CCJJ.
  20            MR. PRESIDENT: Senator Hodge, then
  21 Senator Newell. Okay. Senator Newell and then Senator
  22 Hodge.
  23            SENATOR NEWELL: Thank you,
  24 Mr. President. I just -- I will be very brief.
  25            I take offense to the characterization
  0093
   1 of anyone's vote coming from hysteria and just want to
   2 put that on record. Thank you.
   3           MR. PRESIDENT: Senator Hodge?
   4           SENATOR HODGE: Thank you,
   5 Mr. President.
   6           I renew my request for a no vote on
   7 this. I know the CCJJ does wonderful work. They do
   8 wonderful work on recidivism, alternatives to
   9 sentencing. They are not a magazine-capacity
  10 committee. Please vote no.
  11            MR. PRESIDENT: Motion before the body
  12 is the adoption of Amendment 35 to House Bill 1224.
  13 Are there any no votes?
  14            Senator Steadman, Senator Schwartz,
  15 Senator Johnston, Senator Guzman, Senator Ulibarri,
  16 Senator Hudak, Senator Kefalas, Senator Newell, Senator
  17 Todd, Senator Nicholson, Senator Hodge, Senator
  18 Aguilar, Senator Kerr, Senator Heath, Senator Carroll,
  19 Senator Giron, Senator Jones. Please add the
  20 president.
  21            With a vote of 17 ayes, 18 noes, zero
  22 absent and zero excused, Amendment 35 has lost.
  23            Back to the bill. Motion before the
  24 body is the adoption of -- okay. Further discussion.
  25 So Senator Marble?
  0094
   1           SENATOR MARBLE: Thank you,
   2 Mr. President.
   3           It is my hope that you all voted against
   4 that amendment because you plan on killing the bill.
   5 It's funny how terminology changes to fit an agenda.
   6 In the case in point, look at how a standard-capacity
                                                                                                     LEG HX 000416                   4332
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           Appellate
   7 magazine   is nowCase:
                        called14-1290        Document:
                               a high-capacity    magazine.01019371762
                                                             It                      Date Filed: 01/16/2015            Page: 179
   8 serves the purpose of shock and awe.
   9           I want to say something that I had said
  10 last Friday and it's a quote from Vice President Joe
  11 Biden. Again, nothing we're going to do is going to
  12 fundamentally alter or eliminate the possibility of
  13 another mass shooting or guarantee that what we will
  14 bring -- that we will bring gun deaths down to a
  15 thousand a year from what it is now.
  16            We have all heard we must do something,
  17 we must do something. But this bill is not the answer.
  18 This bill is the wrong thing. We've been discussing
  19 here with House Bill 1224 and the others a very
  20 misguided focus on plastic and springs instead of the
  21 perpetrators of real, true evil acts, the criminal.
  22 Yeah, let's concentrate on those hollow, those hollow
  23 men, those cowards, who commit these unforgivable
  24 crimes that this empty legislation is trying to
  25 address.
  0095
   1           Our neighboring states seem to get it.
   2 They get the data and they are responding appropriately
   3 with gun protection legislation, not gun control. We
   4 have South Dakota and Wyoming, Idaho, Texas, Utah, just
   5 to name a few. And I just want to in response to the
   6 good senator who said she was offended by hysteria.
   7           Let's focus on what has been done to
   8 law-abiding citizens in the debate over gun control
   9 these last few months. It has been said that anyone
  10 who has a 30-round mag has one thing on his or her mind
  11 and that is to murder. I think that's pretty offensive
  12 and unnecessary. The demonization of law-abiding
  13 citizens has to stop. Our rights were not endowed by
  14 God in order to be regulated by government and
  15 especially a government that has total takeover of our
  16 gun rights in mind.
  17            I am fortunate, very fortunate, because
  18 I am always in the company of concealed carry permit
  19 holders. They are responsible and accountable people.
  20 They are men and women alike. We've often talked about
  21 a woman's right to choose. I choose life. And the
  22 freedom to decide how to defend my life and the people
  23 I love. I'm not a sheepdog. I'm a little worse. I
  24 don't take this bill lightly. I take it as a threat to
  25 my safety and security and those of the ones I love.
  0096
   1           Much of the data that we have seen or
   2 that we have been brought forth with today, it's
   3 documented and it's true. And when we look at Sandy
   4 Hook, another tragedy to mark up to what? A
   5 law-abiding citizen carrying a firearm? No. It's
   6 another tragedy to mark up to those that this bill is
   7 not addressing and that is those hollow cowards. Get
   8 the focus right and the bill will be written with
                                                                                                     LEG HX 000417                   4333
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           Appellate Case: 14-1290 Document: 01019371762
   9 responsibility.                                                                 Date Filed: 01/16/2015            Page: 180
  10            I have to join with Senator Brophy in
  11 saying -- and I can say this with no hesitation -- I
  12 will not abide by this law if passed. Neither will my
  13 family, my friends and from the judge of the e-mails, I
  14 doubt most of the people in my District and I represent
  15 them. I do not represent the wishes of Washington, nor
  16 that of New York or New Jersey or Chicago. The people
  17 of my District are the ones I represent and the ones
  18 that I will answer to and the ones that I will back
  19 when they refuse to follow such an unconstitutional
  20 law.
  21            House Bill 1224 is an abomination to our
  22 freedoms. And in all good conscience, I can't even
  23 understand how it got this far. Vote no on House Bill
  24 1224.
  25            MR. PRESIDENT: Further discussion.
  0097
   1 Senator Ulibarri, I'm sorry. I did see you.
   2            SENATOR ULIBARRI: Thank you,
   3 Mr. President.
   4            Today I rise in support of House Bill
   5 1224 and I think I've been debating with myself whether
   6 or not I should stand here and open myself up about
   7 this bill. But first, I want to thank the bill sponsor
   8 for bringing this conversation forth, because I think
   9 the conversation about preventing gun violence is an
  10 important one for us to have. This specific bill, but
  11 the issue more broadly, hits me close to my heart as a
  12 parent and as someone who cares about community safety.
  13            I grew up in Adams County, most of you
  14 know that. And I grew up just a mile away from the
  15 land where my grandfather used to have horses. And I
  16 grew up in a family that had -- that had guns for
  17 hunting, for self defense, all of those purposes,
  18 locked in a cabinet. So I've watched and listened to
  19 the arguments move forward throughout the course of the
  20 last few months hoping for and expecting a civil debate
  21 where we could talk authentically about our Second
  22 Amendment Rights and protections to insure that our
  23 families and our kids are safe.
  24            You know, the days after Sandy Hook, I
  25 drove my son to school every single morning. And we
  0098
   1 would listen on the radio, the accounts on NPR about
   2 what had happened. And I would have to look at my son
   3 and hold onto his hand as I was driving him to school.
   4 And then when I would show up, I would have to open up
   5 the door still grasping to his hand and let him out.
   6 And I was hoping for an honest and civil debate about
   7 preventing gun violence here in the State of Colorado
   8 and I honestly do not feel that that's what we received
   9 as the people of Colorado.
  10            You know, I -- I -- I'm happy to hear
                                                                                                     LEG HX 000418                   4334
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           Appellate
  11 that my   senator Case:   14-1290
                        colleague           Document:
                                  from Denver    feels that01019371762
                                                            there                    Date Filed: 01/16/2015            Page: 181
  12 are those who would rise to his defense if his life was
  13 threatened. Unfortunately, that has not been the case
  14 for me during the course of his debate. I have had my
  15 life threatened. I've had rape threats against my
  16 two-and-a-half-year-old daughter without one person
  17 rising in defense. I've had people on little
  18 postcards, those massive postcards we've been receiving
  19 saying I own an AR-15 and a high-capacity magazine to
  20 keep Mexicans out of Colorado. That is the level of
  21 debate that I've been witness to and not one colleague
  22 who stands in opposition to this bill has risen in
  23 opposition to those comments.
  24            So I feel happy for my senate colleague
  25 who feels as if folks would rise to his defense. That
  0099
   1 has not been the case for me. And as threats of
   2 violence against me and my kids have been rolling in in
   3 e-mails, in tweets, in phone calls, that's the level of
   4 discourse we've had. And it's hard for me to stand
   5 here and -- and hear folks say, well, this isn't going
   6 to solve all of our problems. Guess what? Everything
   7 we do here is part of a bigger -- is part of a bigger
   8 universe. What we do here in Colorado interacts with
   9 what happens in other states. I get that.
  10            I don't believe in a silver bullet
  11 answer. And what I feel like I'm being sold today is a
  12 silver bullet, that one extra bullet is a thing that we
  13 need to keep our community safe and I don't buy that.
  14 I just fundamentally don't buy that, when the threats
  15 of violence have been so high against me and my kids.
  16 In one breath someone says, I'm a law-abiding gun owner
  17 and the next says I really can't wait until your child
  18 is raped. It is very, very difficult -- very, very
  19 difficult for me to stand here and say that this debate
  20 has been civil or that there are folks who aren't
  21 wishing me and my family harm using the tools and
  22 implements that we're discussing today.
  23            But I've been told this is -- this is a
  24 simple matter and I don't think it is. And I hope
  25 after -- after we're done today, we can see this aisle
  0100
   1 disappear and we can sit down and have conversations
   2 about bipartisan measures that will get us closer to
   3 community safety, to ending community violence.
   4            Yes, it is complex. Yes, it is
   5 difficult. And yes, it should happen. And I extend my
   6 hand across the aisle to talk about what can we do,
   7 because the status quo is unacceptable. It is
   8 completely unacceptable. And for us to be fighting
   9 over one policy without talking about the broader issue
  10 makes me very concerned. I wish we would have had a
  11 civil debate about this and that is not what I feel
  12 like we have gone through.
                                                                                                     LEG HX 000419                   4335
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  13       Appellate    Case:
                So I stand     14-1290
                            here             Document:
                                  today asking  for support01019371762               Date Filed: 01/16/2015            Page: 182
  14 on this measure for House Bill 1224. It's not a silver
  15 bullet, but it's a starting place for us to have a
  16 conversation about how we end community violence. How
  17 do we make sure that when we drop off our kids at
  18 school that they're safe?
  19            It's one of the reasons I supported the
  20 senator from Grand Junction's bill. When we started
  21 talking about school safety, we found common ground and
  22 we can do that on all of these issues. But when the
  23 level of discourse is don't do this or your kids are
  24 going to get raped or you're going to lose your life,
  25 that is not -- that is not a civil discourse. It makes
  0101
   1 it very, very hard for me to have an authentic
   2 conversation about my values, about the Second
   3 Amendment, but also about the First and the Fourth.
   4           I might be giving a different speech
   5 today. With my roots, growing up raising animals,
   6 using firearms in a rural part of Adams County, this
   7 might have been a completely different speech for me.
   8 And I might have been standing on this side of the
   9 aisle. But that's not the speech I'm giving today.
  10 And so today I stand up to ensure that we can start the
  11 conversation to end community violence, to make sure
  12 our kids are safe. I ask you to support House Bill
  13 1224.
  14            MR. PRESIDENT: Further discussion,
  15 Senator Harvey?
  16            SENATOR HARVEY: Thank you,
  17 Mr. President.
  18            And, Senator from Adams County, I stand
  19 appalled at those e-mails that you received and I stand
  20 here to defend you against anybody that would come
  21 against you or your children. But the civil debate
  22 that we're talking about is the civil debate here on --
  23 in this chamber, which we really haven't had a debate
  24 until the senator from Denver came up here to discuss
  25 the debate.
  0102
   1           I assure you, Senator, you and your
   2 family are not the only ones that have received threats
   3 this year. I can go back and pull up civil union
   4 e-mails or e-mails on this bill. I assure you, you're
   5 not the only one that has received threats. And like
   6 you, I didn't tell the police about them. To me,
   7 that's part of the job. People have the right of First
   8 Amendment and my wife certainly wanted me to at least
   9 give one of them to the state patrol, but I didn't.
  10            But let's have the civil debate here
  11 amongst friends. That is what we're paid to do, is
  12 have the debate here on the floor. We're talking about
  13 how to make our schools safer, how to make Colorado
  14 safer, how to make the citizens of Colorado safer. But
                                                                                                     LEG HX 000420                   4336
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           Appellate
  15 we keep   bringing Case:  14-1290
                          up the             Document:
                                 terrible things that have01019371762                Date Filed: 01/16/2015            Page: 183
  16 happened around the country. Many people have brought
  17 up school violence.
  18            Well, how many of you all know Dawn
  19 Hochsprung? Dawn Hochsprung was the principal at Sandy
  20 Hook Elementary School when a wolf corralled at the
  21 door. A wolf that killed his mother, stole her Glock,
  22 stole her six hour, went to an elementary school that
  23 was a gun-free zone wearing military garb and went to
  24 the locked door carrying those guns he just stole from
  25 his mother after murdering her, shot his way into the
  0103
   1 school door that was locked at 9:30 after they let
   2 everybody in, and Dawn, the principal, ran to him, ran
   3 to him.
   4           She didn't sit behind a counter and
   5 shoot at him because she was forbidden to do that. She
   6 was forbidden to defend herself and her children
   7 against that wolf growling at the door. That is what
   8 we are talking about here. Evil people will do evil
   9 things and we are putting our citizens and our teachers
  10 and our children and our principals in harm's way. We
  11 are telling them that you have to be not only less
  12 armed, but unarmed in the gun-free zones of Colorado.
  13            This bill is saying if you're not in one
  14 of those gun-free zones, we're going to make you less
  15 armed. It is no less bad policy to say to Dawn: Dawn,
  16 you can have your guns in a safe zone if you are a
  17 resource officer, but all you can do is carry 15
  18 rounds. Because the wolf didn't have 15 rounds. The
  19 wolf had 60 rounds just in two guns. That's not
  20 counting what he had in his military vest.
  21            So we're saying to Dawn, Dawn, thank you
  22 very much for being there and protecting your kids, but
  23 if we pass this law, nobody in the State of Colorado
  24 will be able to protect themselves against that wolf.
  25            That's what we're talking about today.
  0104
   1 We're talking about disarming lawful citizens. Not
   2 people that will kill their moms, steal their guns,
   3 drive across town past multiple schools and go --
   4 multiple large areas and go to a place where there is a
   5 gun-free zone and use those gun-free zones on little
   6 children. We're talking about disarming law-abiding
   7 citizens. It's a sad day in Colorado. I ask for a no
   8 vote.
   9           MR. PRESIDENT: Further discussion,
  10 Senator Renfroe.
  11            SENATOR RENFROE: Thank you,
  12 Mr. President.
  13            It's tough sometimes when things happen
  14 to us personally in the course of trying to serve down
  15 here. My heart does go out to you, Senator, and it is
  16 not right. Absolutely wrong, despicable, cowardly for
                                                                                                     LEG HX 000421                   4337
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           Appellate
  17 threats           Case: 14-1290
              or intimidating e-mails to beDocument:
                                              sent for any01019371762                Date Filed: 01/16/2015            Page: 184
  18 reason, any bill. I can -- I'm in the club I guess if
  19 you want to call it a club, but I wouldn't want to even
  20 say that I guess. It's not right and it's never
  21 acceptable.
  22            I am thankful for colleagues coming down
  23 today and injecting reasons why there are proponents
  24 supporting this bill. We haven't had that and that
  25 hurts the people of Colorado without debate. Because
  0105
   1 how do we know if we got it right if we don't stand up
   2 and bounce our ideas off each other and try to make
   3 them better?
   4           When I look at this bill, one thing I
   5 can't help but think back to is when I was first
   6 married. I married my high school sweetheart. She
   7 went to school in LA at the fashion institute out
   8 there, and I went to school in the Midwest trying to
   9 play baseball. And then I moved out there chasing her
  10 and proposed and we got to marry -- got married and
  11 lived in West LA, kind of in the Santa Monica area.
  12 And I worked downtown as a paralegal in a law firm.
  13 And we were young, in love, didn't plan on making Los
  14 Angeles and the west coast home. We looked at it as a
  15 full-time vacation to spend about everything we need
  16 and do what we could.
  17            Then along came something that I'll
  18 never forget, was the LA riots. My wife was probably
  19 six months, seven months pregnant with our first child
  20 at the time. We were actually downtown watching
  21 Phantom of the Opera and I'll never forget, as soon as
  22 it was over, they turned the lights on. They wouldn't
  23 even let you clap. And they came on the intercom and
  24 they said go to your car in groups, turn your radio on
  25 and go home as safe as you can, God bless. And I was
  0106
   1 like what in the world is going on?
   2           And before we got to our car, we
   3 realized that things had been taken into the citizens'
   4 own hands or the criminals own hands or however you
   5 want to place it within what went on through LA for the
   6 next three days and then rolling into Las Vegas and
   7 other places. So we got in our car, started to drive
   8 down Figueroa Boulevard to get to the 10 to head to our
   9 place. And nobody's on the road because this was, you
  10 know, midnight. The play was over. Green lights the
  11 whole way, looked good.
  12            So I'm going and all of a sudden out of
  13 the blue, I just for some reason I slammed on the
  14 brakes in this little sports car I had. And this car
  15 came running the red light and sliding sideways and
  16 stopped in the middle of the road. And this guy starts
  17 to climb out of the backseat and he's get -- he doesn't
  18 even open the door, he just climbs out the window.
                                                                                                     LEG HX 000422                   4338
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  19 First Appellate   Case:
            thing he puts      14-1290
                          out though  is he Document:
                                            shows a gun.01019371762
                                                           And                       Date Filed: 01/16/2015            Page: 185
  20 we're -- I'm -- we're closer than the door of the
  21 Senate to this car that had screeched to a stop in
  22 front of us.
  23            I'm there with my pregnant wife and her
  24 parents in my little sports car. No gun. No way to
  25 defend ourselves at the mercy of that guy for whatever
  0107
   1 he wanted to do. That sort of thing changes you and
   2 how you think about protecting your family and the duty
   3 that the senator from Wray talked about. Thankfully in
   4 that situation, the driver must have had other ideas
   5 and he started to take off with that guy hanging out
   6 the car and all he could do was hold on, without
   7 getting a shot off or whatever he was planning to do
   8 with us there in front of him.
   9            And so, of course, I stuck it in gear
  10 and went behind him. I was going probably at least a
  11 hundred down the streets of Los Angeles to get to the
  12 freeway to get home. My wife crying in the seat next
  13 to us -- next to me. I had no way to protect her, but
  14 to ram my car, do something. That changed my life.
  15 That really did.
  16            The next couple days all you could hear
  17 in LA was you could hear explosions. You could see gas
  18 stations with flames higher than this room, this
  19 beautiful chamber. As we drove home, you could see
  20 those and we kind of -- you could see the news. You
  21 could hear the stories of people trying to defend their
  22 homes, their businesses. We would drive by street
  23 after street. I can remember one of the most vivid was
  24 a Payless Shoe Store where the parking lot was nothing
  25 but empty boxes. You couldn't even see asphalt because
  0108
   1 of people running in, running out, dropping the box and
   2 heading off with their shoes.
   3            The duty to protect yourself and your
   4 family matters. This bill infringes upon that
   5 inalienable right to do that. You might not think so.
   6 You might think this is a step, this is a first step,
   7 this is doing something. But the fact is, it
   8 encroaches on that inalienable right. I pray that none
   9 of us ever have to be confronted with somebody pointing
  10 a gun at you. I know when the senator the other day
  11 asked if someone had been shot at, when we were on
  12 seconds, thank God I couldn't raise my hand to that.
  13 I'm very thankful. I can say I've had a gun pointed at
  14 me at close range. I don't pray that that -- I don't
  15 wish that on anybody.
  16            This bill makes us less safe. It makes
  17 law-abiding citizens less safe. There's even other
  18 parts of the bill that talks about possession. Is it
  19 going to make us criminals even within the provision --
  20 the possession statute within this bill for the ones
                                                                                                     LEG HX 000423                   4339
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  21 that were          Case: 14-1290
                  grandfathered              Document: 01019371762
                                  and get to keep?                                   Date Filed: 01/16/2015            Page: 186
  22             I also shared a story the other day when
  23 we were debating about my aide who I guess I can give
  24 you good news, through the Magpul program, he actually
  25 like Saturday he told me his PMAGs came. So he has his
  0109
   1 30-round magazines that he won't have to fumble to load
   2 a 10-round to defend himself if he ever thinks that
   3 that is the only option that he has. But that's at
   4 least until the day that we decide that what we've done
   5 today can't solve the problem, which I think you've
   6 heard at least 15 people tell you it can't solve the
   7 problem and it won't. So the next thing is you will be
   8 coming after David's 30-round PMAGs and mine and every
   9 other law-abiding citizen because of what criminals do.
  10             And that's wrong. That's not what this
  11 country was founded upon. Yes, we need to hold
  12 criminals accountable. We need to catch them and we
  13 need to make them pay for what they do. But not at the
  14 expense of the law-abiding citizen. Vote no on this
  15 bill.
  16             MR. PRESIDENT: Further discussion,
  17 Senator Marble.
  18             SENATOR MARBLE: Thank you,
  19 Mr. President.
  20             And I just wanted to address some of the
  21 concerns that the good senator from Adams County had
  22 put forth. And in the Marine Corps, they have a
  23 saying; front towards enemy. There's a lot to be said
  24 for that. Many of us have had those e-mails and
  25 threats. I too have had many against my person, my
  0110
   1 children. Many of my friends have also had that. And
   2 what I want to give you is the thought that if anything
   3 were to ever happen, I hope I am there because not only
   4 me, but my fellow Republicans, everyone, would be there
   5 to protect you and your life and your children.
   6            It is up to us. It's our responsibility
   7 to be the protectors of our lives and our families.
   8 And one bit of advice to you all, as I have and many
   9 Republican and Democrat senators, the next time you get
  10 one of those e-mails, hit delete. I'm still opposed to
  11 1224, I always will be. But I am not opposed to
  12 helping you defend your family and I know if you chose
  13 to carry, you would also be there to defend mine and I
  14 thank you.
  15             MR. PRESIDENT: Senator Hill?
  16             SENATOR HILL: Thank you, Mr. President.
  17             May I request now for my 20 minutes
  18 instead of being interrupted partway through?
  19             MR. PRESIDENT: Certainly, you can.
  20             SENATOR HILL: Thank you very much. 40
  21 minutes then if that won't work.
  22             MR. PRESIDENT: Five.
                                                                                                     LEG HX 000424                   4340
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                                     Dang it.Document:
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  24            We are the hollow men. We are the
  25 stuffed men leaning together, headpieces filled with
  0111
   1 straw. That's how TS Eliot starts his poem and while I
   2 won't use any names, my good friend whose initials are
   3 Mike Johnston, brought up a fantastic point and I've
   4 had to -- I've had to think on this and reflect on it
   5 and jotted down a few notes to share.
   6            See, TS Eliot wrote this poem as an
   7 exposition, as an artful exposition on what happens
   8 when society loses their dignity, what happens when
   9 they lose their liberty, their collective ability to
  10 make their own future, to make their own destiny. So
  11 in title, his famous poem, one of my favorites, The
  12 Hollow Men, when people watch the political process,
  13 they expect dignity, but we have not delivered. See,
  14 dignity acknowledges the real heart of an issue.
  15 Dignity is our reason for rule of law, protection under
  16 the Constitution, process, policy.
  17            But unfortunately, my friends, it seems
  18 as I watch what we are doing, dignity is missing. The
  19 argument here, as I understand it, is that we are
  20 trying to protect those who would be future victims in
  21 crimes like what happened at Columbine, Virginia Tech,
  22 Aurora, Newtown. So I ask you this question: Which of
  23 these bills that we've voted on today, this included,
  24 would have prevented any of these tragedies?
  25            I've heard from dozens of great Colorado
  0112
   1 citizens who hoped to tell you how it would hurt them,
   2 how these bills would hurt them, their business, their
   3 ability to protect themselves. But they didn't get the
   4 time to testify. Why didn't we give them the dignity
   5 to testify on these bills? You see, this process
   6 demands that we ask questions, that we answer
   7 questions. That we put our emotions aside and answer
   8 the call of reason. Reason shouts to us from history,
   9 from literature, from science, all around us. But we
  10 have put it off, we have closed our ears. We are like
  11 those sailors with (inaudible), stopped up our ears
  12 with wax so that we may not be drawn off course by the
  13 enchantment, the beautiful enchantment of reason.
  14            And the tragedy here is that in doing
  15 this, we have turned people into pawns to play power
  16 politics. We have taken the victims of these tragic
  17 shootings and we have paraded them around while arguing
  18 for laws that would not have protected them. But it
  19 goes deeper. We are a deliberative body. This means
  20 we engage in long and contemplative discussion.
  21            I think we've got the long taken care
  22 of, but have we contemplated anything? Have we
  23 contemplated the heart of what we're doing here? And
  24 we owe the people of Colorado the dignity of answering
                                                                                                     LEG HX 000425                   4341
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  25 questions,   of theCase:
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  0113
   1 being made, but this isn't happening. I ask again,
   2 which of these tragedies would have been prevented by
   3 the laws we are voting on here today?
   4            We look in history, we have many lessons
   5 for us; the tragedy of the Dred Scott decision, 1857,
   6 was that it did not acknowledge the dignity, the
   7 God-given dignity, of quote people of African descent
   8 created by God and therefore with inalienable rights to
   9 life, liberty and the pursuit of happiness. Somehow
  10 they argued the Constitution did not protect them.
  11 This pathetic use of government power to protect
  12 established interest led in part to the Civil War and
  13 ultimately to the 14th Amendment. In 1868,
  14 establishing all people born on US soil as US citizens
  15 protected by the Constitution.
  16             Plessy v. Ferguson, 1896, declaring
  17 separate, but equal facilities constitutional. One of
  18 my heroes, Justice John Marshall Harlan, nicknamed the
  19 Great Dissenter, disagreed with this and said the
  20 Constitution was color-blind. It took 58 years for the
  21 court to recognize its mistake overturning Plessy v.
  22 Ferguson with a landmark decision of Brown vs. Board of
  23 Education. Consequently, this is why I enjoy provoking
  24 my lawyerly friends by saying that stare decisis is
  25 Latin for we refuse to admit past mistakes.
  0114
   1            Friends, there are many past mistakes in
   2 our history; whether it's women's suffrage, civil
   3 rights, immigration reform, or even our very own
   4 experience with decades of experimenting with gun
   5 control. We've learned a lot and we have learned that
   6 there's actually no dignity, there's no rational
   7 argument for many of these things. Yes. Yes, we can
   8 play to emotions, but we cannot appeal to reason. And
   9 therefore, we are missing the dignity in these
  10 arguments.
  11             The tragedy of all of these debates is
  12 that the -- some Americans have argued that we can be a
  13 better society, that dignity can be bought if we limit
  14 the liberty of others. So today we're here to debate
  15 guns and there's been little talk about this dignity,
  16 but dignity demands that we say when it comes to the
  17 tragic epidemic of violence in our society, guns are
  18 not the problem.
  19             Evil is the problem here, friends, and
  20 bureaucracy is not the solution to evil. No amount of
  21 economics, statistics, math, social science, politics
  22 can ever overcome the original sin within our society.
  23 Liberty, freeing the human soul, is the only option we
  24 have. It's the only real answer. Alexander
  25 Solzhenitsyn said it best in The Gulag Archipelago, I
  0115
                                                                                                     LEG HX 000426                   4342
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                                                          line                       Date Filed: 01/16/2015            Page: 189
   2 separating good and evil passes not through states, nor
   3 between classes, nor between political parties, but
   4 right through every human heart and through all human
   5 hearts. This line shifts inside of us, it oscillates
   6 over the years. And even within hearts overwhelmed by
   7 evil, one small bridgehead of good is retained. And
   8 even in the best of hearts, there remains an uprooted
   9 small corner of evil.
  10            Since then, I have come to understand
  11 the truth -- I continue the quote. Since then I have
  12 come to understand the truth of all the religions of
  13 the world. They struggle with the evil inside a human
  14 being, inside every human being. It is impossible to
  15 expel evil from the world in its entirety. But it is
  16 possible to constrict it within each person.
  17            That's within each person, not outside
  18 of each person. And this collection of laws we're
  19 voting on here is an external imposition trying to deal
  20 with an internal problem. In doing so and putting an
  21 external solution, we've abandoned the lessons we've
  22 learned from history and said that evil can be solved
  23 from the outside. And in doing so, we've taken away
  24 the dignity of law-abiding citizens.
  25            You see, this country was built on the
  0116
   1 bedrock that everyone is innocent until proven guilty.
   2 But these laws will assume the innocent guilty, while
   3 the guilty continue to ignore the law. No, I don't
   4 think this is intentional, but it's happening. I don't
   5 think liberty and dignity are intended to be sold by
   6 parading shooting tragedies that would not have been
   7 stopped by this legislation.
   8           Friends, the supporters of this bill
   9 seem to me in a sad case for their patriotism. For it
  10 takes the money of a misguided lobby oiled with the
  11 dopamine of political success and undermines the
  12 dignity and liberty of all Coloradans. TS Eliot ends
  13 his poem saying this is the way the world ends, this is
  14 the way the world ends. This is the way the world
  15 ends, not with a bang, but a whimper.
  16            This legislation seems to be our
  17 collective whimper about a problem that's internal to
  18 our souls. So in speaking for our constituents, I will
  19 choose to speak for my favorite constituent, my wife.
  20 I freely admit my bias here. She wrote this to me
  21 after some of the unfortunate comments surrounding the
  22 gun debate and she -- it was fantastic because she
  23 caveated with this: These comments were intended --
  24 they were not intended to be what the political
  25 process, a 24-hour news cycle makes them out to be.
  0117
   1 The problem is though, they lack the dignity, the real
   2 debate that was going on.
                                                                                                     LEG HX 000427                   4343
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   4 My honest response is that one of the goals of a
   5 lawmaker is to protect the dignity of those he or she
   6 is representing. There is a strength and dignity in
   7 having the ability and right to stand up and fight
   8 against someone who is doing wrong to my body. I would
   9 not say vomiting or urinating as a response is the best
  10 way to maintain that self respect and virtue. Of
  11 course, if I were in a desperate situation and had
  12 absolutely no other choice in order to protect myself
  13 from rape, but to follow the suggestions laid out, I
  14 would definitely resort to that.
  15           But why? Why take away my self respect
  16 when that is the very thing I am fighting to keep. By
  17 nature, we are not as strong as our male counterparts.
  18 So we already have that as our disadvantage. If our
  19 government is one that promotes equal rights among his
  20 people, why are they taking away one of the only
  21 options we have to level the playing field when evil is
  22 among us?
  23           While it is true that people are more
  24 prone to stronger reactions in traumatic situations, I
  25 believe that a government that will give each of its
  0118
   1 people the opportunity to effectively prepare and equip
   2 themselves for the possibility of evil and danger is
   3 one that offers strength and dignity.
   4           Friends, this bill does not give dignity
   5 to the people of Colorado. It takes their liberty and
   6 offers nothing but a whimper in return. It is the
   7 epitome of bad public policy and we have a duty to vote
   8 no.
   9           MR. PRESIDENT: Further discussion?
  10 Seeing none, the motion before the body is the adoption
  11 of House Bill 1224.
  12           UNIDENTIFIED SPEAKER: Roll call.
  13           MR. PRESIDENT: Roll call has been
  14 requested. Mr. Majors, would you please poll the
  15 senators.
  16           MR. MAJORS: Aguilar?
  17           SENATOR AGUILAR: Aye.
  18           MR. MAJORS: Aguilar, aye. Balmer?
  19           SENATOR BALMER: No.
  20           MR. MAJORS: Balmer, No. Baumgardner?
  21           SENATOR BAUMGARDNER: No.
  22           MR. MAJORS: Baumgardner, no. Brophy?
  23           SENATOR BROPHY: No.
  24           MR. MAJORS: Brophy, no. Cadman?
  25           SENATOR CADMAN: No.
  0119
   1           MR. MAJORS: Cadman, no. Carroll?
   2           SENATOR CARROLL: Aye.
   3           MR. MAJORS: Carroll, aye. Crowder?
   4           SENATOR CROWDER: No.
                                                                                                     LEG HX 000428                   4344
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                MR. MAJORS:    Crowder, Document:
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   6            SENATOR GIRON: Aye.
   7            MR. MAJORS: Giron, aye. Grantham?
   8            SENATOR GRANTHAM: No.
   9            MR. MAJORS: Grantham, no. Guzman?
  10            SENATOR GUZMAN: Aye.
  11            MR. MAJORS: Guzman, aye. Harvey?
  12            SENATOR HARVEY: No.
  13            MR. MAJORS: Harvey, no. Heath?
  14            SENATOR HEATH: Aye.
  15            MR. MAJORS: Heath, aye. Hill?
  16            SENATOR HILL: No.
  17            MR. MAJORS: Hill, no. Hodge?
  18            SENATOR HODGE: Aye.
  19            MR. MAJORS: Hodge, aye. Hudak?
  20            SENATOR HUDAK: Aye.
  21            MR. MAJORS: Hudak, aye. Jahn?
  22            SENATOR JAHN: No.
  23            MR. MAJORS: Jahn, no. Johnston?
  24            SENATOR JOHNSTON: Aye.
  25            MR. MAJORS: Johnston, aye. Jones?
  0120
   1             SENATOR JONES: Aye.
   2             MR. MAJORS: Jones, aye. Kefalas?
   3             SENATOR KEFALAS: Aye.
   4             MR. MAJORS: Kefalas, aye. Kerr?
   5             SENATOR KERR: Aye.
   6             MR. MAJORS: Kerr, aye. King?
   7             SENATOR KING: No, sir.
   8             MR. MAJORS: King, no. Lambert?
   9             SENATOR LAMBERT: No.
  10             MR. MAJORS: Lambert, no. Lundberg?
  11             SENATOR LUNDBERG: No.
  12             MR. MAJORS: Lundberg, no. Marble?
  13             SENATOR MARBLE: No.
  14             MR. MAJORS: Marble, no. Newell?
  15             SENATOR NEWELL: Aye.
  16             MR. MAJORS: Newell, aye. Nicholson?
  17             SENATOR NICHOLSON: Aye.
  18             MR. MAJORS: Nicholson, aye. Renfroe?
  19             SENATOR RENFROE: No.
  20             MR. MAJORS: Renfroe, no. Roberts?
  21             SENATOR ROBERTS: No.
  22             MR. MAJORS: Roberts, no. Scheffel?
  23             SENATOR SCHEFFEL: No.
  24             MR. MAJORS: Scheffel, no. Schwartz?
  25             SENATOR SCHWARTZ: Aye.
  0121
   1             MR. MAJORS: Schwartz, aye. Steadman?
   2             SENATOR STEADMAN: Aye.
   3             MR. MAJORS: Steadman, aye. Tochtrop?
   4             SENATOR TOCHTROP: No.
   5             MR. MAJORS: Tochtrop, no. Todd?
   6             SENATOR TODD: Aye.
                                                                                                     LEG HX 000429                   4345
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   7      Appellate    Case: 14-1290
               MR. MAJORS:       Todd, aye.Document:
                                            Ulibarri? 01019371762                    Date Filed: 01/16/2015            Page: 192
   8           SENATOR ULIBARRI: Aye.
   9           MR. MAJORS: Ulibarri, aye.
  10 Mr. President?
  11            MR. PRESIDENT: Aye.
  12            MR. MAJORS: Mr. President, aye.
  13            MR. PRESIDENT: With a vote of 18 ayes,
  14 17 noes, zero absent and zero excused, House Bill 1224
  15 is adopted.
  16            Cosponsors Senator Guzman, Senator
  17 Ulibarri, Senator Nicholson, Senator Aguilar, Senator
  18 Heath, please add the president.
  19            Majority leader Carroll.
  20            MAJORITY LEADER CARROLL: Thank you,
  21 Mr. President.
  22            I move that we lay over general orders
  23 consent calendar.
  24            MR. PRESIDENT: For the motion, all
  25 those in favor say aye.
  0122
   1           (Senators respond aye.)
   2           MR. PRESIDENT: Opposed, no?
   3           (No senators respond.)
   4           MR. PRESIDENT: The ayes have it.
   5 Second reading consent calendar will lay over.
   6           Majority Leader Carroll?
   7           MAJORITY LEADER CARROLL: Thank you,
   8 Mr. President. And just to clarify, that's tomorrow,
   9 March 12th.
  10            I also move to lay over general orders
  11 second reading of bills until tomorrow, March 12th.
  12            MR. PRESIDENT: For the motion, all
  13 those in favor say aye.
  14            (Senators respond aye.)
  15            MR. PRESIDENT: Opposed, no?
  16            (No senators respond.)
  17            MR. PRESIDENT: The ayes have it.
  18 Second reading will lay over until --
  19            (Whereupon the audio recording was
  20 concluded.)
  21
  22
  23
  24
  25
  0123
   1                CERTIFICATE
   2 STATE OF COLORADO                 )
                       ) ss.
   3 CITY AND COUNTY OF DENVER )
   4
   5       I, Jodi M. Wagner, Registered Professional
   6 Reporter and Notary Public for the State of Colorado,
   7 do hereby certify that said proceedings were taken from
                                                                                                     LEG HX 000430                   4346
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   8 an audio         Case:
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   9 computer-aided transcription;
  10        That the speakers in this transcript were
  11 identified by me to the best of my ability and
  12 according to the introductions made;
  13        That the foregoing is a true transcript of
  14 the proceedings had; that I am not attorney, nor
  15 counsel, nor in any way connected with any attorney or
  16 counsel for any of the parties to said action or
  17 otherwise interested in its event.
  18
  19        IN WITNESS WHEREOF, I hereunto affix my hand
  20 on June 28, 2013. My commission expires March 6, 2017.
  21
  22
  23              _________________________________
                 Jodi M. Wagner
  24              Registered Professional Reporter
                 Notary ID: 20094006861
  25              Calderwood-Mackelprang, Inc.




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  0001
   1 CITY AND COUNTY OF DENVER
   2 STATE OF COLORADO
   3 JUDICIAL COMMITTEE MEETING
   4 Held on March 13, 2013
   5 HOUSE BILL 13-1224
   6 _____________________________________________________
   7            REPORTER'S TRANSCRIPT
   8 _____________________________________________________
   9
  10          This transcript was taken from an audio
  11 recording by Jana Mackelprang, Certified Realtime
  12 Reporter, Registered Professional Reporter, and
  13 Notary Public.
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  0002
   1             PROCEEDINGS
   2          *     * * * *
   3          MR. SPEAKER: . . . prohibiting large
   4 capacity ammunition magazines.
   5          Representative Fields.
   6          REPRESENTATIVE FIELDS: Thank you,
   7 Mr. Speaker. I move that the House concur with senate
   8 amendments to House Bill 1224.
   9          MR. SPEAKER: Please proceed,
  10 Representative Fields.
  11          REPRESENTATIVE FIELDS: Members, basically
  12 what the Senate did was they added some clarity around
  13 this whole ability to have this attachable magazine,
  14 ready, convertible unit to be able to hold 15 rounds.
  15 And they also adopted an amendment that was drafted by
  16 David Kopel as relates to making sure that shotguns
  17 could also carry the appropriate gauge.
  18          It also addressed the ability for
  19 manufacturers to have a one stamp on the magazine that
  20 would be created to identify that this magazine was
  21 created after the ban was put in place.
  22          MR. SPEAKER: Representative Joshi.
  23          REPRESENTATIVE JOSHI: Thank you,
  24 Mr. Speaker.
  25          Senate did some good things to this bill
  0003

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   1 with the           Case:but
               amendment,      14-1290
                                 I think thisDocument:      01019371762 Date Filed: 01/16/2015
                                              bill still needs                                                         Page: 195
   2 some more work. So I move to reject the House Bill
   3 13-20 -- 1224 as amended by the Senate and to form a
   4 conference committee to offer an amendment that goes
   5 beyond the scope of this bill.
   6           MR. SPEAKER: The motion -- any further
   7 discussion to form a conference committee?
   8           Madam majority leader.
   9           MADAM MAJORITY LEADER: Thank you,
  10 Mr. Speaker.
  11            I ask for a no vote on this substitute
  12 amendment. I believe this bill has been thoroughly
  13 discussed and appropriately amended in the Senate. I
  14 think we should move forward.
  15            MR. SPEAKER: Representative Joshi.
  16            REPRESENTATIVE JOSHI: Thank you,
  17 Mr. Speaker.
  18            The reason that I'm asking for this motion
  19 is this bill still needs some more work, as I mentioned.
  20 On the exemptions, I would like to allow an active duty
  21 reserve national guard or coast guard member, or
  22 honorably discharged veteran of the United States armed
  23 forces, reserves, the national guard or coast guard, or
  24 the members of their family.
  25            Now, the reason for this exemption is we
  0004
   1 do extensive training to the members of the military for
   2 the use of these magazines. We are really proud of the
   3 training that we are giving to these members. So,
   4 therefore, they should be considered capable of handling
   5 these high-capacity magazines.
   6           So I again ask yes vote on this motion.
   7           MADAM SPEAKER: Representative Gardner.
   8           And note the gender change up here.
   9           REPRESENTATIVE GARDNER: Thank you, Madam
  10 Speaker Pro Tem.
  11            To this motion, with respect to my friend
  12 Representative Fields, she's already used the phrase
  13 "the Senate" and "clarity" in the same sentence, I
  14 think. And that points out that we need to go to a
  15 conference committee and try to achieve some clarity on
  16 this. I think when this bill went to the Senate, a lot
  17 of things were done, as with the previous bill, that
  18 probably need to be discussed and a conference
  19 committee. While this is a procedural vote, and I
  20 recognize it, nevertheless, I think a conference
  21 committee could be useful here.
  22            MADAM SPEAKER: Representative Navarro.
  23            REPRESENTATIVE NAVARRO: Thank you, Madam
  24 Chair. I would agree that a conference committee could
  25 be very beneficial.
  0005
   1           Another entity that's been left out of
   2 this bill are security companies. And one of the
                                                                                                     LEG HX 000433                   4349
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           Appellate
   3 concerns   that weCase:    14-1290
                          have are            Document:
                                   -- is the fact          01019371762 Date Filed: 01/16/2015
                                                  that we have                                                         Page: 196
   4 violence in our malls and our public places. No where
   5 in the bill are those security companies that are hired
   6 permitted to carry a standard-capacity firearm.
   7           Also, another issue that we've just sort
   8 of been noodling is a temporary transfer so that if
   9 Senator Brophy has his watermelon fest and has legal
  10 30-round magazines and he allows someone else to use
  11 that -- that weapon, is that legal? Temporary transfers
  12 were in 1229, but they do not permit temporary transfers
  13 in this particular case.
  14            So I think there's a long list of issues
  15 that we can continue to talk about and make sure that
  16 we've thought of all the unintended consequences that
  17 might happen from this bill and try to come out with a
  18 clean bill, at least to vote no on.
  19            MADAM SPEAKER: Representative Landgraf.
  20            REPRESENTATIVE LANDGRAF: Thank you, Madam
  21 Chairman.
  22            MR. SPEAKER: It's Speaker Pro Tem. We're
  23 meeting as the House.
  24            REPRESENTATIVE LANDGRAF: I'm sorry. I'm
  25 sorry. Thank you, Madam Speaker Pro Tem, and thank you
  0006
   1 for correcting me.
   2           I forgot what I came up here -- oh, I rise
   3 in support of Representative Joshi's recommendations. I
   4 think it's very, very important that we recognize the
   5 training and commitment our military have made to our
   6 community and that we do exempt them, we add them to the
   7 list. Thank you.
   8           MADAM SPEAKER: Representative Lawrence.
   9           REPRESENTATIVE LAWRENCE: Thank you, Madam
  10 Speaker Pro Tem.
  11            I rise in support of the idea of a
  12 conference committee. I think we still have issues with
  13 this bill, even with the amendments from the Senate.
  14            I cued you up for that one.
  15            I just -- you know there are still issues
  16 with this bill. I don't see any statistics that show
  17 that this is going to improve public safety. I think
  18 our friends in the other house made a slight improvement
  19 to a bad bill, but we still have work to do on this.
  20 This still does not improve public safety, which is what
  21 it's supposed to do. But when you look at statistics
  22 from the ban that was placed during the Clinton
  23 administration, that ban did not improve public safety.
  24 During the 10 years it was in effect, it was never shown
  25 that the ban had any impact on criminal misuse of
  0007
   1 firearms.
   2           This is a feel-good measure, and I think
   3 we still have a lot of work to do, because we're talking
   4 about standard-capacity magazines that obviously
                                                                                                     LEG HX 000434                   4350
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           Appellate
   5 security  companiesCase:
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                                                            needs to                 Date Filed: 01/16/2015            Page: 197
   6 use. These are standard-platform magazines, and I just
   7 think this bill still requires a lot of work and a lot
   8 of thought before we finalize this. Thank you.
   9           MADAM SPEAKER: Mr. Minority Leader.
  10            MR. MINORITY LEADER: Thank you, Madam
  11 Speaker Pro Tem.
  12            I haven't had a chance to say this, so can
  13 I say it's a pleasure to serve with you?
  14            MADAM SPEAKER: You're more than welcome
  15 to say that any time.
  16            MR. MINORITY LEADER: It's a pleasure to
  17 serve with you, Madam Speaker Pro Tem.
  18            MADAM SPEAKER: And that is always in
  19 order.
  20            MR. MINORITY LEADER: I'm waiting for a
  21 response.
  22            MADAM SPEAKER: And with you.
  23            MR. MINORITY LEADER: Thank you. Oh, I
  24 feel so much better now.
  25            Members, again, we're trying to make bad
  0008
   1 legislation better here. And we do need this conference
   2 committee to go forward, to go beyond the scope of
   3 differences because this consideration needs to happen.
   4 You know, we just had two previous bills down here where
   5 we talked pretty significantly about support for our
   6 veterans and how we, in this chamber, want to support
   7 our veterans and our active duty service members.
   8           And here's why this is so necessary for us
   9 to be able to actually truly walk out of here and say
  10 we're supporting our active duty service members and our
  11 veterans. The issue here is -- the magazines that are
  12 issued by the federal government to the military service
  13 members are many times considered by those service
  14 members to be inadequate. And they want to purchase
  15 their own magazines so when they go back to Iraq or they
  16 go back to Afghanistan, they can have this more reliable
  17 product. In fact, that's why so many folks actually
  18 purchase privately on the market. For their use in the
  19 theater of war, they purchase on the private market
  20 these magazines from companies like Magpul, Magpul that
  21 we have talked so much about.
  22            But these service members purchase them on
  23 their own for use in the theater of war. But by not
  24 having this exemption for the active duty service
  25 members, we are now going to criminalize active duty
  0009
   1 service members from Fort Carson who go out and purchase
   2 these magazines after the date at which this bill is
   3 enacted. They're going to be criminals, just like any
   4 other private citizen would be a criminal. However,
   5 they're doing exactly what Representative Fields said is
   6 the necessary requirement of this bill. These magazines
                                                                                                     LEG HX 000435                   4351
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   7 belongAppellate   Case:
             in a theater      14-1290 Document: 01019371762
                          of war.                                                    Date Filed: 01/16/2015            Page: 198
   8          Well, that's exactly what these active
   9 duty service members use these magazines for. They use
  10 them in the theater of war, but they purchase them
  11 privately. They purchase them on their own. Their unit
  12 does not purchase them.
  13           This is a really simple fix for us. We
  14 can truly show our support for active duty service
  15 members and show not only our support for those members,
  16 but show support for their safety in the theater of war
  17 by going beyond the scope of differences between the
  18 House and the Senate, or having this conference
  19 committee formed and going beyond the scope of
  20 differences and then fixing this very necessary issue
  21 that Representative Joshi brought up.
  22           It's an easy fix for us. Let's show our
  23 support for active duty service members by voting to
  24 reject the senate amendments and go beyond the scope of
  25 differences and form a conference committee, a very easy
  0010
   1 fix so we can avoid unintended consequences. I ask for
   2 an aye vote on Representative Joshi's motion.
   3          MADAM SPEAKER: Representative Buck.
   4          REPRESENTATIVE BUCK: Thank you, Madam Pro
   5 Tem Speaker.
   6          I agree wholeheartedly with what
   7 Representative Waller did because that's exactly what
   8 our son did when he came home. And it was for
   9 Christmas. And he needed, he felt, a better gun. And
  10 so why on earth would I try to deny him a better gun,
  11 because he will be deployed soon, shortly, and I would
  12 not be able to sleep at night if I knew that he didn't
  13 feel that he was safe in the field of war.
  14           So I absolutely agree with Representative
  15 Joshi that we also have this conference committee.
  16 Thank you.
  17           MR. SPEAKER: Representative McCann.
  18           REPRESENTATIVE McCANN: Thank you
  19 Mr. Speaker.
  20           The way I read the bill, there's an
  21 exemption for an employee of any of the following
  22 agencies who bear a firearm in the course of his or her
  23 official duties: A branch of the armed forces of the
  24 United States. So if someone is on active duty, they
  25 are exempted from the prohibition against large-capacity
  0011
   1 magazines. And that's in the bill, on page 5.
   2          MR. SPEAKER: Further discussion?
   3          Representative Fields.
   4          REPRESENTATIVE FIELDS: Thank you,
   5 Mr. Speaker, and I urge a no vote on the conference
   6 committee.
   7          MR. SPEAKER: Any further discussion?
   8          Representative Wright.
                                                                                                     LEG HX 000436                   4352
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              REPRESENTATIVE                Document:
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                                                          you,                       Date Filed: 01/16/2015            Page: 199
  10 Mr. Speaker.
  11           I appreciate Representative Joshi bringing
  12 this motion. I would concur in the motion and ask for a
  13 yes vote.
  14           You know, we've pointed out in prior
  15 legislation from the other side of the aisle that we
  16 feel not only that our veterans and our active duty
  17 service members of the armed forces are important, but
  18 also that retired police officers are important. We've
  19 extended special privileges to our police officers in
  20 this state, passing legislation out of this house,
  21 saying that they should be able to carry weapons
  22 concealed in places where other citizens in this state
  23 can't carry them. So why are we not including retired
  24 police officers in this bill?
  25           I think they should be exempted. These
  0012
   1 are officers who have handled standard-capacity
   2 magazines on a regular basis in the performance of their
   3 duties for 20, 25, 30 years, and we're telling these
   4 individuals who have worked in law enforcement that they
   5 will now be violating the law, breaking the law in the
   6 state of Colorado, if they go out after retirement and
   7 purchase a standard-capacity magazine. This doesn't
   8 make sense to me.
   9          I think there's -- I think we're
  10 missing -- this legislation, this amendment, shows, I
  11 think, that this legislation has so many holes in it.
  12 This is a Swiss cheese -- this is a piece of Swiss
  13 cheese. This is Swiss cheese legislation. I mean, we
  14 have so many holes in this to fill. We send it to the
  15 other body. They've decided that they needed to amend
  16 it substantially, and we're still missing the vote, not
  17 only with our active duty service members, but with
  18 retired police officers.
  19           And I'd also like to point out, if you
  20 would think back to the Hollywood shooting years ago, we
  21 had police officers who were not armed with the proper
  22 equipment that they needed to counteract those acts of
  23 violence. Now, you might argue today our police
  24 departments are better armed, and I would agree. Well,
  25 what happens when the next mass shooting comes along and
  0013
   1 our officers need more magazines?
   2          The way that this bill reads now, what
   3 happened in the Hollywood shooting where officers had to
   4 run into gun shops and purchase more magazines, they had
   5 to purchase more weaponry. They wouldn't be able to do
   6 that under this piece of legislation, because we talk
   7 about a department, an agency or political subdivision
   8 of the state of Colorado, but we don't talk about the
   9 individual members that might be serving under that
  10 department or that political branch of state government.
                                                                                                     LEG HX 000437                   4353
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                So whatCase:   14-1290
                         happens  when thatDocument:    01019371762
                                            individual runs                          Date Filed: 01/16/2015            Page: 200
  12 into a store in an emergency situation and attempts to
  13 buy a magazine so they can go out and protect our
  14 citizens? Are they going to be turned down because
  15 these magazines are illegal to sell to an individual?
  16 Because, let me tell you, the way things work in a
  17 police department is you have to have a sergeant or
  18 higher sign off on equipment purchases in order for
  19 those purchases to be applied to the department. That's
  20 not going to happen in an emergency situation on the
  21 street.
  22            I would support Representative Joshi's
  23 motion to send this to a conference committee to allow
  24 us to sit down and further discuss in detail what's
  25 missing in this bill. Thank you.
  0014
   1           MR. SPEAKER: Representative Nordberg.
   2           REPRESENTATIVE NORDBERG: Thank you,
   3 Mr. Speaker.
   4           Members, I want to thank Representative
   5 Joshi for bringing forth this motion. And I think it's
   6 really important because, being from Colorado Springs, I
   7 have several friends who serve at Fort Carson, and I
   8 want to give a shout out to my guys at the fourth
   9 infantry division because they are listening today.
  10 They have been following this debate, because they go
  11 out and independently purchase these magazines so that
  12 they're ready to deploy to Afghanistan and Iraq.
  13            So, Members, please, let's send this to
  14 conference, let's try and rectify some of the problems
  15 that have been very much identified in this. I please
  16 ask for that. Thank you.
  17            MR. SPEAKER: Representative Waller,
  18 senate minority leader.
  19            REPRESENTATIVE WALLER: Thank you,
  20 Mr. Speaker.
  21            Representative McCann, I appreciate the
  22 discussion we've had sort of off-line here, off to the
  23 side, about whether or not active duty service members
  24 are acting within the scope of their official duties
  25 when they're purchasing these things back on leave. And
  0015
   1 I think we've had a fairly robust discussion that --
   2 that leaves this question in doubt as to whether or not
   3 an active duty service member, because they are exempted
   4 just like Representative McCann said on page 5, starting
   5 at line 3, that they are exempted when they're acting
   6 within the scope of their official duties.
   7           So the discussion becomes what is the
   8 scope of an active duty service member's official
   9 duties? And I think we've had some agreement here as to
  10 say we're not really sure exactly what that means. And
  11 it means when a service member is back on leave -- I
  12 think I could make a great argument, you know, as an
                                                                                                     LEG HX 000438                   4354
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               that they're not14-1290
                                acting withinDocument:
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                                                         of                          Date Filed: 01/16/2015            Page: 201
  14 their official duties when they are back on leave,
  15 making purchases for a future use within the scope of
  16 their official duties.
  17           But I think that illustrates, the
  18 discussion that we've had here illustrates the need to
  19 send this to a conference committee, because if we don't
  20 know what we're doing here -- and we have agreement that
  21 we don't fully, truly know what this means -- that means
  22 we need to do our very best on our due diligence to make
  23 sure that we're fixing this issue. And the way to fix
  24 this issue is to not rush this through today, not vote
  25 this out today, but to do exactly what Representative
  0016
   1 Joshi has asked us to do, and that's to reject the
   2 senate amendments, form a conference committee, and move
   3 beyond the scope of our differences.
   4          We have an opportunity to make this right.
   5 We have an opportunity to truly protect our active duty
   6 service members. We all understand -- all 65 members of
   7 this body understand how very crucially important it is
   8 for us as legislators to do every single thing we can to
   9 protect our active duty service members, especially when
  10 our active duty service members go over to that theater
  11 of war.
  12           You might ask yourself: Well, what does a
  13 state legislator -- what can they do? What impact does
  14 a state legislator have on protection of our troops as
  15 they go into the theater of war? Here it is right here.
  16 We have the ability to say we're going to allow you to
  17 go over and be as well equipped as possible when you go
  18 into that theater of war, if we choose Representative
  19 Joshi's option.
  20           If we don't choose Representative Joshi's
  21 option -- that's kind of hard to say -- if we don't
  22 choose Representative Joshi's option, we're saying to
  23 our active duty service members, you know what? We're
  24 not really sure what impact this will have on you. And
  25 you may end up deploying to the theater -- you either
  0017
   1 may criminalize yourself, if you purchase these
   2 magazines not in the scope of your official duties, or
   3 you may, if you don't purchase them, if you choose not
   4 to be a criminal and don't purchase them, you're going
   5 to go back into the theater of the war with less than
   6 optimal equipment.
   7          I don't understand why we can't just
   8 simply try to resolve this issue in a conference
   9 committee. It's a simple thing to do. And it's a
  10 necessary thing to do. And if we agree, once we get to
  11 a conference committee, it's unnecessary, no harm, no
  12 foul. We have done nothing wrong. But to say, no,
  13 we're going to reject the possibility of a conference
  14 committee for all time because we want to rush this
                                                                                                     LEG HX 000439                   4355
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  16 irresponsible. We need to be doing everything,
  17 everything we can to protect our active duty service
  18 members.
  19           And let me tell you, Members, what we do
  20 matters for our active duty service members. When I
  21 deployed to Iraq in 2006, we were constantly looking
  22 back at home, looking back at what people were doing at
  23 home. And it does so much for the morale of the troops
  24 to know the people back at home support them and have
  25 support for them moving forward, accomplishing their
  0018
   1 mission in that theater of war.
   2           This is one way we can show that support,
   3 by going to this conference committee. I ask for an aye
   4 vote.
   5           MADAM SPEAKER: Representative McCann.
   6           REPRESENTATIVE McCANN: Thank you, Madam
   7 Speaker Pro Tem.
   8           The bill actually exempts a branch of the
   9 armed forces of the United States from the offenses
  10 described in this section. So if you look on page 4,
  11 line 19, the bill -- the -- sorry -- the offenses do not
  12 apply to a branch of the armed forces. So the bill is
  13 quite clear that this would not apply to members of the
  14 armed forces.
  15           Also, on page 5, lines 3 through 5 refer
  16 to an employee of a branch of the armed forces of the
  17 United States. So either way, active military officers
  18 are not subject to the requirements of this bill.
  19           MADAM SPEAKER: Representative Saine. Oh,
  20 Representative Wright. And, Representative Wright, this
  21 is your second time at the mic.
  22           REPRESENTATIVE WRIGHT: Thank you, Madam
  23 Speaker Pro Tem.
  24           I just want to point out that there is a
  25 clear distinction between talking about a department or
  0019
   1 a political subdivision or an agency of the state or, in
   2 this case, specifically dealing with active service
   3 members, and stating on line 19, page 4, a branch of the
   4 armed forces of the United States. There's a
   5 distinction between a branch of the armed forces of the
   6 United States and an individual member serving in his or
   7 her capacity under that branch. There's certainly a
   8 distinct difference there.
   9           You know, we, on a regular basis, go
  10 through legislation and committee and tweak these bills
  11 and make substantive amendments, no matter how minor
  12 that tweaks the language, to make sure that legislation
  13 is not misconstrued once it becomes law. And that's
  14 what we're asking for here. We're asking for this bill
  15 to go back to conference committee so then we can
  16 appropriately insert language that makes it clear to
                                                                                                     LEG HX 000440                   4356
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  17 thoseAppellate     Case: 14-1290
            who are enforcing     this law, toDocument:  01019371762
                                               those who are                         Date Filed: 01/16/2015            Page: 203
  18 trying cases under this law, that it is applying in fact
  19 to current active duty members of our armed forces, not
  20 just a branch of the armed forces.
  21           Now, I'm not an attorney; however, I think
  22 that this applies even more so to attorneys who look at
  23 language, statutory language, and base their challenges
  24 of cases on the language in these bills. We need to be
  25 clear. Why don't we want to send out a piece of
  0020
   1 legislation out of this body that is clear? And right
   2 now it simply isn't. I think it's completely reasonable
   3 for us to ask this to go to conference committee to make
   4 these small changes that could have very much
   5 substantive differences and make this a better piece of
   6 legislation.
   7           Don't misconstrue the fact that I'm a yes
   8 vote on this bill; I think it's completely unnecessary.
   9 But if we're going to pass this bill out of this house,
  10 let's make sure that it's a whole bill. Thank you.
  11           MADAM SPEAKER: Is there any other
  12 discussion? Okay, Representative Saine.
  13           REPRESENTATIVE SAINE: Thank you, Madam
  14 Chair.
  15           I rise in support of going to this
  16 conference. What really is the harm in making sure that
  17 the intent is clear? We celebrate our veterans. We
  18 celebrate what they've done for our country, the service
  19 they provided for us. They put their lives on the line
  20 for us. Why can't we trust them? That's what we're
  21 asking. Why can't we trust these veterans?
  22           Why not go to this conference and just
  23 make sure that intent is clear. I think we need to send
  24 a very clear message to our veterans. It is as Minority
  25 Leader Waller said: When you're serving your country
  0021
   1 and you look back and see what your state is doing and
   2 saying, I don't trust you with these magazines, I don't
   3 trust you with this equipment, it's very demoralizing.
   4           So let's just make sure -- let's go to
   5 this conference. There can be no harm in this, and then
   6 having some extra discussion. I'd appreciate it. I
   7 urge a yes on this. Thank you.
   8           MADAM SPEAKER: Senator Holbert.
   9           REPRESENTATIVE HOLBERT: Thank you, Madam
  10 Speaker Pro Tem.
  11           Members, I do support going to conference
  12 committee. And three of my years in the capitol, I've
  13 been a part, not a member of, but had the opportunity to
  14 sit in on conference committees. And I think it's worth
  15 understanding that this would very likely be, if it is
  16 approved, six members, three from this chamber and three
  17 from the other, two from the majority from each chamber
  18 and one each of the minority. So there's no opportunity
                                                                                                     LEG HX 000441                   4357
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  19 in that conferenceCase:  14-1290
                          committee   for theDocument:
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  20 pull a fast one.
  21           This is an opportunity to just take a
  22 moment, a day -- I think it would even be possible to go
  23 and do this in 24 hours and just talk through these
  24 issues, have the drafters in the room, be able to make
  25 sure that we know exactly what we're doing.
  0022
   1          I commend Representative Joshi for
   2 standing up for many of his constituents, other
   3 military, whether active or retired. This was a point
   4 that was debated in the Senate. The amendment didn't
   5 get on the bill. But it doesn't cause any harm, it
   6 causes no risk to the passage of the bill, but it does
   7 allow the majority time to just step back and think.
   8 I'm sorry if that sounded as though there has been a
   9 lack of thought, but to pause and think through these
  10 options.
  11           I believe that Representative Sonnenberg
  12 has raised a completely legitimate concern that I
  13 believe is outside the intent of the scope of the bill.
  14 So what harm is there? The answer is none, in taking
  15 the time to have four from the majority and two from the
  16 minority sit down in a room and talk through these
  17 issues to make sure that this bill is properly
  18 addressing the concerns that Representative Joshi and, I
  19 believe, Representative Sonnenberg have raised. There's
  20 no harm. We're not under any mandate to move this bill
  21 through and in a hurry.
  22           A lot of constituents -- just look at the
  23 e-mail from constituents who are asking us to step back,
  24 be thoughtful, do this right. Certainly a lot of them
  25 like me are saying, Don't do this at all. But if it's
  0023
   1 going to be done, why push this through in a hurry? Why
   2 not step back -- you would have complete control in the
   3 majority of that conference committee -- and address
   4 these issues thoughtfully, give it a few -- a few hours,
   5 a day, a couple of days. Just be thoughtful. There's
   6 no hurry.
   7          I believe the effective date, if the
   8 governor were to sign this, is July 1st. We're not
   9 close to July 1st. We have time to sit down in a
  10 conference committee and address these concerns. And if
  11 a conference committee was formed, I would certainly
  12 like to see Representative Sonnenberg or Representative
  13 Joshi -- but both of them could be there. Only one of
  14 them.
  15           So let's be thoughtful. Let's take our
  16 time. I ask for an aye vote on forming a conference
  17 committee and going beyond the scope.
  18           MADAM SPEAKER: Representative Duran.
  19           REPRESENTATIVE DURAN: Thank you, Madam
  20 Speaker Pro Tem.
                                                                                                     LEG HX 000442                   4358
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               Members,Case:
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                                bill is crystal clear. We 01019371762                Date Filed: 01/16/2015            Page: 205
  22 have had debate on this issue in this chamber and the
  23 senate chamber for hours upon hours, upon hours. If you
  24 look at page 4, it is very specific when it talks about
  25 employees of a branch of the armed forces of the United
  0024
   1 States, and pointing out once again page 5 that
   2 Representative McCann referenced with regards to
   3 individuals that are in the course of his or her
   4 official duties.
   5           We have sent a very strong message to the
   6 people that serve this country that, when they are
   7 working in the capacity of their official duties, then
   8 they will be -- this does not apply to them. It's been
   9 crystal clear. So to say that we haven't had hours and
  10 hours of debate on this issue, I think that's not
  11 reflective of what's actually happened in this chamber
  12 and the other chamber as well.
  13           And, further, when we debated this bill, I
  14 talked a little bit about how we have more protections
  15 in Colorado's law right now for pheasants than we do for
  16 human beings. Right now, a hunter who is hunting
  17 pheasants has a shell limit. And the reason why they
  18 have a shell limit is so that there is a fair chase, so
  19 there is a opportunity --
  20           MADAM SPEAKER: Representative Duran, is
  21 this to the motion to send this to conference committee?
  22           REPRESENTATIVE DURAN: Madam Speaker Pro
  23 Tem, yes, it is, because it specifically looks at the
  24 amendments that the Senate put on this bill.
  25           And I ask for a no vote on this. We
  0025
   1 should put protections in law that protect human beings
   2 as much as we do pheasants. And if you look at the
   3 language of the bill, it is crystal clear. To say it is
   4 not clear is just not representative of all of the work
   5 that has been put forward in this effort.
   6           Thank you.
   7           MADAM SPEAKER: Representative McNulty.
   8           REPRESENTATIVE McNULTY: Thank you, Madam
   9 Speaker Pro Tem.
  10           Representative Duran, your continued
  11 comparison between pheasants and people are absolutely
  12 offensive. Absolutely offensive. I have no idea where
  13 you're going with it. I don't know why you continue to
  14 choose that obscene analogy, but it is offensive.
  15           That said, that said, one of my first
  16 lessons that I learned when I joined the general
  17 assembly many years ago -- seven -- it seems like
  18 more -- was regardless if you support or oppose a bill,
  19 you want the bill to be written with clarity and to be
  20 written correctly.
  21           I worked for Russ George, Former Speaker
  22 Russ George, at the time I ran for legislator, and I was
                                                                                                     LEG HX 000443                   4359
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  23 blessed           Case:to14-1290
               and honored                 Document:
                               have his good   advice as 01019371762
                                                         I started                   Date Filed: 01/16/2015            Page: 206
  24 my legislative career. And one of the things that he
  25 constantly came back to was this, whether he supported
  0026
   1 or opposed a bill, if a member came to him and said, I
   2 need clarity in your bill, or a member came to him and
   3 said, How do I write this better, how do I make this
   4 provision more clear, he said, Whether they were with me
   5 or against me, I helped them provide clarity, because
   6 clarity in the law leads to more efficient enforcement
   7 of the law, leads to better law, decreases ambiguity for
   8 the courts when these are challenged.
   9           And so when we talk about bringing
  10 clarity, even if you are opposed to a bill, the
  11 obligation is to seek that level of clarity, to seek the
  12 best language possible so that there is not ambiguity.
  13 And if we are not doing that, we're attempting to
  14 muddle, confuse, and obfuscate. That is an improper use
  15 of our time. So seeking that clarity is a direct and
  16 legitimate purpose. And I hope, I hope, that we use
  17 this opportunity to send House Bill 1224 to a conference
  18 committee to accomplish a level of clarity in some of
  19 these more ambiguous provisions of the bill.
  20            MADAM SPEAKER: Representative Holbert.
  21            REPRESENTATIVE HOLBERT: Thank you, Madam
  22 Chair.
  23            Members, I think a conference committee is
  24 merited, and going beyond the scope is also merited
  25 because we continue to hear argument from the majority
  0027
   1 that people who use large-capacity magazines in their
   2 employment are exempted, and I have struggled to find
   3 that. I've heard reference to pages 4 or 5. And I ask
   4 you to turn there with me if you are concerned about
   5 this issue. And if you look at page 4, line 12: An
   6 entity or an employee thereof, engaged in his or her
   7 employment duties, that manufactures large-capacity
   8 magazines within Colorado. Anyone -- any entity that
   9 manufactures, or to any licensed gun dealer, as defined
  10 in statute, or any employee thereof engaged in his or
  11 her official employment duties that sells -- so we have
  12 manufacture and sell -- large-capacity magazines. And
  13 then it says: To whom those magazines would be sold, a
  14 branch of the armed forces of the United States, a
  15 department agency, or a political subdivision of the
  16 State of Colorado or any other state, or of the United
  17 States Government, a firearms retailer, for the purpose
  18 of firearms sales conducted outside the state, a foreign
  19 national government that has been approved for such
  20 transfers by the United States Government, an
  21 out-of-state transferee who may legally possess a
  22 large-capacity magazine or an employee of any of the
  23 following agencies: A branch of the armed services of
  24 the United States, a department agency, or a political
                                                                                                     LEG HX 000444                   4360
file:///X|/...r/HB%201224%20and%201229/HB%201224/Transcripts%20of%20legislative%20history/House%20Bill%2013-1224-031313.txt[11/5/2013 7:32:59 AM]
           Appellate Case: 14-1290 Document: 01019371762 Date Filed: 01/16/2015
  25 subdivision.                                                                                                      Page: 207
  0028
   1            There's no where in here that we get away
   2 from the manufacture or sale. And I think that's an
   3 absolutely legitimate point and something, again, that
   4 could be raised in a conference committee to say: Is
   5 the intent to exempt the people who would use these as a
   6 member of the military, as a law enforcement officer?
   7 If that's the intent, I think the language fails to make
   8 that clear, because the condition here, if you go back
   9 to page 4, is manufacture or sale. And then we get into
  10 this long list of people to whom we would sell those,
  11 but it doesn't, in my opinion, give those people some
  12 exemption.
  13            There's a flaw in this bill, I'm confident
  14 of that. This is another reason we should ask for a
  15 conference committee and go beyond the scope and make
  16 sure that the intentions of the sponsors are truly met
  17 in this legislation as amended.
  18            MADAM SPEAKER: Now, I have seen
  19 Representative Everett and Representative Nordberg. Do
  20 either of you wish to speak to this motion? Okay.
  21            Representative Fields.
  22            REPRESENTATIVE FIELDS: Thank you, Speaker
  23 Pro Tem.
  24            Members, I believe that the bill is very
  25 clear as it relates to those who serve in all of our
  0029
   1 branches. And I see that on page 5, and it starts on
   2 line 3. And so this bill does recognize the service and
   3 the sacrifice that our military folks do and perform for
   4 us. So I think that that's really clear.
   5            So, once again, I vote no, ask for a no
   6 vote on a conference committee on House Bill 1224.
   7            MADAM SPEAKER: Representative Nordberg.
   8            REPRESENTATIVE NORDBERG: Thank you, Madam
   9 Speaker Pro Tem.
  10            And, Members, I just need some clarity on
  11 this because this is concerning, especially for my
  12 community, but we have language on page 4, line 19, and
  13 also on page 5, line 4 -- or excuse me, page 5, line 5,
  14 which talks about a branch of the armed forces of the
  15 United States.
  16            Now, that's pretty broad. And I don't
  17 know if that permits a soldier of the U.S. Army or of
  18 the U.S. Navy to purchase in their own private capacity,
  19 for their own purposes, in order to deploy and practice
  20 for deploying and start that training. Will that permit
  21 them to purchase that magazine? Or does this just
  22 permit the branch of the military to purchase that? And
  23 if I can get some clarification, it would be much
  24 appreciated. Thank you.
  25            MADAM SPEAKER: Representative Fields, is
  0030
                                                                                                     LEG HX 000445                   4361
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           Appellate
   1 this your secondCase:
                        time on14-1290      Document: 01019371762 Date Filed: 01/16/2015
                                 this motion?                                                                          Page: 208
   2          UNIDENTIFIED SPEAKER: (Inaudible.)
   3          MADAM SPEAKER: Well, she's on the
   4 underlying -- I don't know, it doesn't show up here.
   5          UNIDENTIFIED SPEAKER: (Inaudible.)
   6          MADAM SPEAKER: The House will be in
   7 recess for just a moment.
   8          (A recess was taken.)
   9          MADAM SPEAKER: The House will come back
  10 to order. Is there any additional discussion on
  11 Representative Joshi's motion to reject senate
  12 amendments to House Bill 1224 and send this to a
  13 conference committee?
  14           Representative Nordberg.
  15           REPRESENTATIVE NORDBERG: Thank you, Madam
  16 Speaker Pro Tem.
  17           Then I would just point out, I think
  18 there's still a need for clarification in this. What's
  19 the harm in taking this to a conference committee?
  20           MADAM SPEAKER: Representative Nordberg,
  21 I'm sorry, you've already spoken twice, and I just --
  22           REPRESENTATIVE NORDBERG: Thank you, Madam
  23 Speaker Pro Tem.
  24           MADAM SPEAKER: Final comments.
  25 Representative Joshi.
  0031
   1          REPRESENTATIVE JOSHI: Thank you, Madam
   2 Speaker Pro Tem.
   3          Members, as we have heard now from several
   4 of our other members that this bill is still very
   5 confusing. It's not very clear about a lot of issues,
   6 as we heard from our different members. It's not just
   7 the active duty or the veterans. We also heard about
   8 police officers and some of the other law officers here.
   9          So I think it is very important that we
  10 say yes on my motion to send it to a conference
  11 committee, because that's where we will get a lot of
  12 clarification. We will have a lot of time to figure out
  13 a lot of issues that have remained unclear in both
  14 chambers. So I ask for a yes vote on this motion.
  15           MADAM SPEAKER: Seeing no further
  16 discussion, the question before the House is to reject
  17 the amendments of the Senate and send this House Bill
  18 1224 to a conference committee. Members, this is a
  19 recorded vote.
  20           Mr. Kolar, open the machine and, Members,
  21 proceed to vote.
  22           UNIDENTIFIED SPEAKER: (Inaudible.)
  23           MADAM SPEAKER: He's modeling your
  24 behavior, Mr. Minority Leader.
  25           Representative Mitsch Bush.
  0032
   1          Okay, close the machine with 28 aye
   2 votes -- excuse me -- 36 no votes, and one excused,
                                                                                                     LEG HX 000446                   4362
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           AppellateJoshi's
   3 Representative     Case:motion
                                14-1290      Document:
                                       to form           01019371762
                                               a conference                          Date Filed: 01/16/2015            Page: 209
   4 committee is lost.
   5           That brings us to the underlying motion,
   6 which is to accept senate amendments to house bill.
   7           Representative McNulty.
   8           REPRESENTATIVE McNULTY: Thank you, Madam
   9 Speaker Pro Tem.
  10            I think it's unfortunate that we didn't
  11 take Representative Joshi's offer to help provide
  12 clarity to this bill by going beyond the scope of the
  13 senate amendments. That said, I continue with my
  14 original argument that I made during the debate of
  15 Representative Joshi's motion. And that is, when you
  16 have an opportunity to make a bill better, you take that
  17 opportunity, whether you support or oppose the bill.
  18 And in that line of reasoning, senate amendments make a
  19 bad bill better. I doubt that there are any number of
  20 amendments that we would be able to talk about that
  21 would find strong bipartisan compromise on 1224, but I
  22 do hope that we are able to support the senate
  23 amendments to House Bill 1224, and I do ask for a house
  24 bill for senate amendments to House Bill 1224.
  25            MADAM SPEAKER: Representative Fields.
  0033
   1           REPRESENTATIVE FIELDS: Thank you, Madam
   2 Speaker Pro Tem.
   3           I urge a yes vote on approving the senate
   4 amendments on House Bill 1224.
   5           MADAM SPEAKER: Mr. Minority Leader.
   6           MR. MINORITY LEADER: Thank you, Madam
   7 Speaker Pro Tem.
   8           Well, Members, we just had the huge debate
   9 over what would have made this better, but the reality
  10 is that, even though the idea to protect the military
  11 was rejected, these amendments still do make the bill
  12 better. And, once again, it makes a bad bill better.
  13 So I think we should vote to approve these amendments
  14 made by the Senate. You can hiss me now if you want.
  15 So I'd ask for an aye vote.
  16            MADAM SPEAKER: Is there any other
  17 discussion on the motion to concur with senate
  18 amendments to House Bill 1224?
  19            Seeing none, Mr. Kolar, please open the
  20 machine and, Members, please proceed to vote.
  21            Representative Pabon. Mr. Assistant
  22 Majority Leader. Representative Tyler.
  23            Close the machine with 64 aye votes, zero
  24 no, and one excused, the House concurs with senate
  25 amendments to House Bill 1224.
  0034
   1           Madam Majority Leader.
   2           MADAM MAJORITY LEADER: Thank you, Speaker
   3 Pro Tem.
   4           I move for the repassage of House Bill
                                                                                                     LEG HX 000447                   4363
file:///X|/...r/HB%201224%20and%201229/HB%201224/Transcripts%20of%20legislative%20history/House%20Bill%2013-1224-031313.txt[11/5/2013 7:32:59 AM]
   5 1224 Appellate
            as amended.Case: 14-1290 Document: 01019371762                           Date Filed: 01/16/2015            Page: 210
   6           MADAM SPEAKER: And the motion before the
   7 house is the repassage of House Bill 1224.
   8           Mr. Kolar, open the machine.
   9           UNIDENTIFIED SPEAKER: (Inaudible.)
  10            MADAM SPEAKER: Sorry?
  11            UNIDENTIFIED SPEAKERS: (Inaudible.)
  12            MADAM SPEAKER: Okay, then let's come on
  13 down. Raise your hand. Who wants to talk?
  14            Representative Holbert.
  15            REPRESENTATIVE HOLBERT: Thank you, Madam
  16 Speaker Pro Tem.
  17            Even when we lose, we have a sense of
  18 humor, don't we?
  19            Members, I do rise, continue to rise, in
  20 opposition to House Bill 1224. I've said before, what
  21 we are doing here is restricting law-abiding citizens
  22 access, restricting permission for people who obey the
  23 law to have access and use metal or plastic boxes with a
  24 spring inside. That's all it is. Mechanically, it's
  25 similar to a PEZ dispenser or a little clicker pen.
  0035
   1           Does it hold ammunition and can it be
   2 joined with a weapon? Yes, but a magazine is not a
   3 weapon.
   4           Over the past few months, I've heard
   5 comments referenced to high-capacity, rapid-fire
   6 magazines, when what these are, are standard capacity.
   7 The normal-capacity magazine, for instance, an AR-15, is
   8 either 20 rounds or 30 rounds. I don't recall ever
   9 seeing one that wasn't one of those two numbers, 20 or
  10 30. Those are the standard capacity.
  11            We've heard reference back to the Aurora
  12 theater shooting and what an incredible tragedy. What
  13 can we do to help prevent such things from happening in
  14 our society?
  15            The shooter, as I understand, there used
  16 100-round drum magazine. I've seen these in magazines,
  17 something like a dual drum. If you want to call that a
  18 high-capacity magazine, that might make sense to me. I
  19 understand these weapons and these magazines. When you
  20 say high capacity, 20 or 30 doesn't come to mind, but
  21 certainly these ridiculous hundred-round drum magazines
  22 that don't work -- then I could understand, oh, that's
  23 what you mean. But when we say high-capacity,
  24 large-capacity ammunition magazines, in my vernacular,
  25 that's not something that holds 20 or 30 rounds, because
  0036
   1 that's normal, that's standard. That's what you can go
   2 buy off the shelf. That's what 99.999 percent of them
   3 are. Because if we talked about these drum magazines,
   4 my goodness, I would never, ever encourage anyone to buy
   5 any of those because they are so unreliable, which I
   6 believe played a factor at Aurora, but I certainly don't
                                                                                                     LEG HX 000448                   4364
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           Appellate
   7 understand          Case:
                   all the      14-1290
                           details there.     Document: 01019371762                  Date Filed: 01/16/2015            Page: 211
   8           It seems inappropriate for us, it seems
   9 heavy-handed for us as a legislature to reach out to
  10 people, for instance, like me. I strive to live within
  11 the law. I'm not perfect, but I strive to obey the law.
  12 And now you're telling me in this legislation that it's
  13 okay that I continue to have the standard-capacity,
  14 run-of-the-mill, normal magazines that hold 20 or 30
  15 rounds that can be associated with an AR-15 or similar
  16 rifle.
  17            But then we get into the conversation of
  18 easily converted. And Senator Lundberg offered a great
  19 demonstration in the Senate. I wish I had one. But he
  20 took a 10-round magazine, slipped the base plate out
  21 of -- because, again, all a magazine is is a box with a
  22 base plate, a little thin metal plate, a spring inside
  23 that pushes the ammunition up, and then what's called a
  24 little follower plate. It's a little thicker, but it
  25 has the shape of the roundness of a bullet in it. And
  0037
   1 as the bullets are pushed in, the spring compresses.
   2 But easily converted.
   3           You take the base plate out of any of
   4 these magazines, and take an extension and put it on the
   5 bottom and put the base plate on the bottom of the
   6 extension, you have a 10-round magazine that grows to 20
   7 or 30. So any 10-round magazine with a detachable base
   8 plate can almost certainly be converted, easily
   9 converted, in seconds into something that holds more
  10 than 15 rounds, which is not standard.
  11            I'm sure that there are 15-round magazines
  12 made for an AR-15, but I don't remember ever seeing one.
  13 They're 20 or 30. It's kind of like saying the standard
  14 shoe size is a 14. Well, what about all of us that are
  15 less than a 14? Is this -- or to match up the numbers
  16 of 15. Wait a minute, why did we come up with that
  17 arbitrary number? And on second reading, we had
  18 conversation about the arbitrary and capricious nature
  19 of 15. Where did that come from? It's more than 10,
  20 yes. But go out to a gun shop, go to a catalog, go
  21 online and look -- Google, search for a retailer that
  22 sells magazines, detachable magazines, and you will find
  23 for the AR-15 or similar weapons, 20- and 30-round
  24 magazines. Those are the normal. That's the standard
  25 size.
  0038
   1           And, again, we are reacting, I think in
   2 part -- and I think, Representative Fields, rightly
   3 so -- to the Aurora shooting. What can we do to address
   4 that problem? But are we addressing the hundred-round
   5 magazine? No. We're defining large capacity as
   6 anything more than 15.
   7           Then we get into handguns. Handguns that
   8 are, say, in the 38 caliber or 9 millimeter. Very
                                                                                                     LEG HX 000449                   4365
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   9 commonAppellate
                to find Case:   14-1290
                        something            Document:
                                     that would hold 15 or01019371762
                                                             more                    Date Filed: 01/16/2015            Page: 212
  10 rounds just in our normal handgun, semiautomatic handgun
  11 that you can buy over the counter right now, today, and
  12 many, many people have.
  13            Can those be easily converted? Yes, I'm
  14 sure they can. Is that really the intent of this bill?
  15 I hope it isn't.
  16            And it's for those reasons that I would
  17 ask for a no vote on House Bill 1224, because all we're
  18 doing is telling people who obey the law that they won't
  19 be able to buy or sell or trade a plastic or metal box
  20 with a spring in it. Is that really going to protect
  21 people? No. It's just a box with a spring in it. It's
  22 not a weapon. They don't fire rapidly or slowly. They
  23 don't fire at all. It's just a box with a spring in it.
  24            We're pretending that we're improving the
  25 public safety. This bill doesn't improve public safety.
  0039
   1 It puts restrictions, unnecessary restrictions, on
   2 law-abiding citizens.
   3           I also believe that it will create a
   4 market, black or not, for people would want to buy
   5 these, to acquire these. You think that they won't be
   6 able to. Have you seen the cartoon -- this isn't black
   7 market -- but have you seen the cartoon that shows the
   8 Wyoming-Colorado border with fireworks and
   9 normal-capacity, standard-capacity magazines on the
  10 Wyoming side of the border and marijuana on the side of
  11 Colorado?
  12            Is that what we really want to tell the
  13 citizens of our state, that we think so lowly of you
  14 that we will not trust you with a plastic or metal box
  15 with a spring in it?
  16            I ask for a no vote.
  17            MADAM SPEAKER: Representative Rankin.
  18            REPRESENTATIVE RANKIN: Thank you, Madam
  19 Speaker Pro Tem.
  20            Members, I know that we disagree on
  21 interpretation of the Second Amendment and we also agree
  22 on the effectiveness of this particular bill, buying
  23 that split-second between magazine changes and those
  24 instances where a mentally deranged person tries to
  25 commit mass murder. And we hope that that split-second
  0040
   1 buys us time to react.
   2           I know that we disagree, but I want to
   3 talk to you about a different area. I want to talk to
   4 you about an area where we do agree, and I know we do,
   5 and that's jobs, that's jobs and our economic base and
   6 the taxes that people pay in our state.
   7           There's a really troubling trend that's
   8 developed for me since we started to debate these
   9 issues, and it comes from a lot of e-mails and it comes
  10 from talking to my constituents, a lot of whom are
                                                                                                     LEG HX 000450                   4366
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           Appellate
  11 outfitters        Case: 14-1290 Document: 01019371762
                 and guides.                                                         Date Filed: 01/16/2015            Page: 213
  12            I honestly believe that next year I'll be
  13 standing in front of you and reporting that about
  14 25 percent of our hunting revenue and visitors has
  15 ceased, no longer come here, and about 10 percent of our
  16 tourism revenue overall.
  17            Certainly those are not accurate
  18 statistical numbers yet, but I really do believe that a
  19 year from now, I'll be talking to you about that. And
  20 this affects a lot of us. It affects some of you. My
  21 constituents on the other side of the aisle in Eagle
  22 County and Routt County and southwest Colorado, your
  23 citizens, your tax base is going to be affected
  24 dramatically by this bill. And I really believe that,
  25 you know, this bill buys us very little, but costs us
  0041
   1 much. And I think we need to consider that. It's not
   2 too late.
   3           We talked about Magpul, even put an
   4 amendment in the bill. But we're talking about perhaps
   5 a couple of thousand jobs here that are related to
   6 tourism and the sporting industry. This is -- and I
   7 wish I could quantify it as well as we did Magpul, but
   8 this is so much more impactful, so much more important
   9 to those jobs on the Western Slope. And this one bill,
  10 this magazine bill could send a signal that we're
  11 willing to reconsider, that we're willing to think about
  12 the jobs and the taxes and our own small towns in
  13 western Colorado -- so important to our heritage, so
  14 important to the image of Colorado -- reconsidering this
  15 one bill out of all the others that we're insisting that
  16 we have to pass. We'll send a signal that we do care,
  17 that we can -- that we're willing to reconsider based on
  18 jobs in the economy, but not based on how long it takes
  19 to change a magazine, not on the details of what a
  20 magazine is, but the welfare of our economy and our
  21 people.
  22            So I urge you to change your minds and
  23 vote against this bill. Let's send a signal. Thank
  24 you.
  25            MADAM SPEAKER: Representative Saine.
  0042
   1           REPRESENTATIVE SAINE: Thank you, Madam
   2 Chair.
   3           MADAM SPEAKER: It's Speaker Pro Tem.
   4           REPRESENTATIVE SAINE: Thank you,
   5 Speaker -- Madam Speaker Pro Tem.
   6           MADAM SPEAKER: Thank you.
   7           REPRESENTATIVE SAINE: Well, we've had
   8 some discussions about why -- why is it necessary for
   9 folks to own a standard-capacity magazine, to own
  10 something that has more than 15 rounds. I would like to
  11 read a letter from a very good friend of mine. He said
  12 he was not allowed time to testify last week. And this
                                                                                                     LEG HX 000451                   4367
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  13 is really          Case:
                important       14-1290
                            to hear.         Document:
                                      Why would          01019371762
                                                  you need to have                   Date Filed: 01/16/2015            Page: 214
  14 a magazine with more than 15 rounds? So let me read
  15 this to you.
  16            He said: Had I had the chance, this is
  17 what I would have said about this bill. He would have
  18 said: Thank you, Senators, for listening to me. My
  19 name is Karl Schwales (phonetic), and I work with
  20 disabled Coloradans. I try to help them engage in
  21 activities that will help them normalize their lives. I
  22 help find ways for my friends to adapt to hobbies,
  23 sports, and interests in such a way as to eliminate or
  24 minimize their disability. Some of my clients or
  25 friends have chosen to engage in shooting, both as a
  0043
   1 sport, much like what the president enjoys, and as a
   2 means of self-defense.
   3           For some disabled Coloradans, HB 1224 has
   4 huge negative ramifications. Imagine, if you will,
   5 trying to replace a magazine without the use of one of
   6 your hands or arms. It is a tedious and difficult task
   7 at best and nearly impossible in a chaotic and stressful
   8 situation.
   9           I heard the representatives around the
  10 floor, representatives say we aren't restricting how
  11 many magazines you can have, just how many bullets can
  12 be in each magazine. But if life restricts you from how
  13 many magazines one can use? It isn't practical for a
  14 young, disabled person to ask a home invader for a few
  15 minutes' break so that he and she can sit at a table,
  16 because that's the only way they can reload.
  17            HB 1224, unfortunately, places hundreds,
  18 perhaps thousands, of Coloradans that are most
  19 vulnerable at greater risk and unfairly. And Karl says
  20 he begs you for a no vote on their behalf.
  21            I'd also like to tell you another story.
  22 And, again, I would like you to think about this:
  23 Victims don't get to choose when they're going to be
  24 attacked. I can go stand in a dark alley and the worst
  25 place in Denver and yell oli, oli, oxen free, and I
  0044
   1 won't be attacked -- well, maybe I won't be attacked --
   2 because the criminal chooses when they're going to
   3 attack. The criminal chooses. He will use every
   4 advantage to do so. He will try advantage, strength,
   5 and outnumbering you. And for a victim to stop a
   6 violent attack, they will need a balance of the playing
   7 field. Otherwise, the right to self-defense is
   8 worthless, if you cannot balance the playing field, if
   9 you can't meet force with force.
  10            Currently, we seem to think that 15 rounds
  11 is sufficient, but shouldn't we be more concerned with
  12 how many rounds it actually takes to defeat an attacker?
  13            I'd like to read you something that I
  14 found about gunshot wounds. The only gunshot wound that
                                                                                                     LEG HX 000452                   4368
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  15 can reliably       Case:
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  16 the brain or the upper spinal cord. Even after being
  17 shot through the heart, a suspect, a criminal still has
  18 enough oxygen in his blood to shoot back for 15 seconds.
  19            Additionally, consider this -- and if
  20 you've taken a firearms class, you will know this --
  21 bullets do not have enough energy to knock down humans.
  22 You only see them on movie screens. Because if that
  23 were the case, any energy traveling in the opposite
  24 direction would also knock down the shooter.
  25            The FBI purports mentioning the number of
  0045
   1 reasons why suspects like this are able to take multiple
   2 bullet hits and fight on. Examples include adrenaline,
   3 extreme anger, painkillers, stimulants like cocaine,
   4 crack, methamphetamine. All these can keep a shooter --
   5 a criminal from feeling pain or even realize they've
   6 been shot.
   7           Here's a real life example of a gunshot.
   8 In 1986, in Miami, FBI agents were involved in a
   9 shootout. Despite being shot six times, suspect Michael
  10 Platt was still able to gun down two FBI agents and
  11 injure three others. Platt was hit by four more
  12 gunshots, but he continued to be a threat by pointing
  13 the gun at responding officers. It wasn't until he was
  14 hit by bullet No. 12 that he was incapacitated.
  15            And there are similar examples of suspects
  16 being shot five to six more times beyond 12 before
  17 they're incapacitated. And this is examples that
  18 happened in Philadelphia and Georgia. In a self-defense
  19 situation, you may have to inflict more than 15 rounds
  20 on your attackers. Especially consider if there are
  21 multiple attackers on methamphetamine or cocaine.
  22 Again, the criminal gets to pick when they attack you
  23 and they will try to outnumber you or outarm you.
  24            This is why, especially women, need to
  25 have standard-capacity magazines. You don't know how
  0046
   1 many folks are coming after you, even in your own home.
   2 There are many examples of self-defense that aren't
   3 reported by the media because the folks that fought back
   4 didn't consider themselves to be victims. They stopped
   5 the attack.
   6           I'd also like you to consider Magpul one
   7 more time. We heard yesterday: It's civil unions'
   8 jobs. So I'd like to ask you, these Magpul employees
   9 who are soon to be out of work, is there a job program
  10 for them to prepare them for civil union jobs?
  11            I urge a no vote on this bill. It doesn't
  12 increase public safety and it kills jobs. Thank you.
  13            MADAM SPEAKER: Representative Lawrence.
  14            REPRESENTATIVE LAWRENCE: Thank you, Madam
  15 Speaker Pro Tem.
  16            I just feel compelled to come down here
                                                                                                     LEG HX 000453                   4369
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           Appellate
  17 and just   remindCase:
                        you all14-1290
                                about some Document:     01019371762
                                             testimony that we                       Date Filed: 01/16/2015            Page: 216
  18 heard in the judiciary committee from a Mr. Robles, who
  19 actually experienced an attack in his business. He was
  20 alone in his business on a Memorial Day when three armed
  21 men came in to rob him and murder him. It was a pretty
  22 compelling story to hear someone tell you that they were
  23 shot five times by armed intruders, and because he had a
  24 firearm in his business with a standard capacity of 16
  25 rounds, he was able to defend himself. And he lived so
  0047
   1 that he could come and testify for us.
   2           Now, granted, he needed 13 of those 16
   3 rounds, and I think that did have some influence on the
   4 15-round capacity that was talked about over and over
   5 again in that judiciary committee. But what if he had
   6 needed all 16?
   7           When I talked about this earlier, the
   8 sponsor of the bill said, Well, that's why we let you
   9 have more than one magazine. You can switch -- you can
  10 switch them out real quick.
  11            Well, the victim isn't usually prepared
  12 for that. Mr. Robles wasn't prepared to have three
  13 armed men come into his business that day and try to
  14 murder him. Luckily, he did have a firearm that had a
  15 standard capacity of 16. Luckily, he didn't need every
  16 piece of ammunition that he had in that gun that day.
  17            We keep talking about this as a safety
  18 measure, but we keep ignoring the fact that a lot of
  19 these firearms are used for defensive purposes every day
  20 all across this country. And those people who are using
  21 them for defensive purposes are not usually armed to the
  22 gill, like a bad guy is when he comes in bent on
  23 murdering someone.
  24            That is something that we all need to
  25 think about. We need to think about that Mr. Robles,
  0048
   1 who was innocently working in his business that day,
   2 when three armed men came in to kill him. I think we
   3 need to really think hard about taking away that
   4 defensive opportunity from a Mr. Robles or a woman
   5 walking downtown or someone in their home. This isn't
   6 just about the intruder. This is about the person who
   7 needs that weapon with a standard-capacity magazine for
   8 self-defense.
   9           I ask for a no vote on this bill.
  10            MADAM SPEAKER: Representative Salazar.
  11            REPRESENTATIVE SALAZAR: Thank you, Madam
  12 Speaker Pro Tem.
  13            Just a note of clarification: As this
  14 amendment was being drafted, moving it from 10 to 15
  15 rounds, we did Google it. In fact, I specifically
  16 Googled AR-15s and the kinds of rounds that the
  17 magazines for AR-15s would take. And they go from five
  18 rounds, which you can find on Brownells website -- I
                                                                                                     LEG HX 000454                   4370
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  19 don'tAppellate    Case:going
            know if they're    14-1290      Document:
                                    to pay me            01019371762
                                               any royalties for                     Date Filed: 01/16/2015            Page: 217
  20 this -- but you can find five rounds on their website,
  21 10 rounds on their website. And if you go to Magpul's
  22 website, Magpul sells a 10-round AR-15 magazine.
  23            Googling it, you come up with a number of
  24 websites where you can find five rounds and 10 rounds,
  25 20 rounds and 30 rounds. I reject the idea that anybody
  0049
   1 here has the authority to decide what is a
   2 standard-round magazine for an AR-15, when they go from
   3 five up to 30 and even beyond that.
   4           I just wanted to point that out to you,
   5 that you can find it. It's right here. Thank you very
   6 much.
   7           MADAM SPEAKER: Representative Landgraf.
   8 Oh, okay.
   9           Representative McNulty.
  10            REPRESENTATIVE McNULTY: Thank you, Madam
  11 Speaker Pro Tem.
  12            Representative Salazar, you and I have
  13 finally found common ground, and I thank you for that.
  14 None of us have the right to decide what is a
  15 standard-capacity magazine. We in this chamber don't
  16 have the right to determine what is a standard-capacity
  17 magazine. And in that, Representative Salazar, you and
  18 I agree.
  19            Now, I suspect your vote is not going to
  20 change, and I know my vote isn't going to change. I
  21 appreciate so much Representatives Saine and Lawrence
  22 coming down to share their stories and the stories that
  23 they have encountered throughout the life of this bill.
  24 To me, this isn't a question about need. It's not
  25 whether I need a 20-round magazine or I need a 30-round
  0050
   1 standard-capacity magazine. It is my right. It is my
   2 right to have that standard firearm that is in common
   3 use, and you don't have the right to take it from me.
   4 You don't have the right to prohibit me from exercising
   5 my constitutional rights as a law-abiding citizen. You
   6 don't have that right.
   7           And this may come to you as some surprise,
   8 Representative Salazar, but a 10-round magazine plus a
   9 five-round magazine doesn't equal a 15-round magazine.
  10 There is no rational argument for a 15-round magazine.
  11 There is no rational argument for why it was at 10 and
  12 went to 15. There's no reason that was given why 15 is
  13 okay, but 16 isn't, or when the change in committee was
  14 11 is not okay, but now 15 is okay.
  15            There is no rational argument for any of
  16 these arbitrary capacity sizes that the majority has
  17 said. And as this bill is moved through the process,
  18 through the House, through the Senate, increasingly the
  19 flaws of the bill have been shown. At every turn, the
  20 flaws of this bill have been shown. And we're given the
                                                                                                     LEG HX 000455                   4371
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                If we just     14-1290
                           do this,          Document:
                                    we will all be safer. 01019371762                Date Filed: 01/16/2015            Page: 218
  22            I don't believe that to be true. And I
  23 know there are many Coloradans who know that that isn't
  24 true. Your arbitrary limits will not make us safer,
  25 though they will undermine our constitutional rights.
  0051
   1           And so, Representative Salazar, as a civil
   2 rights lawyer, I am sure that you are keenly aware of
   3 the critical importance of maintaining our
   4 constitutional rights. It saddens me that you would
   5 choose to undermine mine given the nature of your
   6 conversations that you have had at this microphone
   7 during your short time here at legislature.
   8           The other thing that troubles me is the
   9 fact that you are leaving 700 Colorado families in the
  10 lurch. We talk so much about what can we do to bring
  11 manufacturing to our state, good middle class jobs to
  12 our state? We spend money to bring these jobs to our
  13 state. The governor hosts press conferences announcing
  14 25 jobs created. And, yet, with these votes and with
  15 the stroke of his pen, 700 families will be out of work.
  16 They will either be forced to uproot their families and
  17 leave this state, pull their kids out of school, sell
  18 their homes to follow those good-paying jobs with
  19 benefits or join the unemployment rolls here in
  20 Colorado, because of the passage of this bill. That's
  21 not right.
  22            And I appreciate the fact that some who
  23 support this bill, the proponents of this bill, say: We
  24 don't want to be threatened. We don't like to be
  25 threatened. Dang, it's not a threat. They said they're
  0052
   1 leaving. They've given the reason why they're leaving.
   2 It's a business decision. They have said, We want to
   3 stay. They worked with our state office of economic
   4 development to grow their operation here. And now we're
   5 telling them they're not wanted. Real world
   6 consequences.
   7           It's amazing how sometimes life just gives
   8 us these examples that we're able to share with each
   9 other. During legislative debates this morning, I was
  10 at a breakfast. A small community banker was there.
  11 Shared the fact that they were working to recruit a
  12 business to Douglas County. And as this bill is under
  13 consideration, that business has stopped looking at
  14 Douglas County and is now looking at Texas.
  15            It is embarrassing to me, it's
  16 embarrassing to our state that other states are falling
  17 all over themselves to steal 200 jobs out from
  18 underneath us. And the hundreds of jobs that will
  19 follow, make no mistake about it, they will leave. They
  20 have. To maintain their business, to provide those
  21 jobs, they cannot stay in Colorado. They cannot stay in
  22 an environment that doesn't support what they're doing.
                                                                                                     LEG HX 000456                   4372
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  23 And Appellate      Case:
            to think that       14-1290 to Document:
                           an amendment      this bill was 01019371762
                                                           offered     Date Filed: 01/16/2015                          Page: 219
  24 and adopted by the proponents who said you can make it
  25 here. We don't like your product. You can make it
  0053
   1 here. You can sell it anywhere you want, but you can't
   2 sell it here. What message is that sending to anyone
   3 who makes anything, providing those jobs?
   4            Folks, I appreciate very much the
   5 sentiment behind this bill. Our hearts break. We need
   6 to recognize the underlying causes of violence in our
   7 communities today. Violence has changed. We need to
   8 understand why.
   9            Attacking the tools of violence doesn't
  10 make us safer. Understanding and addressing the
  11 underlying causes of that violence does. And that has
  12 not been a part of this debate even from the outset.
  13             Colleagues, I suspect I know what will
  14 happen on repassing this bill, but as you hit that
  15 button, think about the families. Think about the
  16 families who won't be able to pay their mortgage, think
  17 about the kids who are going to be pulled out of their
  18 schools, think about the effect, the long-term effect
  19 that this bill is going to have on our ability to create
  20 a better Colorado.
  21             I ask for a no vote on repassage of House
  22 Bill 1224.
  23             MADAM SPEAKER: Representative Landgraf.
  24             REPRESENTATIVE LANDGRAF: Thank you, Madam
  25 Speaker Pro Tem, and thank you, Representative McNulty,
  0054
   1 for mentioning rational reasons.
   2            We have rational reasons to vote against
   3 this bill, and that's jobs. When I spoke on this bill
   4 when it first came up, I talked about two businesses in
   5 my area that will go out of business. We've heard of
   6 others since, but today I would like to read an e-mail
   7 that I have received, and I want you to think while I'm
   8 reading about this about lost revenue to our state.
   9            I am an executive producer for Outdoor
  10 Channel. I currently have four series in production,
  11 including Gun Stories, the top show on OC. With several
  12 additional series in development, my series focus on
  13 guns, hunting, shooting, and the outdoors.
  14             This morning, I met with my three
  15 producers and we made the decision that if these
  16 anti-gun bills become law, we will be moving all of our
  17 production out of Colorado. We have already cancelled a
  18 scheduled filming session for late this month.
  19 Obviously, part of this is due to our own commitment to
  20 the right to keep and bear arms, but it also reflects
  21 three lawyers' opinions that these laws are so poorly
  22 drafted and so designed to trap otherwise legal citizens
  23 into a crime that it is simply too dangerous for us to
  24 film here.
                                                                                                     LEG HX 000457                   4373
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  0055
   1 legal implications, if you need, but suffice it to say
   2 that the first legal opinion was so scary, we went out
   3 and got two others. All three attorneys agreed.
   4           We are relatively small potatoes in
   5 television, but our relocation of production will cost
   6 Colorado a little less than a million dollars in 2013.
   7 Secondly -- and this is the important part -- we have
   8 proudly promoted Colorado in our productions and have
   9 been moving more and more production into the state.
  10 Now we will do exactly the opposite.
  11            What does this mean for Colorado? The
  12 community of television producers is a small one. Last
  13 week I had lunch with a major network producer who was
  14 looking to locate his new reality series in Colorado.
  15 That producer is also a shooter, and a new reality
  16 series will now be based out of Phoenix. That lunch
  17 cost Colorado over a million in economic impact.
  18            Thirdly, according to numbers I received
  19 from -- I'm sorry, I lost it -- according to numbers I
  20 received from the National Shooting Sports Foundation,
  21 hunting had an almost $800 million impact on Colorado in
  22 2012, driving as many as 8,330 jobs. Next month I will
  23 be in Texas meeting with most of the top outdoor hunting
  24 producers, and the No. 1 agenda will be Colorado.
  25            Already hunting organizations and
  0056
   1 statewide hunting clubs around the country are pulling
   2 out of Colorado, and we expect this trend to accelerate
   3 rapidly.
   4           It goes on and on, but I think I've made
   5 my point. This bill is going to cause tremendous harm
   6 to Colorado through the loss of jobs, the loss of
   7 vacation revenue. It's bad for Colorado. I definitely
   8 urge a no vote.
   9           MADAM SPEAKER: Representative Sonnenberg.
  10            REPRESENTATIVE SONNENBERG: Thank you,
  11 Madam Speaker Pro Tem.
  12            And, Members, I'm actually going to be
  13 very, very brief. I can tell you that if large-capacity
  14 magazines cause crime, mine are defective. To outlaw
  15 these boxes with springs will have absolutely no effect
  16 on crime. What this bill does is make me and my
  17 law-abiding neighbors criminals.
  18            With that, I urge a no vote.
  19            MADAM SPEAKER: Representative McCann.
  20            REPRESENTATIVE McCANN: Thank you, Madam
  21 Speaker Pro Tem.
  22            I would ask that we support this bill. I
  23 think some very compelling arguments have been made by
  24 several members, but there are also compelling arguments
  25 to be made to limit the size of magazines that are
  0057
                                                                                                     LEG HX 000458                   4374
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           Appellate
   1 available        Case: 14-1290 Document: 01019371762
                in Colorado.                                                         Date Filed: 01/16/2015            Page: 221
   2           High-capacity magazines are a common
   3 thread linking mass shootings. Large-capacity magazines
   4 were used in 28 of the 34 mass shootings in the U.S. in
   5 recent history, 1984 to 2012. 82 percent of the mass
   6 shootings involved high-capacity magazines.
   7           We also have information from the
   8 Department of Justice that high-capacity magazines are
   9 used in 14 to 26 percent of gun crimes and 31 to
  10 41 percent of fatal police shootings.
  11            The chiefs of police of our state are
  12 supporting this bill for that reason. High-capacity
  13 magazines can cause a huge amount of damage to a great
  14 many -- number of people in a very, very short time.
  15            Many of the high-profile mass shootings
  16 include the following: As we know, Newtown,
  17 Connecticut, where 26 people were killed, with multiple
  18 30-round magazines and an assault weapon. In Oak Creek,
  19 Wisconsin, Wade Page killed six people and wounded three
  20 with a semiautomatic handgun and three 19-round
  21 magazines. And, of course, here in our own state, the
  22 horrible tragedy in Aurora, where James Holmes allegedly
  23 shot and killed 12 people and injured 58 others at the
  24 movie theater with his assault weapon with a
  25 hundred-round drum magazine.
  0058
   1           In Tucson, Arizona, Jared Loughner shot
   2 and killed six people, including Congresswoman Gabby
   3 Giffords and a federal judge and wounded 13 others.
   4           And this is a situation -- I mean, people
   5 say, Well, maybe it would work in one situation. Well,
   6 it did work with respect to that horrible murder,
   7 because Mr. Loughner was taken down because he was
   8 reloading. Had he not had that split-second -- and I
   9 understand it doesn't take very long to reload -- had he
  10 not had to reload, who knows how many more people would
  11 have been killed that day.
  12            In New York -- I'm sorry, in Fort Hood,
  13 Texas, Major Hasan shot and killed 13 people and wounded
  14 34 others with 20- and 30-round magazines.
  15            And in Bingingham (sic), New York, in
  16 2009, Mr. Wong shot and killed 13 people and injured
  17 four others, firing 99 rounds from two semiautomatic
  18 handguns, and a 30-round capacity magazine was found.
  19            A 2010 survey by the Police Executive
  20 Research Forum reported that since the federal assault
  21 weapons ban expired, 38 percent of police agencies
  22 reported seeing noticeable increases in criminals' use
  23 of semiautomatic firearms with high-capacity magazines.
  24            And in Virginia, when the federal firearms
  25 ban was repealed, after it was repealed or went out of
  0059
   1 effect, there was a 60 percent decline in the share of
   2 gun crimes with high-capacity magazines between 1998 and
                                                                                                     LEG HX 000459                   4375
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   3 2004.Appellate Case: 14-1290 Document: 01019371762                              Date Filed: 01/16/2015            Page: 222
   4           So high-capacity magazines are used in
   5 horrible crimes. They cause horrible results. What
   6 this bill does is simply say you can continue to have
   7 high-capacity magazines, but they need to be limited to
   8 15 rounds, so that your ability to cause this kind of
   9 harm is limited and there is an opportunity, at least,
  10 for the possibility that someone could save him or
  11 herself and others because of the need to reload.
  12            And the hunters -- many hunters with whom
  13 I have spoken or my constituents have spoken have said,
  14 We don't need 15-round capacity magazines to hunt. In
  15 fact, there is a Division of Wildlife rule that limits
  16 hunters to having three rounds when they're hunting in
  17 their chamber. So hunters don't need 15, 30 -- don't
  18 need 30-round magazines to hunt. In fact, they're not
  19 allowed to use them in hunting already in Colorado.
  20            So, Colleagues, this is a common-sense
  21 bill. We're not taking anyone's guns away or away
  22 anyone's ability to defend themselves with guns. We're
  23 simply saying that we need some reasonable control on
  24 the amount of rounds you can shoot at one time. So I
  25 would urge a yes vote on this bill. Thank you.
  0060
   1           MR. SPEAKER: Representative Joshi.
   2           REPRESENTATIVE JOSHI: Thank you,
   3 Mr. Speaker.
   4           Members, as we debated earlier, this is
   5 not a very clear bill. We discussed many issues needs
   6 to be further explored and clarified. And then on top
   7 of that, there are many questions that this bill has not
   8 even answered. One of them is how exactly this bill
   9 will prevent crimes? We have heard many times and many
  10 comments that, yeah, this might do it, but we're not
  11 sure if this will really prevent the crime.
  12            We all know criminals will always figure
  13 out the way around any of the laws. That's why some of
  14 these crimes, even we have many, many bills on the laws
  15 in the statute, they continue.
  16            At the same time, what are we doing? We
  17 are actually penalizing all of our law-abiding citizens.
  18 And then what about the exemption of the Colorado
  19 manufacturers allowing the sale outside Colorado, but
  20 while we don't allow them to sell same thing within
  21 Colorado? What kind of message we are sending to a
  22 business or the manufacturer that you can come to
  23 Colorado, do whatever business you want to do, but you
  24 can't do that business within Colorado? You will have
  25 to do it outside of Colorado.
  0061
   1           Which company will think about coming to
   2 Colorado when they find out about them? And I think the
   3 only reason we heard about it, because some members
   4 think that think that our families will live outside our
                                                                                                     LEG HX 000460                   4376
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   5 (inaudible)   whileCase:  14-1290
                         they protect       Document:
                                      their own  families.01019371762
                                                           What                      Date Filed: 01/16/2015            Page: 223
   6 kind of argument is that? We should protect every
   7 single human being.
   8           This is like -- and I may be giving a
   9 little idea to my members' frenzia (phonetic) -- this is
  10 like allowing Coors to sell their beer outside Colorado,
  11 but we don't allow it within Colorado because somebody
  12 thinks that a drunk driver who drank a six-pack and went
  13 out and then he knocked out a pedestrian and killed
  14 them -- well, let me tell you, that little bottle of
  15 Coors beer that sits in the refrigerator doesn't do
  16 anything by itself. The same way, the magazine which is
  17 sitting in a locked, secured closet that is owned by
  18 some law-abiding citizen doesn't do anything.
  19            So, Members, all we are doing here is
  20 trying to do something that we don't have evidence it
  21 really works. So all I am saying, that this is not a
  22 very good bill and I ask for a no vote.
  23            MR. SPEAKER: Representative Wright.
  24            REPRESENTATIVE WRIGHT: Thank you,
  25 Mr. Speaker.
  0062
   1           With all due respect to my colleague
   2 Representative McCann, this so-called common-sense bill
   3 is an assault on our freedom. It's an infringement of
   4 our liberty, and I dispute that it has anything to do
   5 with common sense.
   6           And here's why I say that: I think that
   7 we can easily say -- we can concede that Jared Loughner
   8 may have been stopped in his mass shooting because of
   9 the magazine capacity. Let's concede that for a moment.
  10 If that's the case, this is a two-way street, Members.
  11 This is a two-way street. By taking away someone who is
  12 committed to doing wrong their ability to commit those
  13 acts on us, we're also taking away the ability of a
  14 law-abiding citizen to defend themselves with the same
  15 magazines.
  16            Now, I've heard my colleagues on the other
  17 side of the aisle. A few of them have stated: Prove to
  18 me that allowing a magazine to contain one more round
  19 than 15 would save a life in the state of Colorado.
  20 Well, I have an example for you.
  21            In 1992, during the LA riots, a shop
  22 owner's life was saved when he was attacked by a mob.
  23 And in his possession, he had an AR-15. And in that
  24 AR-15, he had a 30-round magazine.
  25            Members, he fired 17 to 19 rounds, 17 at a
  0063
   1 minimum because those are the rounds that the police
   2 could discover in the shop. He believed that he fired
   3 19. He fired 17 to 19 rounds from his firearm before
   4 that mob took notice, left his store, stopped their
   5 attack. Had he not had a 30-round magazine, had he not
   6 had one more round than No. 15, there's a significant
                                                                                                     LEG HX 000461                   4377
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   7 chance Appellate   Case:not
               that he would   14-1290      Document:
                                 be here today.           01019371762
                                                  So there's                         Date Filed: 01/16/2015            Page: 224
   8 evidence.
   9            Members, fellow citizens of Colorado, it's
  10 evident that House Bill 1224, in prohibiting
  11 large-capacity magazines, is a result of the
  12 infiltration of people like Mayor Michael Bloomberg, of
  13 East Coast politicians who have infiltrated and
  14 permeated the state of Colorado. And I'm speaking to
  15 the bill, and I say this with the utmost validity,
  16 because in judiciary, in the first committee of
  17 reference that we heard this bill, we heard the
  18 testimony of a man named Daniel Chipman -- David
  19 Chipman. I apologize. And Mr. Chipman told us that he
  20 represents an organization called Mayors Against Illegal
  21 Gun Violence. Guess who the head of that organization
  22 is? Mayor Michael Bloomberg. Mayor Michael Bloomberg,
  23 the Mayor Michael Bloomberg who, days ago, his arbitrary
  24 and capricious law outlawing large, sugary beverages was
  25 struck down --
  0064
   1            MR. SPEAKER: Representative Wright to the
   2 bill.
   3            REPRESENTATIVE WRIGHT: Thank you,
   4 Mr. Speaker. And this is to the bill because --
   5            MR. SPEAKER: The talk about sugary drinks
   6 is not to the bill. I have given you leeway on Mayor
   7 Bloomberg, but not sugary drinks.
   8            REPRESENTATIVE WRIGHT: Thank you,
   9 Mr. Speaker. And the reason I draw that link is because
  10 we're talking about a capacity of a drink or a capacity
  11 of a firearm.
  12             And, Members, the last I checked, a drink
  13 is not a constitutionally protected right. Possession
  14 of a firearm is. And we've had constitutional law that
  15 has shown us, that has proven to us, case law, in the
  16 District of Columbia versus Heller, that weapons in
  17 common use at the time are protected for individual use.
  18             So we have seen, from our own Supreme
  19 Court, that weapons in common use at the time, which
  20 happens to include AR-15s with 30-round magazines
  21 notably used here in 1992 for self-protection of one's
  22 business -- how many years is that that this has been in
  23 use, in common use? And suddenly in Colorado, we're
  24 going to say, Citizens of Colorado, you can't possess a
  25 magazine that has been used since 1992 by individuals.
  0065
   1            Now, it's evident today that this bill is
   2 being rushed forward. We had members speak to an
   3 amendment that would have simply sent this bill back to
   4 a committee, a conference committee, to work out some
   5 concerns, some very valid concerns with this
   6 legislation. Why is this bill being rushed forward?
   7 I'll tell you why it's being rushed forward. It's toxic
   8 policy. And the members in the majority and the
                                                                                                     LEG HX 000462                   4378
file:///X|/...r/HB%201224%20and%201229/HB%201224/Transcripts%20of%20legislative%20history/House%20Bill%2013-1224-031313.txt[11/5/2013 7:32:59 AM]
           Appellate
   9 sponsors            Case: 14-1290
                are beginning                 Document:
                                to realize this. They don't01019371762
                                                            want                     Date Filed: 01/16/2015            Page: 225
  10 this bill to linger. It's politically --
  11            MR. SPEAKER: Representative Wright, it's
  12 not in order to impugn the motives of other members.
  13            REPRESENTATIVE WRIGHT: Thank you,
  14 Mr. Speaker.
  15            Members, if this bill passes today, I can
  16 guarantee you that you're not going to hear a collective
  17 sigh of relief from the people of Colorado that they're
  18 somehow safer. The reality is, they're not. The
  19 reality is, people like Jared Loughner would have had
  20 access to those magazines on the black market. The
  21 reality is this is completely unenforceable law.
  22            There's no way to enforce this law when
  23 it's the prosecution's burden of proof that that
  24 offender didn't have possession of that magazine prior
  25 to this ban. That's a tough case to prove. All you
  0066
   1 have to do is say, I'm sorry, I owned this magazine
   2 prior to the enactment of this law.
   3           This is not going to have the intended
   4 effect and the well-meaning effect that the sponsor
   5 wants this legislation to have. And, therefore, I think
   6 we should not put the rights of Coloradans at risk,
   7 constitutional rights at risk, simply on a hunch.
   8           I spoke on this bill prior and stated that
   9 the criminals in the state of Colorado will be laughing
  10 if we pass this law. And the people, the law-abiding
  11 citizens, the well-meaning, well-intentioned citizens of
  12 this state will not be laughing.
  13            Members, I ask for a no vote on this bill.
  14 Thank you.
  15            MR. SPEAKER: Representative Murray.
  16            REPRESENTATIVE MURRAY: Thank you,
  17 Mr. Speaker.
  18            I -- I truly regret that we did not go to
  19 conference committee because it is clear to me that
  20 there are so many unintended consequences in this bill
  21 that have not been covered yet and, in effect, are
  22 making criminals of law-abiding citizens. And I know
  23 that that's not the intent of the sponsors, but the bill
  24 is as it is now.
  25            One thing that I've noticed -- and it
  0067
   1 really struck me when I looked at our group picture as a
   2 general assembly -- in our general assembly picture of
   3 65 legislators, there's somebody with a cowboy hat. You
   4 know, I think this could be the first time in recent
   5 history that we don't have anybody in a cowboy hat in
   6 our picture. And I noticed that most of the proponents,
   7 the arguments for this bill are people that are from the
   8 Denver metro area.
   9           So I think what's happening in our state
  10 is what the rural people have been shouting about for
                                                                                                     LEG HX 000463                   4379
file:///X|/...r/HB%201224%20and%201229/HB%201224/Transcripts%20of%20legislative%20history/House%20Bill%2013-1224-031313.txt[11/5/2013 7:32:59 AM]
  11 yearsAppellate    Case:
            about Denver       14-1290
                            lawyers,        Document:
                                     they like            01019371762
                                               to say, those                         Date Filed: 01/16/2015            Page: 226
  12 Denver people sort of changing the lifestyle as the
  13 state, if you will. And, you know, I'm from Douglas
  14 County, I'm from the suburb. It's a little bit beyond
  15 Denver. But I get put in that category too. But as a
  16 result of -- though the Denver people aren't accepting
  17 me among them, I see -- but as a result, I think we are
  18 denying people's -- some of the reasons that they moved
  19 here to our great state. We are an outdoorsy state.
  20 And part of being outdoorsy is ownership of firearms.
  21            Did you ever go through Kremmling in
  22 hunting season? That is classic, old time Colorado. So
  23 to deny that there is a place in our state for city
  24 pleasures and rural pleasures, I think is something that
  25 we need to really be considering.
  0068
   1           Representative Landgraf brought up the
   2 fact that we're going to be losing some filming revenue
   3 as a result of that, and we've received many letters
   4 from people who say, Sorry, obviously, I'm not welcome
   5 in this state anymore.
   6           A lot of talk about what is standard use
   7 in terms of magazines. This is one of the great
   8 concerns I have with some people who have indicated:
   9 Well, with the Second Amendment, with any of our
  10 amendments, our constitutional rights, there can be
  11 limits. Well, there's a phrase called common use. And
  12 all the efficient autos that came and testified in
  13 committee, the gun efficient autos said 30 is a
  14 standard. And I even asked Magpul: Do you make a 15?
  15 No, ma'am, we don't make a 15.
  16            So to talk about standard has to be --
  17 well, what is common use? Common use is 30. So, you
  18 know, for us to be chasing a business out of Colorado
  19 with a magazine size that they don't even make, it isn't
  20 all hanging together in terms of logic.
  21            And there's one other thing I'd like to
  22 say, Members -- there was something that I said when I
  23 was sitting in the civil unions hearing in the judiciary
  24 committee. I said it, and yesterday our honorable
  25 speaker said it: This is one of those times when you
  0069
   1 have to realize how important your vote is and what the
   2 significance is to history. And you have to be able to
   3 look in the mirror and know that tomorrow when you look
   4 in that mirror that you've done the right thing for your
   5 constituents and for the constituents in Colorado. I
   6 urge a no vote on this bill.
   7           MR. SPEAKER: Representative Nordberg.
   8           REPRESENTATIVE NORDBERG: Thank you,
   9 Mr. Speaker.
  10            Members, if this bill passes, I fear it's
  11 going to be labeled the jobs bill of the session, the
  12 day where -- we did the Colorado jobs bill for Texas or
                                                                                                     LEG HX 000464                   4380
file:///X|/...r/HB%201224%20and%201229/HB%201224/Transcripts%20of%20legislative%20history/House%20Bill%2013-1224-031313.txt[11/5/2013 7:32:59 AM]
           Appellate
  13 for Utah          Case: 14-1290
                or for Arizona,             Document:
                                because they're          01019371762
                                                 all welcoming                       Date Filed: 01/16/2015            Page: 227
  14 these industries with open arms and they're laughing at
  15 us. We're talking 800 jobs. And you've all heard about
  16 Magpul. You've all heard about Alfred Manufacturing.
  17 But it's more than that. It's the small veteran owned
  18 businesses in Colorado Springs, who I represent, that
  19 are going to be forced to leave, or just flat-out quit
  20 their business because they can't afford to do business
  21 in Colorado because we don't promote their industry
  22 anymore.
  23           The firearms and ammunitions industry is a
  24 $33 billion industry a year. If we close the door on
  25 this now, they're never going to come back. It's game
  0070
   1 over. And in this kind of economy, I don't think that's
   2 the message Colorado wants to send.
   3          I respectfully ask for a no vote on this.
   4 Thank you.
   5          MR. SPEAKER: Representative Saine.
   6          REPRESENTATIVE SAINE: Thank you,
   7 Mr. Chair -- Master Speaker. I'll get that right some
   8 day.
   9          Colleagues, Representative Sonnenberg had
  10 mentioned that he may have some defective magazines --
  11 because I've heard a lot of talks about how magazines
  12 kill people and about these horrible situations. Well,
  13 Representative Sonnenberg, maybe your magazines aren't
  14 defective; maybe they're lazy. Maybe they're lazy
  15 because they haven't gotten up and killed anyone. I
  16 would ask that we judge magazines after; maybe we'll
  17 impound them after something has happened. Let's not
  18 judge people, magazines, or Magpul guilty for a crime.
  19 And, certainly, let's not judge people guilty before a
  20 crime has happened.
  21           I urge a no vote.
  22           MR. SPEAKER: Representative Everett.
  23           REPRESENTATIVE EVERETT: Thank you,
  24 Mr. Speaker.
  25           I also rise in opposition to House Bill
  0071
   1 1224. Again, this ban is standard, standard-capacity
   2 magazines. And, Representative Salazar, if you want to
   3 go out and buy your AR with its standard-capacity
   4 magazine, then go on the after-market and get your
   5 low-capacity magazine, please go ahead, please go ahead,
   6 but please don't vote away our rights. Please don't
   7 vote away our rights.
   8          Plus, as we saw the Clinton gun ban in
   9 1994, according to the FBI, it statistically did
  10 nothing, nothing to curve gun violence. In fact, in
  11 2005, according to the FBI, the year after the Clinton
  12 gun ban expired, justifiable homicides with a rifle were
  13 cut in half. Yes, cut in half. I'd say it was because
  14 the criminals knew law-abiding citizens could again use
                                                                                                     LEG HX 000465                   4381
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  15 equalAppellate     Case:
            force, so they      14-1290
                             were           Document:
                                   not committing   as many01019371762
                                                             crimes.                 Date Filed: 01/16/2015            Page: 228
  16            So what this bill does is penalize
  17 law-abiding citizens and actually empowers the criminals
  18 that would do us harm. It takes away our civil rights,
  19 our ability to protect ourselves, our ability to protect
  20 our families.
  21            And I have another problem with this bill
  22 that should cause us great concern, and this hasn't been
  23 mentioned yet. This bill allows manufacturers in the
  24 state of Colorado to sell to foreign countries -- and
  25 that's on page 4, lines 24 to 27 -- to sell these
  0072
   1 standard magazines to foreign citizens when our own
   2 citizens will not be able to buy them. Yes, this is an
   3 absolute travesty. When did our country, our great
   4 state of Colorado fall behind foreign countries on
   5 issues of civil liberties, on issues of civil rights?
   6 This sounds absurd, absolutely this does sound absurd,
   7 but that's what this bill does.
   8           I've just cited a few reasons to vote no
   9 on this bill, but there are many more. I hope members
  10 of this (inaudible) see that this bill is just bad for
  11 Colorado. I urge a no vote on 1224. Thank you.
  12            MR. SPEAKER: Representative Priola.
  13            REPRESENTATIVE PRIOLA: Thank you,
  14 Mr. Speaker.
  15            Members, I rise in opposition of 1224.
  16 The bill, top to bottom, is arbitrary and capricious.
  17 And it was also brought up the different sizes of
  18 standard-capacity magazines. And I challenge you to go
  19 to the Magpul website. I was back there looking at it.
  20 They sell 10, 20, and 30. They do not sell 15. And I
  21 think that's by design, the reason that amendment was
  22 put on, because, in a sense, it really is a 10-round
  23 limit, because the common sizes are 10, 20, 30 for the
  24 manufacturer. So this manufacturer is going to leave.
  25 And the two to 700 jobs are going to leave. And the
  0073
   1 school district of those kids of the employees are going
   2 to leave. And teachers are going to be laid off, and so
   3 on and so forth. But I guess it let some feel better.
   4 But you are taking away civil rights, constitutional
   5 rights from your fellow Coloradans.
   6           MR. SPEAKER: Representative Buck.
   7           REPRESENTATIVE BUCK: Thank you,
   8 Mr. Chair. And I -- Speaker. I apologize, sir.
   9 Mr. Speaker.
  10            I have to tell you, I have received an
  11 abundance of e-mails, and I know all of you are getting
  12 them on the other side. And, you know, I've made some
  13 good friends. And I hope that you're listening and
  14 reading those e-mails to oppose this House Bill 1224.
  15 So I hope to see you around, and I hope you pay
  16 attention to those e-mails. And I hope you vote no on
                                                                                                     LEG HX 000466                   4382
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  17 this bill.  ThankCase:
                        you. 14-1290 Document: 01019371762                           Date Filed: 01/16/2015            Page: 229
  18            MR. SPEAKER: Mr. Minority Leader.
  19            MR. MINORITY LEADER: Thank you,
  20 Mr. Speaker.
  21            Members, we've had a lot of debate on this
  22 piece of legislation. We debated it a couple weeks ago,
  23 and we've had some pretty significant debate today. I
  24 think some good debate today. And I've got to tell you,
  25 as we move forward, the list of things in this piece of
  0074
   1 legislation that are troublesome continues to grow. We
   2 uncovered yet another problem in criminalizing our
   3 military members who want to purchase these magazines
   4 and take them overseas. We don't know if it
   5 criminalizes them or not, but it might. We admit that
   6 it might. But we refuse to work on that, fix it, make
   7 it better.
   8            But there are also many other problems
   9 with this bill, but the one that disturbs me the most is
  10 the amendment that was placed on this bill to keep a
  11 Colorado company manufacturing in Colorado.
  12            Representative McCann came down and gave
  13 us a lot of statistics. Now, those statistics relate
  14 specifically to use of magazines with a capacity greater
  15 than 15 or 30, or whatever, but she doesn't talk about
  16 the impact on public safety; just the impact of these
  17 particular things as they're used in crimes. Of course,
  18 if you ban them, there will be fewer of them out there
  19 and there will be fewer of them used in the commission
  20 of a crime. But what every study says is that when they
  21 quit using these instruments or these tools in the
  22 commission of a crime, studies show that other tools and
  23 other instruments will be used in the commission of a
  24 crime, and that banning these, banning assault rifles,
  25 even, has no impact on public safety.
  0075
   1            And that's what this bill should be about.
   2 It shouldn't be about trying to make people feel better.
   3 It should be about enhancing public safety.
   4            Now, we've had some disagreements and some
   5 arguments over whether or not the passage of a magazine
   6 ban will have any impact on public safety, but I'd
   7 submit to you that actions speak louder than words.
   8            When we put an amendment -- I guess before
   9 I get there, Representative McCann came down and said
  10 82 percent of mass shootings are accomplished with
  11 high-capacity magazines. She said they're used in 14 to
  12 26 percent of gun crimes. They cause a huge amount of
  13 damage. And then she honored, rightfully so, the people
  14 who lost their lives in Newtown, Connecticut. She
  15 talked about folks that lost their lives in Arizona
  16 during the Gabby Giffords shooting.
  17            And as she did that -- she had that
  18 discussion today and had that discussion some two weeks
                                                                                                     LEG HX 000467                   4383
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           Appellate
  19 ago when          Case: this
                 we debated    14-1290       Document:
                                   bill on the             01019371762
                                               floor, but then                       Date Filed: 01/16/2015            Page: 230
  20 said, You know what? We're trying to protect these
  21 people. We want to protect school children in Newtown,
  22 Connecticut, and we have the power to do that. We can
  23 do that by saying, No manufacturer will manufacture
  24 these instruments of war in Colorado and sell them to
  25 private citizens. That's what your bill originally
  0076
   1 said.
   2           But we said, you know, because we would
   3 rather have the tax revenue from a company in Colorado,
   4 we believe it's okay to manufacture, as Representative
   5 Fields said, these instruments of war in Colorado, and
   6 we believe it's okay to sell these instruments of war in
   7 Newtown, Connecticut, in Arizona, in Virginia. In every
   8 other place where we've had a mass shooting, you can
   9 sell these instruments of war, but you can't sell them
  10 in Colorado.
  11           Members, if this is about public safety,
  12 why aren't we protecting all of the public? You have
  13 the power to do it. You have the power to do it by
  14 banning the manufacture of these magazines in Colorado
  15 and selling them to private citizens in Newtown,
  16 Connecticut. But you chose not to do that. You chose
  17 not to do it because you want to manufacture in this
  18 state because you want the tax revenues. Actions speak
  19 louder than words. And your actions say this doesn't
  20 have an impact on public safety because we want them
  21 sold here. But we want them manufactured here, and we
  22 want them sold elsewhere. This doesn't have an impact
  23 on public safety because we want you to be able to sell
  24 them in Newtown, Connecticut. We want you to be able to
  25 sell them in Virginia. We want you to be able to sell
  0077
   1 them in Arizona, because we want the tax revenue.
   2           Some say that's a monumental
   3 inconsistency. I've said that before. But you know
   4 what, Members? It's hypocrisy. Nothing short of
   5 hypocrisy. If we want to protect the citizens of the
   6 United States of America, then do it. If this bill
   7 protects the citizens of the United States of America,
   8 then it should protect all of them. But it doesn't,
   9 because we all know this is just nothing more than a
  10 feel-good measure. And your actions, whether you passed
  11 an amendment saying so, indicated that very thing. Your
  12 actions, when you passed an amendment saying you can
  13 produce them here, you can't buy them here, but you can
  14 sell them anywhere you want, your actions said that very
  15 thing.
  16           That's the problem with this piece of
  17 legislation, Members. We all know, based on our
  18 actions, that this bill, this piece of legislation will
  19 have no impact on public safety. And if it did, you
  20 wouldn't have passed the Salazar amendment some two,
                                                                                                     LEG HX 000468                   4384
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  21 threeAppellate
            weeks ago.Case: 14-1290 Document: 01019371762                            Date Filed: 01/16/2015            Page: 231
  22            We should be a no on this piece of
  23 legislation because we all understand and agree that
  24 this has no impact on public safety.
  25            MADAM SPEAKER: Mr. Speaker.
  0078
   1           MR. SPEAKER: Thank you, Madam Speaker Pro
   2 Tem.
   3           I don't think we do agree on that,
   4 Mr. Minority Leader. And I want to be clear to begin
   5 with, because you talk about the amendment that came on.
   6 Let's remember that there was in the original bill an
   7 exemption for manufacturing. What Representative
   8 Salazar did was to clarify that amendment. That
   9 amendment was in from the beginning of the bill and had
  10 been when it was introduced.
  11            And we can -- I know we disagree on the
  12 policy, but our job here -- we are the general assembly
  13 and the house representatives of the people for
  14 Colorado. And we can only do what we can do. We can
  15 only -- in the four corners of our state, we can make
  16 the laws that apply there. We can't make laws for
  17 Arizona, for Connecticut. We can do what we can here in
  18 this chamber to protect, to the best of our ability, the
  19 people in our state.
  20            Now, I think -- and I don't know if anyone
  21 else has had the opportunity to look at it, but Senator
  22 Johnston, when he spoke the other day when this debate
  23 was on the floor of the Senate, spoke eloquently about
  24 this bill, and I commend everyone to listen to what he
  25 said, because he talked about what happened in Newtown.
  0079
   1 And he talked about what happened in Arizona and how, if
   2 we could have had smaller magazines in Newtown, it might
   3 have saved more lives, and the fact that when the
   4 shooter in Newtown switched his magazines, they were
   5 able to save 11 children's lives. That's what this is
   6 about. That's what this is about.
   7           And I know we heard a lot of people
   8 saying, There's big changes in Colorado, and this is new
   9 and interesting debate around gun safety issues. And I
  10 just want to read a quote to you. The quote is:
  11 Government of some kind we must have. And the question
  12 narrows itself down to this point: Shall it be the
  13 government of the knife and the revolver, or shall we
  14 unite in forming here in our golden country a new and
  15 independent state? That quote comes from the Rocky
  16 Mountain News editorial from 1859, before we were even a
  17 state.
  18            This debate, these issues have been in
  19 front of our state and our people since the founding of
  20 our state, and continue. And that should happen. We
  21 should have debate on this. It is an important topic.
  22 It does deserve time and debate on this issue, because
                                                                                                     LEG HX 000469                   4385
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             difficult thing.   14-1290     Document:
                                     weighing            01019371762
                                                individuals'                         Date Filed: 01/16/2015            Page: 232
  24 life and you're weighing individuals' Second Amendment
  25 right.
  0080
   1           And what we feel in our party and what we
   2 feel, people who are supporting this, is that we are
   3 trying to reach that balance, to make sure that when
   4 there is -- because there will be another mass shooting,
   5 it will happen, but when it does, that the people who
   6 are in that situation have a fighting chance. So I ask
   7 for a yes vote.
   8           MADAM SPEAKER: Representative Duran.
   9           REPRESENTATIVE DURAN: Thank you, Madam
  10 Speaker Pro Tem.
  11            Well, Members, thank you for the hours and
  12 hours of debate on this issue. I think the legislative
  13 record is very clear what is in this bill and what is
  14 not and that the language is crystal clear.
  15            I was looking at a Magpul website, and it
  16 was interesting to see that on their own website they
  17 talk about how they will only sell where state law
  18 permits them to do so. It is up to each state to make
  19 decisions regarding this issue, and it is up to the
  20 federal government to make decisions regarding this
  21 issue, of what we think results in public safety and
  22 what we do not.
  23            And today we are looking at the state of
  24 Colorado specifically, and we have allowed other states
  25 and the federal government to continue to make decisions
  0081
   1 based on public safety. And I have said before that I
   2 cherish Colorado's tradition and heritage of hunting and
   3 being able to protect our ability to do that.
   4           I also believe in protecting the right of
   5 women to be able to protect themselves and the right of
   6 individuals to be able to protect and defend themselves.
   7 But this bill is not about hunting. And this bill goes
   8 much further. It's simply, one, defending oneself,
   9 because when we talk about people defending themselves,
  10 what about the kids in elementary schools that didn't
  11 have a gun, that didn't choose to have a gun? How were
  12 they going to defend themselves? What about other
  13 individuals that, when an attack takes place, because
  14 they choose not to have a gun, how are they going to
  15 defend themselves?
  16            For the people that were in the movie
  17 theater in Aurora, including my mother's cousin, who
  18 didn't choose to carry a gun, how was he and his fiancee
  19 going to protect themselves? What about the right to
  20 defend yourself and protect yourself if you do not
  21 choose to carry a gun? What about the right to defend
  22 oneself if you are a child in a school and somebody
  23 begins to shoot at you?
  24            It is offensive and obscene that, in the
                                                                                                     LEG HX 000470                   4386
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  25 state Appellate  Case:
            of Colorado,      14-1290
                          we have   laws thatDocument:   01019371762
                                              protect pheasants                      Date Filed: 01/16/2015            Page: 233
  0082
   1 more than we do human beings. Look at our laws. If
   2 you're a hunter, you want to hunt pheasants, there is a
   3 maximum number of shells that you can have in your gun.
   4 And why? So that when you look up and shoot at the
   5 pheasants, the pheasants have a fair shot at getting
   6 away. The pheasants have a fair shot at getting away.
   7           We have more protections in the state of
   8 Colorado for animals than we do human beings. You want
   9 to go hunting, you have to go through a safety class.
  10           How many more kids in coffins do we have
  11 to see before we make changes? How many more mass
  12 shootings in schools and movie theaters do we have to
  13 say -- see before we make changes? And how many more
  14 victims need to come to the capitol and say, Please make
  15 changes. My life has been changed forever because I
  16 lost a son, I lost a daughter, I lost a mother, I lost a
  17 father to gun violence. How many more?
  18           If we pass this law today, those kids in
  19 schools and those people who went to a movie theater to
  20 go enjoy an evening with their family will have the
  21 opportunity, at least at a minimum, to get away by
  22 banning this. And this is what this is about. It is
  23 about defending human life and giving people the ability
  24 to get away in a tragic situation like, God forbid, what
  25 has happened in the state of Colorado.
  0083
   1           Thank you.
   2           MR. SPEAKER: Representative Fields.
   3           REPRESENTATIVE FIELDS: Thank you,
   4 Mr. Speaker.
   5           You know, I am saddened by some of the
   6 remarks that I've heard today, when I hear things like:
   7 This bill does not impact public safety; when I hear
   8 things that says like this bill is going to create
   9 criminals out of law-abiding citizens or that this bill
  10 takes away someone's Second Amendment rights.
  11           Members, this bill is all about saving
  12 lives and making our community less dangerous. I tell
  13 you that enough is enough. I am sick and tired of the
  14 bloodshed. And whatever we can do to curve gun violence
  15 in our community, we have a responsibility to do that.
  16           As you know, the theater shooting that
  17 happened in Aurora happened in my district. And I know
  18 firsthand the trauma that's associated with
  19 high-capacity magazines. When high-capacity magazines
  20 that are used over and over and over in these massacre
  21 crime scenes -- many times the first responders have to
  22 deal with posttraumatic stress, when they go into a
  23 theater, when you think that that should be a place
  24 where there should be just entertainment, an officer or
  25 first responder goes in there and they have to look at
  0084
                                                                                                     LEG HX 000471                   4387
file:///X|/...r/HB%201224%20and%201229/HB%201224/Transcripts%20of%20legislative%20history/House%20Bill%2013-1224-031313.txt[11/5/2013 7:32:59 AM]
           Appellate
   1 that war  scene ofCase:   14-1290
                         somebody     using a Document:   01019371762
                                              high-capacity                          Date Filed: 01/16/2015            Page: 234
   2 magazine.
   3           Imagine what the first responders saw when
   4 they went into Sandy Hook Elementary School, where you
   5 had someone use a high-capacity magazine, point-blank,
   6 shooting babies in the head.
   7           What this bill will do, it will restrict
   8 high-capacity magazine limit to 15. Simply do the math.
   9 A smaller magazine will require less time and more time
  10 for someone to intervene to stop someone who's using a
  11 high-capacity magazine to kill as many people as
  12 possible. Do the math. Do you need 100? Do you need
  13 50?
  14            This bill limits it to 15, giving people
  15 in our community just enough time to intervene to save
  16 lives.
  17            There's been some talk about: Think about
  18 the families. Think about the jobs. And I have. I
  19 have thought about the families, and I have thought
  20 about the jobs. And this bill does not have anything in
  21 it that says that Magpul should leave our state.
  22 There's nothing in this bill that states that.
  23            What I do know for sure is that
  24 high-capacity magazines have one purpose, and that is to
  25 kill as large a number of people as possible, as quickly
  0085
   1 as possible, in places that we see as being sacred, like
   2 our churches, like our schools. There's no place in our
   3 community and in our neighborhoods for high-capacity
   4 magazines.
   5           As you've heard before, these are weapons
   6 that should be used in a theater of war and not in our
   7 local theaters.
   8           High-capacity magazines have one thing in
   9 common. It's a common thread in all of these massacres.
  10 We talked about Newtown and Oak Creek and Arizona and
  11 Aurora. We have seen in Aurora the gunman who had a
  12 high-capacity magazine that held 100 rounds of bullets
  13 go into a theater and, in 90 seconds, was able to kill
  14 or injure 70 people. He could have done more damage if
  15 that gun, if that magazine, wouldn't have jammed.
  16            This bill is about saving lives, and it's
  17 not about taking away anyone's Second Amendment rights.
  18 The polling that I've seen states that 62 percent of the
  19 people in Colorado support a ban on high-capacity
  20 magazines.
  21            You heard some reference about an East
  22 Coast politician. Well, I'm from the state of Colorado.
  23 Bloomberg is not running this legislation. I am. And
  24 I'm running it for my constituents. I'm running it for
  25 the state of Colorado, because I believe that it will
  0086
   1 impact public safety and it makes our community less
   2 dangerous.
                                                                                                     LEG HX 000472                   4388
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   3       Appellate
               We hadCase:     14-1290
                        testimony           Document:
                                    in committee         01019371762
                                                  where the                          Date Filed: 01/16/2015            Page: 235
   4 sister of the school psychologist in Sandy Hook
   5 testified. And I'm going to read you a portion of that
   6 letter because she said that her brother-in-law, when he
   7 went to view the body, he couldn't recognize her because
   8 of the damage that was done. And the only way that he
   9 was able to identify her was by her name tag.
  10            I've heard on news reports where this one
  11 parent decided that she was going to let the coffin be
  12 open so people could see the damage that was caused to
  13 her baby by the use of a high-capacity magazine. Her
  14 letter goes on to say that she has witnessed and seen
  15 firsthand that these weapons and high-capacity magazines
  16 are capable of causing great harm, not only in Sandy
  17 Hook, but right here in Colorado. And that's why she
  18 suggests that we pass this bill.
  19            She goes on to state that we cannot wait
  20 for yet another massacre to transpire before we take
  21 real action. She asked that we honor her sister's life
  22 and all lives that are lost as a result of gun violence,
  23 that we are all elected as leaders, that we should honor
  24 our oath and our office to protect and defend. And she
  25 asks us to pass this legislation.
  0087
   1           I also have a letter here from the family
   2 members of a 15-year-old -- 24-year-old, Jessica Ghawi.
   3 She was a beautiful 24-year-old red-head that had only
   4 lived in the state of Colorado for a year and 15 days.
   5 She goes on to state that the alleged gunman was able to
   6 purchase 6,000 rounds of ammunition on the Internet.
   7 Jessica was an aspiring broadcasting journalist
   8 attending Metro State University. She had just bought
   9 some popcorn and found her seat in the middle of the
  10 theater, and Jessica tweeted her mom because she
  11 twitters all the time. So minutes before her death, she
  12 texted her mom --
  13            MR. SPEAKER: Representative Fields, you
  14 have 30 seconds remaining.
  15            REPRESENTATIVE FIELDS: She said, Mom, get
  16 some sleep. I'm really excited for you to come visit.
  17 Need my mom.
  18            And her mom replied: Need my baby girl.
  19            Members, this bill is about public safety.
  20 This bill is about saving lives. And I urge a yes vote
  21 to House Bill 1224.
  22            MR. SPEAKER: Seeing no further
  23 discussion -- seeing no further discussion, the question
  24 before the House is the repassage of House Bill 1224.
  25 Mr. Kolar, please open the machine and members proceed
  0088
   1 to vote.
   2           Representative Tyler.
   3           Close the machine. With 34 aye votes, 30
   4 no votes, one excused, and zero absent, House Bill 1224
                                                                                                     LEG HX 000473                   4389
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           Appellate Case: 14-1290 Document: 01019371762
   5 is repassed.                                                                    Date Filed: 01/16/2015            Page: 236
   6           Co-sponsors. Close the machine.
   7           Mr. Kolar, please read the title to House
   8 Bill 1229.
   9           MR. KOLAR: House Bill 1229,
  10 Representatives Fields and McCann, also Senator Carroll,
  11 concerning criminal background checks performed pursuant
  12 to the transfer of firearms in connection with making
  13 appropriation.
  14            MR. SPEAKER: Representative Fields.
  15            REPRESENTATIVE FIELDS: Mr. Speaker, I
  16 move that the House reject senate amendments to House
  17 Bill 1229 and that a conference committee be appointed.
  18            MR. SPEAKER: Please don't applaud,
  19 Members.
  20            (WHEREUPON, the audio recording was
  21 concluded.)
  22
  23
  24
  25
  0089
   1                 CERTIFICATE
   2 STATE OF COLORADO                 )
                       )ss.
   3 CITY AND COUNTY OF DENVER )
   4          I, Jana Mackelprang, Certified Realtime
   5 Reporter, Registered Professional Reporter, and Notary
   6 Public for the State of Colorado, do hereby certify
   7 that this transcript was taken in shorthand by me from
   8 an audio recording and was reduced to typewritten form
   9 by computer-aided transcription; that the speakers in
  10 this transcript were identified by me to the best of
  11 my ability and according to the introductions made and
  12 the information provided; that the foregoing is a true
  13 transcript of the conversations; that I am not an
  14 attorney nor counsel nor in any way connected with any
  15 attorney or counsel for any of the parties to said
  16 action or otherwise interested in its event.
  17           IN WITNESS WHEREOF, I hereunto affix my
  18 hand and notarial seal this 31st day of July, 2013. My
  19 commission expires January 24, 2016.
  20
  21                  ___________________________
                     Jana Mackelprang
  22                  CRR, RPR, Notary Public
                     Calderwood-Mackelprang, Inc.
  23
  24
  25




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